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  BRUSSELS                        Los Angeles, California 90067-6035                         SHANGHAI

  HONG KONG                                                                             SILICON VALLEY
                                       TELEPHONE    (310) 553-6700
  LONDON                                                                                    SINGAPORE
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  NEW YORK




                                                                                      OUR FILE NUMBER
  September 15, 2011                                                                       905900-321

  VIA E-MAIL                                                                       WRITER’S DIRECT DIAL
                                                                                        (310) 246-6840
  Marc Toberoff
                                                                                WRITER’S E-MAIL ADDRESS
  Toberoff & Associates, P.C.
                                                                                 mkline@omm.com
  2049 Century Park East, Suite 3630
  Los Angeles, California 90067

  Gerald A. Berk
  Steuer Escovar Berk Brown
  55 Public Square, Suite 1475
  Cleveland, Ohio 44113

                  Re:   DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

  Dear Counsel:

        We write in response to your September 8, 2011, letter addressing issues raised in our
  August 29 letter regarding Don Bulson’s deposition and production of documents.

          1. Withdrawn Objections. Thank you for confirming the Estate’s withdrawal of the
  objections identified in our August 29 letter regarding Mr. Bulson’s deposition.

          2. Objections re: Documents or Information Conveyed to Mr. Bulson by Michael Siegel.
  You still cite to no authority to support your objection to examination of Mr. Bulson that
  “concerns or implicates the substance of any communications between Mr. Bulson and Michael
  Siegel,” including “communications between Michael Siegel and Don Bulson regarding
  Mr. Siegel’s communications with Laura Siegel Larson.” Nor has the Estate has identified any
  authority to support its instructions to Mr. Bulson to not answer questions regarding non-
  privileged documents conveyed to Mr. Bulson by Mr. Siegel. E.g., Tr. 30:1-36:2, 57:9-10,
  60:22-61:6, 65:24-67:12.

         The record is clear that Mr. Berk did not limit “communications” between Mr. Bulson
  and Mr. Siegel relating to the seeking or provision of legal advice. To take an example,
  defendants claim, “Mr. Berk clearly asserted privilege as to Mr. Siegel’s communications with
  Mr. Bulson about the May 13, 2003 letter, not the May 13 letter itself.” Mr. Berk explicitly
  argued the May 13 letter would become privileged if Mr. Siegel sent it to Mr. Bulson. See Tr.




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  30:8-13 (“This would be privileged, unless he was to get this from Laura Siegel or someone else.
  But if he got this from Michael Siegel, it would be part of -- be a privileged document as to
  Mr. Bulson.”) (emphasis added).1

         It is apparent the Estate does not intend to withdraw it objections, so DC will file a
  motion concerning them. Please let us know if you wish to discuss them further; we can do so
  this week or next week.

           3. Expert Report/Calendar & Billing Entries. You represent in your letter that the Estate
  requested the “Renner Otto expert report and calendar/billing entries” from Renner Otto for the
  first time on August 11. First, as we stated before, DC made it request for those documents
  during Mr. Bulson’s deposition on July 19. Tr. 23:11-29:7, 25:5-29:7. You have not provided
  any explanation for why it took almost one month before you requested the documents from
  Renner Otto. Nor have you explained why you waited almost a month before following up with
  Renner Otto by sending a second request on September 8—especially given our letter of August
  29. DC requests that the Estate produce the August 11 and September 8 requests to Renner Otto
  since DC was not copied. Second, we have spoken with Mr. Ryland and he informed us that you
  or Mr. Berk either are in possession of the report and calendar/billing entries, or have access to
  them, as the Estate of Michael Siegel’s lawyers. This means you had the documents when we
  requested them on July 22, and have failed to produce them.

          We disagree with your contentions regarding the relevance of the documents sought by
  DC and see no point in further debating the issue. As we previously advised you, the timeline of
  Mr. Bulson and Mr. Toberoff’s interactions is directly relevant to, among other things,
  establishing when Mr. Toberoff first contacted Mr. Bulson to inquire about purchasing
  Ms. Siegel’s purported Superman interest (the date of Toberoff’s first contacts with the heirs is a
  disputed issue in the case); determining whether communications exchanged between
  Mr. Toberoff and Mr. Bulson occurred but have neither been produced not logged (similar to
  defendants’ failure to produce or log Mr. Siegel’s May 13 letter); and disproving defendants’
  erroneous assertions of common interest.

          Please let us know if you will commit to providing these materials by the end of next
  week. If not, DC will have to file a motion. Please let us know if you wish to discuss the issue
  further; we can do so this week or early next week.

          4. Michael Siegel File. Defendants provide no support beyond conclusory statements
  that documents exist in Renner Otto’s digital copy of Mr. Siegel’s files that are not responsive to

      1
         See also Tr. 33:14-25 (“If the document was given by Michael Siegel to Mr. Bulson it
  becomes part of his file, it also becomes part of the privileged file and part of the litigation or
  representation by Mr. Bulson of Michael Siegel, and is therefore privileged. … It’s basic
  privilege. It’s part of the file.”); Tr. 62:8-11 (“I’m going to object to that as well, because first of
  all, if [the May 13 letter] exists and it’s in his file, it becomes a privilege, and therefore not
  discoverable.”) (emphasis added to all).



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  DC’s requests. There is no indication—and defendants cite to nothing—that Mr. Bulson
  represented Mr. Siegel in any matters beyond his purported Superman interest. Regardless,
  defendants’ speculation is not grounds for preventing Renner Otto from preparing a log of all
  documents in their possession.

          The true disagreement between the parties boils down to the level of detail DC is
  requesting Renner Otto including in generating a log of Mr. Siegel’s file. Defendants do not
  explain how the Court’s prior orders regarding defendants’ privilege logs acts as a bar to DC’s
  request of Renner Otto to prepare a comprehensive log of Mr. Siegel’s file, assuming Renner
  Otto is willing to prepare it, and given that the detail DC seeks is fully consistent with that
  provided for under the rules.2 No court in this case or the Siegel case has had the opportunity to
  address this specific request.

         DC’s offer to pay Renner Otto’s expenses in preparing the proposed log is not “a
  transparent and improper attempt to buy its way out of adverse discovery rulings.” As
  previously stated, DC’s offer is intended to alleviate Renner Otto’s asserted burden in
  appropriately responding to DC’s subpoena and to avoid any dispute regarding who is
  responsible for the associated costs and expenses.

          It is apparent the Estate does not intend to yield on this issue, so DC will file a motion.
  Please let us know if you wish to discuss the issue further; we can do so this week or early next
  week.

          5. “Confidentiality” Designations. Defendants’ continued attempts to extend the
  protections of the Siegel protective order to this case, absent an agreement, are unavailing. The
  parties expressly limited the Siegel protective order to the Siegel cases: The parties “hereby
  stipulate to and jointly request that the Court enter a Protective Order governing this
  consolidated action as follows.” Case No. CV-04-8400, Docket No. 50 at 6 (emphasis added).
  Absent our express agreement, the Siegel protective order has no application here, and
  defendants do not dispute that they produced documents in this case by designation, without
  reservation of any rights or claims of confidentiality.


      2
        E.g., Miller v. Pancucci, 141 F.R.D. 292, 302 (C.D. Cal. 1992) (A log should identify the
  primary addressee; “[s]econdary addressee(s); persons copied and recipient (and the relationship
  of that person(s) to the client and/or author).”); Narayan v. EGL, Inc., 2006 WL 3050851, at *1
  (N.D. Cal. Oct. 24, 2006) (ordering amended privilege log to include separate listing for
  attachments); In re Heritage Bond Litig., 2004 WL 1970058, at *5 (C.D. Cal. July 23, 2004)
  (same); Mold-Masters Ltd. v. Husky Injection Sys. Ltd., 2001 U.S. Dist. LEXIS 20152, at *8-9
  (N.D. Ill. Dec. 5, 2001) (“Since a document with an attachment constitutes two separate
  documents, a party objecting to the disclosure of a document with an attachment must prove that
  both the document and the attachment individually satisfy the requirements of the applicable
  privilege or doctrine.”); RUTTER § 11:1919 (“Listing each e-mail separately is crucial where
  different e-mails in the strand potentially raise different privilege grounds.”).



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           Defendants’ assertion that the Siegel protective order “does not require a party to mark a
  document as ‘Confidential’ in any particular way, nor does it require a party to re-label a
  document as ‘Confidential’ if the document was already marked ‘Confidential,’” is equally
  without merit. The protective order in the Siegel cases limits the categories of documents that
  fall within its protections, and can therefore be marked “CONFIDENTIAL.” Id. at ¶ 4. This
  requires the producing party to evaluate whether the underlying document can be marked
  “CONFIDENTIAL” under a several-part test and to so mark it as “CONFIDENTIAL” at the
  time of production. An underlying document that happens to have a “confidential” label affixed
  to it is not automatically protected because whoever applied that stamp previously, by definition,
  did not have this several-part test for marking documents before him or her.

           Whether or not the Siegel protective order applies in this case has no impact on DC’s
  ability to examine Mr. Bulson with the documents at issue since the protective order permits
  witnesses to be examined with documents marked “confidential.” See id. ¶ 5. Therefore, DC
  does not agree to defendants’ improper condition for withdrawing their objections.

          Please let us know if you will withdraw the instructions and objections you made at
  Mr. Bulson’ deposition on these confidentiality grounds. Tr. 95:3-99:22, 146:10-148:24, 158:1-
  160:7. If not, DC will have to file a motion. Please let us know if you wish to discuss the issue
  further; we can do so this week or early next.

           6. Protective Order re: Deposition. Mr. Ryland requested that the parties’ discuss a
  protective order concerning Renner Otto’s business practices in advance of Mr. Bulson’s further
  deposition later this fall. Tr. 25:14-26:4. Since Renner Otto’s business practices were not the
  subject of any examination during Mr. Bulson’s July 22 deposition, Mr. Ryland authorized DC
  to file the entire transcript as an exhibit to Mr. Petrocelli’s declaration. We repeat our offer to
  draft a proposed protective order concerning Renner Otto’s business practices and submit it to
  you and Mr. Ryland for review.

          All of DC’s rights are reserved.

                                                    Very truly yours,



                                                    Matthew T. Kline
                                                    of O’MELVENY & MYERS LLP

  Enclosure(s)
  cc:    Daniel M. Petrocelli, Esq.
         Jason Tokoro, Esq.
         Josh Ryland, Esq.
         Richard Kendall, Esq.




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                                  TOBEROFF & ASSOCIATES, P.C.
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                                            2049 CENTURY PARK EAST, SUITE 3630

MARC TOBEROFF*                                LOS ANGELES, CALIFORNIA 90067                                      TELEPHONE
NICHOLAS C. WILLIAMSON                                                                                         (310) 246-3333
KEITH G. ADAMS
JEFFREY R. RHOADS                                                                                                 FACSIMILE
                                                                                                               (310) 246-3101
* Also admitted in New York
                                                                                                          mtoberoff@ipwla.com


            September 22, 2011

            Via E-Mail

            Matthew Kline
            O’Melveny and Myers LLP
            1999 Avenue of the Stars, 7th Floor
            Los Angeles, CA 90067

            Re:        DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

            Matt:

            I write on behalf of defendants and the Estate of Michael Siegel (the “Estate”) in response to
            your September 15, 2011 letter regarding Don Bulson’s deposition.

            Documents Conveyed to Mr. Bulson: DC continues to repeat the straw man argument that “non-
            privileged documents do not become privileged because they are sent to an attorney,” and that
            therefore the Estate’s objections as to Mr. Siegel’s communications with Mr. Bulson about the
            May 13 letter were improper. Mr. Berk’s colloquy regarding whether the May 13 letter is
            privileged is irrelevant given that the May 13 letter was produced and neither the Estate nor
            defendants have claimed privilege on that letter. Nor has DC addressed the Estate’s point that a
            client’s communications with an attorney about non-privileged documents are privileged.

            Expert Report/Calendar & Billing Entries: We have still not received these documents from
            Renner Otto for privilege review on behalf of the Estate of Michael Siegel. We sent e-mails to
            Renner Otto on August 11 and again on September 8, but have not yet received a response. We
            look forward to reviewing these documents when we receive them.

            DC’s vague response that Mr. Ryland “informed us [i.e., DC] that you or Mr. Berk either are in
            possession of the report and calendar/billing entries, or have access to them, as the Estate of
            Michael Siegel’s lawyers” is not responsive to the fact that we requested and have still not
            received for privilege review the documents Renner Otto believes are responsive to DC’s
            request. We will renew our request to Renner Otto and hopefully this matter can be
            expeditiously resolved.




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DC’s complaints about the timing of our requests to Mr. Ryland is odd given DC’s lengthy
delays in responding to our letters on this topic – for example, DC did not respond to my August
11 letter until August 29, 2011.

As previously pointed out in my September 8, 2011 letter, DC’s ongoing argument that the
documents are relevant to “establishing when Mr. Toberoff first contacted Mr. Bulson to inquire
about purchasing Ms. Siegel’s purported Superman interest” makes no sense because such
inquiry never took place, and Mr. Bulson did not represent Ms. Siegel’s interest.

As far as the routine e-mails between defendants’ counsel and Mr. Ryland, DC has no
outstanding discovery requests that seek such communications. Moreover, as at Mr. Bulson’s
deposition itself, DC continues to have communications with Mr. Ryland to which defendants
are not copied or otherwise privy. Lastly, such documents are clearly privileged pursuant to
Magistrate Zarefsky’s May 5, 2011 order. Docket No. 239.

Michael Siegel File: As stated previously, DC’s assumption that the entire Michael Siegel file in
Renner Otto’s possession is relevant and solely limited to Mr. Siegel’s “purported Superman
interest” is inaccurate. This is not “speculation,” as DC asserts.

DC’s claim that this dispute “boils down to the level of detail DC is requesting Renner Otto to
includ[e]” in a privilege log and that “[n]o court … has had the opportunity to rule on this
specific request” is sophistry.

DC litigated the issue of how much detail was required on logs with specific reference to
“Michael Siegel” documents on no fewer than three occasions, and was denied each time. See
Docket Nos. 209, 248, 285. Magistrate Zarefsky clearly ruled as to the level of detail to be
included in a privilege log in his April 25, 2011 order.

Magistrate Zarefsky’s September 15, 2011 order (Docket No. 323) on DC’s motion to compel
correspondence between Ms. Larson and Mr. Siegel also addressed this issue:

       Perhaps there has in fact been a difficulty in knowing what is contained in the privilege
       logs, but the descriptions are in keeping with Ninth Circuit case law on the subject, as the
       Court has ruled in both the prior case and the present case, in response to motions that
       [DC] has made, several times, for elaborations on such logs.
       At some point a matter has to be set aside, and parties go on to other issues.

Confidentiality Designations: DC’s position – that documents marked “Confidential” and
protected under a stipulated protective order in Siegel are no longer confidential/ protected
because such documents were designated by their Bates numbers as responsive to DC’s requests
in this case – is extremely unreasonable on its face. This matter does not warrant burdensome
motion practice.




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Re:   DC Comics v. Pacific Pictures Corp.
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Protective Order re: Depositions: The protective order we proposed to you would cover
depositions as well as other discovery.

Nothing in this letter should be construed as a waiver or limitation of any of defendants’ rights or
remedies, all of which are reserved.

Very truly yours,

Marc Toberoff

cc:    Josh Ryland




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                      Appeal Nos. 11-55863, 11-56034

            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT


                          LAURA SIEGEL LARSON,
      Plaintiff, Counterclaim-Defendant, Appellant, and Cross-Appellee,

                                     v.

       WARNER BROS. ENTERTAINMENT INC. AND DC COMICS,
       Defendants, Counterclaimants, Appellees, and Cross-Appellants.


            ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                THE HONORABLE OTIS D. WRIGHT II, JUDGE
                    CASE NO. CV-04-8400 ODW (RZX)


  PRINCIPAL AND RESPONSE BRIEF OF CROSS-APPELLANTS AND
APPELLEES WARNER BROS. ENTERTAINMENT INC. AND DC COMICS


     JONATHAN D. HACKER                      DANIEL M. PETROCELLI
     O’MELVENY & MYERS LLP                   MATTHEW T. KLINE
     1625 Eye Street, N.W.                   CASSANDRA L. SETO
     Washington, D.C. 20006                  O’MELVENY & MYERS LLP
     Telephone: (202) 383-5300               1999 Avenue of the Stars, 7th Floor
                                             Los Angeles, California 90067
     PATRICK T. PERKINS                      Telephone: (310) 553-6700
     PERKINS LAW OFFICE, P.C.                Facsimile: (310) 246-6779
     1711 Route 9D
     Cold Spring, New York 10516
     Telephone: (845) 265-2820

         Attorneys for Warner Bros. Entertainment Inc. and DC Comics




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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1, cross-appellants and

appellees Warner Bros. Entertainment Inc. and DC Comics, by and through their

counsel of record, hereby disclose:

      1. Warner Bros. Entertainment Inc. is a corporation that is an indirect,

wholly-owned subsidiary of Time Warner Inc.

      2. DC Comics is a New York general partnership comprised of Warner

Communications Inc. and E.C. Publications, Inc., which are wholly-owned

subsidiaries of Time Warner Inc., a Delaware corporation. Time Warner Inc. is a

publicly-held corporation that indirectly owns more than 10% of DC Comics.

Dated: March 23, 2012                      O’MELVENY & MYERS LLP

                                           By: /s/ Daniel M. Petrocelli
                                                   Daniel M. Petrocelli
                                             Attorneys for Warner Bros.
                                             Entertainment Inc. and DC Comics




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                      STATEMENT OF JURISDICTION

      This appeal arises from a partial judgment under FED. R. CIV. P. 54(b) on

appellant Laura Siegel Larson’s First Claim for Relief and cross-appellants Warner

Bros. Entertainment Inc. and DC Comics’ (together “DC’s”) First through Fourth

Counterclaims. Larson’s First Claim asserts that copyright termination notices she

served make her joint owner of several early Superman works. DC’s

Counterclaims assert that the notices are invalid (First Counterclaim); Larson’s

lawsuit is time-barred (Second Counterclaim); and Larson’s claims are barred by

an October 2001 settlement agreement (Third and Fourth Counterclaims).

      The district court had jurisdiction over these claims. 28 U.S.C. §§1331,

1338, 1367. This Court has jurisdiction over DC’s Second, Third, and Fourth

Counterclaims, because they were fully and finally adjudicated below. 28 U.S.C.

§1291. This Court lacks jurisdiction over Larson’s First Claim and DC’s First

Counterclaim, which were not fully and finally adjudicated. Infra at 40-41.

                                INTRODUCTION

      This case is about the ownership of copyright in the earliest comics that

introduced elements of the iconic Superman character and story, including aspects

of his appearance, powers, and background. As it comes before this Court—an

appeal and cross-appeal addressing multiple rulings below—the case presents an




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unusually broad array of doctrinal, factual, and procedural issues. But much of the

case reduces to a familiar proposition: a deal is a deal.

      The doctrinal issues focus on an intersection between the 1909 Copyright

Act and the 1976 amendments to that Act. The 1976 Act extended existing

copyrights under the 1909 Act—including copyrights that had been assigned—

while giving the original authors and certain of their heirs the right to terminate

previous assignments of their copyrights and to negotiate new assignments with

existing rights holders or other parties.

      By design, the 1976 Act struck a careful balance. On the one hand, it gave

authors (and certain heirs) a fresh start on their original rights and new leverage to

renegotiate old assignments. On the other hand, it gave rights owners who had

acquired and then developed the assigned works—sometimes into exceedingly

valuable commercial properties—continuing rights to exploit derivative works

created under the assignments, as well as an exclusive, first opportunity to

negotiate new deals to reclaim any terminated rights.

      At first, the negotiation process contemplated by the 1976 Act worked here

just as intended. The heirs to Superman’s original story writer served notices of

termination as to certain early Superman works. While DC contested the notices

on various grounds—including that the works at issue were made-for-hire and

hence not subject to termination—that dispute was shelved for four years while the



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parties worked to negotiate a resolution that would both secure DC’s rights, and

ensure the family reaped financial benefits from DC’s continued exploitation of

Superman. The family, represented by a prominent entertainment law firm,

ultimately struck a deal with DC—one that included every essential term for a re-

grant of rights, provided for various other non-essential terms, and guaranteed the

family many millions of dollars in cash, royalties, and other compensation.

      But after agreeing to this deal in writing, the family was approached by a

self-styled “intellectual property entrepreneur” who dangled the prospect of even

more money. In short order the family reneged on its deal with DC, refused to

complete discussions over a “long form” contract formalizing the agreement, and

fired their lawyers. The family asserted there was no deal without a long form, and

the district court agreed, casting aside established California contract law

principles—principles essential to the entertainment industry, where many business

deals are never formalized. The rule there is simple, however: a deal is a deal,

long form or not.

      That principle also lies at the core of the underlying copyright dispute here.

Superman’s creators conceived the Superman character, but no one would publish

it. It was only DC, years later, that recognized Superman’s commercial potential.

DC employed the creators as artists, purchased the entirety of their rights in

Superman, and promoted and published the first Superman story. DC developed



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Superman not just commercially, but creatively as well, employing many artists—

including but not limited to the original creators—to develop many of the now-

widely-recognized elements of the Superman mythos.

      For their valuable contributions to DC’s efforts, DC paid the original

creators millions of dollars in today’s terms, pursuant to agreements that could not

have been clearer: DC paid them to create new Superman material for DC, the

exclusive owner of all rights in the character and story. Over the years, the

creators tried to undo their original Superman agreements, but the courts

repeatedly rejected their efforts. And now it is Larson who contends that her

father’s 1930s deals with DC, like her own 2001 deal, were not deals at all—she

says her father was not creating Superman for DC, as his agreements plainly said,

but for himself, and that she should now own rights that her father never did.

      The 1976 Act does not sanction her claims. It was intended to allow authors

and heirs to “recapture” copyrights they initially owned and then assigned—not

copyrights they never owned in the first place.

      This long-running dispute should be brought to an end. Enforcing Larson’s

deal will afford her tens of millions of dollars for which she bargained in 2001,

while protecting the deal her own father struck in the 1930s, when DC employed

him to create new Superman material on DC’s behalf.




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                      STATEMENT OF ISSUES PRESENTED

         DC’s Cross-Appeal On Its Second Through Fourth Counterclaims

      1. a. Whether DC is entitled to entry of judgment on all claims on the basis

of an October 2001 settlement agreement, confirmed by a letter from Larson that

explicitly “accepted D.C. Comics’ offer” and described in detail all essential

“terms” of the parties’ “monumental accord.”

      b. Whether DC is at least entitled to factfinding on the question whether the

parties intended to be bound by the essential terms identified in Larson’s October

2001 letter.

      2. Whether Larson’s claims are barred by the Copyright Act’s three-year

limitations period.

                    Larson’s Appeal On Her First Claim And
                 DC’s Cross-Appeal On Both Parties’ First Claims

      1. Whether this Court lacks jurisdiction over the appeal of the parties’

respective First Claims because the district court did not fully and finally

adjudicate the scope of rights to early Superman works at issue in those claims.

      2. Assuming the Court has jurisdiction to hear these claims:

      a. Whether the district court properly ruled that Superman works created by

Larson’s father Jerome Siegel and his collaborator Joseph Shuster at DC’s instance

and expense—after Siegel and Shuster assigned all of their Superman rights to DC

and entered into various employment agreements with DC—were works-for-hire.

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      b. Whether the district court erred in ruling that Larson was entitled to

recapture a handful of early Superman works that were made at DC’s instance and

expense and/or were not listed in Larson’s copyright termination notices.

      c. Whether the district court erred in ruling sua sponte on the copyrightable

elements in certain promotional announcements owned by DC, without giving DC

notice or an opportunity to be heard on the issue, and without examining the actual

announcements or a legible copy of them.

                          STATEMENT OF THE CASE

      Superman was co-created by Siegel and Shuster in the 1930s, and introduced

to the world by DC in Action Comics #1, published in 1938. ER-1019; SER-9-10.

This copyright dispute arises more than a half-century later because of a 1976

amendment to the Copyright Act, which allows “authors”—within the meaning of

that term under the 1909 version of the Act—of copyrighted works (and certain of

their heirs) to terminate earlier assignments of their copyrights and reclaim those

copyrights for themselves. Nobody denies that Siegel and Shuster were the authors

of certain foundational elements of Superman, but neither does anyone deny that

most other elements appeared for the first time in derivative works—comic books,

newspaper strips, and other media—created after Siegel and Shuster assigned to

DC all rights to Superman, and were hired by DC along with many other artists to

create new Superman works. The dispute here centers on whether certain of the



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earliest derivative works were “made for hire” on DC’s behalf, making DC the

“author” of the works under the 1909 Act and precluding termination by Siegel’s

heirs.

         During their lifetimes, neither Siegel nor Shuster—despite a long history of

litigation against DC—sought to exercise any termination rights in Superman.

Within a year of Siegel’s death in 1996, however, his widow Joanne (now

deceased) and daughter Larson served termination notices seeking to recapture a

broad range of Superman works. ER-1024-92. DC disputed most aspects of the

termination notices, but sought to resolve the controversy through negotiation with

Larson and her lawyer Kevin Marks. ER-16; SER-393, 100-01. The parties

reached a settlement agreement on October 19, 2001, in which DC agreed to pay

Larson $3 million in up-front cash, annual guarantees worth $5 million, and tens of

millions more in future profit sharing, in exchange for which DC would receive all

of the putative Superman rights Larson claimed to own. SER-132, 147-48, 434-35,

456-61. A little more than six months later, however, Larson repudiated the

agreement, fired Marks, and began working with Marc Toberoff (a Hollywood

producer/lawyer) and Ari Emanuel (an agent) to sell her putative Superman rights.

SER-133-34, 182-83, 404, 417-20, 422-25, 819-20, 835-37. No buyer emerged;

and in 2004, Larson (now using Toberoff as her lawyer) filed this lawsuit, seeking

a declaration that her termination notices were valid and entitled her to an



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accounting of Superman-related profits. ER-325. DC counterclaimed asserting,

inter alia, that the notices were invalid and Larson’s claims were barred by the

parties’ October 2001 agreement and the statute-of-limitations. ER-273-310.

      In 2008, the district court granted partial summary judgment against DC on

its Second through Fourth Counterclaims, holding Larson’s claims were neither

time-barred nor precluded by the October 2001 agreement. SER-61-62, 66.

      The court also issued a series of partial rulings on Larson’s First Claim and

DC’s First Counterclaim. The court ruled the vast majority of works listed in

Larson’s termination notices were works-for-hire as a matter of law and thus could

not be terminated. ER-43-140. But it held that certain other works were not made-

for-hire and thus could be terminated. ER-81, 114, 189. The court did not,

however, resolve the scope of the rights at issue. Infra at 20-21.

      Larson now appeals some (not all) of the adverse rulings on her First Claim,

asserting that the court erred in finding that the following works were made-for-

hire: Action Comics #2-3, #5-61; pages 1-2 of Superman #1, Superman #2-23; and

newspaper strips created after the parties entered into a syndication agreement with

McClure in 1938. ER-81, 114, 189.

      DC cross-appeals the rejection of its threshold limitations and settlement

counterclaims. DC also contends that Larson’s appeal on her First Claim is unripe

because the court did not declare the scope of rights at issue in that claim and thus



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did not fully adjudicate it (or DC’s First Counterclaim). But assuming this Court

has jurisdiction to address the parties’ First Claims, DC cross-appeals, asserting

that while the court’s work-for-hire rulings were correct as to the works contested

by Larson, the court erred in rejecting work-for-hire as to the following works (or

certain key elements therein): Action Comics #1 and #4; pages 3-6 of Superman

#1, and two weeks of newspaper strips created before the McClure agreement. DC

also cross-appeals the court’s ruling that pre-Action Comics #1 promotional

announcements, while owned by DC, do not fully depict certain key Superman

elements.

                            STATEMENT OF FACTS

      A. Statutory Background

      The 1909 Copyright Act governs the copyright in all works—including

those at issue here—published before January 1, 1978, the effective date of the

1976 Copyright Act. Under the 1909 Act, copyright could be secured for “all the

writings of an author.” 17 U.S.C. §4 (1909) (repealed 1976). Under the 1909 Act,

an “author” was entitled to a copyright for an initial 28-year period and an

additional 28-year “renewal” period. Id. §24.

      The 1909 Act defined the statutory term “author” to “include an employer in

the case of works made for hire.” 17 U.S.C. §26 (1909). It also provided that “in

the case of … any work copyrighted by … an employer for whom such work is



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made for hire,” the author/employer was entitled to renewal rights. Id. §24. These

two sections thus made clear that an “employer” in the case of a “work for hire”

was a statutory “author” with full rights in both the original copyright and the

renewal term. For this reason, the 1976 Act’s provisions addressing “termination”

of the extended renewal term—the provisions at issue here—have no application to

works that were made-for-hire under the 1909 Act, 17 U.S.C. §§203(a), 304(c)-(d),

as Larson concedes, LB-21.

      A person or entity who commissions a work is the statutory “author” of that

work under the work-for-hire provision of the 1909 Act whenever the work was

created at the “instance and expense” of the commissioning party, unless the

parties expressly agreed that “the employee or independent contractor retained the

copyright in his work.” Twentieth Century Fox Film Corp. v. Entm’t Distrib., 429

F.3d 869, 881 (9th Cir. 2005); see infra at 42-43.

      B.     Factual Background

      1.     Siegel And Shuster’s Work-For-Hire Arrangements With DC During
             The 1930s And 1940s

      Siegel, a young writer in Cleveland, and his high-school friend Shuster, an

illustrator, worked together to conceive many fictional characters—including a

crime-fighting hero named “Superman.” SER-6-7. Between 1933 and 1937,

Siegel and Shuster submitted draft Superman comic strips to several publishers,

without success. ER-584; SER-12, 678.


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       In 1937, DC1 hired Siegel and Shuster to do comic-book work. On

December 4, 1937, Siegel and Shuster entered into an employment agreement

providing that DC would “employ [Siegel and Shuster] as Artists for a period of

two years,” pay them $10 per page of material, and, in return, Siegel and Shuster

would “give their exclusive services” in producing certain comic features and

submit all material for any new features to DC. ER-602-03. This “1937

Employment Agreement” also provided that if Siegel or Shuster left DC’s employ,

they were prohibited from using or copying “any of the products or work or

creations or characters or plots used, made or created by [them] while in the

employ of [DC].” ER-602.

       Siegel and Shuster submitted various comic strips to DC under this

agreement, including their existing black-and-white Superman drafts. SER-12-13,

678. DC chose to include the Superman story in its new Action Comics comic

book, to be published April 18, 1938, with a June 1938 cover date. DC editor Vin

Sullivan directed Siegel and Shuster to “revise[] and expand[]” the unfinished

Superman drafts into a “full-length 13-panel production suitable for magazine

publication.” ER-957; see Siegel v. Nat’l Periodical Publ’ns, 508 F.2d 909, 911

(2d Cir. 1974). At Sullivan’s direction, Siegel and Shuster revised the material and


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     “DC” refers to DC Comics as well as its predecessors and successors
(including Detective Comics and National Comics Publications).


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added “several additional pictures to illustrate the story continuity”—including a

new picture showing Superman with a distinct “S” on his chest, which DC’s own

artists colored red. ER-654; SER-385-86. DC’s artists colorized the strips,

choosing and adding the iconic blue-and-red color scheme to Siegel’s and

Shuster’s black-and-white drafts. SER-441-43. DC’s artists also created a cover

for Action Comics #1 based on a panel that featured Superman in his DC-colorized

costume—red cape and boots, blue leotard, and heraldic red “S” crest—and

exhibiting super-strength by lifting a car. SER-14, 234-35, 728.

      DC artists also created “Promotional Announcements”—a black-and-white

version of its artists’ cover art—to promote Action Comics #1. SER-15, 678, 730.

These Promotional Announcements were published beginning on April 5, 1938,

before Action Comics #1 was published on April 18, 1938. ER-1019; SER-572,

579-580. DC has filed a motion to lodge an original version of one comic book

containing a Promotional Announcement (Detective Comics #15, published on

April 10, 1938) with the Court for its review. See also SER-729-96.

      On March 1, 1938, before the publication of Action Comics #1, Siegel and

Shuster assigned to DC in writing all of their rights in Superman and agreed “not to

employ said characters or said story ... without obtaining [DC’s] written consent”

(“1938 Assignment”). ER-917. Superman was a success, and after Action Comics

#1 was published, Siegel and Shuster continued to supply DC with draft Superman



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material, for which they were paid $10 per page. ER-83, 960.

      The parties memorialized their arrangement in a September 22, 1938,

agreement (“1938 Employment Agreement”), which provided that Siegel and

Shuster “have been doing the art work and continuity for [Superman and other

comics] for us. We wish you to continue to do said work and hereby employ and

retain you for said purposes.” ER-605. DC maintained the “right to reasonably

supervise the editorial matter of all features,” and agreed to continue paying Siegel

and Shuster $10 per page. ER-606-07. The agreement also gave DC the right to

terminate Siegel and Shuster and retain other artists to produce new Superman

works. ER-606. The same day, DC entered into an agreement with the McClure

Syndicate (“Syndication Agreement”) giving McClure permission to publish

Superman strips in newspapers in exchange for royalties. ER-609-11.

      DC exercised “constant editorial supervision” over Siegel and Shuster’s

creation of new material, requiring them to send all drafts to DC’s editors for

review, giving detailed instructions on story elements and illustrations, and even

suggesting that the pair move “to New York where we can be at a moment’s touch

with everything that you do.” SER-219-49, 264-66. This relationship continued

throughout most of the 1940s, during which time Superman’s popularity grew and

expanded into other media. ER-858-86. Broad newspaper syndication, successful

merchandising, and effective exploitation of Superman in movie serials, animated



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cartoons, and merchandising resulted in royalty payments, bonuses, and other

compensation for Siegel and Shuster amounting to $5.4 million (in today’s terms)

from 1938 to 1946 alone. ER-466, 585-86, 945.

      2.     Litigation Over Superman During The 1940s, 1960s, And 1970s

      DC’s relationship with Siegel and Shuster became contentious. Other artists

and editors brought Superman to new media, including radio and film, and created

many of the now-familiar story-lines and catch phrases—e.g., “Up, up, and away,”

or “It’s a bird, it’s a plane, it’s Superman.” SER-680-81. Siegel also left to serve

in World War II; and while gone, DC, working with Shuster, published

“Superboy” stories that Siegel argued DC had no permission to publish. SER-590-

95, 603-07, 680.

      In 1947, Siegel and Shuster filed an action against DC in New York state

court seeking to invalidate the 1938 Assignment (“Westchester Action”). SER-20,

597. The Westchester court issued an interlocutory ruling concluding, inter alia,

that the 1938 Assignment granted “all” Superman rights to DC, but that publishing

the Superboy stories was improper. ER-939-93. In May 1948, DC, Shuster, and

Siegel entered into a stipulation and consent judgment under which Siegel and

Shuster acknowledged that the 1938 Assignment transferred to DC all rights in

Superman, including “the title, names, characters, concept and formula” as set

forth in Action Comics #1. ER-995-1017.



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      By the late 1950s, Siegel, Shuster, and DC had reconciled their differences.

Siegel again wrote Superman stories for DC, and Shuster received a stipend. SER-

294-96. But in 1965, Siegel and Shuster challenged DC’s copyright renewal rights

in Superman, and in 1969 they filed a lawsuit seeking a declaration that they

owned the Superman renewal copyrights. The court held that Siegel and Shuster

assigned to DC all rights in Superman, including renewal rights. Siegel v. Nat’l

Periodical Publ’ns, 364 F.Supp. 1032 (S.D.N.Y. 1973), aff’d, 508 F.2d at 913-14.

      After this loss, Siegel and Shuster approached DC for financial help. In

1975, DC agreed to provide them a lump sum of $17,500 each, annual payments of

$20,000 each, lifetime medical benefits, and benefits and payments to their heirs.

SER-641-75. In return, Siegel and Shuster acknowledged DC was the exclusive

owner of “all right, title and interest” in Superman. SER-641. DC increased its

annual payments to more than $125,000 annually, paid special bonuses, and

provided other benefits to Siegel, Shuster, and their families. See SER-390, 427-

31, 448, 641-75, 680.

      3.     Larson’s Termination Notices Under The 1976 Act And The Parties’
             2001 Settlement Agreement

      Congress amended the Copyright Act in 1976 to extend the copyright term

and give authors and certain heirs limited rights to terminate prior copyright grants

for works subject to the extension term. The Act struck a careful “compromise”

between the interests of authors and grantees, the latter of whom often invested


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decades of effort to develop copyrighted works into successful properties. SECOND

SUPP. REG. REP. ON GEN. REV’N OF U.S. COPYRIGHT LAW, 94TH CONG. 304 (1975).

      In 1997, after Siegel’s death, his widow and daughter served notices

purporting to terminate, as of 1999, various of Siegel’s Superman copyright grants

to DC (“Notices”). ER-1018-83. DC disputed the Notices’ validity; but rather

than litigate, the parties spent the next four years trying to reach a business deal.

Larson was represented by Kevin Marks of the leading entertainment law firm

Gang Tyre, which represents the likes of Clint Eastwood and Steven Spielberg.

SER-98-99, 433-34. DC’s lead negotiator was then-General Counsel of Warner

Bros., John Schulman. SER-433-34.

      Negotiations progressed, and when expectations grew that a deal would be

reached, DC paid Larson a non-refundable advance of $250,000. SER-416. On

October 16, 2001, DC made a settlement offer to Larson. SER-105, 434. On

October 19, Marks called Schulman to accept the offer and report “we are closed.”

SER-107-08. Later that day, he sent Schulman a letter (1) confirming that Larson

had “accepted D.C. Comics’ offer”; (2) documenting the deal’s material terms in

six, single-spaced pages; and (3) thanking Schulman for his “help and patience in

reaching this monumental accord.” SER-25, 61-62, 456-61, 111-12.

      Under the parties’ October 19 agreement, Larson was to assign to DC all of

her rights “in the ‘Superman’ and ‘Spectre’ properties (including ‘Superboy’),” in



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exchange for, inter alia, $3 million, an annual guarantee of $500,000 per year for

10 years, and 6% of gross revenues from all media and merchandising revenues

(e.g., television, movies, and toys). SER-456-61. Almost all the money would be

Larson’s alone—Gang Tyre’s fee was 5%. SER-798-99.

      On October 26, 2001, Schulman wrote back, confirmed the parties’

agreement, set forth “a more fulsome outline of what we believe the deal we’ve

agreed to is,” and indicated DC would begin drafting a long-form document so “we

will have this super-matter transaction in document form.” SER-118-19, 397-98,

463-70. Neither Marks nor Larson objected to Schulman’s letter. ER-435. DC

began performing its obligations under the October 19 agreement, including

establishing a significant reserve for monies owed, which quickly grew to $20

million. SER-397, 399.

      DC’s outside counsel worked on the separate long-form document for three

months and sent Marks a draft on February 1, 2002. SER-125, 435, 472-528.

Neither Marks nor Larson raised any objection until May 9, 2002, when Larson’s

mother sent DC a letter acknowledging that Larson had “accepted” DC’s October

16, 2001, offer, but objecting to unspecified portions of the long-form document

and concluding that “we have no deal[,] and this [long-form] contract makes an

agreement impossible.” SER-412-14. Marks told DC the long-form was

“aggressive,” but “not contrary to what had been agreed to,” and the parties would



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“deal with it.” SER-126-27, 130, 436, 439. For the next two months, Marks

reworked the draft, which he sent to Larson on July 15, 2002. SER-131-32.

       4.    Larson Allies With A New Business Partner Who Induces Her To
             Repudiate The 2001 Settlement Agreement
       Starting in 2001, Toberoff, the self-described “rights-hunter,” “movie

producer,” and “intellectual property entrepreneur,” began pursuing Siegel’s and

Shuster’s heirs. SER-115-16, 182-84, 404, 817-23, 835-36, 859-63. In November

2001, he induced the Shusters to become his business partners and to repudiate

their existing contractual arrangements with DC. SER-183, 858-61.2 Thereafter,

the Shusters served a termination notice purporting to recapture certain Superman

rights as of October 26, 2013. SER-844-56.

       Toberoff targeted the Siegels as well. SER-115-16, 182-83. He wrote

Larson’s brother and called Marks seeking to secure the Siegels’ Superman rights

for himself. SER-814. Marks rebuffed Toberoff, telling him in February, July,

and August 2002 that Larson had made a deal with DC. SER-115-16, 119-24, 182-

83, 811. Toberoff insisted in August 2002 that Marks communicate to Larson that

he and agent Emanuel had an unnamed “investor” willing to purchase her rights for

$15 million cash and generous “back-end” compensation. SER-122-24, 811, 875-

76. Marks conveyed this offer to Larson, but admonished her that she had a “deal”


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    Toberoff’s business misconduct is the subject of another lawsuit and two
appellate matters before this Court. Appeal Nos. 11-56934, 11-71844 (“Shuster”).


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with DC, and if she repudiated it, Marks would have to “testify against [her] in

court.” SER-183, 811.

       On September 21, 2002, Larson fired Marks, and sent a letter to DC stating

she was “ending negotiations.” SER-418-20. A month later, Larson signed an

agreement with Toberoff’s production company, IP Worldwide, to act as her agent

to exploit her putative Superman rights. SER-184, 422-25. But the promised $15

million investor never materialized, and Toberoff never produced any other buyers.

SER-122-23, 184-87, 811-13, 875-76. Instead, more than seven years of litigation

ensued, and Toberoff—who became Larson’s lawyer—stands to receive 40% of

any recovery. SER-187, 839-44, 860-63.3

       C.    Proceedings Below

       Larson filed suit on October 8, 2004. Her First Claim sought a declaration

that her termination notices were valid and effective as of 1999, entitling her to an

accounting of Superman-related profits from 1999 forward. ER-338. DC’s First

Counterclaim sought a declaration that the Notices were invalid; its Second

Counterclaim alleged Larson’s claims were time-barred; and its Third and Fourth

Counterclaims asserted that Larson’s claims were barred by the parties’ 2001

settlement agreement. ER-293-301.

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     Toberoff’s entertainment company also secured a 50% ownership interest in
the Shusters’ putative rights—later trading that 50% ownership interest for a 50%
contingency fee. SER-186, 860-63.


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      In March 2008, the district court issued a partial summary judgment order.

SER-5-90. It held that Larson recaptured certain unspecified rights in Action

Comics #1, but did not recapture the Promotional Announcements containing the

first appearance of Superman. SER-43-44. The order rejected DC’s settlement

counterclaims, holding that while the parties had formed “an agreement on all

major points of dispute,” the terms in Marks’ October 19, 2001, letter “differ in

substance from those set forth in [DC’s] later letter of October 26, 2001 … such

that there was no unequivocal acceptance of an offer and, thus, no agreement.”

SER-63. The court rejected DC’s limitations counterclaim as well, accepting

Larson’s representations that she did not terminate settlement negotiations until

September 21, 2002, making her claims timely by four days. ER-198.

      The parties submitted briefing to resolve remaining work-for-hire issues. In

August 2009, the court ruled that the vast majority of works at issue—including

Action Comics #2-3, #5-61; pages 1-2 of new material in Superman #1 (which

reprinted the stories in Action Comics #1-4, with some changes to the Action

Comics #1 story); Superman #2-23; and the newspaper strips created after the

Syndication Agreement—were works-for-hire and thus exempt from termination.

ER-43-140. But the court also ruled that Action Comics #4, Superman #1 (pages

3-6), and two weeks of strips created before Syndication Agreement were not

works-for-hire and thus were recaptured. ER-80-81, 140.



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      The district court expressly reserved ruling on key issues concerning the

scope of rights Larson recaptured. It did not determine the extent to which

Larson’s recaptured rights were diminished by DC’s rights in the Promotional

Announcements. SER-298-305, 310-13, 321-24, 2-3. It left open whether its

enumeration of the limited Superman elements in Action Comics #1—as compared

to the universe of elements DC owns outright—was intended to be “dicta,” as

Larson had argued. SER-305-08, 313-19, 325-26, 2-3. And it deferred ruling on

these and other open issues “until shortly before the time of” a later accounting

trial. SER-198.

      That accounting trial never occurred, and the open questions flagged by the

court were never answered. In 2009, the judge presiding over the Superman cases

resigned, and the cases were reassigned. The parties submitted a joint status report

agreeing that the “promotional announcement” and “dicta” questions had to be

answered before Larson’s First Claim could be fully resolved. SER-146-70.

      DC filed Shuster, and Larson and Toberoff responded by moving to stay that

case, and seeking an interlocutory appeal here. SER-143-45. The district court

denied Larson’s Rule 54 and stay motions, listing seven open issues—including

the “promotional announcement” and “dicta” issues—that “foreclosed a finding

that [Larson’s First Claim] … is final.” SER-141. Larson amended her complaint

to remove the request for an accounting of profits from the First Claim, but she did



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not eliminate the request for a scope of rights declaration. Dkt. No. 5-1 at 12-14.

She moved again for entry of Rule 54(b) judgment, and on May 17, 2011, the court

entered partial final judgment on Larson’s First Claim and DC’s First through

Fourth Counterclaims. ER-235-41.

       Larson appealed and DC cross-appealed. ER-228, 230.4 DC moved to

dismiss Larson’s appeal, and the Appellate Commissioner denied the motion

without prejudice to its reargument in merits briefing. Dkt. Nos. 5-1, 9.

                            STANDARD OF REVIEW

       This Court “review[s] de novo a district court’s grant of summary

judgment.” Cuellar de Osorio v. Mayorkas, 656 F.3d 954, 959 (9th Cir. 2011).

Summary judgment is appropriate if “there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” FED. R. CIV. P.

56(a). “In considering a motion for summary judgment, [the court] must draw all

reasonable inferences in favor of the nonmoving party.” Samuels v. Holland Am.

Line-USA Inc., 656 F.3d 948, 952 (9th Cir. 2011). The “non-moving party’s

evidence is to be believed, and all justifiable inferences are to be drawn in [its]



   4
    Larson’s brief does not challenge (and thus waives the right to challenge,
Gausvik v. Perez, 392 F.3d 1006, 1008 n.1 (9th Cir. 2004)), several adverse rulings
on her First Claim, including that she did not recapture the Promotional
Announcements, that certain pre-1938 material created by Siegel was not
copyrightable, and that she was not entitled to profits from foreign exploitation of
Superman. ER-76-77, 180-81, 207.


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favor,” such that its “version of any disputed issue of fact is … presumed correct.”

Thomas v. Ponder, 611 F.3d 1144, 1149 (9th Cir. 2010). The court must make

“[c]redibility determinations” and “weigh[] … the evidence” in favor of the non-

moving party, Narayan v. EGL, Inc., 616 F.3d 895, 899 (9th Cir. 2010), and “must

disregard all evidence favorable to the moving party that the jury is not required to

believe,” Wallace v. City of San Diego, 479 F.3d 616, 624 (9th Cir. 2007).

                           SUMMARY OF ARGUMENT

DC’s Cross Appeal On Its Second Through Fourth Counterclaims

      DC’s Second, Third, and Fourth Counterclaims allege that Larson’s claims

below are barred by the parties’ 2001 settlement agreement and the Copyright

Act’s three-year limitations period. These threshold claims were fully adjudicated

by the district court’s Rule 54(b) judgment and are ripe for appeal.

      I. Marks’ October 19, 2001, letter reflects a legally enforceable agreement

to resolve all claims at issue here, because it details all the essential terms of an

agreement: the scope of rights at issue, a significant cash payment, and generous

royalty terms, amounting to tens of millions of dollars for Larson. The letter

expressly stated that Larson “accepted” DC’s offer and referred to the parties’

“monumental accord.” Both parties’ representatives testified that they understood

an agreement had been reached. Given the parties’ agreement on the essential

terms detailed in the October 19, 2001, letter, it is irrelevant that the parties



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subsequently failed to conclude a formalized deal document. E.g., The Facebook,

Inc. v. Pac. Nw. Software, Inc., 640 F.3d 1034, 1038 (9th Cir. 2011). At a

minimum, DC is entitled to factfinding on the question whether the parties

intended to be bound by the essential terms identified in the October 19 letter.

E.g., Mattel, Inc. v. MGA Entm’t, Inc., 616 F.3d 904, 910-13 (9th Cir. 2010).

      II. DC was entitled to factfinding on its limitations counterclaim. Under the

parties’ tolling agreement, the limitations period restarted ten days after either

party “terminat[ed]” negotiations in writing. Larson herself has taken conflicting

positions as to when negotiations were terminated. Under the theory she asserted

below—which the district court accepted on summary judgment—her claims were

timely. But in Shuster, to avoid a tortious interference claim, she asserted a theory

of termination that would make her claims here time-barred. Her conflicting

positions confirm the existence of a factual dispute only a jury can resolve.

Larson’s And DC’s Appeals On Their Respective First Claims

      I. The district court entered Rule 54(b) judgment on Larson’s First Claim

and DC’s First Counterclaim, but the judgment did not fully and fairly adjudicate

those claims, because the court never conclusively determined all “rights and

obligations” in the Superman works at issue.

      II. Assuming the judgment on the parties’ First Claims is ripe for appeal, the

judgment should be affirmed in part and reversed in part. The court held that the



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vast majority of works at issue were created as works-for-hire, including Action

Comics #2-3, #5-61, pages 1-2 of new material in Superman #1, Superman #2-23,

and all strips created after the Syndication Agreement with McClure. Those

rulings all involve Superman works created entirely after Siegel and Shuster

assigned all Superman rights to DC and entered into employment agreements with

DC to produce new Superman work under DC’s direction. Those works are

obviously and unambiguously works-for-hire. But the court also held that Action

Comics #1 and #4, Superman #1 (pages 3-6), and the two weeks of Strips created

before the Syndication Agreement were not works-for-hire and thus could be

recaptured. Those rulings were incorrect. The district court also erred in ruling on

rights contained within certain Promotional Announcements without examining the

best visual evidence of their contents.

                                   ARGUMENT

                    DC’S CROSS-APPEAL ON ITS
            SECOND THROUGH FOURTH COUNTERCLAIMS

I.    THE DISTRICT COURT ERRED IN GRANTING SUMMARY
      JUDGMENT TO LARSON ON THE THRESHOLD SETTLEMENT
      AGREEMENT ISSUE

      A.     Under California Law, A Contract Is Enforceable So Long As
             Parties Agree On Its Essential Terms, Even Absent Formalized
             Documentation

      Under California law, an enforceable agreement is formed where one party

accepts another party’s offer in exchange for consideration. CAL. CIV. CODE


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§1550. And once a party accepts an offer, an enforceable agreement may arise

even if subsequent documentation is contemplated, or additional terms and

conditions are subsequently raised. See Facebook, 640 F.3d at 1037-38; Estate of

Thottam, 165 Cal.App.4th 1331, 1340-41 (2008); Elite Show Servs., Inc. v.

Staffpro, Inc., 119 Cal.App.4th 263, 268-69 (2004); Harris v. Rudin, Richman &

Appel, 74 Cal.App.4th 299, 307 (1999); Ersa Grae Corp. v. Fluor Corp., 1

Cal.App.4th 613, 624 & n.3 (1991).

      The question is simply whether the agreed-upon terms are “sufficiently

definite that a court can ascertain the parties’ obligations thereunder and determine

whether those obligations have been performed or breached.” Elite, 119

Cal.App.4th at 268. So long as “the parties have agreed to its existing terms,” and

those terms are definite, the “fact that an agreement contemplates subsequent

documentation does not invalidate the agreement.” Ersa, 1 Cal.App.4th at 624 n.3;

see Facebook, 640 F.3d at 1037-38; Thottam, 165 Cal.App.4th at 1340-41.

      “Any other rule” would allow a party to repudiate a contract “whenever the

understanding was that it should be reduced to another written form, by simply

suggesting other and additional terms and conditions.” Clarke v. Fiedler, 44

Cal.App.2d 838, 847 (1941). “If this were the rule, the contract would never be

completed in cases where, by changes in the market, or other events … it became

the interest of either party to adopt that course in order to escape or evade



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obligations incurred in the ordinary course of commercial business.” Id. Put

simply, “few contracts would be enforceable if … subsequent disputes were taken

as evidence that an agreement was never reached.” Patel v. Liebermensch, 45

Cal.4th 344, 352 (2008). Accordingly, “[w]here the writing at issue shows ‘no

more than an intent to further reduce the informal writing to a more formal one,’”

the parties’ “failure to follow it with a more formal writing does not negate the

existence of the prior contract.” Harris, 74 Cal.App.4th at 307.

      Facebook illustrates this rule. After one day of settlement negotiations, the

parties signed a handwritten, one-and-a-third page term sheet reflecting basic terms

of a corporate acquisition, including cash and stock consideration and mutual

releases. 640 F.3d at 1037. The settlement subsequently foundered during

negotiation over documents that Facebook said were “required to finalize” the

agreement, including a stock agreement and release form. Id.

      This Court held that the parties had formed an enforceable agreement,

because the existing writing showed that the parties “meant to bind themselves and

each other, even though everyone understood that some material aspects of the deal

would be papered later.” Id. at 1038. An informal agreement is not enforceable,

the Court explained, if it lacks “necessary term[s],” but it will be enforced “so long

as the terms it does include are sufficiently definite for a court to determine

whether a breach has occurred” and fashion an appropriate remedy. Id. at 1037-38.



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The test for enforceability, this Court remarked, is not “very demanding,” and was

“easily” passed by the term sheet: “The parties agreed that Facebook would

swallow up ConnectU, the Winklevosses would get cash and a small piece of

Facebook, and both sides would stop fighting and get on with their lives.” Id.

      Much the same is true here, as the following sections show.

      B.     The October 19, 2001, Writing Constitutes An Enforceable
             Agreement As A Matter Of Law

      The uncontradicted, documentary evidence establishes that Larson accepted

DC’s offer on October 19, 2001, in a written letter that identifies all the essential

terms of the settlement.

      1. The October 19 letter explicitly stated: “The Siegel Family … has

accepted D.C. Comics’ offer of October 16, 2001.” SER-456. The letter

congratulated DC on “this monumental accord.” SER-461. And it detailed “[t]he

terms” of the agreement in six, single-spaced, typewritten pages, id.—a much more

thorough and detailed writing than the one-and-a-third page handwritten sheet

enforced in Facebook. SER-456-61.

      In the entertainment industry, it is standard for parties to recognize and

perform contractual obligations in the absence of a formalized, long-form contract

(or, sometimes, any written contract). See Gary M. McLaughlin, Note, Oral

Contracts in the Entertainment Industry, 1 VA. SPORTS & ENT. L.J. 101, 117-20

(2001); Harrison J. Dossick, Resolving Disputes over Oral and Unsigned Film


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Agreements, L.A. LAW. 18, 19 (Apr. 1999); Jay M. Spillane, Lawsuits over

“Handshake Deals” Are As Old As the Entertainment Industry (and Can Be Easily

Avoided), 11 ENT. & SPORTS LAW. 15, 15 (1993). The question, as in Facebook, is

simply whether the essential terms of the agreement can be identified. Here the

October 19 letter specified every term “deemed essential as a matter of law” in a

copyright assignment, i.e., “the subject matter, the price, and the party against

whom enforcement is sought.” Levin v. Knight, 780 F.2d 786, 787 (9th Cir. 1986);

see Lamle v. Mattel, Inc., 394 F.3d 1355, 1361-62 (Fed. Cir. 2005); Toledano v.

O’Connor, 501 F.Supp.2d 127, 142 (D.D.C. 2007). The letter identified:

       • the full scope of rights assigned: “all of [their] rights in the ‘Superman’
       and ‘Spectre’ properties (including ‘Superboy’), resulting in 100%
       ownership to D.C. Comics”

       • the precise cash terms: an “advance of $2,000,000” and a “signing bonus
       of $1,000,000”

       • the specific royalty terms: “6% of Superman/Spectre Gross Revenues”
       from “all media” other than publications and “1% of the cover price of DC
       Comics’ publications.” SER-456-58.

       Nowhere did the letter contain any suggestion that Larson’s acceptance was

tentative or contingent on formal documentation.5 The extrinsic record confirms

   5
     Under California law, an initial writing is not enforceable if it clearly
demonstrates that the parties did not intend to be bound until other documents were
executed. See Bustamante v. Intuit, Inc., 141 Cal.App.4th 199, 208-11 (2006);
Harris, 74 Cal.App.4th at 307; Banner Entm’t, Inc. v. Super. Ct., 62 Cal.App.4th
348, 358 (1998); Beck v. Am. Health Grp. Int’l, Inc., 211 Cal.App.3d 1555, 1562-
63 (1989); Rennick v. O.P.T.I.O.N. Care, Inc., 77 F.3d 309, 316 (9th Cir. 1996).

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the opposite. Marks testified he worked through “the last open point” of the

agreement with Schulman on October 16, which “closed the deal,” and he

“believed that an accord had been reached on the terms exactly set forth in this

letter.” SER-105-06, 111-12. Schulman testified the October 19 letter “accurately

set forth all material terms of our agreement.” SER-435. DC manifested its

understanding that an agreement was reached by beginning performance, setting

aside a reserve account for the Siegels and including in its license agreement with

Warner Bros. a requirement that the Siegel family be given screen credit in an

upcoming Superman movie—both terms required by the October 19 writing. SER-

397, 399, 435-36, 459.

      2. The district court nevertheless held that no agreement was formed on

October 19, finding that the terms of Marks’ October 19 acceptance letter were

“materially different” from DC’s five-page letter of October 26, 2001, and “vastly

different” from the 56-page “long form” draft of February 1, 2002. SER-64.

These differences, the court found, showed that the parties “had not passed the

threshold where they had finalized and assented to all material terms,” because “as

they attempted to sketch in the finer details of a settlement from the broad outlines

contained in the October 19 letter, more and more issues arose upon which they

could not reach agreement, resulting in the negotiations falling apart.” SER-63-64.




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       That analysis misses the point. Marks’ October 19 acceptance of DC’s offer

settled the matter, and none of the subsequent discussions undid that contract. The

fact that the parties did not reach agreement on issues that “arose” as they

attempted to formalize the deal has no bearing on whether the parties had

previously agreed on the essential terms of the deal, while understanding “that

some material aspects of the deal would be papered later.” Facebook, 640 F.3d at

1038. And the court nowhere identified in the October 26 letter any disagreement

over any essential term specified in the October 19 letter—i.e., the scope of rights

transferred or key financial terms.6

       Rather than revealing a disagreement over essential terms, DC’s October 26

letter expressly confirms its understanding that a binding agreement had been

reached. The letter states that Schulman was merely providing a “more fulsome

outline of what we believe the deal we’ve agreed to is,” and that DC would begin

“working on the draft agreement” to put “this super-matter transaction in document

form.” SER-463 (emphasis added). The October 26 letter itself was thus neither



   6
     The court wrongly suggested that this case is like Weddington Prods., Inc. v.
Flick, 60 Cal.App.4th 793 (1998), because in both cases “the parties had agreed to
a rough outline of an agreement, but were thereafter unable to reach agreement on
the finer details and the negotiations fell apart.” SER-62. In fact, Weddington held
the settlement agreement at issue unenforceable only because the parties had failed
to agree on the most essential matter in dispute between them—the terms of a
license for a “sound library,” which “was a material issue to both sides” and thus
not “a minor, immaterial or separable issue.” 60 Cal.App.4th at 815.


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an “acceptance” nor a “rejection” of an “offer” by the Siegels—it was instead a

confirmation of terms already agreed to, as set forth in the October 19 letter, with

further recognition that the deal would be “papered.” Facebook, 640 F.3d at 1038.

      The district court’s focus on the “vastly different” February 2002 long-form

agreement was even more misplaced. It was, of course, vastly different in the

sense that it was a 56-page, detailed, formal draft contract, rather than a listing of

terms—just the kind of formal documentation that was attempted without success

in Facebook. But, again, nowhere did the court identify any essential term in the

long-form agreement that differed from the essential terms in the October 19 letter.

Marks himself did not express any reservations about the February 2002 long-form

until three months later, after he learned that Larson had complained about it.

SER-436. Even then, Marks told Schulman the draft was “not contrary to what

[had been] agreed to” and the parties could “deal with it.” SER-126-27, 130, 436.

      In any event, even if the February 2002 draft included different terms, it is

the new terms that would be unenforceable, not the October 19 terms. As this

Court explained in holding that Facebook’s duty to draft deal documents did not

render the preexisting term sheet unenforceable: “[I]f Facebook should draft terms

that are unfair or oppressive, or that deprive the Winklevosses of the benefit of

their bargain, the district court could reject them as a breach of the implied

covenant of good faith and fair dealing …. The district court got it exactly right



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when it found the Settlement Agreement enforceable but refused to add the stack

of documents drafted by Facebook’s deal lawyers.” 640 F.3d at 1038. The same

analysis applies here. The 56 pages drafted by DC’s lawyers were just that—pages

drafted by DC’s lawyers. A binding contract already existed, in the essential terms

the Siegels accepted on October 19.

      3. Although the district court itself identified no disagreements over

essential terms reflected in the correspondence and drafts following the October 19

letter, Larson offered up some 10 pages of differences. But none were raised at the

time (i.e., six years earlier, in 2001), nor did they reflect material differences over

an essential term. For example, Larson contended the October 19 and October 26

letters described the rights transfer differently, but both merely used different

lawyerly phrases to say that DC would receive 100% of the rights in all Superman

properties. Compare SER-458, with SER-464. Larson also asserted that the letters

state different terms for royalty reductions in “extraordinary cases” involving the

use of Superman rights with other properties, but the only difference is that while

the October 19 letter gives one example of such a use, the October 26 letter

provides additional examples; the basic contractual term is identical. Compare

SER-457-58, with SER-467-68. Larson also pointed to language about Superman

“cameo” appearances in other characters’ stories, SER-553-54, but both letters

provide that royalties for “cameos” will be zero, compare SER458, with SER-467,



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consistent with industry standards, SER-172-75; Benjamin A. Goldberger, How the

“Summer of the Spinoff” Came to Be: The Branding of Characters in American

Mass Media, 23 LOY. L.A. ENT. L. REV. 301, 320, 371 (2003).7

       Other purported differences Larson identified—e.g., representations and

warranties, an obligation to provide certain historical documents, a right of first

refusal on biographical works, publicity obligations, advertising credits, dispute-

resolution procedures, and indemnities—likewise do not represent material

differences concerning essential terms. See Inamed Corp. v. Kuzmak, 275

F.Supp.2d 1100, 1120-22 (C.D. Cal. 2002) (terms concerning license termination,

indemnification, sublicenses, transfer of rights, confidentiality, and dispute

resolution not essential). The differences in language thus do not undermine the

basic agreement that is reflected in the plain terms of the October 19 letter and

confirmed by the parties’ contemporaneous conduct and subsequent testimony.

       C.    At A Minimum, DC Is Entitled To Factfinding As To Whether
             The Parties Intended To Be Bound By The Essential Terms
             Identified In The October 19, 2001, Letter

       At minimum, if there were any genuine dispute as to whether the parties

intended to be bound by the essential terms identified in the October 19 letter, that

   7
    As Schulman explained, the different language in his letter concerned the
precise definition of “cameo,” SER-437, which would have been worked out in the
long form. Marks did not object to Schulman’s description of “cameos” at the
time, and when asked at his deposition to identify all differences between his letter
and Schulman’s, he did not mention “cameos.” SER-118-19, 435, 533-44.


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dispute should have been resolved by a jury. The question whether parties

intended to be bound by terms expressed in an informal agreement is one of fact,

see Bustamante, 141 Cal.App.4th at 208; Banner, 62 Cal.App.4th at 358, and thus

“summary judgment is inappropriate” where that question is materially contested,

S. Cal. Painters v. Best Interiors, Inc., 359 F.3d 1127, 1130 (9th Cir. 2004); see

Callie v. Near, 829 F.2d 888, 891 (9th Cir. 1987) (“summary enforcement

inappropriate” where there is “conflicting evidence” as to whether parties agreed

on “material terms” of settlement agreement).8

       The record described above, especially when viewed favorably to DC,

plainly precludes summary judgment against DC on this question. In Mattel, this

Court reversed the same district court for making improper determinations

concerning contractual intent on summary judgment, where they “turn[ed] in part

on the credibility of conflicting extrinsic evidence.” 616 F.3d at 910; see Mattel,

Inc. v. MGA Entm’t, Inc., 2011 WL 3420603, *2 (C.D. Cal. Aug. 4, 2011) (jury

finding on remand opposite of what court held on summary judgment).

       The district court made the same mistake here. Rather than accepting all

inferences and making all credibility determinations in DC’s favor, it engaged in

its own factfinding as to the parties’ intent, and rejected inferences favoring DC.

   8
     The district court said Callie found “no enforceable agreement” because of
disagreements over its “finer details,” SER-64, but Callie actually found disputed
factual issues concerning agreement on essential terms, see 829 F.2d at 890-91.


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For example, the court speculated that DC’s post-agreement conduct “could as

much be seen as goodwill gestures on defendants’ part while the negotiations

continued as [they] could reflect an indication on [DC’s] part that they thought

they were contractually bound to do the same.” SER-65. But on summary

judgment, the court was required to adopt the inference favorable to DC.

       Similarly, in analyzing the differences among the letters and February draft

agreement, the court observed that “materiality is in the eye of the beholder,” and

then held that the differences were material enough to establish that there was no

agreement on October 19, 2001. SER-63. But any question whose answer

depends on “the eye of the beholder” is a classic jury question. Atla-Medine v.

Crompton Corp., 2001 WL 1382592, *6 (S.D.N.Y. Nov. 7, 2001) (where issues are

“in the eyes of the beholder,” “[r]are is the case where summary judgment would

be appropriate”).9 The district court also appeared to credit Marks’ subsequent

   9
     Medina v. Ramsey Steel Co., 238 F.3d 674, 681-82 (5th Cir. 2001) (“what
constitutes ‘substantial sales experience’ is in the eye of the beholder” and thus
“the trier-of-fact’s duty to determine”); Nike, Inc. v. Just Did It Enters., 6 F.3d
1225, 1226 (7th Cir. 1993) (reversing summary judgment ruling on parody defense
because “[h]umor … is in the eyes of the beholder”); Recycling Solutions Tech.,
LLC v. Rosenberg, 2011 WL 1696826, *1 (E.D. Ky. May 4, 2011) (“Beauty may
be in the eye of the beholder, but summary judgment requires something a bit more
concrete.”); Webster Indus., Inc. v. Northwood Doors, Inc., 320 F.Supp.2d 821,
824-25 (N.D. Iowa 2004) (though “fraud, like beauty, is in the eye of the beholder
… this court’s task on motions for partial summary judgment [is to] determine only
whether the resisting parties have generated genuine issues of material fact”); Vass
v. Compaq Computer Corp., 953 F.Supp. 114, 119 (D. Md. 1997) (“judgment
made through the eyes of the beholder” is “not to be summarily determined”).

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testimony about the relevant events over testimony from DC witnesses, including

testimony concerning the “goodwill gesture” point, which DC witness Paul Levitz

disputed, and the materiality of differences between the October 19 and 26 letters,

which Schulman addressed. SER-67, 397-99, 435-37.

      Beyond the record evidence already discussed, new evidence has come to

light further indicating that Larson knew she was bound by the October 19 terms.

In Shuster, the district court compelled Larson to produce a July 2003 letter she

wrote to her brother, in which she repeatedly states that Marks insisted, in August

2002, that Larson had a “deal with Time Warner/DC.” SER-810-14, 824-25. The

letter states that Marks would “testify against [her] in court” if she repudiated the

deal and accepted Toberoff’s offer. SER-811. The letter confirms that Marks told

Toberoff that Larson had a “deal” with DC. SER-811. Given this letter, there is at

least a jury question as to whether Larson understood she was bound to the

October 19 terms.

II.   THE DISTRICT COURT ERRED IN GRANTING SUMMARY
      JUDGMENT TO LARSON ON DC’S LIMITATIONS
      COUNTERCLAIM

      The district court’s order granting summary judgment against DC on its

limitations counterclaim also erroneously resolves factual disputes against DC.

      Copyright claims must be filed “within three years after the claim accrued,”

or 1,095 days. 17 U.S.C. §507(b). Larson’s claims accrued on April 16, 1999—



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the day her Notices purport to take effect. SER-62. Accordingly, Larson was

required to file her claim by April 16, 2002. The parties, however, entered into a

tolling agreement on April 6, 2000—356 days into the 1,095-day limitations

period, with 739 days left to run—providing that it would expire, as relevant here,

“10 business days after … either party terminat[es] negotiations, in writing,

relating to the Notices.” SER-348-51.

      There are two possible termination “triggers” for this provision. One

occurred on May 9, 2002, when Larson’s mother sent DC a letter stating that the

February 2002 draft long-form contract “makes an agreement impossible.” SER-

234. If that letter terminated negotiations, then the limitations period restarted on

May 20, 2002, and ended May 28, 2004—five months before Larson filed suit.

      The other possible event occurred on September 21, 2002, when the Siegels

sent a letter to DC stating that “we are totally stopping and ending negotiations.”

SER-420. If that letter terminated negotiations for purposes of the tolling

agreement, then the limitations period restarted 10 days later, on October 4, 2002,

and closed on October 11, 2004—four days after Larson filed suit.

      Larson herself has taken conflicting positions as between these two

possibilities. In the district court below, she contended that negotiations were not

terminated until the later date of September 21, 2002. The court agreed, holding

her claims to be timely. SER-60-61.



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      Since that ruling, however, Larson has argued the opposite in Shuster. In

Shuster, DC alleges that Toberoff interfered with DC’s business relationship with

Larson by wrongfully inducing her to repudiate the 2001 settlement and cut ties

with DC. SER-816-19. Toberoff and Larson filed an unsuccessful motion to strike

this claim, arguing he “had [nothing] to do with the May 9[, 2002] letter that ended

DC’s purported ‘prospective economic advantage’” and made settlement

discussions “moribund.” SER-825, 868, 878-79; see Appeal Nos. 11-55863, 11-

71844 .

      Larson cannot have it both ways. Either the parties’ settlement negotiations

“ended” on May 9, 2002—in which case Larson’s claims here are time-barred—or

on September 21, 2002—in which case Larson has essentially conceded Toberoff’s

liability for DC’s interference claim in Shuster. Settled principles of estoppel

prevent Larson (and Toberoff) from “deliberately changing positions according to

the exigencies of the moment.” New Hampshire v. Maine, 532 U.S. 742, 750

(2001). At the very least, her shifting positions demonstrate that a jury, too, could

go either way. See Mattel, 616 F.3d at 910.




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           LARSON’S APPEAL OF HER FIRST CLAIM AND
       DC’S CROSS-APPEAL ON BOTH PARTIES’ FIRST CLAIMS

I.    LARSON’S ENTIRE APPEAL IS PREMATURE BECAUSE HER
      CLAIM HAS NOT BEEN FULLY AND FINALLY ADJUDICATED

      Before this Court can exercise jurisdiction over an interlocutory appeal, it

must determine de novo whether the claim on appeal has been fully adjudicated.

SEC v. Platforms Wireless Int’l Corp., 617 F.3d 1072, 1084 (9th Cir. 2010). Rule

54(b) requires final judgment on an entire claim. Ariz. State Carpenters Pension

Trust Fund v. Miller, 938 F.2d 1038, 1040 (9th Cir. 1991).

      The Rule 54(b) judgment on DC’s Second through Fourth Counterclaims

was proper, as those claims were fully adjudicated. The Rule 54(b) judgment on

Larson’s First Claim and DC’s First Counterclaim, however, was invalid and thus

not appealable. See Dkt. No. 5-1.

      Larson’s First Claim seeks a declaration regarding the parties’ “respective

rights and obligations with respect to the Termination and the copyright interests

thereby recaptured.” ER-338-39 ¶¶53-55 (emphasis added). The district court’s

judgment did not fully determine the parties’ “rights and obligations” or the scope

of the “copyright interests” assertedly recaptured by Larson. For example, the

judgment does not establish the extent to which Larson’s recaptured rights—if

any—are diminished by the Promotional Announcements owned by DC, which

feature key story elements from Action Comics #1. Dkt. No. 5-1, at 11-17. The



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court also left open whether its description of the limited elements in Action

Comics #1 was intended to be “dicta,” as Larson argued below. SER-305-08, 313-

19, 325-26, 2-3.

      As discussed supra at 20-22, both Larson and the district court

acknowledged that the court’s summary judgment rulings left open key legal and

factual questions concerning the “scope of [Larson’s] recaptured copyrights.”

SER-198, 298-305, 310-13, 321-24, 2-3. Larson sought finality on the First Claim

by amending it to remove a request for an accounting, but the accounting request

was only one of the unresolved matters. The First Claim will be finally

adjudicated only when the parties’ “rights and obligations” and “copyright

interests” are fully determined.

II.   THE SUPERMAN ELEMENTS AT ISSUE WERE MADE-FOR-HIRE
      ON BEHALF OF DC AND ARE THUS EXEMPT FROM
      TERMINATION
      Assuming the Court has jurisdiction to consider the remainder of this appeal,

the questions largely concern whether certain early Superman works qualify as

“works for hire” under the 1909 Copyright Act, 17 U.S.C. §§24, 26 (1909)

(repealed 1976). As Larson acknowledges, LB-21, a work made-for-hire under the

1909 Act is not subject to the termination provisions created by the 1976 Act, 17

U.S.C. §§203(a), 304(c)-(d). The district court held that the vast majority of works




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at issue were created as works-for-hire, but it held a few works were not, and thus

could be recaptured. The first category of rulings was correct, the second was not.

        A.    A Work Is Made-For-Hire Under The 1909 Copyright Act When
              It Is Created At The “Instance And Expense” Of The
              Commissioning Party
        1. It has been “the well-established law of this circuit”—and others—for

decades that a work qualifies as made-for-hire under the 1909 Act whenever it was

created at the “instance and expense” of another party. Fox, 429 F.3d at 879-81.10

The instance-and-expense test embodies a presumption “when one person engages

another … to produce a work of an artistic nature … the title to the copyright shall

be in” the employer. Lin-Brook, 352 F.3d at 300.

        The “instance” requirement is met where the hiring party was the

“motivating factor in producing the work.” Fox, 429 F.3d at 879. What matters is

“the degree to which the ‘hiring party had the right to control or supervise the

artist’s work,’” irrespective of whether it was actually exercised. Id. The

“expense” requirement can be satisfied in different ways: (1) the hiring party may

assume “the financial risk of the [work’s] success,” id. at 881, or (2) “simply


   10
     See Self-Realization Fellowship Church v. Ananda Church of Self-
Realization, 206 F.3d 1322, 1326 (9th Cir. 2000); Dolman v. Agee, 157 F.3d 708,
711-12 (9th Cir. 1998); May v. Morganelli-Heumann & Assocs., 618 F.2d 1363,
1368-69 (9th Cir. 1980); Lin-Brook Builders Hardware v. Gertler, 352 F.2d 298,
300 (9th Cir. 1965); Estate of Hogarth v. Edgar Rice Burroughs, Inc., 342 F.3d
149, 158-63 (2d Cir. 2003); Easter Seal Soc’y v. Playboy Enters., 815 F.2d 323,
325-27 (5th Cir. 1987).

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pay[]” a sum for its creation, Playboy Enters., Inc. v. Dumas, 53 F.3d 549, 555 (2d

Cir. 1995), or (3) the hired party may “expect[] to be compensated” for his work,

Murray v. Gelderman, 566 F.2d 1307, 1311 n.7 (5th Cir. 1978).

        If the “instance and expense” test is satisfied, the court must presume the

parties agreed the copyright “lies ab initio with the commissioning party.” Fox,

429 F.3d at 881; see Self-Realization, 206 F.3d at 1326; Dolman, 157 F.3d at 711-

12. That presumption is rebutted only if the party seeking to defeat work-for-hire

status adduces evidence proving that the parties expressly agreed the

commissioning party would not own the copyright. Fox, 429 F.3d at 881; Dolman,

157 F.3d at 712-13; May, 618 F.2d at 1368-69; Lin-Brook, 352 F.2d at 300.

        2. In a tacit concession that she cannot prevail under the settled instance-

and-expense test, Larson labors to escape it. She first complains the test has been

“criticized,” but concedes it has been this Circuit’s controlling law for decades.

LB-23.11


   11
      Although the criticism is therefore irrelevant, it is also wrong. The
commentators Larson cites would limit work-for-hire to traditional “employees”—
excluding works made by independent contractors at the “instance and expense” of
another—on the theory that the 1909 Act refers to the “employer” in the case of a
work-for-hire. LB-26-27. But the word “employer” plainly does not limit work-
for-hire to the “more conventional master-servant relationship.” LB-26; see LB-
57-58. The cases Larson cites refer only to use of the word “employee,” which
does generally refer to common-law master-servant relationships. See Clackamas
Gastroenterology Assocs., P.C. v. Wells, 538 U.S. 440, 445 n.5 (2003); CCNV v.
Reid, 490 U.S. 730, 738-40 (1989). The term “employer” has no such connotation,
because it is perfectly conventional to refer to the “employer of an independent

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        Larson also suggests that the instance-and-expense test should be applied

differently in the context of termination rights under the 1976 Act (LB-27-28), but

she cites nothing in the Act’s text or history supporting such a rule,12 and it makes

no sense. A work is either made-for-hire or it is not—it cannot be a work-for-hire

for all purposes except termination rights. In the termination context as in any

other, if the work was made at the instance and expense of the employer—whether

by a traditional employee or an independent contractor—then the employer was the

statutory “author” ab initio, leaving no authorship rights for anyone else to

recapture. E.g., Marvel Worldwide, Inc. v. Kirby, 777 F.Supp.2d 720, 741-42

(S.D.N.Y. 2011) (applying instance-and-expense test in termination context to find

work-for-hire).13



contractor.” See Meyer v. Holley, 537 U.S. 280, 290 (2003); St. Paul Water Co. v.
Ware, 83 U.S. 566, 576-77 (1872); Chaffin v. U.S., 176 F.3d 1208, 1212 (9th Cir.
1999); RESTATEMENT (SECOND) OF TORTS ch. 15, §§409-29 (1965); 41 AM. JUR. 2D
Independent Contractors §§8, 14, 19, 47 (2005).
   12
     Indeed, leading cases like Picture Music and Lin-Brook had already applied
work-for-hire beyond traditional employer-employee relationships by 1976, and
Congress did nothing to alter the doctrine as it applied to works governed by the
1909 Act. What is more, this Court’s precedents largely solidified the instance-
and-expense test after 1976—starting with May in 1980, supra n.10—refuting any
suggestion that the 1976 Act somehow undermined the test.
   13
      Larson also errs in asserting that the instance-and-expense test is “ill-suited
for summary adjudication due to its inherently fact-intensive nature.” LB-57.
Courts frequently apply the test on summary judgment where, as here, there are no
disputes of historical fact. E.g., Self-Realization, 206 F.3d at 1324, 1330; Dolman,
157 F.3d at 711; Kirby, 777 F.Supp.2d at 738, 743; Scherr v. Universal Match
Corp., 297 F.Supp. 107, 113 (S.D.N.Y. 1967), aff’d, 417 F.2d 497 (2d Cir. 1969).

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      B.     The District Court Correctly Held That Action Comics #2-3, #5-
             61, Superman #1 (Pages 1-2)-23, And The Post-McClure Strips
             Were Works-For-Hire
      In the time period at issue here, DC published and distributed Superman

stories in various formats, including: as part of Action Comics, as the standalone

comic Superman, and in “strips” syndicated in daily newspapers. The district court

held that the following works were made-for-hire: the Superman works in Action

Comics #2-3 and #5-61, pages 1-2 of Superman #1 and Superman #2-23, and

newspapers strips created after DC entered into the Syndication Agreement with

McClure (“Strips”).

      All of the foregoing works were both created and published after Siegel and

Shuster entered into two relevant agreements with DC: the 1937 Employment

Agreement of December 7, 1937, and the 1938 Assignment, pursuant to which

Siegel and Shuster assigned all rights in all aspects of Superman. Supra at 11-12.

      Under those agreements, DC possessed complete control over creation of

new Superman stories and elements. Nothing could be done without DC’s

consent. DC warned Siegel and Shuster that DC would “not tolerate or accept

slipshod work,” and that if their new Superman stories and artwork did not “show a

marked improvement,” DC would “make other arrangements to have it done.”

In the cases cited by Larson, summary judgment was precluded by credible,
admissible, direct evidence that the parties did not intend the commissioning work
to be made-for-hire. See Fox, 429 F.3d at 875; Marvel Characters, Inc. v. Simon,
310 F.3d 280, 292 (2d Cir. 2002); May, 618 F.2d at 1368.


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SER-223, 249. Given the 1938 Assignment, DC had the right to employ other

artists to create new Superman works if Siegel and Shuster could not meet DC’s

quality and timing demands. The parties’ correspondence further shows that DC:

   • advised Siegel and Shuster that they “need[ed] constant editorial supervision
      and an alter-ego who can criticize and point out small details … which may
      make or break the strip,” SER-220;
   • required them to submit their draft material far enough “in advance” that DC
      could go over it “with a fine tooth comb,” SER-220, 224, 228-35;
   • made substantive revisions to the draft material, SER 223-24, 231, 242;
   • demanded that Siegel “re-write” scripts and sent him synopses to “elaborate
      in detail,” SER 223-24, 231, 237-38;
   • provided detailed instructions for the illustrations, SER-234-35, 242, 244-45;
   • directed Siegel as to story elements and themes, SER-223-24, 234-38; and
   • insisted that Siegel and Shuster submit sketches of cover art for DC to
      “okay,” SER-224, 234-35, 242.

      The record also established without ambiguity that DC incurred significant

expense to create new Superman works after retaining Siegel and Shuster and

requiring their assignment of all rights in the character and story. DC made a

major financial investment in commissioning Siegel and Shuster to create new

Superman material—DC compensated them significantly for that material, and

bore all the costs of printing, distributing, and promoting the Superman works,

which itself suffices to satisfy the expense requirement. ER-425-27, 960; SER-

223-24, 678-79; Fox, 429 F.3d at 881.


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        After Siegel and Shuster spent years unsuccessfully trying to sell their

nascent character and story, DC was the one party willing to take the “tremendous

gamble” of purchasing the rights to Superman, hiring Siegel and Shuster to create

new Superman works, and developing those works into a successful property. ER-

425-27. Further, DC assumed a significant financial risk in relying entirely on

Siegel and Shuster, rather than hiring additional artists to meet the demands of

producing daily copy for syndicated newspaper comic pages. If Siegel and Shuster

did not satisfy their obligations to provide quality work on a timely basis, the result

would be empty pages in Action Comics, blank space in daily newspaper funny

pages, and financial loss to DC’s brand and bottom line.

        Finally, it bears emphasis that after the 1938 Assignment, DC owned the

Superman character and story outright. ER-917. When the commissioning party

owns the copyright in the underlying work, that party necessarily has full authority

to control and develop the work, thus making any derivative work a work-for-hire.

See Hogarth, 342 F.3d at 163; Picture Music, Inc. v. Bourne, Inc., 457 F.2d 1213,

1217 (2d Cir. 1972); 17 U.S.C. §7 (1909) (derivative works “produced with the

consent of the proprietor of copyright … shall be regarded as new works”).14




   14
     It is true that an artist can own the copyright in his contributions to a
derivative work (LB-31), but not if the derivative work is made-for-hire.


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      Nothing in the foregoing factual record is disputed, and it plainly establishes

that all new Superman stories and elements published after the 1937 Employment

Agreement and 1938 Assignment were created because DC employed and paid

Siegel and Shuster to create them. If DC at any point became dissatisfied with

their work, DC could have terminated the relationship and paid someone else to

develop DC’s exclusive rights in Superman. ER-427, 917. The undisputed record

shows, in short, that the new, derivative Superman works created after March 1938

were created at DC’s instance and expense, and thus it is presumed that the parties

agreed that DC would own the copyright in those works ab initio, unless Larson

can establish an express agreement to the contrary. Supra at 43.

      Larson does not even attempt to identify any such agreement, because none

exists. That should end the matter. Larson instead proffers a litany of arguments

with respect to each category of works, in an effort to show that the works were not

created at DC’s instance, or expense, or both. Those efforts are futile.

      1.     Action Comics #2-3, #5-6
      a. The district court correctly held that Action Comics #2-3, #5-6, which

were published between May and September 1938, were “done at the instance of”

DC. ER-83. Before Action Comics #1 was published, DC made clear that

Superman would be a “new feature” requiring Siegel and Shuster regularly to

supply DC with new material. ER-423. Consistent with their agreement, DC set



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aside space for the Superman feature in its comic books, including “every

succeeding monthly issue of Action Comics for the period in question,” ER-83,

which was “published at regular intervals.” ER-960. For each installment, Siegel

and Shuster submitted Superman strips to DC and were paid $10 per page. Id.

      b. Larson’s arguments that Action Comics #2-3, #5-6 were not created at

DC’s instance and expense are meritless. Larson first contends the works cannot

be works-for-hire because DC did not commit to accepting new material, and thus

there was no “guaranteed compensation” and the expense factor is not satisfied.

LB-29. That argument has been “roundly rejected.” Kirby, 777 F.Supp.2d at 742.

No court has ever held that the “expense” factor requires guaranteed compensation.

See Murray, 566 F.2d at 1311 n.7 (“neither the form of compensation, nor the

amount, is determinative”); Picture Music, 457 F.2d at 1216 (lack of fixed

payment “is never conclusive”). To the contrary, courts have found work-for-hire

where there was no obligation to pay an artist for unpublished works. E.g.,

Playboy, 53 F.3d at 555; Warren v. Fox Family Worldwide, Inc., 328 F.3d 1136,

1142 (9th Cir. 2003); Picture Music, 457 F.2d at 1216. In fact, the lack of a long-

term guarantee “is not something which is atypical” in a work-for-hire situation.

ER-86. The expense requirement is satisfied, for example, where an artist is paid

only in royalties, which may amount to nothing if the work does not succeed.

Warren, 328 F.3d at 1142.



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      Larson next argues that the 1938 Employment Agreement undermines the

work-for-hire status of Action Comics #2-3, #5-6 because it states that DC “hereby

employ[s] and retain[s] you.” LB-30 (emphasis added). But that language simply

signifies that Siegel and Shuster were now subject to the particular terms of the

1938 Employment Agreement—it does nothing to establish that Siegel and Shuster

were not already producing Superman work at DC’s instance and expense. The

1938 Employment Agreement, in fact, expressly states that Siegel and Shuster

“have been doing the art work and continuity for us” and that DC wanted the pair

“to continue to do said work.” ER-605 (emphasis added). The new written

agreement thus simply “formalized what had informally been ongoing

beforehand.” ER-85.

      Finally, Larson contends that “Siegel had already written” the Superman

stories in Action Comics #2-3, #5-6, before 1938. LB-32. Larson’s first theory is

that because the district court held that certain elements of Action Comics #4 and

Superman #1 were created before 1938—which is erroneous in any event, infra at

61-68—it must be true that the other Action Comics contained preexisting

elements. LB-32. But Larson has pointed to absolutely no evidence that Action

Comics #2-3, #5-6 were based on preexisting materials. Absent such evidence,




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there is no basis for any inference that they were.15 Larson’s second theory is that

the new works were based on a paragraph written by Siegel in 1934 that

“previewed” Superman’s future exploits (LB-32), but the district court rejected that

argument, holding that the so-called “preview” paragraph “constitutes mere ideas

for future works rather than expressions of those ideas, and thus contains no

copyrightable material.” ER-75; see Harper & Row, Publishers v. Nation Enters.,

471 U.S. 539, 547 (1985) (“no author may copyright facts or ideas”). Larson did

not appeal that ruling, thereby waiving this contention. See Partmar Corp. v.

Paramount Pictures Theatres Corp., 347 U.S. 89, 99 (1954); Gausvik, 392 F.3d at

1008 n.1.

        2.    Action Comics #7-61 And Superman #1-23
        a. Action Comics #7-61 and Superman #1-23 were produced by Siegel and

Shuster not only after the 1938 Assignment gave DC exclusive rights in Superman,

but after the 1938 Employment Agreement formalized the artists’ working

relationship. ER-87. The 1938 Employment Agreement confirmed that the works

were created at DC’s instance:

   • Siegel and Shuster “will supply us each and every month …, in sufficient
        time for publication …, sufficient copy and art”;
   • “The standard of said comics shall be equal to the present standards”;

   15
     As for Action Comics #6, Larson never argued below that this work was
based on pre-existing material, so the argument is waived. See Jachetta v. U.S.,
653 F.3d 898, 906 (9th Cir. 2011).


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   • “[I]f at any time the art and continuity of any feature shall not be up to the
      standard …, [DC] may terminate this agreement and substitute other artists”;
   • DC “shall have the right to reasonably supervise the editorial matter of all
      features.” ER-605-07.

      These works were also created at DC’s expense. All three means of

satisfying the expense requirement, supra at 42-43, were present here: DC

assumed the financial risk of Superman’s success and bore responsibility for

printing, distributing, and promoting these works; DC paid Siegel and Shuster for

these works; and Siegel and Shuster expected to be compensated pursuant to the

1938 Agreement, which provided that DC would “pay you on publication, for any

and all of said comics,” according to a fixed pay scale. ER-606.

      Because Action Comics #7-61 and Superman #1-23 were plainly created at

DC’s instance and expense, they are works-for-hire as a matter of law.

      b. None of Larson’s barrage of contrary arguments has merit. Larson first

contends that these works were not created at DC’s “expense” because DC was

obligated to pay only for works DC decided to publish. LB-49. But Larson did

not below and does not now seek to recapture any unpublished, unpaid-for, non-

copyrighted work (nor could she)—making this issue irrelevant. And she was paid

for the works that were published, and no work-for-hire precedent requires fixed

compensation for every possible submission to satisfy the “expense” test. Supra at




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49. The Kirby court correctly described Larson’s argument to the contrary

(advanced by her same counsel here) as “roundly rejected.” 777 F.Supp.2d at 742.

        It is beside the point that Siegel and Shuster also incurred costs to create

these new Superman works. LB-48. It is undisputed that they were more than

compensated for those costs under the payment schedule established by the 1938

Agreement—they both became wealthy as a result of those payments. ER-466,

585-86, 605-07; see Playboy, 53 F.3d at 555 (fact that artist provided own tools

and studio, hired assistants, paid taxes and benefits, and set his own work schedule

had “no bearing on whether the work was made at the hiring party’s expense”);

Estate of Hogarth v. Edgar Rice Burroughs, Inc., 2002 WL 398696, *20 (S.D.N.Y.

Mar. 15, 2002) (artist cannot “unilaterally … disrupt a work for hire arrangement

by paying certain costs of the project that he was not contractually bound to pay”).

        Larson says DC’s payments under the 1938 Employment Agreement were

“by law” not payments for work produced at DC’s instance, but “a discretionary

purchase of completed material.” LB-49. Larson cites no “law” so holding, and

the facts preclude that conclusion. DC already owned all rights to Superman, so

there was nothing for DC to “purchase.” Supra at 47.16 Under the 1938


   16
      Larson says that testimony of DC expert Mark Waid proves DC did not own
the rights in not-yet-published Superman material, because Waid sought the
“blessing” of the Siegels to publish a newly discovered, unpublished Superman
work. LB-52-53. There is no evidence that Waid did so because he thought it was
legally required—indeed, a “blessing” is obviously not equivalent to a “license.”

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Employment Agreement, DC paid the artists for work they were obligated to create

on a specified timely basis, under quality standards enforced by DC.17 ER-605-07.

        Larson next contends that Action Comics #7-61 and Superman #1-23 were

not made at DC’s instance because DC did not exercise complete control over

Siegel’s and Shuster’s creative processes. LB-55. “All [DC] really had,” Larson

says, “was the purchasing power of any buyer.” Id. No. DC had much more—

most significantly, it had the power to terminate Siegel and Shuster outright if they

did not produce publishable-quality work, to retain other artists to create Superman

works and, as the sole owner of Superman, to bar Siegel and Shuster from ever

creating any more Superman works of any kind. Supra at 12-13. DC also had the

right to supervise their work to determine whether it satisfied “present standards”

of publication. See Fox, 429 F.3d at 880 (“complete control over the author’s work

is not necessary”). The law does not require the employer to insert itself directly



And whatever Waid personally thought does not bind DC as a corporation, nor
could his personal state of mind create or eliminate rights that existed as a matter
of law in 1938 based on contractual agreements. Finally, rights in unpublished
works are not at issue here. Supra at 52.
   17
      The district court concluded that Larson “failed to present evidence that
Siegel and Shuster were not, in any given instance, paid for their work.” ER-89.
Rather, the court held, a 1939 agreement between the parties suggested that the
“pattern and practice” was for DC to pay Siegel and Shuster even for Superman
material they had not created. ER-90; see ER-965. Larson addresses the court’s
inference at great length (LB-51-54), but her entire discussion misses the point:
even if Siegel and Shuster were not paid for unpublished work, the works that were
published plainly were created at DC’s instance and expense.


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into the artist’s creative process—after all, the whole point of commissioning an

artist is to engage the artist’s creative talents. See Martha Graham Sch. & Dance

Found., Inc. v. Martha Graham Sch. of Contemporary Dance, Inc., 380 F.3d 624,

635 (2d Cir. 2004). The employer need not dictate or shape how works are made:

“talented people … are expected by their employers to produce the sort of work for

which they were hired,” id. at 640-41—exactly as Siegel and Shuster did here.18

        3.    Post-McClure Newspaper Strips

        a. Siegel and Shuster created many Strips after executing the 1938

Employment and Syndication Agreements. It is plain they were created at DC’s

instance—Siegel and Shuster were engaged by DC for the express purpose of

creating them, as the district court held. ER-103. The Syndication Agreement

provided: “Detective agrees to permit [Siegel and Shuster] to supply ‘Superman’

strip exclusively to us for syndication….” ER-609. The Syndication Agreement

also reaffirmed DC’s exclusive ownership of Superman: “[T]he title ‘Superman’

shall always remain the property of [DC].” ER-610. And the 1938 Employment

Agreement reinforced that Siegel and Shuster would timely “furnish … all of the

   18
      Larson asserts in passing that the parties “could not have intended” these
works to be made-for-hire because courts in this time period applied the work-for-
hire doctrine only to “traditional employees.” LB-56. This Court rejected the
identical argument in Fox, holding that General Eisenhower’s war memoir, written
during the same time period at issue here, was a work-for-hire even though he was
not a traditional employee. Compare 429 F.3d at 877, with id. at 881 (Nelson,
D.W., J., dissenting).


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art and continuity for the newspaper strip entitled ‘Superman’” to McClure. ER-

605. That Agreement also gave DC the express “right to reasonably supervise the

editorial matter of all features.” ER-607. And again, the 1938 Employment

Agreement authorized DC to terminate Siegel and Shuster and retain other artists

to produce the Strips. Supra at 12-13.

      As the parties’ correspondence establishes, DC gave Siegel and Shuster

“constant editorial supervision,” insisting that the pair “send all the [newspaper]

material here before it goes to the syndicate for release” so its editors could review

the draft strips, make substantive revisions to the script and artwork, correct “any

mistakes,” and “okay” the final strip before sending it to McClure. ER-431-40,

445-56, 453, 460. In a January 23, 1940, letter, an editor reminded Siegel:

“[P]lease do not forget that all copy must clear though our office … You’ve got to

give us plenty of time for okaying, so get busy.” ER-435. DC made clear that if

the newspaper strips did not meet its editorial standards, “we shall have to consider

it ‘unacceptable’, and make other arrangements to have it done.” ER-460.

      As the court below observed, the facts of this case are “eerily similar” to

those in Picture Music, 457 F.2d at 1214, and compel the same work-for-hire

conclusion. ER-104. As in Picture Music, the artists (Siegel and Shuster) worked

with another party (McClure) to create derivative works owned by a third party

(DC). As in Picture Music, the employer here (DC) owned the original work, per



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the 1938 Assignment. As in Picture Music, the artists here exercised substantial

creative license in creating the work, but as in Picture Music, the employer here

had a right to accept, reject, or modify the pair’s work. Id. at 1217. As in Picture

Music, it is irrelevant whether they operated as independent contractors.

      The Strips also were created at DC’s expense. Siegel and Shuster were

handsomely compensated for their work pursuant to the 1938 Employment

Agreement. As explained, it is irrelevant that they were not paid a guaranteed

amount. Supra at 49. Further, DC assumed the financial risk of Superman’s

newspaper syndication; while DC did not expect syndication to be tremendously

profitable, it owned all of the underlying rights, and stood to lose the value of those

rights if the syndication failed. See Fox, 429 F.3d at 881. The Post-McClure

Strips were clearly works-for-hire.

      b. Larson contends otherwise, but her arguments are meritless. First, she

says that Siegel’s involvement in soliciting newspaper syndication proves the

Strips were made at his own “instance.” LB-37. But there can be no dispute that

the Strips were created pursuant to Siegel’s and Shuster’s contractual obligation to

create them for DC. Supra at 55-56. And DC itself also actively sought

newspaper syndication. E.g., SER-290.

      Second, Larson tries to distinguish Picture Music, saying the employer-artist

relationship there was a traditional employer-employee arrangement, while the



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relationship between Siegel, Shuster, and DC was more akin to a joint venture.

LB-34, 40. But again, it is settled that the work-for-hire doctrine applies equally to

independent contractors and traditional employees. Supra at 42-43 & n.11.19

        Third, Larson argues that a finding in Fawcett that McClure owned the

“proprietor” copyright in the Strips precludes a finding that the Strips were made-

for-hire pursuant to an obligation to DC. But the work-for-hire status of the Strips

was never before the Fawcett court, which considered the limited question whether

Superman rights had fallen into the public domain due to McClure’s failure to

properly affix copyright notices to certain newspaper strips, and if so, whether

those errors were chargeable to DC. 191 F.2d at 599. As the district court

concluded, “to imply Judge Hand [the judge in Fawcett] sought to extend the reach

of his ruling to questions beyond the narrow confines of the case before him to

those now before this Court fifty years later is simply misdirected.” ER-40.

        Fourth, Larson says McClure and DC owned the Strips not as works-for-hire

but by an “implied assignment of Siegel and Shuster’s common law copyrights in



   19
     In any event, as the district court explained, the right of control held by both
DC and McClure was “reflective of a more traditional employment engagement.”
ER-104. Larson notes that the district court in Nat’l Comics Pubs., Inc. v. Fawcett
Pubs., Inc.—a lawsuit DC filed in the 1940s alleging that the Captain Marvel
comic books infringed its rights in Superman—likened the parties’ syndication
arrangement to a joint venture, but on appeal the Second Circuit did not accept that
formulation, 191 F.2d 594, 599 (2d Cir. 1951), so it carries no weight. In re Smith,
964 F.2d 636, 638 (7th Cir. 1992).


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the strips.” LB-43. But even if Larson were correct that there was an assignment

(she is not), this Court has held that an assignment of rights is not “inimical with

the work-for-hire doctrine.” Fox, 429 F.3d at 881. Once the instance-and-expense

test has been satisfied, the work-for-hire “presumption may be rebutted only by

evidence that the parties did not intend to create a work-for-hire”—an assignment

“is insufficient to rebut the presumption.” Id.; Lin-Brook, 352 F.2d at 300.

      Fifth, Larson says a work-for-hire conclusion is contrary to McClure’s

copyright registrations for the Strips, which identify Siegel and Shuster as the

“author” and McClure as the “owner.” LB-43. But the sole case she cites rejects

her position, holding that a publisher’s reference to the hired party as an “author”

did not change the work-for-hire status of its book, because “author” “was being

used, not as a ‘legal conclusion,’ but ‘colloquially.’” Hogarth, 342 F.3d at 166-67

& n.24; see Picture Music, 457 F.2d at 1214 & n.1. There is no evidence McClure

intended to use “author” in anything other than its colloquial sense. ER-610.

      Sixth, Larson notes that in 1944, McClure assigned to DC “all its right, title

and interest in all copyrights in Superman,” which she says was unnecessary if DC

owned the copyright in the Strips. LB-45. But DC only allowed McClure to

register copyrights in its name for practical purposes—the Syndication Agreement




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made clear that DC retained beneficial ownership of all Superman rights and the

copyrights in the Strips would “revert” back to DC. ER-610.20

        Finally, Larson argues that DC’s ownership of rights is inconsistent with the

Syndication Agreement’s allowing DC to use the Strips in its comic books “six

months after newspaper release.” LB-46. But DC could grant McClure a six-

month exclusive license in the Strips—in exchange for 40-50% of the net proceeds

from the Strips—precisely because DC owned their rights. ER-609-10.21

        The conclusion that the Strips were created at DC’s instance-and-expense,

pursuant to the 1938 Employment and Syndication Agreements, is unassailable.




   20
      Larson similarly argues that if DC owned the Strips as works-for-hire, then
Siegel and Shuster would not have needed to execute the Syndication Agreement.
LB-46. But that agreement imposed obligations on Siegel and Shuster, so their
execution was necessary. Notably, the agreement took care to reaffirm that the
pair had no rights in the Strips, were employees of DC, and could be replaced at
any time. E.g., ER-610.
   21
     Nothing about the “indivisibility” doctrine would have precluded DC from
granting such a license, as the very case cited by Larson shows. LB-47 (citing Jim
Henson Prods. v. John T. Brady & Assocs., 16 F.Supp.2d 259, 288 (S.D.N.Y.
1997) (“indivisible” right means “the transfer of anything less than all rights was
deemed a license rather than an assignment”)). Nor does the holding in Fawcett
(LB-47) preclude that result. Supra at 58.


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      C.     The District Court Erred In Granting Summary Judgment
             Against DC On The Work-For-Hire Status Of Action Comics #1
             And #4, Superman #1 (Pages 3-6), And Pre-McClure Strips
      The district court incorrectly held that Action Comics #1 and #4, Superman

#1 (pages 3-6), and the two weeks of strips created before the Syndication

Agreement (“Pre-McClure Strips”) were not works-for-hire.

      1.     Action Comics #1

      a.     Key Elements Of Action Comics #1 Were Made-For-Hire

      The undisputed record shows that key graphic and story elements from the

Superman story in Action Comics #1 were made-for-hire for DC. Indeed, some

elements were not even created by Siegel and Shuster, but by other DC artists.

      DC’s Colorization. DC colorist Jack Adler testified that, in keeping with

industry custom, Siegel and Shuster submitted black-and-white panels to DC for

use in Action Comics #1. SER-442. DC’s other artists decided what colors to use

and applied those colors to the story, including Superman’s iconic blue leotard, red

cape, and red S-crest. Id. The unique combination of these colors with the story

elements in Action Comics #1 will always be DC’s property—meaning that DC has

an irrevocable joint-ownership stake in Action Comics #1 even if Larson is able to

recapture certain story elements.

      The district court erroneously assumed that DC’s use of color in Action

Comics #1 was not independently copyrightable. SER-49-51. In fact, “adding



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colors to a previously black and white picture may constitute an original

copyrightable contribution.” MELVILLE B. NIMMER & DAVID NIMMER, NIMMER ON

COPYRIGHT §2.14 (2011); see Boisson v. Banian, Ltd., 273 F.3d 262, 271 (2d Cir.

2001); Novelty Textile Mills, Inc. v. Joan Fabrics Corp., 558 F.2d 1090, 1094 n.6

(2d Cir. 1977); 52 F.R. 23443-46 (1987) (colorization of black-and-white motion

pictures is copyrightable and may be registered). While color alone may not be

copyrightable, the selection and use of color in combination with other protectable

elements can be sufficiently creative to warrant copyright protection. See Boisson,

273 F.3d at 271; Jada Toys, Inc. v. Mattel, Inc., 518 F.3d 628, 636 n.6 (9th Cir.

2008); Sargent v. Am. Greetings Corp., 588 F.Supp. 912, 919 (N.D. Ohio 1984);

Pantone, Inc. v. A. I. Friedman, Inc., 294 F.Supp. 545, 547 (S.D.N.Y. 1968).

      DC’s unique selection and application of colors to the Action Comics #1

story far exceeds the minimal standard for copyrightability. Larson’s own expert

acknowledged that “Superman’s distinctive iconic costume is very much about its

colors,” SER-370, and the story was promoted as being in “Color!,” infra at 84.

      DC’s Cover Art. DC’s artists also created the cover of Action Comics #1,

which introduces the Superman story that immediately follows. ER-388; SER-

728. A February 22, 1938, letter from DC editor Vin Sullivan to Siegel provided:

“I’m enclosing a silverprint of the cover of Action Comics. You’ll note that we

already used one of those panel drawings of SUPERMAN, as you suggested in



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your recent letter.” SER-388. In other words, per Siegel’s suggestion, DC used

one of the panel drawings from the Superman story as a template to create the

cover art. Siegel confirmed these events in his memoir. SER-803-04. The court

below suggested, however, that Sullivan’s letter could be read to imply that Siegel

created the cover art and enclosed it with his “letter” to Sullivan. SER-51. That

reading is at odds with the plain language of the letter and Siegel’s own account.

      Larson argued below that DC’s cover was not independently copyrightable

because it was derivative of Siegel and Shuster’s preexisting creation. A derivative

work is independently copyrightable if it contains “non-trivial” variations from the

original work, Entm’t Research Grp., Inc. v. Genesis Creative Grp., Inc., 122 F.3d

1211, 1220 (9th Cir. 1997)—i.e., it possesses “more than a de minimis degree of

creativity,” Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 363 (1991).

      In Eden Toys, Inc. v. Florelee Undergarment Co., 697 F.2d 27, 34-35 (2d

Cir. 1982), the court considered these two illustrations:




                       Original Illustration     Derivative Illustration



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While the individual distinctions are minimal, the court found that “the numerous

changes made by [the second artist]—the changed proportions of the hat, the

elimination of individualized fingers and toes, the overall smoothing of lines—

combine to give the [second] drawing a different, cleaner ‘look’” than the original

sketch. Id. The second illustration was thus independently copyrightable. Id.

      Here, there are numerous non-trivial distinctions between the cover of

Action Comics #1 and the panel that inspired it:

   • On the cover, Superman has distinguishable facial features and musculature,
      bears a visible S-crest on his chest, and wears the now-iconic red boots. In
      the panel, Superman’s face, musculature, and S-crest are obscured, and he
      wears socks.
   • The cover depicts a man under the car who was shaken out of the car by
      Superman—the panel does not.
   • The man featured on the bottom left foreground of the cover has different
      hair, facial features, and clothing than the man in the panel. He is touching
      his temples in disbelief and his tie is blowing in the wind. In the panel, the
      man is covering his ears and his tie is stationary.
   • The man featured in the left background of the cover has different hair and
      clothes than the version in the panel, and has discernible facial features.
   • In the cover, Superman appears larger than the closest figure(s). In the
      panel, he appears to be the same size.
   • The car featured on the cover is fully visible and contains different rear
      wheel wells, headlights, and other details than the car in the panel. On the




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      cover, the tire that flew off the car is angled differently than the panel,
      emphasizing the force with which Superman smashed the car into the rocks.
   • The scale, layout, and background landscape of the two images are different.
   • Even the rocks in the background of the two images are different; they are
      less detailed and prominent in the cover art.




                             Panel in Action Comics #1




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                         Cover of Action Comics #1

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These differences warrant independent copyright protection for the cover.

      Siegel and Shuster’s 1938 Material. Siegel and Shuster created certain

elements of the Superman story in Action Comics #1 (“Preexisting Material”)

before entering into employment with DC. That Preexisting Material is not at

issue here. Siegel and Shuster testified, however, that in early 1938, they made

key additions to the Preexisting Material, including: (1) “several additional

pictures to illustrate the story continuity,” which appear on the first page of Action

Comics #1, ER-654; SER-386; (2) the last panel, which features Superman in his

cape, leotard, and S-crest breaking through a chain with his chest, ER-654; SER-

386; and (3) “the scientific explanation on page 1 … and the last panel,” ER-654.

      These additions were made at DC’s instance and expense, further making

Action Comics #1 and the Superman story therein a joint work that will always be

co-owned by DC. Siegel’s sworn affidavit avers that he and Shuster created this

material only after DC told the pair they “could proceed” and agreed to publish

their work. ER-654. DC also had the “right to control or supervise” Siegel and

Shuster’s work, and in fact exercised that right. See Fox, 429 F.3d at 879. DC sent

Siegel and Shuster a letter on February 1, 1938, directing them to “[s]tart

immediately on the thirteen (13) page feature of SUPERMAN for the new Action

Comics Magazine.” SER-379. DC instructed the pair to adapt the Preexisting

Material “into a full length … strip suitable for magazine production,” demanding



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that their work be “the very best” and “without imperfections.” ER-957; SER-381.

Siegel and Shuster “compli[ed] with the said request of DC” and submitted the

revised and expanded material on February 22, 1938. ER-957. DC later chastised

the pair for failing to comply with the formatting requirements, saying that if DC

were not so pressed for time, it “would have rejected” their submission. SER-383.

      Siegel and Shuster’s additions were also created at DC’s expense—Siegel

and Shuster were paid for their Action Comics #1 contributions, and DC assumed

the financial risk and burden of publishing, distributing, and marketing Action

Comics #1. ER-75, 425-27, 917, 958, 960; SER-383, 804.

      b.     National Is Not Preclusive As To The Work-For-Hire Status Of Action
             Comics #1

      The court below erroneously held that the “thrust” of DC’s argument that

key elements of Action Comics #1 were made-for-hire “was made and rejected” in

National “and is thus precluded as a matter of collateral estoppel.” SER-46.

Collateral estoppel applies only where “the matter raised in the second suit is

identical in all respects with that decided in the first proceeding.” Comm’r v.

Sunnen, 333 U.S. 591, 599-600 (1948); see Granite Rock Co. v. Teamsters, 649

F.3d 1067, 1070 (9th Cir. 2011). That threshold requirement is not satisfied here.

      The issue in National was whether Siegel and Shuster owned the renewal

copyright in the Superman story in Action Comics #1. 364 F.Supp. at 1033. That

publication, which contained multiple comic features, was considered a periodical


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magazine under the 1909 Act. 17 U.S.C. §24 (1909). That Act provided that the

owner of a copyright in a periodical magazine (i.e., DC) could obtain a renewal

copyright for the entirety of the magazine, and the author of a discrete portion of

that magazine could obtain a renewal copyright for its discrete contribution—

unless it was a work-for-hire. Id. DC’s predecessor, National, renewed the

copyright in the entirety of Action Comics #1 in 1965 “as a proprietor of a work for

hire.” ER-1018. In 1969, Siegel and Shuster sued National for a declaration that

they owned the renewal copyright for the Superman story in Action Comics #1.

      The district court in National found against Siegel and Shuster on two

separate, independent grounds. First, the parties’ prior agreements assigned all of

their rights in Superman to DC, including any copyright renewal rights. Nat’l, 364

F.Supp. at 1037-38. Second, the Westchester Court’s prior findings concerning the

creation of Action Comics #1 were binding and compelled the conclusion that

Siegel and Shuster’s contribution was a work-for-hire. Id. at 1035-37.

      The Second Circuit affirmed on the sole basis that Siegel and Shuster had

assigned their renewal rights to DC. Nat’l, 508 F.2d at 914. As such, the Second

Circuit did not need to reach the second basis for the district court’s ruling. In

dicta, however, the Second Circuit disagreed with that ruling, stating that “there

was no conclusion of law in the [Westchester Action] that the comic strip was a

work for hire so as to create the presumption that the employer was the author.”



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Id. The Second Circuit also commented that the evidence was not otherwise

“sufficient to create the presumption that the strip was a work for hire” as to Siegel

and Shuster’s contribution to Action Comics #1. Id. But neither the district court

nor the Second Circuit reached the opposite conclusion, much less considered

whether Superman elements in Action Comics #1 that were created by DC other

artists or added by Siegel and Shuster at DC’s instance and expense were works-

for-hire—the questions now before this Court. This alone forecloses application of

collateral estoppel. Granite Rock, 649 F.3d at 1070.

      It is irrelevant that, as the court below found, “much of the evidence” cited

in DC’s motion to prove that the Additional Material was made-for-hire “could

have been admitted [in National],” but was not. SER-46-48. Collateral estoppel

applies only where the identical issue was “actually litigated” and “necessarily

decided.” Marvel Characters, Inc. v. Simon, 310 F.3d 280, 288-89 (2d Cir. 2002);

Shaw v. Hahn, 56 F.3d 1128, 1131 (9th Cir. 1995).

      Nor was the Second Circuit’s limited discussion of the work-for-hire issue

“necessary to support a valid and final judgment on the merits,” as is also required.

Simon, 310 F.3d at 288-89; see Shaw, 56 F.3d at 1132 n.5. The Second Circuit’s

ruling was based on its finding that Siegel and Shuster assigned all of their rights to

DC. Its rejection of the district court’s alternative work-for-hire ruling clearly was

not “necessary” to its judgment in DC’s favor affirming that Siegel and Shuster did



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not own any renewal copyright in Action Comics #1. Such dicta has “no preclusive

effect,” EPIC, Inc. v. Pac. Lumber Co., 257 F.3d 1071,1077 (9th Cir. 2001), just as

“determination[s] adverse to the winning party do not have preclusive effect,”

Fireman’s Fund Ins. Co. v. Int’l Mkt. Place, 773 F.2d 1068, 1069 (9th Cir. 1985).

      The district court’s ruling should be reversed, and this Court should rule as a

matter of law that DC owns the color elements and cover art in Action Comics #1,

as well as the material added by Siegel and Shuster in 1938.

      2.    Pre-McClure Strips

      a.    The Pre-McClure Strips Were Made At DC’s Instance And Expense

      After entering into the 1937 Employment Agreement and assigning all of

their Superman rights to DC in the 1938 Assignment, but before the parties’

business relationship with McClure was formalized in the Syndication Agreement,

Siegel and Shuster drafted two weeks of newspaper strips on behalf of DC. ER-

615; SER-582-89. The court below wrongly concluded that these Pre-McClure

Strips were not made-for-hire because they were created before the Syndication

Agreement. ER-109-14.

      The Syndication Agreement was not necessary to establishing that the Pre-

McClure Strips were made at DC’s instance and expense. The Pre-McClure Strips

were created during the term of the 1937 Employment Agreement and, even more

significantly, after DC became 100% owner of all rights in Superman pursuant to



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the 1938 Assignment. Supra at 11-12. Given that assignment, DC had full

authority to control the development of Superman by artists of its choosing,

making any resulting derivative work a work-for-hire. Supra at 47.

      The district court erroneously assumed that “Siegel created the script and

Shuster created the artwork for the [Pre-McClure Strips] without any indication

that they received permission to do so beforehand from Detective Comics.” ER-

111. As Siegel’s own account makes clear, these strips were only completed after

DC gave its consent. ER-615-17, 620. Siegel created a “script”—which did not

include any artwork—and sent it to McClure. ER-615. He then approached DC to

request permission to proceed. ER-616. DC responded that Siegel needed a

“definite offer” from a syndicate. Id. It was only then that Shuster “illustrat[ed

Siegel’s] script” and Siegel sent the completed strips to McClure. Id.

      DC also incurred the expense of compensating Siegel and Shuster for their

work on the Strips, and (along with McClure) bore the financial risk of the Strips’

success. ER-609-11, 466. The Pre-McClure Strips were, in short, made at DC’s

instance and expense, just like other derivative Superman works produced under

similar conditions during the same time period.

      b.     Larson’s Failure To List The Pre-McClure Strips In Her Termination
             Notice Also Precludes Termination

      Wholly apart from their status as works-for-hire, there is a separate reason

Larson cannot terminate DC’s rights in the Pre-McClure Strips: Larson did not


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identify them in her termination notice, as the Copyright Act requires. ER-1023-

92.

      The Act requires that a termination notice “comply, in form, content, and

manner of service, with requirements” that the Copyright Office prescribes. 17

U.S.C. §304(c)(4)(B); see id. §702. The Copyright Office’s regulations provide

that such a notice must “include a clear identification” of “[t]he title and the name

of at least one author of, and the date copyright was originally secured in, each

work to which the notice of termination applies; and, if possible and practicable,

the original copyright registration number.” 37 C.F.R. §201.10(b)(1)(ii). It is

undisputed that Larson’s Notices provide none of this information for the Pre-

McClure Strips—no title, author, copyright date, or registration number.

      The court below nevertheless held that this violation of §201.10(b)(1)(ii)

was “harmless error,” because the Notices include a “catch-all” footnote:

        This Notice of Termination applies to each and every work (in any
        medium whatsoever, whenever created) that includes or embodies
        any character, story element, or indicia reasonably associated with
        SUPERMAN or the SUPERMAN stories …. Every reasonable
        effort has been made to find and list herein every such
        SUPERMAN-related work ever created. Nonetheless, if any such
        work has been omitted, such omission is unintentional and
        involuntary, and this Notice also applies to each and every such
        omitted work.
ER-132-33; SER-1026. Under 37 C.F.R. §201.10(e)(1), however, an error in a

termination notice is harmless only when it “do[e]s not materially affect the



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adequacy of the information required to serve the purposes of [17 U.S.C.

§304(c)].” Section 201.10(e)(2) identifies the types of immaterial mistakes

covered by this rule: good-faith errors made in (1) “giving the date or registration

number,” (2) identifying the “effective date of termination,” (3) “or in describing

the precise relationships” between deceased authors and their statutory heirs. The

C.F.R. comments confirm that the harmless error rule applies only to mistakes

concerning those “specific items” of information. 42 F.R. 45917-19.

      None of that applies to the error here, which involves the complete omission

of all information required by §201.10(b)(1)(ii) concerning the Pre-McClure

Strips. Larson’s Notice deprived DC of any “reasonable opportunity to identify the

affected grant and work from the information given in the notice,” 42 F.R. 45916-

21, 45918, and denied the public its right under the Act to “constructive notice of

the facts stated in the recorded document,” which is supposed to “specifically

identif[y] the work to which it pertains,” 17 U.S.C. §§304(c)(4), 205.

      The only case to consider this issue confirmed that the complete omission of

a work from a termination notice bars recapture of that work. In Burroughs v. M-

G-M, Inc., 683 F.2d 610, 622 (2d Cir. 1982), the heirs of Tarzan’s creator served a

termination notice listing 35 Tarzan stories, including the first, but omitting five

later Tarzan works. The Second Circuit affirmed the district court’s conclusion

that the notice was invalid as to the unlisted works, even though their omission was



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“undoubtedly inadvertent,” and even though the works contained elements in

common with other Tarzan works that were listed and could be recaptured. Id.

Although Burroughs did not use the words “harmless error.” ER-36-37, the

necessary implication was that the heirs’ “inadvertent” omission was not harmless.

        Rather than follow Burroughs, the district court relied on Music Sales Corp.

v. Morris, 73 F.Supp.2d 364 (S.D.N.Y. 1999), but that case actually supports DC’s

position. Morris considered whether a termination notice’s vague description of

the grant to be terminated was sufficient to satisfy §201.10(b)(1)(iv)’s notice

requirement. Morris did not hold that the failure to identify a work was harmless.

To the contrary, it acknowledged that a notice “must list all the works in which the

grantee’s rights are to be terminated,” and twice emphasized that “only the works

specified in a termination notice are terminated.” Id. at 378, 380 & 380 n.29.22

        The district court cited four additional reasons that Larson’s omission of the

Pre-McClure Strips from her termination notice was harmless. None is persuasive.

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      As for the vague grant definition Morris addressed, the court held it adequate
because “it appears to be boilerplate on termination notices customarily accepted
by the Register of Copyrights” for recordation. Id. at 378. The court read that
statement to demonstrate “how little concrete information need be conveyed and
yet still be considered adequate.” ER-18. But 37 C.F.R. §201.10(f)(6) (formerly
(f)(5)) provided at the time that mere recordation of a termination notice by the
Copyright Office “does not mean that it is otherwise sufficient under the law,” and
that recordation “is without prejudice to any party claiming that the legal and
formal requirements for issuing a valid notice have not been met.” The Copyright
Office has recently reaffirmed that “recordation of a notice does not mean that the
notice meets the requirements of the law.” 76 F.R. 32320 (June 6, 2011).


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First, it found that the Pre-McClure Strips were inextricable from the works listed

in the Notices because “the Superman character exists as a conglomerate.” ER-28,

31. Larson, however, is only entitled to recapture rights in certain works, not an

entire character. See Burroughs, 683 F.2d at 622-23; 1 WILLIAM F. PATRY, PATRY

ON COPYRIGHT §3:164 (1st ed. 2007).

      Second, the district court found that the catch-all footnote’s reference to

“Krypton” pointed to the Pre-McClure Strips, which contained the first use of

“Krypton.” ER-16, 17. But the footnote listed dozens of common Superman

elements, the vast majority of which were undeniably created by DC and thus not

subject to termination—including, e.g., “Smallville,” the town where Superman

grew up; “Kryptonite,” fragments of Krypton that have the power to harm

Superman; Clark Kent’s co-workers “Jimmy Olsen” and “Perry White”; villain

“Lex Luthor”; Superman’s adoptive parents, the Kents; love interest “Lana Lang”;

and allies like “Supergirl.” ER-1026, 2036. The unsurprising fact that the long list

of elements in the Notices included one element that appeared in the Pre-McClure

Strips hardly suffices to give notice that Larson sought to terminate those strips.

      Third, the district court cited the relatively low number of works omitted

from the voluminous Notices. ER-28-29, 132. This makes no sense. Of the more

than 15,000 works listed in the Notices, only 15 were deemed subject to

termination by the court below: Action Comics #1, Action Comics #4, portions of



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Superman #1, and the 12 Pre-McClure Strips. ER-80, 189. The remaining 15,000-

plus works reflect obvious overreaching. The 12 Pre-McClure Strips, which

represent 80% of the works held to be terminated, were completely omitted from

the Notices. The district court’s rule would create a perverse incentive to waste

hundreds of pages listing non-terminable works to preserve the argument that the

notice was intended to encompass all potentially terminable works.

      Fourth, the court said the “amount of effort” Larson took to prepare the

Notices weighed in favor of harmless error. ER-4. But weighing the terminating

party’s effort in the harmlessness analysis would override the essential balance

struck by §201.10(b)(1)(ii). In crafting the provision, the Copyright Office

adopted authors’ requests to delete certain requirements as unduly burdensome,

while accepting movie studios’ request to ensure that notices contain “information

necessary to give notice” to grantees. 42 F.R. 45917-18. The “amount of effort”

required to file a proper notice, in other words, is reflected in the notice

requirements themselves—it cannot excuse the failure to meet those requirements.

      3.     Pages 3-6 Of Superman #1

      Superman #1 contains the Superman stories published in Action Comics #1-

#4, plus some new material. As for the story based on Action Comics #1, DC

revised the first two pages (which the district court held were made-for-hire, ER-

81), and added four new pages. ER-761. The court below erroneously concluded



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that these four new pages—which became pages 3-6 of Superman #1—were not

made-for-hire based on hearsay speculation by commentator James Steranko in a

foreword to DC’s 1989 reprinting of Superman #1. ER-81.

        Steranko opined that, “according to legend,” these pages were part of the

original Superman story created by Siegel and Shuster in 1935—before their

employment by DC—but were cut from Action Comics #1. SER-272. Siegel

himself debunked this theory in his memoir, explaining: “[Commentators] state

Superman magazine No. 1 contains pages omitted from the Action Comics No. 1

origin story. The truth is that the additional pages were specifically created for

use in Superman Magazine No. 1.” SER-803 (emphasis added). Siegel also

recounted in The Story Behind Superman No. 1 that a DC editor sent him a letter

on March 27, 1939 specifying in detail the contents of “the first six pages,”

including specific panels and headings. ER-761. That is, pages 3-6 were created

along with the rest of Superman #1 in 1939—after Siegel was employed by DC—

and were thus made as a work-for-hire.23


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     Even beyond Siegel’s direct repudiation of the “legend,” the law requires
evidence, not folklore. See Fox, 429 F.3d at 880 n.3 (rejecting hearsay statements
in magazine that Eisenhower wrote portions of manuscript before being retained by
Doubleday); accord U.S. v. Resnick, 594 F.3d 562, 570 n.4 (7th Cir. 2010); Kirby,
777 F.Supp.2d at 729; Almond v. ABB Indus. Sys., Inc., 2001 WL 242548, *7-8
(S.D. Ohio Mar. 6, 2001). The district court appeared to assume that the party-
admission rule would apply because DC published the reprint of Superman #1
containing Steranko’s foreword. ER-81. But there is no evidence that Steranko
was speaking on DC’s behalf, cf. FED. R. EVID. 801(d)(2)(A) (party-admission rule

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      4.     Artwork In Action Comics #4

      The district court held that Siegel wrote a script in 1934 “telling the story of

Superman interceding in a college football game and using his superpowers on the

field,” which was incorporated into Action Comics #4. ER-51-52, 77-80. It is

undisputed that Siegel did not create any artwork to accompany his 1934 script.

Even so, the district court held that Larson could recapture the artwork created for

Action Comics #4. ER-77-90.

      That conclusion was wrong for two reasons. First, DC created the artwork

and thus owns it as a work-for-hire. See Scherr v. Universal Match Corp., 417

F.2d 497 (2d Cir. 1969). In Scherr, a soldier created a “small clay table model” of

an infantryman, and an officer asked him to create a large statue based on the

model. 417 F.2d at 499. The court held that the large statue was made-for-hire,

because “[w]hile the idea for the statue originated from the smaller clay model, the

statue differs from the model.” Id. Here, the distinction between Siegel’s 1934

script and Action Comics #4 is equally or more substantial—unlike the script,

Action Comics #4 contains 99 panels of detailed artwork illustrating the story. ER-

551-58. That artwork did not exist at all prior to Siegel’s employment by DC.

Because the artwork possesses “more than a de minimis quantum of creativity,” it



applies to statements made “in an individual or representative capacity”), and even
if he were, the foreword obviously contains multiple levels of hearsay.


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is independently copyrightable, Feist, 499 U.S. at 363, and because it was created

at DC’s instance and expense, it is owned by DC.

      Second, DC is at least joint owner of the overall Superman story in Action

Comics #4, including its artwork. See Gaiman v. McFarlane, 360 F.3d 644, 659

(7th Cir. 2004) (“The contents of a comic book are typically the joint work of four

artists—the writer, the penciler[,] the inker[,] … and the colorist who colors it.”).

Under the 1909 Act, a joint work was created where multiple authors made

contributions to be integrated into a single work. See Shapiro, Bernstein & Co. v.

Jerry Vogel Music Co., 161 F.2d 406, 410 (2d Cir. 1946). Siegel obviously

intended the football-story script to be combined with illustrations to form a comic

strip, and DC of course intended its artwork to be combined with Siegel’s story.

Accordingly, DC is at least a joint owner of the entire Action Comics #4 story.

      5.     Promotional Announcements

      While the district court correctly held that Promotional Announcements

published prior to Action Comics #1 were not recaptured, SER-43-44, it erred in

describing the copyrightable elements encompassed therein, SER-44-45.

      The court’s ruling arose from partial summary judgment motions that were

never intended to address the scope of rights at issue in the Announcements, but

only threshold questions concerning the validity of Larson’s Notices as to those

works. DC argued—and the district court agreed—that Larson failed to recapture



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the Announcements published before Action Comics #1 because they fell outside

the Notice’s statutory time limit. SER-43-44; 699-712. Larson has not appealed

that holding, waiving any right to challenge it. See Gausvik, 392 F.3d at 1008 n.1.

      The court’s order, however, made gratuitous and inaccurate comments

concerning the copyrightable elements in the Announcements, based on the court’s

review of a poor, multiple-generation photocopy. SER-44-45. DC filed a motion

for clarification asserting that these statements could not be binding because

neither party moved for summary judgment as to the scope of the Announcements.

SER-328-343. The district court found otherwise, on the ground that Larson’s

opposition to DC’s motion raised “questions concerning the scope of the

copyrightable material contained in those announcements.” SER-1. Larson’s

opposition, however, contended only that DC’s motion raised “classic issues of

fact” concerning the scope of rights in the Announcements, “precluding summary

judgment” on the very scope question the court then decided. SER-356-57.

Indeed, an entire section of Larson’s brief was titled “The Question Of What

Literary Elements Are Actually Contained In The Ad [Is] A Genuine Issue Of

Material Fact.” SER-356. On reply, DC fully agreed that this issue should be

reserved for trial and was not an issue for summary judgment. ER-353.

      Before a court can grant summary judgment sua sponte, the moving party

must have “reasonable notice” and “a full and fair opportunity to ventilate the



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issues.” Cool Fuel, Inc. v. Connett, 685 F.2d 309, 312 (9th Cir. 1982). DC had

neither. The only issue on summary judgment was whether the Announcements

were covered by Larson’s Notices. While the scope question came up in briefing,

both parties agreed it was a disputed issue for trial.

      The court below also denied DC an opportunity to be heard. Because the

only issue properly before the court was when the Announcements were first

published—and not their copyrightable content—DC did not present original

versions of them. Instead, DC appended a multiple-generation photocopy from

More Fun Comics #31 and a photocopied printout of a photo of Detective Comics

#15. See SER-329-43. After reviewing these poor copies, the district court stated

at oral argument: “[Y]ou can hardly make out whether it’s an ‘S’ or a ‘5’ or what

it is on his chest.” SER-339-340 . Rather than reserving the issue for trial or

reviewing an original version, the court’s summary judgment order concluded that

“the ‘S’ crest” is not “recognizable.” SER-44.

      That ruling was incorrect. Where, as here, the content of a work is at issue,

“[a]n original writing … is required in order to prove its content.” FED. R. EVID.

1002; see Seiler v. Lucasfilm, Ltd., 808 F.2d 1316, 1319 (9th Cir. 1986). Given

“the hazards of inaccurate or incomplete duplication,” id.; see U.S. v. Diaz-Lopez,

625 F.3d 1198, 1201 (9th Cir. 2010), a copy of lesser quality than the original is

not an adequate substitute, see 6 WEINSTEIN’S FEDERAL EVIDENCE §1003.02[3]



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(2011); Lozano v. Ashcroft, 258 F.3d 1160, 1166 (10th Cir. 2001); U.S. v.

Alexander, 326 F.2d 736, 742-43 (4th Cir. 1964); Tex Print Indus., Inc. v. Zayre

Corp., 1977 WL 22752, *1 n.1 (D. Mass. Feb. 10, 1977).

        The court’s failure to review an original version of the Announcements

resulted in multiple errors. As is clear from the copy of Detective Comics #15 DC

seeks to lodge and from the true-to-scale image on the next page below, the

Announcements, in fact, clearly do depict Superman’s S-shield, super-strength,

costume, and facial features. Indeed, the S-shield is as recognizable in the

Announcements as in the original Action Comics #1 cover24:




   24
      The cover reproduced in the summary judgment order was not the version
that appeared in 1938—it is from the DC Comics Archive Edition published in
1997. This special edition completely reconstructed the original, which had low
color registration making the “S” difficult to discern.


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                     Version Delivered to Chambers By DC Below

      This Court should reverse the district court’s ruling and remand so the

copyrightable elements in the Announcements can be determined at trial.

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                                  CONCLUSION

      This Court should grant judgment as a matter of law on DC’s settlement and

statute-of-limitations counterclaims and dismiss the remainder of this appeal on

that basis. Alternatively, this Court should remand so the district court can hold a

trial on these counterclaims and fully adjudicate Larson’s First Claim and DC’s

First Counterclaim as well. If this Court decides to reach the merits of the parties’

First Claims now, it should affirm in part and reverse in part, as described above.

                              Respectfully submitted,

      JONATHAN D. HACKER                         DANIEL M. PETROCELLI
      O’MELVENY & MYERS LLP                      MATTHEW T. KLINE
      1625 Eye Street, N.W.                      CASSANDRA L. SETO
      Washington, D.C. 20006                     O’MELVENY & MYERS LLP
                                                 1999 Avenue of the Stars, 7th Floor
      PATRICK T. PERKINS                         Los Angeles, California 90067
      PERKINS LAW OFFICE, P.C.
      1711 Route 9D
      Cold Spring, New York 10516

          Attorneys for Warner Bros. Entertainment Inc. and DC Comics

Dated: March 23, 2003




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                      CERTIFICATE OF COMPLIANCE

      I certify that this brief is accompanied by an unopposed motion for leave to

file an oversize brief pursuant to Fed. R. App. P. 27, 28.1, and 32 and Circuit Rules

27-1 and 32-2 and is 19,862 words, excluding the portions exempted by Fed. R.

App. P. 32(a)(7)(B)(iii). This brief’s type size and type face comply with Fed. R.

App. P. 32(a)(5) and (6).

Dated: March 23, 2012                      O’MELVENY & MYERS LLP

                                           By: /s/ Daniel M. Petrocelli
                                                   Daniel M. Petrocelli
                                             Attorneys for Warner Bros.
                                             Entertainment Inc. and DC Comics




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                        STATEMENT OF RELATED CASES

      Pursuant to Ninth Circuit Rule 28-2.6, DC identifies the following related

cases currently pending before this Court:

      1. Pacific Pictures Corp. v. U.S. Dist. Ct., Appeal No. 11-71844 (9th Cir.)

(filed June 30, 2011) (argued Feb. 7, 2012) (Kozinski, C.J.; O’Scannlain, J.; Smith,

J.); and

      2. Pacific Pictures Corp. v. DC Comics, Appeal No. 11-56934 (9th Cir.)

(filed Nov. 2, 2011).

      DC has filed concurrently herewith a motion requesting assignment of these

appeals to the same panel that is presiding over Appeal No. 11-71844.

Dated: March 23, 2012                        O’MELVENY & MYERS LLP

                                             By: /s/ Daniel M. Petrocelli
                                                     Daniel M. Petrocelli
                                               Attorneys for Warner Bros.
                                               Entertainment Inc. and DC Comics




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                                    ADDENDUM

      Except for the following, all applicable statutes, rules, and regulations, are

contained in the Statutory Addendum of Appellant Laura Siegel Larson’s First

Brief On Cross-Appeal.

                       17 U.S.C. § 4 (1909) (repealed 1976)

§ 4. ALL WRITINGS OF AUTHOR INCLUDED.—The works for which

copyright may be secured under this title shall include all the writings of an author.

                       17 U.S.C. § 7 (1909) (repealed 1976)

§ 7. COPYRIGHT ON COMPILATIONS OF WORKS IN PUBLIC DOMAIN OR

OF COPYRIGHTED WORKS; SUBSISTING COPYRIGHTS NOT

AFFECTED.— Compilations or abridgments, adaptations, arrangements,

dramatizations, translations, or other versions of works in the public domain or of

copyrighted works when produced with, the consent of the proprietor of the

copyright in such works, or works republished with new matter, shall be regarded

as new works subject to copyright under the provisions of this title; but the

publication of any such new works shall not affect the force or validity of any

subsisting copyright upon the matter employed or any part thereof, or be construed

to imply an exclusive right to such use of the original works, or to secure or extend

copyright in such original works.



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No copyright shall subsist in the original text of any work which is in the public

domain, or in any work which was published in this country or any foreign country

prior to July 1, 1909, and has not been already copyrighted in the United States, or

in any publication of the United States Government, or any reprint in whole or in p

art, thereof, except that the Postmaster General may secure copyright on behalf of

the United States in the whole or any part of the publications authorized by section

2506 of title 39.

The publication or republication by the Government, either separately or in a

public document, of any material in which copyright is subsisting shall not be

taken to cause any abridgment or annulment of the copyright or to authorize any

use or appropriation of such copyright material without the consent of the

copyright proprietor.

                                37 C.F.R. § 201.10

This section covers notices of termination of transfers and licenses under sections

203, 304(c) and 304(d) of title 17, of the United States Code. A termination under

section 304(d) is possible only if no termination was made under section 304(c),

and federal copyright was originally secured on or between January 1, 1923, and

October 26, 1939.

(a) Form. The Copyright Office does not provide printed forms for the use of

persons serving notices of termination.
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(b) Contents.

      (1) A notice of termination covering the extended renewal term under

      sections 304(c) and 304(d) of title 17, U.S.C., must include a clear

      identification of each of the following:

            (i) Whether the termination is made under section 304(c) or under

            section 304(d);

            (ii) The name of each grantee whose rights are being terminated, or

            the grantee's successor in title, and each address at which service of

            the notice is being made;

            (iii) The title and the name of at least one author of, and the date

            copyright was originally secured in, each work to which the notice of

            termination applies; and, if possible and practicable, the original

            copyright registration number;

            (iv) A brief statement reasonably identifying the grant to which the

            notice of termination applies;

            (v) The effective date of termination;

            (vi) If termination is made under section 304(d), a statement that

            termination of renewal term rights under section 304(c) has not been

            previously exercised; and



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            (vii) In the case of a termination of a grant executed by a person or

            persons other than the author, a listing of the surviving person or

            persons who executed the grant. In the case of a termination of a grant

            executed by one or more of the authors of the work where the

            termination is exercised by the successors of a deceased author, a

            listing of the names and relationships to that deceased author of all of

            the following, together with specific indication of the person or

            persons executing the notice who constitute more than one-half of that

            author's termination interest: That author's surviving widow or

            widower; and all of that author's surviving children; and, where any of

            that author's children are dead, all of the surviving children of any

            such deceased child of that author; however, instead of the

            information required by this paragraph (vii), the notice may contain

            both of the following:

                  (A) A statement of as much of such information as is currently

                  available to the person or persons signing the notice, with a

                  brief explanation of the reasons why full information is or may

                  be lacking; together with

                  (B) A statement that, to the best knowledge and belief of the

                  person or persons signing the notice, the notice has been signed
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                   by all persons whose signature is necessary to terminate the

                   grant under section 304 of title 17, U.S.C., or by their duly

                   authorized agents.

      (2) A notice of termination of an exclusive or nonexclusive grant of a

      transfer or license of copyright or of any right under a copyright, executed

      by the author on or after January 1, 1978, under section 203 of title 17,

      U.S.C., must include a clear identification of each of the following:

            (i) A statement that the termination is made under section 203;

            (ii) The name of each grantee whose rights are being terminated, or

            the grantee's successor in title, and each address at which service of

            the notice is being made;

            (iii) The date of execution of the grant being terminated and, if the

            grant covered the right of publication of a work, the date of

            publication of the work under the grant;

            (iv) For each work to which the notice of termination applies, the title

            of the work and the name of the author or, in the case of a joint work,

            the authors who executed the grant being terminated; and, if possible

            and practicable, the original copyright registration number;

            (v) A brief statement reasonably identifying the grant to which the

            notice of termination applies;
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            (vi) The effective date of termination; and

            (vii) In the case of a termination of a grant executed by one or more of

            the authors of the work where the termination is exercised by the

            successors of a deceased author, a listing of the names and

            relationships to that deceased author of all of the following, together

            with specific indication of the person or persons executing the notice

            who constitute more than one-half of that author's termination interest:

            That author's surviving widow or widower; and all of that author's

            surviving children; and, where any of that author's children are dead,

            all of the surviving children of any such deceased child of that author;

            however, instead of the information required by this paragraph

            (b)(2)(vii), the notice may contain both of the following:

                  (A) A statement of as much of such information as is currently

                  available to the person or persons signing the notice, with a

                  brief explanation of the reasons why full information is or may

                  be lacking; together with

                  (B) A statement that, to the best knowledge and belief of the

                  person or persons signing the notice, the notice has been signed

                  by all persons whose signature is necessary to terminate the



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                   grant under section 203 of title 17, U.S.C., or by their duly

                   authorized agents.

      (3) Clear identification of the information specified by paragraphs (b)(1) and

      (b)(2) of this section requires a complete and unambiguous statement of

      facts in the notice itself, without incorporation by reference of information in

      other documents or records.

(c) Signature.

      (1) In the case of a termination of a grant under section 304(c) or section

      304(d) executed by a person or persons other than the author, the notice shall

      be signed by all of the surviving person or persons who executed the grant,

      or by their duly authorized agents.

      (2) In the case of a termination of a grant under section 304(c) or section

      304(d) executed by one or more of the authors of the work, the notice as to

      any one author's share shall be signed by that author or by his or her duly

      authorized agent. If that author is dead, the notice shall be signed by the

      number and proportion of the owners of that author's termination interest

      required under section 304(c) or section 304(d), whichever applies, of title

      17, U.S.C., or by their duly authorized agents, and shall contain a brief

      statement of their relationship or relationships to that author.



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      (3) In the case of a termination of a grant under section 203 executed by one

      or more of the authors of the work, the notice shall be signed by each author

      who is terminating the grant or by his or her duly authorized agent. If that

      author is dead, the notice shall be signed by the number and proportion of

      the owners of that author's termination interest required under section 203 of

      title 17, U.S.C., or by their duly authorized agents, and shall contain a brief

      statement of their relationship or relationships to that author.

      (4) Where a signature is by a duly authorized agent, it shall clearly identify

      the person or persons on whose behalf the agent is acting.

      (5) The handwritten signature of each person effecting the termination shall

      either be accompanied by a statement of the full name and address of that

      person, typewritten or printed legibly by hand, or shall clearly correspond to

      such a statement elswhere in the notice.

(d) Service.

      (1) The notice of termination shall be served upon each grantee whose rights

      are being terminated, or the grantee's successor in title, by personal service,

      or by first-class mail sent to an address which, after a reasonable

      investigation, is found to be the last known address of the grantee or

      successor in title.



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      (2) The service provision of section 203, section 304(c) or section 304(d) of

      title 17, U.S.C., whichever applies, will be satisfied if, before the notice of

      termination is served, a reasonable investigation is made by the person or

      persons executing the notice as to the current ownership of the rights being

      terminated, and based on such investigation:

            (i) If there is no reason to believe that such rights have been

            transferred by the grantee to a successor in title, the notice is served

            on the grantee; or

            (ii) If there is reason to believe that such rights have been transferred

            by the grantee to a particular successor in title, the notice is served on

            such successor in title.

      (3) For purposes of paragraph (d)(2) of this section, a reasonable

      investigation includes, but is not limited to, a search of the records in the

      Copyright Office; in the case of a musical composition with respect to which

      performing rights are licensed by a performing rights society, a “reasonable

      investigation” also includes a report from that performing rights society

      identifying the person or persons claiming current ownership of the rights

      being terminated.

      (4) Compliance with the provisions of paragraphs (d)(2) and (d)(3) of this

      section will satisfy the service requirements of section 203, section 304(c),
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      or section 304(d) of title 17, U.S.C., whichever applies. However, as long as

      the statutory requirements have been met, the failure to comply with the

      regulatory provisions of paragraph (d)(2) or (d)(3) of this section will not

      affect the validity of the service.

(e) Harmless errors.

      (1) Harmless errors in a notice that do not materially affect the adequacy of

      the information required to serve the purposes of section 203, section 304(c),

      or section 304(d) of title 17, U.S.C., whichever applies, shall not render the

      notice invalid.

      (2) Without prejudice to the general rule provided by paragraph (e)(1) of this

      section, errors made in giving the date or registration number referred to in

      paragraph (b)(1)(iii), (b)(2)(iii), or (b)(2)(iv) of this section, or in complying

      with the provisions of paragraph (b)(1)(vii) or (b)(2)(vii) of this section, or

      in describing the precise relationships under paragraph (c)(2) or (c)(3) of this

      section, shall not affect the validity of the notice if the errors were made in

      good faith and without any intention to deceive, mislead, or conceal relevant

      information.

(f) Recordation.




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      (1) A copy of the notice of termination will be recorded in the Copyright

      Office upon payment of the fee prescribed by paragraph (2) of this

      paragraph (f) and upon compliance with the following provisions:

            (i) The copy submitted for recordation shall be a complete and exact

            duplicate of the notice of termination as served and shall include the

            actual signature or signatures, or a reproduction of the actual signature

            or signatures, appearing on the notice; where separate copies of the

            same notice were served on more than one grantee or successor in

            title, only one copy need be submitted for recordation; and

            (ii) The copy submitted for recordation shall be accompanied by a

            statement setting forth the date on which the notice was served and the

            manner of service, unless such information is contained in the notice.

            In instances where service is made by first-class mail, the date of

            service shall be the day the notice of termination was deposited with

            the United States Postal Service.

            (iii) The copy submitted for recordation must be legible per the

            requirements of §201.4(c)(3).

      (2) The fee for recordation of a document is prescribed in §201.3(c).

      (3) The date of recordation is the date when all of the elements required for

      recordation, including the prescribed fee and, if required, the statement
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      referred to in paragraph (f)(1)(ii) of this section, have been received in the

      Copyright Office. After recordation, the document, including any

      accompanying statement, is returned to the sender with a certificate of

      record.

      (4) Notwithstanding anything to the contrary in this section, the Copyright

      Office reserves the right to refuse recordation of a notice of termination as

      such if, in the judgment of the Copyright Office, such notice of termination

      is untimely. Conditions under which a notice of termination will be

      considered untimely include: the effective date of termination does not fall

      within the five-year period described in section 203(a)(3) or section

      304(c)(3), as applicable, of title 17, United States Code; or the documents

      submitted indicate that the notice of termination was served less than two or

      more than ten years before the effective date of termination. If a notice of

      termination is untimely or if a document is submitted for recordation as a

      notice of termination on or after the effective date of termination, the Office

      will offer to record the document as a “document pertaining to copyright”

      pursuant to §201.4(c)(3), but the Office will not index the document as a

      notice of termination.

      (5) In any case where an author agreed, prior to January 1, 1978, to a grant

      of a transfer or license of rights in a work that was not created until on or
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      after January 1, 1978, a notice of termination of a grant under section 203 of

      title 17 may be recorded if it recites, as the date of execution, the date on

      which the work was created.

      (6) A copy of the notice of termination shall be recorded in the Copyright

      Office before the effective date of termination, as a condition to its taking

      effect. However, the fact that the Office has recorded the notice does not

      mean that it is otherwise sufficient under the law. Recordation of a notice of

      termination by the Copyright Office is without prejudice to any party

      claiming that the legal and formal requirements for issuing a valid notice

      have not been met, including before a court of competent jurisdiction.

      (7) Notices of termination should be submitted to the address specified in

      §201.1(b)(2).




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                          CERTIFICATE OF SERVICE

       I hereby certify that on March 23, 2012, I caused to be electronically filed

the Principal And Response Brief Of Cross-Appellants And Appellees Warner

Bros. Entertainment Inc. And DC Comics with the Clerk of the Court for the

United States Court of Appeals for the Ninth Circuit by using the appellate

CM/ECF system. I certify that all interested parties in this case are registered

CM/ECF users.

       I declare under penalty of perjury under the laws of the United States that

the above is true and correct. Executed on March 23, 2012, at Los Angeles,

California.


                                                    /s/ Cassandra Seto
                                                        Cassandra Seto



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                              FOR PUBLICATION

                   UNITED STATES COURT OF APPEALS

                            FOR THE NINTH CIRCUIT


 In re: PACIFIC PICTURES                    No. 11-71844
 CORPORATION; IP WORLDWIDE,
 LLC; IPW, LLC; MARC TOBEROFF;              D.C. No. 2:10-cv-03633-ODW-RZ
 MARK WARREN PEARY; LAURA
 SIEGEL LARSON; JEAN ADELE                  AMENDED
 PEAVY,                                     OPINION


 PACIFIC PICTURES CORPORATION;
 IP WORLDWIDE, LLC; IPW, LLC;
 MARK WARREN PEARY, as personal
 representative of the Estate of Joseph
 Shuster; MARC TOBEROFF, an
 individual; JEAN ADELE PEAVY;
 LAURA SIEGEL LARSON, an
 individual,

             Petitioners,

  v.

 UNITED STATES DISTRICT COURT
 FOR THE CENTRAL DISTRICT OF
 CALIFORNIA, LOS ANGELES,

             Respondent,

 DC COMICS,

             Real Party in Interest.




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                   Appeal from the United States District Court
                      for the Central District of California
                    Otis D. Wright, District Judge, Presiding

                     Argued and Submitted February 7, 2012
                              Pasadena, California

                              Filed April 17, 2012
                             Amended May 10, 2012

Before: KOZINSKI, Chief Judge, O’SCANNLAIN and N.R. SMITH, Circuit
Judges.

Opinion by Judge O’SCANNLAIN, Circuit Judge:

      We must decide whether a party waives attorney-client privilege forever by

voluntarily disclosing privileged documents to the federal government.

                                         I

      In the 1930s, writer Jerome Siegel and illustrator Joe Shuster joined forces to

create the character that would eventually become Superman. They ceded their

intellectual property rights to D.C. Comics when they joined the company as

independent contractors in 1937.1 Since the Man of Steel made his first

appearance in 1938, he has been fighting for “truth, justice, and the American




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      The name and corporate structure of the real party in interest has changed a
number of times since 1938. For simplicity, we refer to it as “D.C. Comics.”

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way.” Shuster, Siegel, their heirs (“Heirs”), and D.C. Comics have been fighting

for the rights to his royalties for almost as long.

      Marc Toberoff, a Hollywood producer and a licensed attorney, stepped into

the fray around the turn of the millennium. As one of his many businesses,

Toberoff pairs intellectual property rights with talent and markets these packages

to movie studios. Having set his sights on Superman, Toberoff approached the

Heirs with an offer to manage preexisting litigation over the rights Siegel and

Shuster had ceded to D.C. Comics. He also claimed that he would arrange for a

new Superman film to be produced. To pursue these goals, Toberoff created a

joint venture between the Heirs and an entity he owned. Toberoff served as both a

business advisor and an attorney for that venture. The ethical and professional

concerns raised by Toberoff’s actions will likely occur to many readers, but they

are not before this court.

      While the preexisting litigation was pending, Toberoff hired a new lawyer to

work for one of his companies. This attorney remained in Toberoff’s employ for

only about three months before allegedly absconding with copies of several

documents from the Siegel and Shuster files. Unsuccessful in his alleged attempt

to use the documents to solicit business from the Heirs, this attorney sent the

documents to executives at D.C. Comics. While he did not include his name with


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the package, he did append a cover letter, written in the form of a timeline,

outlining in detail Toberoff’s alleged master plan to capture Superman for himself.

      This happened no later than June 2006, and the parties have been battling

over what should be done with these documents ever since. Rather than exploiting

the documents, D.C. Comics entrusted them to an outside attorney and sought to

obtain them through ordinary discovery in the two ongoing lawsuits over

Superman. Considering every communication he had with the Heirs to be

privileged—regardless of whether the communication was in his capacity as a

business advisor or an attorney—Toberoff resisted all such efforts. Ultimately, in

April 2007, a magistrate judge ordered certain documents, including the attorney’s

cover letter, turned over to D.C. Comics. A few months later, Toberoff at long last

reported the incident to the authorities (specifically the Federal Bureau of

Investigation). In December 2008, Toberoff finally produced at least some of the

documents.

      In 2010, D.C. Comics filed this lawsuit against Toberoff, the Heirs, and

three entities in which Toberoff owned a controlling interest (collectively, the

“Petitioners”), claiming that Toberoff interfered with its contractual relationships

with the Heirs. The attorney’s cover letter formed the basis of the lawsuit and was

incorporated into the complaint. Toberoff has continued to resist the use of any of


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the documents taken from his offices, including those already disclosed to D.C.

Comics and especially the cover letter.

      About a month after the suit was filed, Toberoff asked the Office of the

United States Attorney for the Central District of California to investigate the theft.

In response to a request from Toberoff, the U.S. Attorney’s Office issued a grand

jury subpoena for the documents as well as a letter stating that if Toberoff

voluntarily complied with the subpoena the Government would “not provide the . .

. documents . . . to non-governmental third parties except as may be required by

law or court order.” The letter also confirmed that disclosure would indicate that

“Toberoff has obtained all relevant permissions and consents needed (if any) to

provide the . . . documents . . . to the government.” Armed with this letter,

Toberoff readily complied with the subpoena, making no attempt to redact

anything from the documents.

      D.C. Comics immediately requested all documents disclosed to the U.S.

Attorney, claiming that the disclosure of these unredacted copies waived any

remaining privilege. Examining the weight of authority from other circuits, the

magistrate judge agreed that a party may not selectively waive attorney-client

privilege. The magistrate judge reasoned that, because a voluntary disclosure of

privileged materials breaches confidentiality and is inconsistent with the theory


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behind the privilege, such disclosure waives that privilege regardless of whether

the third party is the government or a civil litigant. Having delivered the

documents to the government, the magistrate judge concluded, Petitioners could

not rely on the attorney-client privilege to shield them from D.C. Comics.

      However, the magistrate judge noted that this circuit has twice declined to

decide whether a party may selectively waive the attorney-client privilege, and

stayed his order to allow Petitioners to seek review. The district court denied

review. Petitioners seek to overturn the magistrate’s order through a writ of

mandamus.

                                          II

      A writ of mandamus is an extraordinary remedy. A party seeking the writ

has the “burden of showing that [his] right to the issuance of the writ is clear and

indisputable.” Bauman v. U.S. Dist. Ct., 557 F.2d 650, 656 (9th Cir. 1977)

(internal quotation marks omitted). In evaluating whether a petitioner has met that

burden, we consider: (1) whether he “has no other adequate means” of seeking

relief; (2) whether he “will be damaged or prejudiced in a way not correctable on

appeal” after final judgment; (3) whether the “district court’s order is clearly

erroneous as a matter of law”; (4) whether the order “is an oft-repeated error”; and

(5) whether the order “raises new and important problems, or issues of first


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impression.” Id. at 654–55. We have established no specific formula to weigh

these factors, but failure to show what is generally listed as the third factor, error, is

fatal to any petition for mandamus. See Burlington N. & Santa Fe. Ry. v. U.S. Dist.

Ct., 408 F.3d 1142, 1146 (9th Cir. 2005).2

                                           III

      Under certain circumstances, the attorney-client privilege will protect

communications between clients and their attorneys from compelled disclosure in a

court of law. See Upjohn Co. v. United States, 449 U.S. 383, 389 (1981). Though

this in some way impedes the truth-finding process, we have long recognized that

“the advocate and counselor [needs] to know all that relates to the client’s reasons

for seeking representation” if he is to provide effective legal advice. Trammel v.

United States, 445 U.S. 40, 51 (1980); see also 8 John Henry Wigmore, Evidence

§ 2290 (John T. McNaughton, ed. 1961). As such, we recognize the privilege in

order to “encourage full and frank communication between attorneys and their

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         Petitioners assert that, because this case presents an issue of first
impression, they must demonstrate simple rather than clear error. We have not
always been precise as to whether we look for “error” or “clear error” where our
sister circuits have addressed an issue, but we have not. Compare Anon. Online
Speakers v. U.S. Dist. Ct., 661 F.3d 1168 (9th Cir. 2011) (applying the clear error
standard in a circuit split situation), with San Jose Mercury News, Inc. v. U.S. Dist.
Ct., 187 F.3d 1096 (9th Cir. 1999) (applying the simple error standard when other
circuits had weighed in on parts of an issue). We assume but do not decide that
Petitioners need show only error.

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clients and thereby promote broader public interests in the observance of law and

administration of justice.” Upjohn Co., 449 U.S. at 389.3

      Nonetheless, because, like any other testimonial privilege, this rule

“contravene[s] the fundamental principle that the public has a right to every man’s

evidence,” Trammel, 445 U.S. at 50 (internal alterations and quotation marks

omitted), we construe it narrowly to serve its purposes, see, e.g., United States v.

Martin, 278 F.3d 988, 999 (9th Cir. 2002).4 In particular, we recognize several

ways by which parties may waive the privilege. See, e.g., Hernandez v. Tanninen,

604 F.3d 1095, 1100 (9th Cir. 2010). Most pertinent here is that voluntarily

disclosing privileged documents to third parties will generally destroy the

privilege. Id. The reason behind this rule is that, “‘[i]f clients themselves divulge

such information to third parties, chances are that they would also have divulged it

to their attorneys, even without the protection of the privilege.’” Comment,


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        Because Petitioners have never challenged the district court’s application
of federal law, we assume but do not decide that this was correct even though this
case involves diversity claims to which state privilege law would apply. Lewis v.
United States, 517 F.2d 236, 237 n.2 (9th Cir. 1975) (per curiam).
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        Because no one challenges whether these communications would have
been privileged absent waiver, we do not address that issue. For example, we
assume but do not decide that these communications were all made for the purpose
of obtaining legal as opposed to business advice. Cf. United States v. Ruehle, 583
F.3d 600, 608 n.8 (9th Cir. 2009) (noting that business advice does not fall within
the purview of attorney-client privilege even if the advisor is a lawyer).

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Stuffing the Rabbit Back into the Hat: Limited Waiver of the Attorney-Client

Privilege in an Administrative Agency Investigation, 130 U. Pa. L. Rev. 1198, 1207

(1982). Under such circumstances, there simply is no justification to shut off

judicial inquiry into these communications.

      Petitioners concede that this is the general rule, but they assert a number of

reasons why it should not apply to them.

                                           A

      Petitioners’ primary contention is that because Toberoff disclosed these

documents to the government, as opposed to a civil litigant, his actions did not

waive the privilege as to the world at large. That is, they urge that we adopt the

theory of “selective waiver” initially accepted by the Eight Circuit, Diversified

Industries, Inc. v. Meredith, 572 F.2d 596 (8th Cir. 1978) (en banc), but rejected by

every other circuit to consider the issue since, see In re Qwest Commc’ns Int’l, 450

F.3d 1179, 1197 (10th Cir. 2006); Burden-Meeks v. Welch, 319 F.3d 897, 899 (7th

Cir. 2003); In re Columbia/HCA Healthcare Corp. Billing Practices Litig., 293

F.3d 289, 295 (6th Cir. 2002) [hereinafter “In re Columbia”]; United States v.

Mass. Inst. of Tech., 129 F.3d 681, 686 (1st Cir. 1997); Genentech, Inc. v. United

States Int’l Trade Comm’n, 122 F.3d 1409, 1416–18 (Fed. Cir. 1997); In re

Steinhardt Partners, L.P., 9 F.3d 230, 236 (2d Cir. 1993); Westinghouse Elec.


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Corp. v. Republic of Philippines, 951 F.2d 1414, 1425 (3d Cir. 1991); In re Martin

Marietta Corp., 856 F.2d 619, 623–24 (4th Cir. 1988); Permian Corp. v. United

States, 665 F.2d 1214, 1221 (D.C. Cir. 1981).

      As the magistrate judge noted, we have twice deferred judgment on whether

we will accept a theory of selective waiver. United States v. Bergonzi, 403 F.3d

1048, 1050 (9th Cir. 2005) (per curiam); Bittaker v. Woodford, 331 F.3d 715, 720

n.5 (9th Cir. 2003) (en banc). But we share the concerns expressed by many of our

sister circuits about the cursory analysis behind the Diversified rule. The Eighth

Circuit—the first court of appeals to consider the issue—adopted what has become

a highly controversial rule only because it concluded that “[t]o hold otherwise may

have the effect of thwarting the developing procedure of corporations to employ

independent outside counsel to investigate and advise them in order to protect

stockholders.” Diversified, 572 F.2d at 611. This apprehension has proven

unjustified. Officers of public corporations, it seems, do not require a rule of

selective waiver to employ outside consultants or voluntarily to cooperate with the

government. See, e.g., Westinghouse Elec. Corp., 951 F.2d at 1426.

      More importantly, such reasoning does little, if anything, to serve the public

good underpinning the attorney-client privilege. That is, “selective waiver does

not serve the purpose of encouraging full disclosure to one’s attorney in order to

obtain informed legal assistance; it merely encourages voluntary disclosure to

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government agencies, thereby extending the privilege beyond its intended

purpose.” Id. at 1425.

      It may well be that encouraging cooperation with the government is an

alternative route to the ultimate goal of promoting adherence to the law. In re

Columbia, 293 F.3d at 311 (Boggs, J., dissenting). And there are those who assert

that “an exception to the third-party waiver rule need [not] be moored to the

justifications of the attorney-client privilege.” Id. at 308 (emphasis omitted). We

disagree. If we were to unmoor a privilege from its underlying justification, we

would at least be failing to construe the privilege narrowly. Cf. Univ. of Pa. v.

EEOC, 493 U.S. 182, 189 (1990) (citing Trammel, 445 U.S. at 50; United States v.

Bryan, 339 U.S. 323, 331) (1950)). And more likely, we would be creating an

entirely new privilege. In re Qwest Commc’ns Int’l, 450 F.3d 1179; Westinghouse,

951 F.2d at 1425.

      It is not beyond our power to create such a privilege. Univ. of Pa., 493 U.S.

at 189 (noting that Fed. R. Evid. 501 provides certain flexibility to adopt privilege

rules on a case-by-case basis). But as doing so requires balancing competing

societal interests in access to evidence and in promoting certain types of

communication, the Supreme Court has warned us not to “exercise this authority

expansively.” Id.; see also United States v. Nixon, 418 U.S. 683, 710 (1974). Put

simply, “[t]he balancing of conflicting interests of this type is particularly a

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legislative function.” Univ. of Pa., 493 U.S. at 189.

      Since Diversified, there have been multiple legislative attempts to adopt a

theory of selective waiver. Most have failed. Report of the Advisory Committee

on Evidence Rules, May 15, 2007, at 4, available at

http://www.uscourts.gov/uscourts/RulesAndPolicies/rules/Reports/2007-05-Comm

ittee_Report-Evidence.pdf (reporting the selective waiver provision separately

from the general proposed rule); SEC Statement in Support of Proposed Section

24(d) of the Securities Exchange Act of 1934, 16 Sec. Reg. & L. Rep. 461 (Mar. 2,

1984). But see H.R. Rep. No. 870, 96th Cong., 1st Sess. (1980), codified at 15

U.S.C. § 1312. Given that Congress has declined broadly to adopt a new privilege

to protect disclosures of attorney-client privileged materials to the government, we

will not do so here. Univ. of Pa., 493 U.S. at 189 (requiring federal courts to be

particularly cautious when legislators have “considered the relevant competing

concerns but [have] not provided the privilege”).

                                          B

      Petitioners next assert that even if we reject selective waiver as a general

matter, we should enforce a purported confidentiality agreement based upon the

letter from the U.S. Attorney’s Office. Though no circuit has officially adopted

such a rule, at least two have “left the door open to selective waiver” where there is

a confidentiality agreement. In re Columbia, 293 F.3d at 301 (discussing

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Steinhardt and Dellwood Farms, Inc. v. Cargill, 128 F.3d 1122 (7th Cir. 1997));

see also In re Qwest Commc’ns Int’l, 450 F.3d at 1192–94 (describing such a rule

as a “leap” but declining to reject it completely).

       Assuming that this letter constitutes a confidentiality agreement, Petitioners

have provided no convincing reason that post hoc contracts regarding how

information may be revealed encourage frank conversation at the time of the

advice. Indeed, as the Sixth Circuit has noted, while this approach “certainly

protects the expectations of the parties to the confidentiality agreement, it does

little to serve the ‘public ends’ of adequate legal representation that the attorney-

client privilege is designed to protect.” In re Columbia, 293 F.3d at 303. Instead,

recognizing the validity of such a contract “merely [adds] another brush on an

attorney’s palette [to be] utilized and manipulated to gain tactical or strategic

advantage.” Steinhardt, 9 F.3d at 235; cf. Permian Corp., 665 F.2d at 1221. And

it would undermine the public good of promoting an efficient judicial system by

fostering uncertainty and encouraging litigation. Upjohn, 449 U.S. at 393 (noting

that an “uncertain privilege . . . is little better than no privilege at all”).

       The only justification behind enforcing such agreements would be to

encourage cooperation with the government. But Congress has declined to adopt

even this limited form of selective waiver. See Statement of Congressional Intent

Regarding Rule 502 of the Federal Rules of Evidence, 154 Cong. Rec. H. 7817

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(2008), reprinted in Fed. R. Evid. 502 addendum to comm. n subdivision (d)

(noting that Rule 502 “does not provide a basis for a court to enable parties to

agree to a selective waiver of the privilege, such as to a federal agency conducting

an investigation”). As such, we reject such a theory here.

                                          C

      Petitioners next aver that, because Toberoff was the victim of the crime

rather than the target of the grand jury probe, his disclosure should be treated

differently. But if it is unnecessary to adopt a theory of selective waiver to

encourage potential defendants to cooperate with the government, In re Qwest

Commc’ns Int’l, 450 F.3d at 11; Westinghouse, 951 F.2d at 1425, it is even less

necessary to do so to encourage victims to report crimes to the government. The

desire to see the crime prosecuted is sufficient impetus to cooperate.

      We are unconvinced by Petitioners’ argument that adopting such a rule will

drastically impair law enforcement attempts to investigate espionage against

“attorneys, financial institutions, medical providers, national security agencies,

judges, large corporations, or law firms.” This has not occurred despite near

universal rejection of a selective waiver rule. Furthermore, most of these

documents are not covered by attorney-client privilege because they do not

represent communications between a lawyer and his client for the purpose of

obtaining legal advice. Cf. Ruehle, 583 F.3d 608–09 & n.8 (rejecting a

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presumption of privilege even when a communication involves a lawyer). And,

even if they were originally covered by the privilege, they would eventually have

to be made public if they are to become evidence in a criminal trial. To the extent

that timing is a concern, it can be ameliorated by properly seeking a protective

order. Fed. R. Evid. 502(d).

      We are similarly unpersuaded that, because Toberoff was a victim of the

crime, Petitioners have a common interest with the government. Rather than a

separate privilege, the “common interest” or “joint defense” rule is an exception to

ordinary waiver rules designed to allow attorneys for different clients pursuing a

common legal strategy to communicate with each other. See Hunydee v. United

States, 355 F.2d 183, 185 (9th Cir. 1965); see also In re Grand Jury Subpoenas,

902 F.2d 244, 249 (4th Cir. 1990) (collecting cases). However, a shared desire to

see the same outcome in a legal matter is insufficient to bring a communication

between two parties within this exception. Id. Instead, the parties must make the

communication in pursuit of a joint strategy in accordance with some form of

agreement—whether written or unwritten. Cf. Continental Oil Co. v. United

States, 330 F.2d 347, 350 (9th Cir. 1964).

      There is no evidence that Toberoff and the Office of the U.S. Attorney

agreed before the disclosure jointly to pursue sanctions against Toberoff’s former

employee. Toberoff is not strategizing with the prosecution. He has no more of a

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common interest with the government than does any individual who wishes to see

the law upheld. Furthermore, the statements here were not “intended to facilitate

representation” of either Toberoff or the government. Hunydee, 355 F.2d at 185

(limiting privilege to those circumstances); accord United States v. BDO Seidman,

492 F.3d 806, 816 (7th Cir. 2007) (same).

                                         D

      Petitioners also argue that they should be treated differently because

Toberoff produced these documents subject to a subpoena. Involuntary disclosures

do not automatically waive the attorney-client privilege. United States v. De La

Jara, 973 F.2d 746, 749–50 (9th Cir. 1992). But without the threat of contempt,

the mere existence of a subpoena does not render testimony or the production of

documents involuntary. Westinghouse Elec. Corp., 951 F.2d at 1414; see also

United States v. Plache, 913 F.2d 1375, 1380 (9th Cir. 1990). Instead, whether the

subpoenaed party “chose not to assert the privilege when it was appropriate to do

so is [also] relevant to the waiver analysis.” In re Grand Jury Proceedings, 219

F.3d 175, 187 (2d Cir. 2000); cf. In re Subpoenas Duces Tecum, 738 F.2d 1367,

1369–70 (D.C. Cir. 1984).

      Toberoff both solicited the subpoena and “chose not to assert the privilege

when it was appropriate to do so. . . .” In re Grand Jury Proceedings, 219 F.3d at

187. That is, even though the subpoena specifically contemplated that Toberoff

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may choose to redact privileged materials, he did not. Petitioners assert that the

U.S. Attorney would not have been satisfied with redacted documents, but we will

never know because Toberoff never tried. As such, we conclude that the district

court properly treated the disclosure of these documents as voluntary.5

                                          E

      Finally, Petitioners asserted for the first time in oral argument that these

documents should remain confidential because the Heirs themselves did not take

the affirmative step to disclose the documents. We generally do not consider

issues raised for the first time during oral argument, unless “failure to do so would

result in manifest injustice” and the appellee would not be prejudiced by such

consideration. United States v. Ullah, 976 F.2d 509, 514 (9th Cir. 1992) (internal

quotation marks and emphasis omitted). There are several instances in which an

attorney’s behavior may waive the privilege, even without an explicit act by the

client. See, e.g., Himmelfarb v. United States, 175 F.2d 924, 939 (9th Cir. 1949);

see generally 8 Wigmore, Evidence § 2325 (listing actual and implied consent as

well as theft of documents from the attorney’s office). As many of these



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        As these preexisting documents were “sought for [their] own sake rather
than to learn what took place before the grand jury” and as their “disclosure will
not compromise the integrity of the grand jury process,” Petitioners’ argument that
the disclosure was protected by Federal Rule of Criminal Procedure 6(e)(2)(B) is
similarly without merit. United States v. Dynavac, Inc., 6 F.3d 1407, 1411–12 (9th
Cir. 1993).

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documents fall within these situations, we do not consider it a manifest injustice to

hold Petitioners to their apparent acceptance of Toberoff’s authority to waive the

privilege on behalf of his clients, who have never disputed his authority to do so.6

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      Because Petitioners have not established error, we need not discuss the other

Bauman factors. The petition for mandamus is DENIED.




      6
        Indeed, there is even circumstantial evidence that the Heirs affirmatively
consented to Toberoff’s actions. There is also evidence that Toberoff should
himself be treated as a co-client. After all, Toberoff represented all of the
Petitioners, including a joint venture between the Heirs and himself in which he
had a controlling interest. As such, he likely had authority unilaterally to waive the
privilege on at least some of these documents. Restatement (Third) of Law
Governing Lawyers § 76 cmt. g; see also In re Teleglobe Commc’ns Corp., 493
F.3d 345, 363 (3d Cir. 2007).

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                                    COUNSEL

Richard B. Kendall, Kendall Brill & Klieger LLP, Los Angeles, California, argued
the cause and filed the briefs for the petitioners. With him on the briefs were Laura
W. Brill, Kendall Brill & Kleiger, LLP, Los Angeles, California as well as Marc
Toberoff and Keith G. Adams, Toberoff & Associates, P.C., Los Angeles,
California.

Matthew T. Kline, O’Melveny & Myers LLP, Los Angeles, California, argued the
cause and filed the brief for the real party in interest. With him on the brief were
Daniel M. Petrocelli and Cassandra L. Seto, O’Melveny & Myers LLP as well as
Patrick T. Perkins, Perkins Law Office, P.C., Cold Spring, New York.




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                                 ,1752'8&7,21

     3ODLQWLII$SSHOODQW/DXUD6LHJHO/DUVRQ ³3ODLQWLII´ KHUHE\PRYHVWRVWULNH

SRUWLRQVRI'HIHQGDQWV$SSHOOHHV:DUQHU%URV(QWHUWDLQPHQW,QFDQG'&

&RPLFV¶ FROOHFWLYHO\³:DUQHU´ 6XSSOHPHQWDO([FHUSWVRI5HFRUG ³6(5´ DQG

DVVRFLDWHGSRUWLRQVRI:DUQHU¶V3ULQFLSDODQG5HVSRQVH%ULHI 'RFNHW1R 

     ,QJURVVYLRODWLRQRIWKHUXOHVJRYHUQLQJDSSHOODWHSURFHGXUH:DUQHU¶V

6XSSOHPHQWDO([FHUSWVRI5HFRUGV 'RFNHW1R LQFOXGHGRFXPHQWV 

SDJHV WKDWZHUHQRWSDUWRIWKH'LVWULFW&RXUW¶VUHFRUGLQWKLVFDVHEXWZHUH

ODUJHO\ILOHGLQDGLIIHUHQWFDVH'&&RPLFVY3DFLILF3LFWXUHV&RUS&DVH1R

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UHFRUGLQVWHDGLWLPSURSHUO\DVNHGWKH&RXUWLQPHUHIRRWQRWHVLQWKH,QGH[WR

:DUQHU¶V6XSSOHPHQWDO([FHUSWVRI5HFRUGVWRWDNHMXGLFLDOQRWLFHRIWKLV

SXUSRUWHGH[WUDUHFRUGHYLGHQFH7KHFRQWHQWVRISXUSRUWHGHYLGHQFHKRZHYHU

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     ,Q'&&RPLFV:DUQHUJLQQHGXSUHWDOLDWRU\FODLPVDJDLQVW3ODLQWLIIDQGKHU

FRXQVHO0DUF7REHURIIDIWHUKHKDGVHFXUHGIDYRUDEOHOHJDOGHFLVLRQVRQ

3ODLQWLII¶VEHKDOILQWKLVFDVH/DFNLQJPHULWRULRXVOHJDODUJXPHQWV:DUQHUWULHV

WRLPSURSHUO\VKRHKRUQGRFXPHQWVIURPWKDWFDVHLQWRWKHUHFRUGWRLPEXHWKLV


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CaseCase:
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DSSHDOLQYROYLQJJHQXLQHFRS\ULJKWLVVXHVRIFRQVLGHUDEOHLQWHUHVWDQGLPSRUW

ZLWKWKHVDPHVPHDUFDPSDLJQWKDWGRPLQDWHV'&&RPLFVDQGZKLFKLV

FRPSOHWHO\LUUHOHYDQWWRWKHLVVXHVSUHVHQWHGLQWKLVDSSHDO

             $VDUHVXOW3ODLQWLIILVXQIDLUO\IRUFHGWRDGGUHVV:DUQHU¶VH[WUDQHRXVILOLQJV

DQGSUHMXGLFLDODWWDFNVIXUWKHULQJ:DUQHU¶VREIXVFDWLRQRIWKHPHULWV:DUQHUDQG

LWVFRXQVHOVKRXOGEHVDQFWLRQHGIRUVXFKJDPHVPDQVKLSLQEODWDQWYLRODWLRQRI

ZHOONQRZQWHQHWVRIDSSHOODWHSURFHGXUH

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             ,WLVIXQGDPHQWDOWRDSSHOODWHSUDFWLFHWKDWWKHUHFRUGRQDSSHDOFRQVLVWVRI

³  WKHRIILFLDOSDSHUVDQGH[KLELWVILOHGLQWKHGLVWULFWFRXUW  WKHWUDQVFULSWRI

SURFHHGLQJVLIDQ\DQG  DFHUWLILHGFRS\RIWKHGRFNHWHQWULHVSUHSDUHGE\WKH

GLVWULFWFOHUN´)5$3 D VHH&LUFXLW5XOH WKH³FRPSOHWHUHFRUGRQ

DSSHDO´FRQVLVWVRI³WKHRIILFLDOWUDQVFULSW>V@´DQGWKH³GLVWULFWFRXUWFOHUN¶VUHFRUGV

RIRULJLQDOSOHDGLQJVH[KLELWVDQGRWKHUSDSHUVILOHGZLWKWKHGLVWULFWFRXUW´ 

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³PHHWDQGFRQIHU´HYHQWKRXJKWKH&LUFXLW5XOHVQRZKHUHUHTXLUHWKLV,G

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'RFXPHQWV³QRWILOHGZLWKWKHGLVWULFWFRXUW«DUHQRWSDUWRIWKHFOHUN¶VUHFRUG

DQGFDQQRWEHSDUWRIWKHUHFRUGRQDSSHDO´.LUVKQHUY8QLGHQ&RUSRI$P

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WKH³FRQWHQWLRQWKDWWKHHYLGHQFHLVSURSHUO\LQFOXGHGLQWKHDSSHOODWHUHFRUG

EHFDXVHLWFRQVLVWVRIGRFXPHQWVILOHGLQRWKHUGLVWULFWFRXUWFDVHVLVZLWKRXW

PHULW´  HPSKDVLVLQRULJLQDO 

      7KLVUXOHDSSOLHVHYHQZKHUHDSDUW\DVVHUWV³QHZO\GLVFRYHUHG´HYLGHQFH

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SUHVHQWHGWRWKH>WULDO@FRXUWDUHQRWSDUWRIWKHUHFRUGRQDSSHDO´ 

      7RUDWLRQDOL]HLWVLPSURSHUFRQGXFW:DUQHUKDVSUHYLRXVO\FLWHGWRFDVHVWKDW

SURYLGHQRVXSSRUWIRULWVZKROHVDOHVXSSOHPHQWDWLRQRIWKHUHFRUG6HH0DQJLQLY


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CaseCase:
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WKDWWKHMXGJHZDVXQHTXLYRFDOO\VXEMHFWWRPDQGDWRU\GLVTXDOLILFDWLRQ &ROEHUWY

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VLQJOHGRFXPHQWWREHILOHGZKHUHSDUWLDOFRS\ILOHGZLWKWKHGLVWULFWFRXUW 5LJVE\

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FROOHFWLYHEDUJDLQLQJDJUHHPHQWLQDQHPSOR\PHQWGLVSXWH 

      /RZU\Y%DUQKDUW)GH[SUHVVO\OLPLWHGWKHVLWXDWLRQVZKHQ

FRXUWVVKRXOGDFFHSWH[WUDUHFRUGPDWHULDODQGDGYLVHGDJDLQVWWKHVRUWRIDSSHOODWH

IUHHIRUDOO'&VHHNV

                6DYHLQXQXVXDOFLUFXPVWDQFHVZHFRQVLGHURQO\WKHGLVWULFWFRXUW
      UHFRUGRQDSSHDO)HGHUDO5XOHRI$SSHOODWH3URFHGXUH D H[SODLQVZKLFK
      PDWHULDOVFRQVWLWXWHWKHUHFRUG)HG5$SS3 D $QG&LUFXLW5XOH
      SURYLGHVWKDWWKHDSSHOODQW DQGLIQHFHVVDU\WKHDSSHOOHH VKDOOSUHSDUH
      ³H[FHUSWV´RIWKDWUHFRUG6HHWK&LU5 D 7KHUDWKHUREYLRXV
      LPSOLFDWLRQLVWKDWWKH³H[FHUSWVRIUHFRUG´DUHMXVWWKDW³H[FHUSWV´RIWKH
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      7KLVOLPLWDWLRQLVIXQGDPHQWDO$VDFRXUWRIDSSHDOVZHODFNWKH
      PHDQVWRDXWKHQWLFDWHGRFXPHQWVVXEPLWWHGWRXVVRZHPXVWEHDEOHWR
      DVVXPHWKDWGRFXPHQWVGHVLJQDWHGSDUWRIWKHUHFRUGDFWXDOO\DUHSDUWRI
      WKHUHFRUG7REHVXUHWKHIDFWWKDWDGRFXPHQWLVILOHGLQWKHGLVWULFWFRXUW
      GRHVQ WUHVROYHDOOTXHVWLRQVRIDXWKHQWLFLW\EXWLWGRHVHQVXUHWKDWERWK
      RSSRVLQJFRXQVHODQGWKHGLVWULFWFRXUWDUHDZDUHRILWDWDWLPHZKHQ
      GLVSXWHVRYHUDXWKHQWLFLW\FDQEHSURSHUO\UHVROYHG/LWLJDQWVZKRGLVUHJDUG
      WKLVSURFHVVLPSDLURXUDELOLW\WRSHUIRUPRXUDSSHOODWHIXQFWLRQ
      7KHUHDUHH[FHSWLRQVWRWKHJHQHUDOUXOH:HPD\FRUUHFWLQDGYHUWHQW
      RPLVVLRQVIURPWKHUHFRUGWDNHMXGLFLDOQRWLFHDQGH[HUFLVHLQKHUHQW
      DXWKRULW\WRVXSSOHPHQWWKHUHFRUGLQH[WUDRUGLQDU\FDVHV&RQVLGHUDWLRQRI
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      QHZIDFWVPD\HYHQEHPDQGDWRU\IRUH[DPSOHZKHQGHYHORSPHQWVUHQGHU
      DFRQWURYHUV\PRRWDQGWKXVGLYHVWXVRIMXULVGLFWLRQ2QHFRQVWDQWUXQV
      WKURXJKDOOWKHVHH[FHSWLRQVKRZHYHU2QO\WKHFRXUWPD\VXSSOHPHQWWKH
      UHFRUG³>,WLVD@EDVLFWHQHWRIDSSHOODWHMXULVSUXGHQFHWKDWSDUWLHVPD\
      QRWXQLODWHUDOO\VXSSOHPHQWWKHUHFRUGRQDSSHDOZLWKHYLGHQFHQRWUHYLHZHG
      E\WKHFRXUWEHORZ´/LWLJDQWVVKRXOGSURFHHGE\PRWLRQRUIRUPDOUHTXHVW
      VRWKDWWKHFRXUWDQGRSSRVLQJFRXQVHODUHSURSHUO\DSSULVHGRIWKHVWDWXVRI
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              :DUQHU¶VDWWHPSWWRVXEVWDQWLDOO\H[SDQGWKHUHFRUGE\UHTXHVWVLQPHUH

IRRWQRWHVLVDOVRLPSURSHU)HG5$SS3 H  & DOORZVWKHFRXUWRIDSSHDOV

WRVXSSOHPHQWWKHUHFRUG³RQO\E\IRUPDOPRWLRQEDVHGRQH[WUDRUGLQDU\

FLUFXPVWDQFHVRUHUURUFRUUHFWLRQ´8QLWHG6WDWHVY%RXOZDUH)G

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Case 2:10-cv-03633-ODW-RZ
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                 &RQVLGHUWKH&RQWHQWVRI3XUSRUWHG(YLGHQFH1RW3UHVHQWHGWR

                 WKH'LVWULFW&RXUW

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5HFRUG:DUQHUFDVXDOO\FRXFKHVLWVLPSURSHUH[SDQVLRQRIWKHUHFRUGDVDUHTXHVW

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MXGLFLDOQRWLFHLVRQO\DSSURSULDWHIRUPDWWHUV³µJHQHUDOO\NQRZQZLWKLQWKH

WHUULWRULDOMXULVGLFWLRQRIWKH>@FRXUW¶RUµFDSDEOHRIDFFXUDWHDQGUHDG\

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         -XGLFLDOQRWLFHLVQRWDGHYLFHWRERRWVWUDSLQWRWKHDSSHOODWHUHFRUGGR]HQVRI

GRFXPHQWVQHYHUVXEPLWWHGWRRUFRQVLGHUHGE\WKHWULDOFRXUW6HH,UYLQY%DFD

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IRUXVWRWDNHMXGLFLDOQRWLFHRIWKHP´ 3HURXOLVY.R]DN)HG$SS[

 WK&LU  UHTXHVWIRUMXGLFLDOQRWLFHGHQLHGEHFDXVH³GRFXPHQWVQRW

ILOHGZLWKWKHGLVWULFWFRXUWRUDGPLWWHGLQWRHYLGHQFHE\WKDWFRXUW´ 7KROY


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                                       EXHIBIT 66
                                         1402
Case 2:10-cv-03633-ODW-RZ
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:DGGLQJWRQ)HG$SS[ WK&LU  MXGLFLDOQRWLFHGHQLHG³WR

WKHH[WHQWVXFKGRFXPHQWVZHUHQRWSDUWRIWKHUHFRUG´ 6DIURQ&DSLWDO&RUSY

/HDGLV7HFK,QF)HG$SS[ WK&LU  GHQ\LQJUHTXHVWIRU

MXGLFLDOQRWLFHDVWR³H[WUDUHFRUGPDWHULDOV´ 

        $V:DUQHUDQGLWVFRXQVHOZHOONQRZWKLVFRQWHVWHGHYLGHQFHIURPDQRWKHU

FDVHLVQRWWKHSURSHUVXEMHFWRIMXGLFLDOQRWLFH6HH+HQGHUVRQY6WDWHRI2UHJRQ

)HG$SS[ WK&LU  ³$GMXGLFDWLYHIDFWVDSSURSULDWHIRUMXGLFLDO

QRWLFHDUHW\SLFDOO\GLIIHUHQWIURPIDFWVIRXQGLQDIILGDYLWVVXSSRUWLQJOLWLJDWLRQ

SRVLWLRQVZKLFKRIWHQSUHVHQWIDFWVVXEMHFWWRGLVSXWH´ 

         ,QWKHFDVHVFLWHGE\:DUQHUDFRXUWWRRNMXGLFLDOQRWLFHRIILOLQJVLQ

DQRWKHUSURFHHGLQJQRWIRUWKHWUXWKRIWKHLUFRQWHQWVEXWDVWRWKHIDFWRIWKHLU

RFFXUUHQFH6HH,Q5H\Q¶V3DVWD%HOOD//&Y9LVD86$,QF)G

    WK&LU  WDNLQJMXGLFLDOQRWLFHRISOHDGLQJVVROHO\WR³GHWHUPLQHZKDWLVVXHV

ZHUHDFWXDOO\OLWLJDWHG´ +HDGZDWHUV,QFY8QLWHG6WDWHV)RUHVW6HUY)G

 WK&LU  WDNLQJMXGLFLDOQRWLFHRIDGRFNHWWRHVWDEOLVKD

SURFHGXUDOHYHQW 8QLWHG6WDWHVH[UHO5RELQVRQ5DQFKHULD&LWL]HQV&RXQFLOY

%RUQHR,QF)G WK&LU  WDNLQJMXGLFLDOQRWLFHRIDORZHU

FRXUW¶VILQDOMXGJPHQW 8QLWHG6WDWHVY:LOVRQ)G WK&LU

  MXGLFLDOQRWLFHZDVQRWSURSHUJLYHQWKDWWKHIDFWVDVVHUWHGE\PRYDQWZHUH

LQGLVSXWH 1RQHRIWKHVHFDVHVVXSSRUW:DUQHU¶VDWWHPSWWRH[SDQGWKHUHFRUGRQ


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                                         1403
Case 2:10-cv-03633-ODW-RZ
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DSSHDOE\FLWLQJWRVXFKH[WUDQHRXVDQGLQDGPLVVLEOHPDWHULDOVIRUWKHLUVXSSRVHG

WUXWK6HHHJ'RFNHW1RDW ³7KHOHWWHUFRQILUPVWKDW0DUNVWROG

7REHURIIWKDW/DUVRQKDGDµGHDO¶ZLWK'&´ 

      :DUQHUFRQWHQGVWKDWMXGLFLDOQRWLFHLV³SDUWLFXODUO\DSSURSULDWH´WR

GRFXPHQWVILOHGLQWKH'&&RPLFVFDVHEHFDXVHWKHVHGRFXPHQWVZHUHILOHGDIWHU

WKHRUGHUVDWLVVXHLQWKLVDSSHDODQGZHUHVXSSRVHGO\³XQDYDLODEOH´6(59RO

DWS[L7KHORJLFRI:DUQHU¶VSRVLWLRQZRXOGPHDQWKDWQHZFRQWHVWHGHYLGHQFH

FRXOGDOZD\VEHLQWURGXFHGRQDSSHDOVLPSO\EHFDXVHVXFKGRFXPHQWVKDGEHHQ

ILOHGLQDODWHUFDVH

       7KHFDVHV:DUQHUUHOLHVXSRQIRUWKLVSRLQWDUHHLWKHULQDSSRVLWHRUFRQWUDU\

WRLWVOXGLFURXVSRVLWLRQ6HH6(59ROS:HUQHUY:HUQHU)G

 UG&LU  GHFOLQLQJWRWDNH³MXGLFLDOQRWLFHRIWKHWUXWKRIWKHFRQWHQWVRI

DILOLQJIURPDUHODWHGDFWLRQ´ 6DQGSLSHU9LOO&RQGR$VV¶QY/RXLVLDQD3DFLILF

&RUS)G WK&LU  WDNLQJMXGLFLDOQRWLFHRISUHYLRXVO\

XQDYDLODEOHSRUWLRQVRIWKHGLVWULFWFRXUW¶VWULDOWUDQVFULSWLQWKHVDPHFDVH 

+DPPRFNY%RZHQ)G WK&LU  WDNLQJMXGLFLDOQRWLFHRI

HYLGHQFHVXEPLWWHGWRWKHGLVWULFWFRXUWDIWHUDKHDULQJEXWSULRUWRWKHDSSHDO 

       6HFRQGO\:DUQHU¶VFRQWHQWLRQWKDWVXFKGRFXPHQWVZHUH³XQDYDLODEOH´LV

HUURQHRXVDVWKHGRFXPHQWVZHUHHLWKHULQLWVSRVVHVVLRQGXULQJWKHFDVHEHORZRU

FRXOGKDYHEHHQREWDLQHGYLDGLVFRYHU\6HH6(5 LQ:DUQHU¶V


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Case 2:10-cv-03633-ODW-RZ
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SRVVHVVLRQ 6(5 SURGXFHGLQ'&&RPLFVSXUVXDQWWR

GLVFRYHU\ )RULQVWDQFH:DUQHUUHTXHVWVMXGLFLDOQRWLFHRIGRFXPHQWVVXFKDV

'HWHFWLYH&RPLFV¶PDJD]LQHVDQGFRYHUVIURPDQGH[FHUSWVIURP-HURPH

6LHJHO¶VGHFDGHVROGPHPRLUWKDWZHUHLQLWVSRVVHVVLRQDQGFRXOGKDYHUHDGLO\

EHHQSUHVHQWHGWRWKHGLVWULFWFRXUW6(56HH0LOQHY6WHSKHQ

6OHVLQJHU,QF)HG$SS[ WK&LU  KROGLQJWKDWMXGLFLDO

QRWLFHLVLPSURSHUDVWRHYLGHQFHWKDW³FRXOGKDYHEHHQVXEPLWWHGWRWKHGLVWULFW

FRXUW´EXWZDVQRW 

         &    7KLV&RXUW6KRXOG6WULNH:DUQHU¶V2IIHQGLQJ3RUWLRQVRIWKH

                5HFRUGDQGWKH,PSURSHU$UJXPHQW%DVHG7KHUHURQ

        $OORI:DUQHU¶VLPSURSHULQFOXVLRQVLQLWV6XSSOHPHQWDO([FHUSWVRI5HFRUG

    LH6(5 WKDWZHUHQRWEHIRUHWKHGLVWULFWFRXUWKHUHLQVKRXOGEHVWUXFN

,QDGGLWLRQWKRVHSRUWLRQVRI:DUQHU¶VDSSHOODWHEULHIVHWIRUWKLQ([KLELW%

ZKLFKSXUSRUWWRUHO\RQVXFKLPSURSHUHYLGHQFHVKRXOGDOVREHVWUXFN6HH

%DUFDPHULFD,QW¶O86$7UXVW)GDW WK&LU  VWULNLQJGRFXPHQWV

QRWEHIRUHGLVWULFWFRXUWDQGWKRVHSRUWLRQVRIRSHQLQJEULHIZKLFKUHOLHGRQWKHP 

&WUIRU%LRORJLFDO'LYHUVLW\Y8QLWHG6WDWHV)LVK :LOGOLIH6HUY)G

 WK&LU  VDPH $OXLVLY8QXP/LIH,QV&RRI$P)HG$SS[

 WK&LU  VDPH 8QLWHG6WDWHVY0DGGR[)G

    WK&LU  VWULNLQJSRUWLRQRIEULHIUHIHUULQJWRHYLGHQFHWKDWZDVQRWDSDUWRI


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                                          1405
Case 2:10-cv-03633-ODW-RZ
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WKHGLVWULFWFRXUWUHFRUG :HEEY'RXJODV&RXQW\)HG$SS[ WK

&LU  VDPH ͘

      '    :DUQHU$WWHPSWV7R3UHMXGLFH7KH&RXUW:LWK,UUHOHYDQFLHV

     7KURXJKRXWLWVEULHI:DUQHUJUDWXLWRXVO\SXUSRUWVWRGHWDLOH[WUDUHFRUG

VXEMHFWVDQGPLVUHSUHVHQWVH[WUDUHFRUGGRFXPHQWVLQGLJUHVVLRQVWKDWDUHZKROO\

LUUHOHYDQWWRWKHOHJDOLVVXHVEHIRUHWKLV&RXUW

     )RULQVWDQFHFLWLQJWRH[WUDUHFRUGPDWHULDO:DUQHUIDOVHO\FODLPVWKDWDQ

$XJXVWRIIHUE\$UL(PDQXHOWRWKH6LHJHOVDQGWKH6LHJHOV¶ODWHUUHWHQWLRQRI

0U7REHURII³LQWHUIHUHG´ZLWKLWVQHJRWLDWLRQV2SS:DUQHU¶V

WUXPSHGXSDOOHJDWLRQVDUHIODWO\FRQWUDGLFWHGE\-RDQQH6LHJHO¶V0D\

OHWWHUFRPSODLQLQJDERXW:DUQHU¶V³XQFRQVFLRQDEOHFRQWUDFWGDWHG)HEUXDU\

´DQGWKDW³DIWHUQHJRWLDWLRQVGUDJJHGRQIRUIRXUGLIILFXOW\HDUV«ZHZHUH

VWDEEHGLQWKHEDFNZLWK>WKLV@VKRFNLQJFRQWUDFW´6(5:DUQHU¶V

ULGLFXORXVDOOHJDWLRQVDUHLPPDWHULDOLQDQ\HYHQWWRWKHLVVXHEHIRUHWKH&RXUW

:KHWKHU:DUQHUDQGWKH6LHJHOVIRUPHGDELQGLQJFRQWUDFWQHDUO\D\HDUHDUOLHULQ

2FWREHU        

     :DUQHUPLVFKDUDFWHUL]HVRWKHUH[WUDUHFRUGPDWHULDOWRSURSXSLWVUHWDOLDWRU\

DWWDFNVDJDLQVWLWVORQJWLPHRSSRVLQJFRXQVHORQPDWWHUVWKDWKDYHQRFRQFHLYDEOH

UHOHYDQFHWRDQ\RIWKHOHJDOLVVXHVSUHVHQWHGLQWKLVDSSHDOLQFOXGLQJ0U

7REHURII¶VSXUSRUWHGEXVLQHVVLQWHUHVWV 2SS 0U7REHURII¶VSXUSRUWHG

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                                        1406
Case 2:10-cv-03633-ODW-RZ
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UHODWLRQVKLSZLWKWKHKHLUVRI-RVHSK6KXVWHU 2SSDWQ DQGERWK*DQJ

7\UH¶V 2SS DQG0U7REHURII¶V 2SS FRQWLQJHQWOHJDOIHHV:DUQHU¶V

DWWHPSWVWRGHUDLOWKHPHULWVDQGHOLFLWSUHMXGLFHDJDLQVW3ODLQWLIIE\DWWDFNLQJKHU

DWWRUQH\DUHDVWUDQVSDUHQWDVWKH\DUHLPSURSHU

     :DUQHU¶VHUURQHRXVIDFWXDODOOHJDWLRQVDQGOHJDODUJXPHQWVQRWUHOHYDQWWR

WKLVFDVHDUHDGGUHVVHGPRUHIXOO\LQWKHDSSHOODQWV¶RSHQLQJEULHILQ'&&RPLFV

WK&LU&DVH1R'RFNHW1RUHJDUGLQJWKHLU$QWL6/$33PRWLRQ

      (    :DUQHU6KRXOG%H6DQFWLRQHG

     :DUQHU¶VYLRODWLRQRI5XOH D  LVSDUWLFXODUO\HJUHJLRXV,QDVVHVVLQJ

WKHVHYHULW\RID5XOH D  YLRODWLRQIRUWKHSXUSRVHRIGHFLGLQJZKHWKHUWR

LPSRVHVDQFWLRQV/RZU\FRQVLGHUHGWKHIROORZLQJIDFWRUV  ZKHWKHUFRXQVHO

FRQWHQGHGWKDWWKHGRFXPHQWVZHUHSDUWRIWKHUHFRUG  WKHPDJQLWXGHRIWKH

LPSURSHUH[SDQVLRQDQG  ZKHWKHUWKHLVVXHZDV³RQHRIILUVWLPSUHVVLRQ´

/RZU\)GDWQ$OOWKUHHRIWKHVHIDFWRUVSRLQWWRZDUGLPSRVLQJ

VDQFWLRQVIRU:DUQHU¶VNQRZLQJYLRODWLRQRIWKHUXOHV:DUQHUGRHVQRWFRQWHQG

WKDWDQ\RIWKHGRFXPHQWVLWLPSURSHUO\SXWEHIRUHWKH&RXUWDUHSDUWRIWKHGLVWULFW

FRXUWUHFRUG7KHPDJQLWXGHRIWKLVDEXVHSDJHVVSDQQLQJGRFXPHQWVLV

PXFKODUJHUWKDQLQPLQRULQVWDQFHVZKHUHWKLV&RXUWKDVGHFOLQHGVDQFWLRQV6HH

'HOD5RVDY6FRWWVGDOH0HP¶O+HDOWK6\V,QF)G WK&LU

  RQO\RQHSDJHLQILYHYROXPHH[FHSUWVRIUHFRUGLPSURSHUO\LQFOXGHG 


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Case 2:10-cv-03633-ODW-RZ
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)LQDOO\WKHLPSURSULHW\RI:DUQHU¶VJDPHVPDQVKLSLVQRWLVVXHVRIILUVW

LPSUHVVLRQDV:DUQHU¶VH[SHULHQFHGFRXQVHOVXUHO\NQRZV

        $VDGLUHFWUHVXOWRI:DUQHU¶VLPSURSHUWDFWLFV3ODLQWLIIKDVEHHQIRUFHGWR

LQFXUFRQVLGHUDEOHDWWRUQH\¶VIHHVDQGFRVWVLQERWKDGGUHVVLQJ:DUQHU¶VLPSURSHU

H[WUDUHFRUGVGRFXPHQWVDQGLQEULQJLQJWKLVPRWLRQ:DUQHUKDVQRSODXVLEOH

MXVWLILFDWLRQIRULWVZLOOIXOILOLQJRIWKHVHEODWDQWO\LPSURSHUH[WUDUHFRUG

GRFXPHQWVDQGVKRXOGEHVDQFWLRQHGIRULWVFRQGXFW³,IWKHRQO\SHQDOW\IRU

LQFOXGLQJIRUELGGHQPDWHULDOLQWKHH[FHUSWVRIUHFRUGLVUHPRYDORIWKDWPDWHULDO

LW¶VKDUGWRVHHZK\DQ\RQHZRXOGWKLQNWZLFHEHIRUHYLRODWLQJWKHUXOH´/RZU\

)GDW VDQFWLRQLQJDSSHOOHHDQGSHUPLWWLQJDSSHOODQWWRUHFRYHU

UHDVRQDEOHDWWRUQH\¶VIHHVIRUDSSHOOHH¶VDWWDFKPHQWRIDQH[WUDUHFRUGOHWWHULQ

YLRODWLRQRI5XOH H  & )XOOUHLPEXUVHPHQWIRUWKH3ODLQWLII¶VDWWRUQH\¶V

IHHVDQGFRVWVRIEULQJLQJWKLVPRWLRQWRVWULNHDQGDGGUHVVLQJ:DUQHU¶VLPSURSHU

H[WUDUHFRUGPDWHULDOVDQGDUJXPHQWVZRXOGEHDUHDVRQDEOHVDQFWLRQ

                                   &21&/86,21

     )RUDOOWKHDERYHUHDVRQVWKLV&RXUWVKRXOGLVVXHDQ2UGHUVWULNLQJWKH

LPSURSHUSRUWLRQVRI:DUQHU¶V6(5DQGWKHUHODWHGSRUWLRQVRI:DUQHU¶V3ULQFLSDO

DQG5HVSRQVH%ULHIVHWIRUWKLQ([KLELW$DQGVDQFWLRQLQJ:DUQHULQWKHDPRXQW

RIUHDVRQDEOHDWWRUQH\¶VIHHVLQEULQJLQJWKLVPRWLRQWRVWULNHDQGDGGUHVVLQJ

:DUQHU¶VLPSURSHUH[WUDUHFRUGPDWHULDOVDUJXPHQWV


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                                       1408
Case 2:10-cv-03633-ODW-RZ
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'DWHG0D\         72%(52)) $662&,$7(63&

       
                              V0DUF7REHURII
                             0DUF7REHURII
                              $WWRUQH\VIRU$SSHOODQW/DXUD6LHJHO/DUVRQ




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Case 2:10-cv-03633-ODW-RZ
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        3XUVXDQWWR)HGHUDO5XOHVRI$SSHOODWH3URFHGXUH G DQG D ,FHUWLI\

WKDWWKH3ODLQWLII$SSHOODQW/DXUD6LHJHO/DUVRQ¶VEULHILVSURSRUWLRQDWHO\VSDFHG

KDVDW\SHIDFHRISRLQWVRUPRUHDQGGRHVQRWH[FHHGSDJHV

    'DWHG0D\          72%(52)) $662&,$7(63&

          
                                   V0DUF7REHURII
                                  0DUF7REHURII

                                   $WWRUQH\VIRU$SSHOODQW/DXUD6LHJHO/DUVRQ

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Case 2:10-cv-03633-ODW-RZ
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                       Appeal Nos. 11-55863, 11-56034

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


                           LAURA SIEGEL LARSON,
       Plaintiff, Counterclaim-Defendant, Appellant, and Cross-Appellee,

                                      v.

       WARNER BROS. ENTERTAINMENT INC. AND DC COMICS,
       Defendants, Counterclaimants, Appellees, and Cross-Appellants.


             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                 THE HONORABLE OTIS D. WRIGHT II, JUDGE
                     CASE NO. CV-04-8400 ODW (RZX)


             OPPOSITION TO MOTION TO STRIKE AND,
       IN THE ALTERNATIVE, MOTION FOR JUDICIAL NOTICE


      JONATHAN D. HACKER                      DANIEL M. PETROCELLI
      O’MELVENY & MYERS LLP                   MATTHEW T. KLINE
      1625 Eye Street, N.W.                   CASSANDRA L. SETO
      Washington, D.C. 20006                  O’MELVENY & MYERS LLP
      Telephone: (202) 383-5300               1999 Avenue of the Stars, 7th Floor
                                              Los Angeles, California 90067
                                              Telephone: (310) 553-6700
                                              Facsimile: (310) 246-6779



         Attorneys for Warner Bros. Entertainment Inc. and DC Comics




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                                 INTRODUCTION

      The Index to the Supplemental Excerpts of Record submitted by DC clearly

identifies any material not submitted to the district court, and requests that this

Court take judicial notice of these documents. See Docket No. 32 (“SER”) at vi-

xiii nn.3-10. Each request for judicial notice explains the legal basis for judicial

notice of the specific document in question, and cites the relevant case law

supporting that request. Id. Larson moves to strike the SER and any portion of

DC’s brief that relies on documents subject to judicial notice. But Larson does not

question the authenticity of any of these documents, nor does she identify any

instance in which consideration of these documents would unfairly prejudice her

position. Instead, she complains about the quantity of documents and the form of

DC’s request, arguing that requests for judicial notice must be made in a motion.

      DC believes its detailed, supported, and explicit request for judicial notice in

the SER constitutes a formal request for judicial notice, and thus opposes this

motion. If this Court concludes that a separate motion must be filed, however, then

in the alternative DC moves the Court to take notice of the contested documents.

      Fully half of this “evidence” consists of comic books, specifically, two self-

authenticating 1930s Superman comic books and a comic book cover. The other

primary portion (76 pages, and 15 documents) is made up of court orders and

filings from DC Comics v. Pacific Pictures Corp.—a case that Larson herself

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admits is a “related” matter currently pending before this Court, as well as the

district court below. Docket No. 12 at 58-59 (Larson’s statement of related cases).

Appeal Nos. 11-71844; No. 11-56934; C.D. Cal. No. CV-10-3633. These 15 self-

authenticating documents and court filings are the most common example of

evidence appropriate for judicial notice, as shown below.

      The remaining seven pages of extra-record material consist of excerpts from

Jerry Siegel’s memoir (Larson’s father, and the man whose alleged rights and

creations are at issue in this case), and from the deposition testimony of Kevin

Marks, Larson’s prior counsel (and a key witness on DC’s settlement defense).

Portions of both of these documents were included in the record below, and are

relied on extensively by Larson.

      All of these documents are necessary for completeness, and Larson cannot

and does not dispute the authenticity of any of this material. This is not a case

tried to final judgment, but rather one where Larson took a Rule 54(b) appeal while

the briefing and resolution of related issues remains pending before the district

court. The contested evidence DC submitted is self-authenticating, not subject to

reasonable dispute, and in many cases demonstrates inconsistent factual positions

that Larson herself has taken in related litigation. Consideration of this material

will aid this Court in reaching a complete and accurate determination of these

issues.

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      Accordingly, Larson’s motion should be denied, and DC’s request for

judicial notice should be granted. To be clear, however, the Court need not

consider any of the evidence discussed herein to rule for DC on all of the questions

presented in this appeal.

                                   ARGUMENT

I.    THIS COURT MAY TAKE JUDICIAL NOTICE WITHOUT A
      FORMAL MOTION

      This Court may take judicial notice of documents or information outside the

record on appeal, and may do so without a “formal motion.” Singh v. Ashcroft,

393 F.3d 903, 905-06 (9th Cir. 2004); see C. GOELZ & M. WATTS, CALIFORNIA

PRACTICE GUIDE: FEDERAL NINTH CIRCUIT CIVIL APPELLATE PRACTICE § 4:220

(Rutter 2012) (“NINTH CIRCUIT PRACTICE GUIDE”). All that is required is a

“formal request” sufficient to “apprise[]” the court and opposing party “of the

status of the documents.” Lowry v. Barnhart, 329 F.3d 1019, 1025 (9th Cir. 2003).

      DC’s particularized requests comply with this standard. Each request

identities the document in question, explains the basis for judicial notice, and cites

legal support for consideration of that specific document. See SER Vol. I at vi-xiii

nn.4-10. DC’s index clearly marks and distinguishes the extra-record material

docketed in the related Pacific Pictures case from the materials in this case by

listing the Pacific Pictures documents in a separate table titled by case name and

number. Id. at xi. In no way, did DC hide the ball. Despite Larson’s hyperbolic
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accusations, Mot. 5, she never identifies a single statement that could remotely be

characterized as deceptive or improper.

      Larson complains about the “dozens of documents” and “166 pages” DC

submitted, implying that the number of pages alone should trump application of the

doctrine of judicial notice. Mot. 1, 6. But courts may take judicial notice

whenever facts “can be accurately and readily determined from sources whose

accuracy cannot reasonably be questioned.” FED. R. EVID. 201(b)(2); see 1 J.

WEINSTEIN & M. BERGER, WEINSTEIN’S FEDERAL EVIDENCE § 201.02[2] (Matthew

Bender 2012) (judicial notice “dispens[es] with formal proof when a matter is not

really disputable”). The doctrine is particularly appropriate where evidence is self-

authenticating or where its authenticity is not contested. See Daniels-Hall v. Nat’l

Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010).

      As DC explained in its individual requests, SER Vol. I at vi-xiii nn.4-10,

each document submitted is properly judicially noticed for the following reasons:

      Comic books. Fully 83 pages—half of the non-record evidence Larson

complains about—are simply reproductions of comic books (Action Comics #1 and

Detective Comics #15), and the cover image from Action Comics #1. SER-714-

796. These works are self-authenticating under Federal Rule of Evidence 902(6),

and as such, are proper subjects for judicial notice. See Trigueros v. Adams, 658

F.3d 983, 987 (9th Cir. 2011) (“We retain discretion to take judicial notice of

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documents ‘not subject to reasonable dispute.’”); Daniels-Hall, 629 F.3d at 998;

Valdivia v. Schwarzenegger, 599 F.3d 984, 994 (9th Cir. 2010); Hotel Emps. &

Rest. Emps. Union, Local 100 v. City of New York Dep’t of Parks & Recreation,

311 F.3d 534, 540 n.1 (2d Cir. 2002). Nor does Siegel dispute for a moment that

the documents are authentic or explain how she would be prejudiced if the Court

considered them. These comics are the subject of the copyright dispute before this

Court, and are relevant to determining the copyrightable elements in the

Promotional Announcements published prior to Action Comics #1, including

whether the “S” on Superman’s chest is visible, and to establish the non-trivial

distinctions between the cover of Action Comics #1 and the similar panel inside the

comic book. See Docket No. 31-1 at 61-68, 80-86.

      Siegel memoir. Two pages are an excerpt from Jerry Siegel’s memoir,

portions of which are in the district court record. SER-804-805. Larson relied on

the manuscript extensively in her First Brief on Cross-Appeal, Docket No. 12 at 7-

8, 37, 55, and she does not and cannot dispute its authenticity or that Jerry Siegel

made the admissions DC cites. Consideration of the remaining portions of the

memoir is appropriate for completeness. Trigueros, 658 F.3d at 987; Daniels-Hall,

629 F.3d at 992; Valdivia, 599 F.3d at 994; see also Colbert v. Potter, 471 F.3d

158, 165-66 (D.C. Cir. 2006) (a receipt was relevant to whether the statute of

limitations had run, but only a photocopy of the back side of the receipt had been

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submitted to the district court; the D.C. Circuit allowed appellee to supplement the

record with a complete copy because, as here, this evidence “go[es] to the heart of

the contested issue, [and] it would be inconsistent with this court’s own equitable

obligations … to pretend that [it does] not exist”). Here, this indisputably

authentic memoir contains admissions from Larson’s predecessor-in-interest that

flatly refute a position she now endorses. Specifically, these pages contain a clear

admission by Jerry Siegel that pages 3-6 of Superman #1 were not made for hire,

but rather were created at DC’s direction after 1938. Docket No. 31-1 at 77-78.

      District court filings from a closely related case. Thirty-three pages are

documents filed or orders issued in the related Pacific Pictures case, which

concerns the same parties and judge. SER-806-828, 869-874, 877-80; FED. R.

EVID. 902(4). Settled precedent allows this Court to take judicial notice of filings

in this Court, or in any other court. See, Trigueros, 658 F.3d at 987; Reyn’s Pasta

Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 (9th Cir. 2006); Headwaters Inc.

v. U.S. Forest Serv., 399 F.3d 1047, 1051 (9th Cir. 2005); U.S. v. Wilson, 631 F.2d

118, 119 (9th Cir. 1980); NINTH CIRCUIT PRACTICE GUIDE at § 4:225 (“Appellate

courts may take judicial notice of matters of record in other court proceedings,

including those occurring during the pendency of the federal appeal.”).

      Judicial notice of these district court filings is particularly appropriate

because the disputed documents were authored or produced by Larson and her co-

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defendants in Pacific Pictures (or were court orders relating to those documents),

and bear directly on two determinative issues—DC’s settlement defense, and the

statute of limitations counter-claim. The parties in this case are parties in Pacific

Pictures, and each case and arises out of the same set of facts; thus, it is no surprise

that documents revealed in the on-going discovery in Pacific Pictures lend direct

support to DC’s defenses here. The district court filings are central to the issues in

this cross-appeal and will provide this Court with a more comprehensive

understanding of the issues presented, in the following respects:

      • July 11, 2003, Letter from Larson to Michael Siegel (SER-810-814):

          This letter, authored by Larson, indicates that Larson knew she was

          bound by the terms of the October 29, 2001, settlement with DC. In it,

          she repeatedly states that Kevin Marks insisted, in August 2002, that

          Larson had a “deal with Time Warner/DC.” This evidence shows that

          there is, at the very least, a jury question as to whether Larson understood

          she was bound to the October 19 terms. Docket No. 31-1 at 37.

      • Excerpt of Privilege Log of Bulson Archive (SER-816): This privilege

          log, which was prepared by defendants in Pacific Pictures, identifies a

          November 17, 2001, email from Toberoff to Michael, SER-816 (Entry

          339), which establishes that Toberoff was in contact with the Siegels well

          before August 2002—directly refuting claims made by Toberoff in his

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         motion to strike in Pacific Pictures. This evidence is relevant to showing

         Toberoff’s interference with DC’s business relationship with Larson by

         wrongfully inducing her to repudiate the 2001 settlement and cut ties

         with DC. Docket No. 31-1 at 39.

      • October 25, 2011, Order Denying Defendants’ SLAPP Motion (SER-

         817-823): The district court’s order in Pacific Pictures denying

         defendants’ motion to strike explains Toberoff’s inducement of Larson to

         repudiate the 2001 settlement. Docket No. 31-1 at 39.

      • October 24, 2011, Order Granting DC’s Motion for Review (SER-824-

         825): The district court’s order in Pacific Pictures granting DC’s motion

         for review shows that DC recently obtained Larson’s July 2003 letter to

         Michael, which directly refutes claims made by Larson here. Docket No.

         31-1 at 37.

      • Excerpt of September 2, 2011, Joint Stipulation Regarding DC’s Motion

         to Compel (SER-826-28) & Excerpt of August 13, 2010, Defendants’

         SLAPP Motion (SER-877-80): In the district court below, Larson

         contended that negotiations with DC were not terminated until September

         21, 2002. The court agreed, holding her claims to be timely. SER-60-61.

         This document shows that Larson argued the opposite in Shuster (in

         order to protect the interests of Marc Toberoff), claiming that settlement

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          discussions with DC were “moribund” as of May 9, 2002. SER-825; see

          also SER-878-879. This evidence is directly relevant to determining

          whether Larson’s claims were timely brought; the district court below

          relied on Larson’s representations, and she cannot take contradictory

          factual positions in an attempt to protect Toberoff’s interests. Docket

          No. 31-1 at 39. These statements are judicially noticeable as direct

          admissions. Bucci v. Essex Ins. Co., 393 F.3d 285, 296 n.5 (1st Cir.

          2005); In re Indian Palms Assocs., Ltd., 61 F.3d 197, 205 (3d Cir. 1995).

          Indeed, Larson’s own brief asks this Court to consider the facts from an

          unrelated case decided over 60 years ago as substantive evidence relevant

          to DC’s work-for-hire claims, Docket No. 43-1 at 64-65; National

          Comics Pubs., Inc. v. Fawcett Pubs., Inc., 191 F.2d 594 (2d Cir. 1951),

          even though the relevant documents from National were never filed

          below and are not part of the record here.

      Marks Deposition. Another category of documents is a five-page excerpt

from the official deposition transcript of Kevin Marks, substantial portions of

which are already in the record here. SER-797-801. The entirety of the transcript

was filed in the related Pacific Pictures case, Docket No. 305-14, and again, the

accuracy and authenticity of the transcript is not subject to dispute, as counsel for

both parties participated in the deposition and both cited other parts of the

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transcript extensively below. This testimony shows that Marks’ fee for

representing Larson was only 5%, meaning almost all of the money from the 2001

settlement would be Larson’s alone. Docket No. 31-1 at 17.

      Ninth Circuit filings from a closely related case. The remaining 42 pages

are made up of documents filed in both the district court Pacific Pictures

proceeding, No. CV-10-3633, and with this Court in a related writ proceeding

initiated by defendants, Appeal No. 11-71844, Docket No. 3-5. SER-829-68, 875-

76. They are thus subject to judicial notice as court filings for all the reasons

discussed above. These documents establish that Toberoff stands to receive 40%

of any recovery by Larson, SER-839-44; Toberoff has a similar 50% contingency

fee with the Shusters, meaning Toberoff will receive the largest percentage of any

recovery of the heirs, SER-860-63; and Toberoff communicated to Marks in

August 2002 an offer on behalf of an unnamed “investor” willing to purchase the

Siegels’ rights for $15 million cash and generous “back-end” compensation, SER-

875-76. Docket No. 31-1 at 18-19. Moreover, 14 pages of these Ninth Circuit

filings consist of the Shusters’ termination notice filed with the Copyright Office,

which is additionally subject to judicial notice as a public record. SER-45-58; e.g.,

Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001) (“a court may take

judicial notice of ‘matters of public record’”); In re Chippendales USA, Inc., 622

F.3d 1346, 1356 n.14 (Fed. Cir. 2010) (registration documents by Patent and

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Trademark Office are judicially noticeable). The Shuster termination is relevant to

Toberoff’s pursuit of Siegel’s and Shuster’s heirs, and his inducement of both sets

of heirs to repudiate their existing contractual arrangements with DC—specifically,

the 2001 settlement between the Siegels and DC. Docket No. 31-1 at 18.

II.   LARSON’S OBJECTIONS TO JUDICIAL NOTICE LACK MERIT

      Larson does not specifically challenge the request for judicial notice as to

individual pieces of evidence. She instead asserts in general terms that judicial

notice is inappropriate here, but her objections are meritless.

      Larson first argues that judicial notice does not apply to “new evidence.”

Mot. 8. But an appellate court “may take judicial notice of filings or developments

in related proceedings which take place after the judgment appealed from.”

Werner v. Werner, 267 F.3d 288, 295 (3d Cir. 2001); see Overstreet ex rel. NLRB

v. United Bd. of Carpenters & Joiners of Am., Local 1506, 409 F.3d 1199, 1204

n.7 (9th Cir. 2005); Hammock v. Bowen, 867 F.2d 1209, 1214 (9th Cir. 1989); .

This rule extends to materials produced by a party, Hammock, 867 F.2d at 1214, as

well as court orders issued in a related case, Small v. Avanti Health Sys., LLC, 661

F.3d 1180, 1186 (9th Cir. 2011); Overstreet, 409 F.3d at 1204 n.7.

      Second, Larson contends that the materials were “available” and could have

been filed by DC in the district court. None of the court filings from Pacific

Pictures was available before the court below issued the relevant rulings, however,

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and the remaining Pacific Pictures documents were unavailable because Larson

and the other defendants had improperly withheld them. SER-810-14, 874-76.

The comic books were available, but there were several issues connected to the

scope of the copyright yet to be resolved by the district court. Docket No. 31-1 at

40-41. And in any event the fact that these comic books have been accessible to

the public for over 70 years re-affirms their authenticity and discredits any claim of

unfair surprise by Larson.

      Finally, Larson contends that even if judicial notice applied, it would extend

only to the existence of certain documents, not to the truth of their contents. Mot.

7-8. But half of the extra-record documents DC submitted were comic books not

submitted for any “truth” contained therein. Many of the other documents are

Larson’s own admissions subject to judicial notice, and others are submitted to

invoke judicial estoppel to prevent Larson from taking inconsistent positions

before the courts. Many of the remaining documents DC invokes only for the

procedural facts about what happened in the Pacific Pictures case. Docket No. 31-

1 at 37, 39. In sum, none of Larson’s generalized objections addresses the specific

bases laid out in DC’s requests for judicial notice, and none prevents this Court

from exercising its discretion to take judicial notice of these relevant and useful

documents.




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V.     LARSON’S REQUESTED RELIEF IS OVERLY BROAD

       Larson requests sanctions, apparently on the theory that identifying each

document and providing legal analysis as to the basis for judicial notice is not

enough to constitute a “formal request or motion” for judicial notice under Lowry,

329 F.3d at 1025. But this case is nothing like Lowry, where a party slipped a new

document the party had just created into the appellate record without identifying it

as new. Id. Here, by contrast, the documents are either self-authenticating or

come from Larson herself, and DC carefully noted each one in its index to the

SER.

       Larson also requests that the Court strike all statements in DC’s Principal

Brief citing to any extra-record evidence, and attaches as Exhibit B to her motion a

copy of DC’s brief with her proposed redactions. Mot. Ex. B at 4-128. Even

putting aside the fact that all the contested documents are properly subject to

judicial notice, most of the redactions Larson proposes were of statements

independently supported by other evidence not subject to dispute. Even if Larson

could show that DC’s extra-record evidence is not subject to judicial notice—

which she cannot—she provides no support for striking statements that are

otherwise supported by evidence in the record.

       For example, Larson asks the Court to strike DC’s statement that: “Siegel

and Shuster’s additions were also created at DC’s expense—Siegel and Shuster

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were paid for their Action Comics #1 contributions, and DC assumed the financial

risk and burden of publishing, distributing, and marketing Action Comics #1.”

Mot. at Ex. B-85. Besides the disputed excerpt from Siegel’s memoir, DC cites a

letter enclosing a check to Siegel as payment for Action Comics #1, SER-383;

findings of fact from the Westchester court that DC paid Siegel and Shuster for

that comic book and spent significant sums to promote and popularize it, ER-958-

60; and a 1938 letter from a DC editor to Siegel reminding him of the “tremendous

gamble” DC had taken in choosing to publish Superman, ER-425-27, among other

evidence. This evidence—which Larson does not challenge—is more than

adequate to support the statement even without any citation to Siegel’s memoir.

      Similarly, Larson asks this Court to strike the factual statement that “[a] little

more than six months later, however, Larson repudiated the agreement, fired

Marks, and began working with Marc Toberoff (a Hollywood producer/lawyer)

and Ari Emanuel (an agent) to sell her putative Superman rights.” Mot. at Ex. B-

24. Aside from the Pacific Pictures documents DC cited for that statement, the

brief also cites testimony from Kevin Marks, the Siegels’ prior counsel; testimony

from Toberoff; a September 21, 2002, letter sent to Marks and DC terminating

Gang Tyre’s representation of the Siegels and ending all negotiations with DC; and

the October 3, 2002, business agreement between the Siegels, Ari Emanuel, and

Toberoff . Docket No. 31-1 at 7 (citing SER-133-34, 182-83, 404, 417-20, 422-25,

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819-20, 835-37). This evidence is likewise independently sufficient to support the

proposition even without any reference to the disputed document.

      DC’s attached Appendix details each instance in which Larson’s proposed

relief would strike a statement supported by record and extra-record evidence, and

reproduces the cited portion of the record evidence to demonstrate the over-breadth

of Larson’s objections. There is no basis for these redactions.

                                 CONCLUSION

      For the foregoing reasons, Larson’s motion to strike should be denied, and

DC’s request to take judicial notice of non-record evidence should be granted.

Dated: June 5, 2012                       O’MELVENY & MYERS LLP

                                          By: /s/ Daniel M. Petrocelli
                                                  Daniel M. Petrocelli
                                            Attorneys for Warner Bros.
                                            Entertainment Inc. and DC Comics




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                                     APPENDIX

          Statements in Opening Brief Supported by Uncontested Record
               Evidence in Addition to the Contested Citations

      Statement in Brief                    Uncontested Record Evidence Cited

      A little more than six            Deposition testimony of Kevin
months later, however, Larson       Marks (SER-133-34):
repudiated the agreement, fired            Q. Am I correct that on September 21
Marks, and began working with       you received a letter from Joanne and Laura
Marc Toberoff (a Hollywood          stating that they were terminating the law
producer/lawyer) and Ari Emanuel    firm and instructing you not to take any
(an agent) to sell her putative     further action?
Superman rights. Br. at 7.
                                            A. I don’t recall what date the letter
                                    received, but it was received sometime after
                                    the letter was dated. . . . This letter was the
                                    first time I had heard our services had been
                                    terminated . . . .
                                            Toberoff Timeline (SER-83):
                                           The Siegels are angry at Kevin Marks
                                    that he said he would testify against them if
                                    they took MT’s offer, and relations break
                                    down between the Siegels and Gang, Tyrer.
                                    They fire Gang, Tyrer. And, because the
                                    Siegels believed that MT was sympathetic to
                                    their plight, and because MT appealed to
                                    their sense of ownership of SUPERMAN,
                                    they decide to enter into an agreement with
                                    Intellectual Properties’ Worldwide,
                                    otherwise known as “IPW,” Marc Toberoff’s
                                    film production company, for 10% for any
                                    kind of deal he got to make a movie or
                                    exploit the rights.
                                         Deposition testimony of Marc
                                    Toberoff (SER-404):
                                            Q. Prior to the November 29, 2001

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      Statement in Brief                 Uncontested Record Evidence Cited
                                 initial call to Mr. Marks, had you and Mr.
                                 Emanuel discussed the Siegel interest in
                                 Superman?
                                         …
                                       A. Yeah. Actually, I IP Worldwide I
                                 was general counsel to IP Worldwide. . . .
                                       Q. Once again, you were a joint
                                 venture with Mr. Emanuel, were you not?
                                        A. That’s correct, but I was also part
                                 of the company. . . .
                                      September 21, 2002, letter from
                                 Larson and Joanne Siegel to Kevin Marks
                                 (SER-418):
                                         As we previously discussed with you
                                 and hereby affirm, we rejected DC Comics’
                                 offer for the Siegel Family interest in
                                 Superman and other characters . . . . We
                                 similarly reject your redraft . . . . Therefore
                                 due to irreconcilable differences, after four
                                 years of painful and unsatisfying
                                 negotiations, this letter serves as formal
                                 notification that we are totally stopping and
                                 ending all negotiations with DC Comics,
                                 Inc., its parent company AOL Time Warner
                                 and all of its representatives and associates,
                                 effective immediately.
                                       September 21, 2002, letter from
                                 Larson and Siegel to Paul Levitz (SER-
                                 420):
                                        [E]ffective immediately, we are totally
                                 stopping and ending negotiations with DC
                                 Comics, Inc. . . . concerning the Jerry Siegel
                                 Family’s rights to Superman, Superboy, the
                                 Spectre, and all related characters and
                                 entities.
                                    17

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      Statement in Brief                        Uncontested Record Evidence Cited
                                              Agreement between Larson and
                                        Siegel and Toberoff and Ari Emanuel, on
                                        behalf of IP Worldwide, dated October 3,
                                        2002 (SER-422):
                                               This letter shall confirm the agreement
                                        and understanding between you (“Owner”)
                                        and us (“IPW”) regarding Owner’s retention
                                        of IPW to exclusively represent Owner with
                                        respect to any and all of Owner’s rights,
                                        claims, title and interest in and to the comic
                                        book property common known as
                                        “Superman,” including, without limitation,
                                        all characters and copyright interests therein .
                                        ...

       DC’s artists also created a          Order on Motion for Partial
cover for Action Comics #1 based        Summary Judgment (SER-14):
on a panel that featured Superman              On or around February 16, 1938, the
in his DC-colorized costume—red         pair resubmitted the re-formatted Superman
cape and boots, blue leotard, and       material to Detective Comics. Soon
heraldic red “S” crest—and              thereafter Detective Comics informed Siegel
exhibiting super-strength by lifting    that, as he had earlier suggested to them, one
a car. Br. at 12.                       of the panels from their Superman comic
                                        would be used as the template (albeit slightly
                                        altered from the original) for the cover of the
                                        inaugural issues of Action Comics.
                                              March 1, 1938, letter from Vin
                                        Sullivan to Jerry Siegel (SER-388):
                                               I’m enclosing a silverprint of the cover
                                        of Action Comics. You’ll note that we
                                        already used one of those panel drawings of
                                        SUPERMAN, as you suggested in your
                                        recent letter.




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      Statement in Brief                        Uncontested Record Evidence Cited

        DC artists also created       Order on Motion for Partial
“Promotional Announcements”—a Summary Judgment (SER-15):
black-and-white version of its        Similarly, Detective Comics, Vol. 15,
artists’ cover art—to promote   with a cover date of May, 1938, had a full-
Action Comics #1. Br. at 12.    page black-and-white promotional
                                advertisement on the comic’s inside cover
                                which contained within it a reproduction of
                                the cover (again in a reduced scale) of the
                                soon-to-be published first issue of Action
                                Comics. (Also includes scanned image of
                                announcement).
                                                Declaration of Paul Levitz (SER-
                                        678):
                                              At Detective’s direction, Siegel and
                                        Shuster adapted and expanded their existing
                                        Superman strips into a format suitable for a
                                        comic book, and Detective announced the
                                        debut of its Action Comics series, and
                                        Superman, in full page announcements in its
                                        May, 1938 issues of some of its existing
                                        publications.

       Starting in 2001, Toberoff,          Deposition testimony of Kevin
the self-described “rights-hunter,”     Marks (SER-115-16):
“movie producer,” and                         Q. Your incoming phone log at GTRB
“intellectual property                  600 reflects a call from Mark Toberoff on
entrepreneur,” began pursuing           November 29, 2001. . . . Was that call
Siegel’s and Shuster’s heirs. Br. at    completed?
28.
                                                A. No.
                                                Q. Did you at any time return that
                                        call?
                                                A. No.
                                                ...
                                                Q. If you would turn, please, Mr.

                                           19

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      Statement in Brief                 Uncontested Record Evidence Cited
                                 Marks, to GTRB 604, that reflects a call
                                 from Mar[c] Toberoff, quote, “Re: Superman
                                 - potential buyout (end of November).” Did
                                 you speak with Mr. Toberoff on that day?
                                       A. Did you speak with Mr. Toberoff
                                 on that day?
                                      A. I don’t know if I spoke with Mr.
                                 Toberoff that day.
                                       Q. Did you return that call at some
                                 subsequent time?
                                       A. I returned that call that day or
                                 subsequently, yes.
                                        Q. Can you tell me to the best of your
                                 recollection what Mr. Toberoff said during
                                 that conversation and what you said?
                                        A. Yes. I think Mr. Toberoff started
                                 the call by saying that he had called me
                                 earlier and that I hadn’t returned his call, for
                                 which I apologized, and then he introduced
                                 himself. He said he was a lawyer and that he
                                 represented individuals that had interests in
                                 rights to movie and other properties that had
                                 come into those rights either by way of
                                 reversions under the law or reversions under
                                 Guild agreements. I also recall him saying
                                 that he had a separate company that was in
                                 the business of acquiring intellectual
                                 property rights. I recall him saying that he
                                 was interested in the Superman property and
                                 the Superboy property and had understood
                                 that I was representing the Siegel family
                                 interest, and he asked if he could talk to me
                                 about that.
                                         Toberoff Timeline (SER-182-83):
                                         In 2001, Marc Toberoff (MT) began
                                    20

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      Statement in Brief                    Uncontested Record Evidence Cited
                                    researching Superman, who had rights, etc.
                                            MT initially contacts Kevin Marks at
                                    Gang, Tyre, who represented Joanne and
                                    Laura Siegel with an offer for the Siegel
                                    rights. Marks discourages Toberoff from
                                    any advances, and does not tell Siegels
                                    initially of the interaction because he
                                    believes it is not in their best interest.
                                           On Nov. 23, 2001, MT entered into a
                                    joint venture agreement between his own
                                    outside corporation Pacific Pictures Corp.
                                    (NOT a law firm), and Mark Warren Peavy,
                                    and his mother Jean Peavy, heirs to the Joe
                                    Schuster estate. For the purposes of this
                                    document, we do not know the content of
                                    that agreement.
                                           MT and Ari Emanuel, partner and
                                    agent at Endeavor, contacts Kevin Marks at
                                    Gag, Tyre, Ramer, & Brown again, (who
                                    represented Joanne and Laura Siegel), on
                                    August 8, 2002. MT approaches the Siegels,
                                    not as an attorney but as a film producer,
                                    stating that he is “allied” with Emanuel,
                                    hoping such a claim will legitimize him.
                                           On August 8th 2002, MT tells Marks
                                    that he and Emanuel have a billionaire ready
                                    to offer $15 million dollars up-front, plus
                                    what they promise to be meaningful
                                    participation from proceeds for exploitation
                                    of the Siegels’ rights to SUPERMAN and
                                    some continued royalties on an ongoing
                                    basis in all media.

      In November 2001, he                  Toberoff Timeline (SER-183):
induced the Shusters to become              On Nov. 23, 2001, MT entered into a
his business partners and to         joint venture agreement between his own
repudiate their existing contractual
                                       21

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      Statement in Brief                    Uncontested Record Evidence Cited
arrangements with DC. Br. at 18.    outside corporation Pacific Pictures Corp.
                                    (NOT a law firm), and Mark Warren Peavy,
                                    and his mother Jean Peavy, heirs to the Joe
                                    Schuster estate. For the purposes of this
                                    document, we do not know the content of
                                    that agreement.

       Marks rebuffed Toberoff,          Deposition testimony of Kevin
telling him in February, July, and Marks (SER-115-16):
August 2002 that Larson had made         Q. Your incoming phone log at GTRB
a deal with DC. Br. at 18.         600 reflects a call from Mark Toberoff on
                                   November 29, 2001. . . . Was that call
                                   completed?
                                            A. No.
                                            Q. Did you at any time return that
                                    call?
                                            A. No.
                                            ...
                                           Q. If you would turn, please, Mr.
                                    Marks, to GTRB 604, that reflects a call
                                    from Mar[c] Toberoff, quote, “Re: Superman
                                    - potential buyout (end of November).” Did
                                    you speak with Mr. Toberoff on that day?
                                          A. Did you speak with Mr. Toberoff
                                    on that day?
                                         A. I don’t know if I spoke with Mr.
                                    Toberoff that day.
                                          Q. Did you return that call at some
                                    subsequent time?
                                          A. I returned that call that day or
                                    subsequently, yes.
                                           Q. Can you tell me to the best of your
                                    recollection what Mr. Toberoff said during
                                    that conversation and what you said?

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      Statement in Brief                   Uncontested Record Evidence Cited
                                         A. Yes. I think Mr. Toberoff started
                                  the call by saying that he had called me
                                  earlier and that I hadn’t returned his call, for
                                  which I apologized, and then he introduced
                                  himself. He said he was a lawyer and that he
                                  represented individuals that had interests in
                                  rights to movie and other properties that had
                                  come into those rights either by way of
                                  reversions under the law or reversions under
                                  Guild agreements. I also recall him saying
                                  that he had a separate company that was in
                                  the business of acquiring intellectual
                                  property rights. I recall him saying that he
                                  was interested in the Superman property and
                                  the Superboy property and had understood
                                  that I was representing the Siegel family
                                  interest, and he asked if he could talk to me
                                  about that.

      Toberoff insisted in August       Deposition testimony of Kevin
2002 that Marks communicate to    Marks (SER-122-24):
Larson that he and agent Emanuel        Q. [] Do you recall how long after
had an unnamed “investor” willing August 7 that conference call took place?
to purchase her rights for $15
million cash and generous “back-        A. Within the next day or two.
end” compensation. Br. at 18.           Q. I see. Would you tell me [] what
                                  was involved and what was said in that
                                  conversation?
                                         A. Yes. Mr. Toberoff and Mr.
                                  Emanuel both spoke. I can’t completely tell
                                  you who said what, but I think Mr. Toberoff
                                  may have very briefly referenced past
                                  conversations, and then I believe it was Mr.
                                  Emanuel who explained that either they or
                                  some other people or perhaps some members
                                  of the Endeavor Talent Agency had set up a
                                  fund or were in the process of setting up a
                                  fund to acquire intellectual property rights
                                      23

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      Statement in Brief                   Uncontested Record Evidence Cited
                                   which they would then package with clients
                                   from the Endeavor Talent Agency, then take
                                   those to studios to exploit the package, and
                                   they understood that the Siegel family had an
                                   interest in the termination rights and viewed
                                   that as perhaps the most valuable of
                                   properties and wanted to make a proposal.
                                           Q. Okay. What did you say?
                                          A. I said in substance and effect, “I’m
                                   listening.” And I’m not sure who spoke, but
                                   they made a proposal of $15 million and
                                   what was described as a meaningful back
                                   end, which I understood to be a contingent
                                   compensation position or a royalty position
                                   in the exploitation of the property.
                                           …
                                           Q. And what else did you say?
                                          A. I asked if there was anything else,
                                   and they said “no,” and then I asked if this
                                   was a proposal that was conditioned on their
                                   doing due diligence about the rights, and
                                   they said again in substance and effect, “No,
                                   it’s not. We’ve done our due diligence
                                   already. This is the offer.”
                                         Q. Anything else you can recall of that
                                   conversation?
                                          A. I think I said, “Thank you, and I
                                   will communicate this to the client” or “take
                                   this back to the client.”
                                           Q. And did you in fact do that?
                                           …
                                           A. Yes.

      Marks conveyed this offer            Toberoff Timeline (SER-183):

                                      24

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      Statement in Brief                      Uncontested Record Evidence Cited
to Larson, but admonished her that           Marks conveys MT’s offer to the
she had a “deal” with DC, and if      Siegels, and Marks does say to the Siegels, it
she repudiated it, Marks would        is a better offer than the one you have.
have to “testify against [her] in     However, Marks also tells the Siegels that he
court.”1 Br. at 18-19.                would testify in court against the Siegels if
                                      they accepted this offer because he believes
                                      there has already been an agreement reached.

      But the promised $15                Deposition testimony of Kevin
million investor never                Marks (SER-184-87):
materialized, and Toberoff never           Q. [] Do you recall how long after
produced any other buyers. Br. at     August 7 that conference call took place?
19.
                                              A. Within the next day or two.
                                            Q. I see. Would you tell me [] what
                                      was involved and what was said in that
                                      conversation?
                                             A. Yes. Mr. Toberoff and Mr.
                                      Emanuel both spoke. I can’t completely tell
                                      you who said what, but I think Mr. Toberoff
                                      may have very briefly referenced past
                                      conversations, and then I believe it was Mr.
                                      Emanuel who explained that either they or
                                      some other people or perhaps some members
                                      of the Endeavor Talent Agency had set up a
                                      fund or were in the process of setting up a
                                      fund to acquire intellectual property rights
                                      which they would then package with clients
                                      from the Endeavor Talent Agency, then take
                                      those to studios to exploit the package, and
                                      they understood that the Siegel family had an
                                      interest in the termination rights and viewed
                                      that as perhaps the most valuable of
                                      properties and wanted to make a proposal.
                                              Q. Okay. What did you say?
                                              A. I said in substance and effect, “I’m


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                                     EXHIBIT 67
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      Statement in Brief                 Uncontested Record Evidence Cited
                                 listening.” And I’m not sure who spoke, but
                                 they made a proposal of $15 million and
                                 what was described as a meaningful back
                                 end, which I understood to be a contingent
                                 compensation position or a royalty position
                                 in the exploitation of the property.
                                      Toberoff Timeline (SER-184-87)
                                 (emphases in original):
                                        Upon the Siegels signing the [October
                                 2001 IPW] agreement, MT then tells Joanne
                                 and Laura that his mysterious billionaire has
                                 decided to invest elsewhere. In other words,
                                 MT makes himself the Siegels’ attorney of
                                 record while he solicited them as a film
                                 producer, violating the rule that no lawyer
                                 may directly solicit business dealings. MT’s
                                 sole intent was to become the Siegels’
                                 attorney, not to help the Siegels (as he had
                                 alleged) to make a movie in competition to
                                 Superman returns, which was then in
                                 development at Warner Brothers.
                                         …
                                        Absolutely nothing is moving ahead
                                 with Siegel/Schuster rights and
                                 agreements because MT was never
                                 intending to do anything with rights other
                                 than litigate. . . . MT never did want to
                                 make a movie, and exploit the rights. MT
                                 knows no one is going to invest in an outside
                                 movie project outside of Warner Brothers,
                                 though he uses Ari Emanuel, the agent, to
                                 legitimize his claims.
                                         …
                                       Significantly, MT admits to Laura
                                 Siegel that there never was a billionaire

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      Statement in Brief                       Uncontested Record Evidence Cited
                                       willing to invest $15 million when he first
                                       approached them.

      Instead, more than seven              Toberoff Timeline (SER-187)
years of litigation ensued, and        (emphasis in original):
Toberoff—who became Larson’s                  In other words, MT decreases his
lawyer—stands to receive 40% of        contingency fee by 5% -- instead of getting
any recovery. Br. at 19.               50%, he will get 45% [of the Siegel
                                       Superman interest]. Combined with the
                                       Schuster interest, the aggregate of any
                                       outcome in SUPERMAN litigation for
                                       Marc Toberoff personally becomes 47.5%
                                       of the entire Superman interest.

       Toberoff’s entertainment             Toberoff Timeline (SER-186)
company also secured a 50%             (emphasis in original):
ownership interest in the Shusters’           On October 27, 2003, MT uses PPC to
putative rights—later trading that     enter into another agreement with the Joe
50% ownership interest for a 50%       Schuster’s heirs: Mark Warren Peavy and
contingency fee. Br. at 19 n.3.        Jean Peavy, in which PPC is “engaged as the
                                       Executor of the recently probated estate of
                                       Joseph Schuster.” The agreement purports
                                       that PPC is the Peavys exclusive advisor “for
                                       the purpose of retrieving, enforcing, and
                                       exploiting all of Joe Schuster’s rights . . . . in
                                       all of his creations . . . .” In this agreement,
                                       MT also names himself their attorney for any
                                       and all litigation or questions that should
                                       arise in regards to these Rights. MT also
                                       clearly delineates that PPC is NOT a law
                                       firm. And, lastly but most significantly, MT
                                       defines that any and all moneys and
                                       proceeds, in case or in kind, received from
                                       the enforcement, settlement, or exploitation
                                       of any of the Rights, . . . .any monies would
                                       be spit 50/50. IN ESSENCE, MARC
                                       TOBEROFF NOW HAS A 25% STAKE
                                       IN SUPERMAN PERSONALLY
                                          27

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      Statement in Brief                     Uncontested Record Evidence Cited
                                     BECAUSE OF HIS DEAL WITH THE
                                     SCHUSTERS THAT WAS MADE IN
                                     2003. He gets -- under the guise of Pacific
                                     Pictures Corp -- the rights to retrieve and
                                     enforce and exploit Joe Schuster’s interest
                                     in SUPERMAN. MT’s alleged “firewall”
                                     between film producing and soliciting
                                     business as an attorney comes tumbling
                                     down.

      DC’s artists also created the        Letter from Vin Sullivan to Siegel,
cover of Action Comics #1, which dated February 22 (SER-388):
introduces the Superman story that         I’m enclosing a silverprint of the cover
immediately follows. Br. at 62.     of Action Comics. You’ll note that we
                                    already used one of those panel drawings of
                                    SUPERMAN, as you suggested in your
                                    recent letter.

       Siegel and Shuster’s                Letter from Leibowitz to Siegel,
additions were also created at       dated September 28, 1938 (ER-425-27):
DC’s expense—Siegel and Shuster            Also, take into consideration that
were paid for their Action Comics    when we decided to come out with Action
#1 contributions, and DC assumed     Comics, we were taking a tremendous
the financial risk and burden of     gamble involving many thousands of dollars.
publishing, distributing, and        We had no assurance from anybody that
marketing Action Comics #1. Br.      Action Comics would not be a losing
at 68.                               proposition - you took no such gamble.
                                             March 1, 1938 Agreement (ER-917):
                                            I, the undersigned, am an artist or
                                     author and have performed work for strip
                                     entitled “SUPERMAN.” In consideration of
                                     $130 agreed to be paid me by you, I hereby
                                     sell and transfer such work and strip, all
                                     good will attached thereto and exclusive
                                     right to the use of the characters and story,
                                     continuity and title of strip contained therein,


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      Statement in Brief                 Uncontested Record Evidence Cited
                                 to you and your assigns . . . .
                                      Findings of Fact of the Westchester
                                 Court (ER-958-60):
                                        23. On March 1, 1938, prior to the
                                 printing of the first issue of “Action
                                 Comics,” DETECTIVE COMICS, INC.
                                 wrote to plaintiff SIEGEL at Cleveland,
                                 Ohio, where he and plaintiff SHUSTER both
                                 resided, enclosing a check in the sum of
                                 $412. which included $130. in payment of
                                 the first thirteen page SUPERMAN release
                                 at the agreed rate of $10. per page, and a
                                 written instrument for plaintiffs’ signatures.
                                         …
                                        30. Upon receipt by DETECTIVE
                                 COMICS, INC. of the instrument of March
                                 1, 1938 [], it published the first SUPERMAN
                                 release in the June, 1938 issue of “Action
                                 Comics,” which magazine was issued for
                                 sale on April 18, 1938….
                                       35. Between March, 1938 and March,
                                 1947 DETECTIVE COMICS, INC.
                                 expended large sums of money and devoted
                                 much time and effort in the promotion and
                                 popularization of the comic strip
                                 SUPERMAN and the names and characters
                                 appearing therein.
                                       Letter from J.S. Leibowitz to Siegel,
                                 dated March 1, 1938 (SER-383):
                                         Dear Mr. Siegel:
                                      I am enclosing a check for $412.00 for
                                 payment of the following:
                                         “Superman” - June issue $130.00 . . . .


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                       Appeal Nos. 11-55863, 11-56034

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


                           LAURA SIEGEL LARSON,
       Plaintiff, Counterclaim-Defendant, Appellant, and Cross-Appellee,

                                      v.

       WARNER BROS. ENTERTAINMENT INC. AND DC COMICS,
       Defendants, Counterclaimants, Appellees, and Cross-Appellants.


             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                 THE HONORABLE OTIS D. WRIGHT II, JUDGE
                     CASE NO. CV-04-8400 ODW (RZX)


       REPLY BRIEF OF CROSS-APPELLANTS AND APPELLEES
       WARNER BROS. ENTERTAINMENT INC. AND DC COMICS


      JONATHAN D. HACKER                      DANIEL M. PETROCELLI
      O’MELVENY & MYERS LLP                   MATTHEW T. KLINE
      1625 Eye Street, N.W.                   CASSANDRA L. SETO
      Washington, D.C. 20006                  O’MELVENY & MYERS LLP
      Telephone: (202) 383-5300               1999 Avenue of the Stars, 7th Floor
                                              Los Angeles, California 90067
                                              Telephone: (310) 553-6700
                                              Facsimile: (310) 246-6779

         Attorneys for Warner Bros. Entertainment Inc. and DC Comics




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                                INTRODUCTION
      This case should have ended long before it began. The parties all agreed on

October 19, 2001, that they had a deal permanently resolving their dispute. Laura

Siegel Larson said so, authorizing Kevin Marks to tell DC that her family accepted

DC’s offer. Marks said so, both when he told DC Larson accepted, and a year later

when he told Larson “an agreement was reached last October with D.C.” RER-13.

DC said so, both in October 2001, and in the case below, affirming it was bound to

the terms of Marks’ October 19 letter. Even now, Larson tells the Court: “the

parties thought they had arrived at terms” in October 2001. LOR-14.

      And indeed they had arrived at terms. The October 19 agreement—set forth

in DC’s offer on October 16 and Marks’ acceptance on October 19—covered every

essential term of a copyright transfer and resolved every material issue that divided

the parties. Under California law, that deal became binding the moment Marks

expressed Larson’s acceptance, notwithstanding the parties’ contemplation that the

deal would also be “papered” in a long-form. As Larson’s agent, Marks signed a

written acceptance on October 19, satisfying any signature requirements.

      Under the deal, Larson would receive tens of millions of dollars in cash and

future royalties, which DC has fully reserved and remains ready to pay. DC would

receive peace with Larson and certainty in its Superman rights. The deal went bad




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only when—and only because—Hollywood businessman Marc Toberoff entered

the picture, seeking to reopen the dispute and obtain the Superman rights himself.

      But Toberoff’s theory for escaping the 2001 deal is unavailing. Under

Toberoff’s guidance, Larson asserts that, although all parties said they reached

agreement on October 19, they were mistaken about essential terms. Her only

evidence is an October 26 letter sent by DC’s negotiator, John Schulman—which

Larson says differs materially from the October 19 letter. She is incorrect, and

neither she nor Marks took this position at the time. Every essential term in

Schulman’s letter is identical in substance to those in Marks’ letter. Any

difference either involves a non-essential term or is one of semantics. If any

material difference does exist, DC has long agreed: the October 19 letter controls.

      DC also owns the large majority of Superman copyrights addressed in the

2001 agreement (save for parts of Action Comics #1), under the work-for-hire

rules. Those rules and deals Larson’s father made with DC control here, assuming

the Court reaches these issues. Each of the disputed Superman works was created

by Siegel or other DC artists that DC employed, directed, and paid to create them.

      DC’s deals with the Siegels should be honored, and “[a]t some point,

litigation must come to an end. That point [is] now….” The Facebook, Inc. v.

Pac. Nw. Software, Inc., 640 F.3d 1034, 1042 (9th Cir. 2011). Judgment should be

entered in DC’s favor, and the 2001 settlement agreement should be enforced.


                                         2

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I.    THE DISTRICT COURT ERRED IN GRANTING SUMMARY
      JUDGMENT TO LARSON ON THE SETTLEMENT QUESTION

      After two-and-a-half years of negotiation, Marks and Schulman agreed,

during an October 16, 2001, call, on all terms essential to settle this dispute,

including a copyright transfer. SER-105, 434. Larson accepted DC’s terms on

October 19—in a call Marks made that day and in a signed, six-page letter he sent.

SER-107-08, 456-61. A contract was formed on October 19; its terms stated in

Marks’ letter. While Larson now recites a list of alleged differences among later

communications, those differences do not speak to, and cannot alter, the terms of

the October 19 deal. And none reflects a disagreement on a material term.

      A.     Larson And DC Formed An Agreement On October 19, 2001

      Between 1999 and 2001, Schulman and Marks spent many hours negotiating

the parties’ dispute. SER-434. By October 16, 2001, all crucial elements of the

deal, including the scope of rights to be transferred and all monetary terms, were

settled, save one. SER-105-08, 434-35. The remaining issue was Larson’s right to

claim an interest in Superman once certain early works entered the public domain;

Marks and Schulman discussed that final point on October 16. SER-105-07, 434-

35. DC made an offer on that final point and all other material terms. Id. On

October 19, Marks telephoned Schulman to communicate Larson’s acceptance and

report “we are closed.” SER-107-08. Marks sent a letter confirming Larson had

“accepted D.C. Comics’ offer,” as detailed in a six-page term sheet. SER-456-61.

                                           3

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       Marks’ October 19 call and letter sealed the deal. The letter contained all

material terms for a copyright transfer, specifically, “the subject matter [and] the

price.” Levin v. Knight, 780 F.2d 786, 787 (9th Cir. 1986); SER-456-61. The

letter unequivocally accepted DC’s offer. SER-456 (“The Siegel Family… has

accepted D.C. Comics offer of October 16, 2001….”). The acceptance was signed

by Larson’s agent, “the party against whom enforcement is sought.” Levin, 780

F.2d at 787. A binding agreement was formed. Facebook, 640 F.3d at 1037-38.

       Larson does not argue she did not consent to be bound by the terms of

Marks’ October 19 letter. Rather, she suggests Marks misunderstood DC’s offer,

and thus his letter was a “counteroffer.” LOR-14-17. But according to Marks’ and

Schulman’s unrebutted testimony, Marks’ letter was consistent with every material

term of DC’s October 16 offer. SER-110, 435. That testimony alone precludes the

summary judgment order issued below, and justifies this Court entering judgment

in DC’s favor. Larson does not dispute this Court may enter judgment for DC.

DCB-28. At a minimum, the issue must be remanded for trial. Id. at 34. For if a

jury credited Marks’ and Schulman’s testimony that Marks’ October 19 acceptance

tracked DC’s October 16 offer—as it easily could—then the Marks letter correctly

states all essential terms agreed to by the parties, and a contract was formed.1



   1
    See Facebook, 640 F.3d at 1037; Mattel, Inc. v. MGA Entm’t, Inc., 616 F.3d
904, 910-13 (9th Cir. 2010); Elite Show Servs., Inc. v. Staffpro, Inc., 119
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      The only evidence Larson offers to suggest that Marks’ October 19

acceptance letter did not match the terms of DC’s offer is Schulman’s October 26

letter. SER-463-70. Larson argues the contract terms described in Schulman’s

letter vary so markedly from those described in Marks’ letter that no jury could

reasonably find that Marks accurately understood DC’s offer when he

unequivocally accepted it on Larson’s behalf. LOR-13-24.

      That supposed variance comes nowhere close to justifying summary

judgment on the issue of contract formation in Larson’s favor. First, the variance

does not eliminate a factual dispute whether Marks understood DC’s offer when he

accepted it—at the very most, it creates a dispute. Second, the supposed variance

is not a variance at all—there is no difference between two letters on any material

term. Infra at 10-14. Third, even if Schulman’s letter reflected a difference on a

material term, that difference could not alter or supersede the already-existing

October 19 agreement. If the law allowed a writing like Schulman’s to undermine

an earlier agreement, any party could repudiate a contract “by simply suggesting

other and additional terms….” Clarke v. Fiedler, 44 Cal.App.2d 838, 847 (1941).

      Through her agent, Larson provided a signed, written acceptance of DC’s

offer. No additional writing or signature was required. Id. at 846 (enforcing

contract when there was no agreement signed by either party); Ersa Grae Corp. v.

Cal.App.4th 263, 268 (2004); Harris v. Rudin, Richman & Appel, 74 Cal.App.4th
299, 308-09 (1999); Duran v. Duran, 150 Cal.App.3d 176, 181 (1983).
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Fluor Corp., 1 Cal.App.4th 613, 624 n.3 (1991); Levin, 780 F.2d at 787-88; CAL.

CIV. CODE § 1624 (statute of frauds requires only that contract be “in writing and

subscribed by the party to be charged or by the party’s agent”) (emphasis added);

DCB-26-27.

      Larson invokes the Copyright Act, and its rule that copyright assignments be

“signed by the owner” of the copyright, or her “agent.” 17 U.S.C § 204(a). Larson

concedes Marks was her agent, RER-9, and his letter clearly expresses her

“acceptance” to “transfer all of [her] rights in … ‘Superman,’” SER-456, 458. “If

the copyright holder agrees to transfer ownership to another party, that party must

get the copyright holder to sign a piece of paper saying so. It doesn’t have to be

the Magna Charta; a one-line pro forma statement will do.” Effects Assocs., Inc. v.

Cohen, 908 F.2d 555, 557 (9th Cir. 1990). Marks’ signed, six-page letter qualifies.

      Finally, the parties’ actions show they agreed to be bound. They negotiated

for two years, and resolved their last deal point on October 16. SER-456, 463-64.

Larson suggests the October 16 deal was so hastily made that within days Marks

and Schulman could not remember its terms; exchanged conflicting term sheets;

and then let those conflicts fester. LOR-16-17. This account is unsupported. The

parties stopped negotiating in October because they had a deal, and Marks never

objected to Schulman’s letter or called it a counter-offer. DC undertook the

separate task of preparing a long-form, SER-435, and began performing on the


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2001 deal, reserving amounts due. These are all acts of parties who had a deal.2

       B.    Contemplating A Long-Form Document Does Not Defeat A Deal
       Larson argues Marks’ October 19 acceptance is not enforceable because it

“was subject to documentation and would need to be reduced to a mutually-

acceptable written contract.” LOR-26. But (i) Marks’ October 19 letter contains

no such condition, and (ii) the rule in California could not be clearer:

       The fact that an agreement contemplates subsequent documentation
       does not invalidate the agreement if the parties have agreed to its
       existing terms.

Ersa, 1 Cal.App.4th at 624 n.3; accord Harris, 74 Cal.App.4th at 307; Stephan v.

Maloof, 274 Cal.App.2d 843, 848 (1969); Facebook, 640 F.3d at 1037; Blix St.

Records, Inc. v. Cassidy, 191 Cal.App.4th 39, 48-49 (2010).

       Larson’s cases, LOR-27, show that California law requires an express

reservation to make a contract unenforceable for lack of later documentation,

Rennick v. O.P.T.I.O.N. Care, Inc., 77 F.3d 309, 316 (9th Cir. 1996) (letter of

intent not binding because it expressly stated it was “of no binding effect on any

party hereto”); Banner Entm’t, Inc. v. Super. Ct., 62 Cal.App.4th 348, 359 (1998)

(draft expressly disclaimed it constituted “legal and binding obligation” until

   2
     Toberoff calls the reserve “Hollywood accounting,” LOR-7 n.2—and may
need to say this to mislead Larson about the deal he induced her to abandon—but
the record fact remains that a reserve was set; it totals more than $20 million, SER-
397-99; and the funds will be paid to Larson if this Court enforces the 2001
agreement. Larson gets all of this money, though Marks may have a claim to 5%;
only Toberoff loses his improperly obtained 40% (or more) cut. DCB-16-19.
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“signed by the parties”). Indeed, in Duran, 150 Cal.App.3d at 181, the party said

she must “approve” the final written terms before being bound, but the court held

that a jury must determine whether an enforceable agreement had been made.

      Here no party ever made any such reservation, either in Marks’ letter or in

the months that followed during efforts to finalize the long form. SER-114-15,

435, 456. Everyone continued to refer to the deal the parties had made—even

Larson’s mother in her letter to Time Warner, in its response, and in Marks’ later

communications with DC and Larson. SER-412-14, 416, 435-36; RER-13-14. If

the question of contract formation was for the jury in Duran, where one party said

her approval of formal documentation was required, DC is surely, at the very least,

entitled to the same jury determination here, where no reservation was ever made.

      Larson wrongly suggests Marks’ letter contained “clear reservations” that

Larson did not consider the deal done until finally documented. LOR-28. The

language she cites, SER-461, does not bear this out:




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Marks never reserves Larson’s rights pending a final agreement. That is especially

clear when read in conjunction with the first paragraph of Marks’ letter, which

contain an unambiguous “acceptance” by Larson on defined “terms”:




SER-456.3

       Finally, while Schulman’s October 26 letter does not matter—since an

agreement had already been reached—nothing in it constitutes a “clear

reservation” either. Just the opposite: it expressly confirms “the deal we’ve

agreed to.” Id. SER-463. It notes that DC will undertake the task of putting

together the contemplated long-form. And there is no reservation, clear or

otherwise, of a right by DC to change the October 19 deal.4




   3
     Larson relies on Valente-Kritzer Video v. Callan-Pinckney, 881 F.2d 772, 775
(9th Cir. 1989), but there, the lawyer said his client had not seen or accepted the
newly drafted contract. While his letter contained a “congratulations” for reaching
a deal, the fact that his client had not reviewed it “undercuts the hint of finality that
emanates” from his comment. Id. Here, Marks affirmed: Larson “accepted.”
   4
     DC’s reservation to comment on the 50-plus-page long-form document its
outside counsel first circulated in February 2002 is quite different, cf. LOR-29, and
the reservation says nothing about re-opening the October 2001 deal, SER-463.
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      C.     Larson Has Not Raised Any Material Difference On Any
             Essential Term Between The Marks And Schulman Writings

      Larson does not dispute the only essential terms to a copyright transfer are

“the subject matter, the price, and the party against whom enforcement is sought.”

Levin, 780 F.2d at 787; LOR-29. But she spends pages of her brief citing places

where, in her view, Marks’ October 19 and Schulman’s October 26 letters differ.

Some of the purported differences result from Larson’s misapplication of the rules

of contract interpretation. Others result from her failure to read the entire letters.

The remainder are at most minor differences on non-essential terms. Even if any

one met the high test for materiality (and none does), it would not matter. Sworn

testimony from Schulman and Marks establishes that Marks precisely understood

DC’s October 16 offer, and set forth and accepted its terms. SER-110, 112, 435.

Inconsistent terms DC tried to add—if there are any—must be ignored. Facebook,

640 F.3d at 1037-38. And while Larson says Schulman tried to get a better deal

for DC, DC’s position has been throughout: if there are any material differences in

Schulman’s letter, Marks’ letter controls. RER-6; DCB-31; SER-435-37.

      1. Scope Of Rights. Larson asserts that a material difference exists as to the

scope of the properties—that Marks’ letter applies to Superman, Superboy,

Spectre, and related properties, but Schulman’s supposedly expands the coverage

to unnamed other properties. LOR-17. But in eight years of litigation, Larson has

never identified a single property or work that she believes is covered by

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Schulman’s supposedly more expansive language, and DC has never asserted any

rights over these mystery properties. That is because no such rights exist.

      2. Monetary Terms. Larson asserts that Marks’ letter does not allow DC to

recover interest on the advances it provides, while the Schulman draft provides that

interest “at 100% of prime” can be recovered after December 31 “of year of

payment.” LOR-18 (citing SER-458, 467). Larson is incorrect. Paragraph 8 of

Marks’ letter provides that “beginning January 1 of the following year,” after DC

pays an advance, “there shall be interest at the prime lending rate.” SER-458.

This provision, which Larson fails to mention, shows no difference exists at all.

      Larson also suggests that “6% of DC’s receipts from all Media licenses” is

materially different from “6% of DC’s ‘gross revenues’ derived from ‘use of the

property in any and all media,’” because “media licenses” is not defined in the

Schulman letter, and thus might exclude direct sales or assignments. LOR-18-19.

But the Schulman letter plainly uses the term “media license” in the broader sense

to include such revenues. It lists revenue from sales of “merchandise actually

produced by DC” as an example of revenue from “merchandising licenses.” SER-

467. Because his term “license” includes direct sales, it has the broader meaning

that Larson says only Marks’ letter included. See People ex rel. Lockyer v. R.J.

Reynolds Tobacco Co., 107 Cal.App.4th 516, 526 (2003).




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      Larson also points to semantic differences between the letters without

assigning any weight to their materiality other than her own conclusory statements.

For instance, she focuses on the fact that Marks’ letter specifies three instances

where the 6% media license fee would be reduced to 1.5%, whereas the Schulman

draft cited these three instances as “examples.” SER-457-58, 467-68, 495. In

years of litigation, Larson has never pointed to a fourth property that was swept in.

      Larson also suggests Schulman’s letter allows DC to pay royalties below 1%

in certain cases. LOR-20. Larson never raised this interpretation in her briefing or

testimony below. Marks did not read the language that way, SER-536-37, nor did

DC’s later long-form draft, which clearly set the floor at 1%, SER-497. Even if

Larson’s new interpretation were correct, she cannot show it materially altered the

agreement—particularly since it would permit more than 1% royalty in cases

where Marks’ letter capped the royalty at 1%. LOR-20.

      Larson also says Schulman’s letter departed Marks’ letter by defining the

term “extraordinary cases.” SER 457, 467. It is hardly surprising that a vague

term would be given a more precise definition, and the definition Schulman gave

tracks the purpose articulated in the Marks draft, which stated that Six Flags would

serve as an example because it “involves numerous characters.” SER 457.

      Along the same vein, Larson says Schulman’s letter amended Marks’ by

defining “cameo” to mean stories where the subject “characters do not appear in


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the title of the publication or feature.” SER-468. This definition accords with

custom, DCB-33-34, and applied reciprocally—DC would not reduce Larson’s

royalties if one of its other characters (e.g., Batman) made a cameo in Superman.

Noting an accepted definition for a vague term is hardly a material change.

      3. “Other” Non-Essential Terms. Larson also complains of differences in

language concerning warranties, indemnification, publicity, and credit, but none

are essential terms to a copyright transfer. DCB-34; Inamed Corp. v. Kuzmak, 275

F.Supp.2d 1100, 1120-22 (C.D. Cal. 2002). Even if there were disagreement over

such non-essential terms, a contract arose on October 19 when agreement on all

essential terms was reached. Facebook, 640 F.3d at 1037-38.

      In any event, Larson does not identify material differences as to these non-

essential terms. As to the warranties, Larson would have been required to provide

“100% ownership” to DC and be subject to a duty of good faith and fair dealing

not to interfere with the contract, which is an implied provision of every contract in

California. See Digerati Holdings, LLC v. Young Money Entm’t, LLC, 194

Cal.App.4th 873, 885 (2011). The trivial difference in language concerning

warranties thus could hardly give rise to “significant potential liability.” LOR-22.

      Similarly, the so-called “indemnification” provision merely implements the

requirement that the “Siegel Family would transfer all of its rights … resulting in

100% ownership to D.C.,” SER-458, and that the “Siegel Family” acted “through


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Joanne Siegel and Laura Siegel Larson,” SER-456, in providing these rights. Far

from being “significant obligations of the Siegels to indemnify,” LOR-23, the

Siegel Family was asked to indemnify DC against suits by the Siegel Family.5

       4. The February 2002 Long-Form. Larson also points to so-called “vast

differences” between Marks’ letter and DC’s February 2002 long-form, LOR-24,

but she identifies only a few provisions in that draft that even arguably conflict.

As explained above and in DC’s principal brief, DCB-32-33, even if DC proposed

materially different terms in the February 2002 draft long-form, those differences

cannot erase the October 19 agreement. Facebook, 640 F.3d at 1038.6

       D.    Marks’ August 2002 Memo Confirms A Deal Was Made

       A document this Court recently ordered Larson to produce confirms the

parties made a binding agreement in October 2001. In an August 2002 memo,


   5
     Larson’s remaining items scarcely merit mention. She says Schulman
required travel for Joanne Siegel and this was a material difference given her poor
health. LOR-23. But Schulman’s letter made clear any travel was “subject to [her]
health.” SER-464. Larson also cites a divergence as to credits in paid ads. LOR-
23. But Schulman’s letter requires credit on all “works where credit to creators is
customary,” SER-469, and Larson presents no evidence such credit was otherwise.
   6
    Any differences are not material and are typical of clarifications in a long-
form. Larson says the draft excluded services from the royalty sums. LOR-19.
But because services were never addressed in the prior drafts, this is not a different
term. The same is true of units, e.g., returned or lost, for which there would be no
revenue to pay royalties. LOR-21. Larson also says the draft excludes cash
advances, LOR-19, but it does no such thing—it states a time when sums paid to
DC would vest, SER-481. Unsurprisingly, Marks told Schulman the February
long-form was “consistent” with the October deal. SER-125-28, 436, 440.

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Marks reminds Larson four times that she made a “deal” or “agreement” with DC

in October 2001, and said he might have to testify against her if she repudiated it.

RER-13. Even though Marks drafted his memo long after receiving Schulman’s

October 26 letter and after DC sent its February long-form, Marks never suggested

that either altered the binding effect of the October 19 deal. Marks never said the

parties viewed these two later documents as “counter-offers.” Nor did he suggest

that these post-agreement documents revealed a “mistake” about the terms of the

deal. Rather, Marks stressed again and again that “an agreement was reached”

between DC and Larson, and breaching it would subject her to suit. RER-13-14.

      As both sides understood at the time, Schulman’s October 26 letter and DC’s

draft long-form were simply parts of hammering out the formal documentation for

an agreement that had already been reached. SER-435; RER-13-14. Had Larson

worked with DC to document the fine points of their agreement, this matter could

have long ago been resolved. But instead, lured by Toberoff’s false promises,

Larson reneged.

                                   *      *      *

      The 2001 deal should be enforced, judgment should be entered in DC’s

favor, and this case should end. At a minimum, the district court’s summary

judgment order should be reversed, and the case remanded for a trial on DC’s

settlement defense.


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II.   DISPUTED FACTUAL ISSUES REMAIN AS TO DC’S STATUTE-
      OF-LIMITATIONS COUNTERCLAIM

      DC’s limitations defense turns on one disputed fact—whether settlement

talks were terminated by a May 9, 2002, letter from Larson’s mother to DC

(making this action untimely), or a September 2002 letter from the Siegels to DC.

DCB-37-39. While Larson argued below that settlement talks ended in September,

she recently argued in the related Pacific Pictures case that the May 9 letter

“ended” any chance of settling the matter. SER-827, 878-79. A jury should have a

chance to hear this evidence and decide which letter ended settlement talks.

      Larson contends the May 9 letter did not meet the requirements of the

parties’ tolling agreement, but that is a jury question. Sanborn v. Fed. Crop Ins.

Corp., 93 Cal.App.2d 59, 65 (1949). She also says that in Pacific Pictures, she

described the May 9 letter as making negotiations “moribund,” which means

“dying,” not dead. But she argued in Pacific Pictures the May 9 letter “ended” any

prospect of resolving the matter, SER-825—which is possible only if the letter did,

in fact, terminate negotiations.

      Larson may have taken her new factual position to shield Toberoff from tort

liability in Pacific Pictures—casting even more doubt on his relationship with her.

Cf. In re Pacific Pictures Corp., 2012 WL 1640627, at *1 (9th Cir. May 10, 2012).

But whatever her motive, if it is credible for Larson to argue in Pacific Pictures



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that the May 9 letter ended any prospect of completing negotiations, then a jury in

this case could find the same thing, and thus find that her lawsuit was untimely.

III.   LARSON CANNOT DENY DC OWNS KEY SUPERMAN WORKS
       DC’s cross-appeal challenges the district court’s summary-judgment ruling

that four Superman works were not made-for-hire: portions of Action Comics #1

(“AC#1”); Action Comics #4 (“AC#4”); Superman #1 (pages 3-6) (“S#1”); and two

weeks of “Pre-McClure Strips.” Larson’s opposition is unavailing.

       A.    Elements Of AC#1 Were Made-For-Hire

       Key elements of AC#1, added in 1938, were made-for-hire. Compare ER-

706, with SER-78; see also ER-654, 917, 957-59; SER-379-88, 442, 803. The

court in Siegel v. Nat’l Periodical Publ’ns, 508 F.2d 909 (2d Cir. 1974), did not

hold otherwise, and Larson’s preclusion and merits arguments are without basis.

       1.    National Is Not Preclusive

       Larson argues National precludes DC from making its work-for-hire

arguments about the 1938 additions to AC#1, but she is mistaken. The sole issue in

National was whether Siegel and Shuster owned the renewal copyright in AC#1.

National never considered the issue now before this Court: whether the 1938

additions in AC#1 were made-for-hire and thus are not subject to termination.

Larson’s suggestion (LOR-43) that National ruled on the work-for-hire status of

the 1938 additions is inaccurate. It merely concluded that these “revisions” were


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not “sufficient to create the presumption that the strip [i.e., the AC#1 Superman

strip in toto] was a work for hire.” 508 F.2d at 914 (emphasis added).

      Larson concedes this case involves “evidence [and] argument not presented

in [National],” but says issue-preclusion applies to any issue DC “could have”

raised in National. LOR-44. Larson conflates issue-preclusion with claim-

preclusion—it is only the latter doctrine that precludes litigating a claim that could

have been raised. Comm’r v. Sunnen, 333 U.S. 591, 598 (1948); Leather v. Eyck,

180 F.3d 420, 426 (2d Cir. 1999). Larson offers seemingly contrary quotations

from Chicot County Drainage Dist. v. Baxter Cnty. Bank, 308 U.S. 371, 378

(1940), and Davis & Cox v. Summa Corp., 751 F.2d 1507, 1518 (9th Cir. 1985),

but the quotes refer specifically to res judicata (or claim-preclusion).

      Under settled issue-preclusion rules, a ruling in a prior case is preclusive

only if the issue previously resolved is identical to the issue now raised, the issue

was actually litigated before, and resolving it was necessary. Sunnen, 333 U.S. at

599-600; Granite Rock Co. v. Teamsters, 649 F.3d 1067, 1070 (9th Cir. 2011);

DCB-70. Larson’s cases confirm this, Norris v. Grosvenor Mktg. Ltd., 803 F.2d

1281, 1286 (2d Cir. 1986), and she fails all three elements of the test.

      Here, new evidence and argument is presented concerning a new issue—the

standalone work-for-hire status of the 1938 additions. And National’s comments

about work-for-hire were “unnecessary” to its decision. National affirmed the


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district court’s ruling that Siegel transferred his rights in AC#1, and, thus, it did not

need to address the district court’s alternative ruling that AC#1 was made-for-hire.

Additional “determination[s] adverse to the winning party [i.e., DC] do[] not have

preclusive effect.” Fireman’s Fund Ins. Co. v. Int’l Mkt. Place, 773 F.2d 1068,

1069 (9th Cir. 1985). Larson disagrees, saying National could only reach the

transfer-of-rights issue because it found AC#1 was not a work-for-hire. LOR-44.

National belies that reading: its comments on work-for-hire are four sentences at

the end of the opinion, after affirming the district court’s transfer-of-rights ruling.

       2.    The 1938 Additions Were Made-for-Hire

       Larson’s merits arguments are equally unpersuasive. The disputed AC#1

elements were all added in 1938, after DC employed Siegel and Shuster as artists

to create new and derivative works for DC. Because these elements were added at

DC’s “instance and expense,” they are either works-for-hire in their own right, or

DC is a joint owner of the works that contain them. DCB-42-43, 61-68.7


   7
     Larson concedes “authors of derivative works … own the copyright to their
added material.” LOR-55. DC thus at least owns the copyright in the 1938
elements. Larson denies DC can be a joint owner because there was no intent “that
DC or its staff be considered ‘coauthors.’” LOR-53. But her own case—
Aalmuhammed v. Lee, 202 F.3d 1227, 1234 (9th Cir. 1999)—confirms that a joint
work is created where multiple authors make independent contributions intending
that their contributions be integrated into a single work. Here, that was plainly the
case. DC exercised control over the creation and merging of the new elements into
AC#1. DCB-67-68. “[C]omic book[s] are typically the joint work of four artists—
the writer, the penciler[,] the inker[,] … and the colorist,” Gaiman v. McFarlane,
360 F.3d 644, 659 (7th Cir. 2004), and DC staff artists did the latter work. Larson
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      a. New Content. Pursuant to the 1937 Employment Agreement, DC

instructed Siegel and Shuster to adapt their preexisting Superman story “into a full

length … strip” to be included in AC#1. ER-957; SER-379, 381. Siegel and

Shuster “compli[ed],” ER-957, and “revised and expanded” their story to include

new panels, text, and illustrations. ER-654, 957; SER-385-86. DC paid Siegel and

Shuster for their contributions, ER-917, 958; SER-383, 804, and had the right to

control and supervise them, ER-957; SER-379, 381, 383. These facts are

undisputed, and easily satisfy the instance-and-expense test. DCB-67-68.

      Larson quotes Shuster’s testimony that DC did not give them specific

directions “as to what to do or what to include in Superman,” LOR-47, but the

instance-and-expense test does not require particular directions—only that the

work itself be ordered and paid for by the employer, DCB-54-55. It is the right to

dictate substance that matters, Twentieth Century Fox Film Corp. v. Entm’t

Distrib., 429 F.3d 869, 879-80 (9th Cir. 2005), and DC owned and did exercise the

rights one would expect an employer to exercise, ER-957, SER-379, 381, 383.



touts that Siegel and Shuster’s names appear on the byline, LOR-53, but this is a
custom not remotely dispositive of authorship. Indeed, the pair’s names appear on
many works made-for-hire that Larson did not seek to terminate, and DC’s name
appears on AC#1, the Promotional Announcements (which make no reference to
Siegel or Shuster), and all Superman publications. Finally, the Announcements
feature the cover art DC created and tout AC#1’s “Color!,” SER-370, making clear
these DC-created elements were instrumental to AC#1’s “appeal,” Aalmuhammed,
202 F.3d at 1234.
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       Larson also argues the 1938 Assignment proves that the new material—

created before the Assignment—was not work-for-hire. LOR-46. This is wrong

for many reasons. Among them, the 1938 Assignment assigned to DC the parts of

AC#1 that Siegel and Shuster created before working for DC; it is the work the pair

did on the new elements that was made-for-hire. Fox, 429 F.3d at 881, also rejects

Larson’s claim about the assignment. Because the instance-and-expense test is

satisfied for the 1938 additions, supra at 19-20, the presumption that DC owned all

copyright in those works may be overcome only by evidence proving the parties

expressly agreed Siegel would own the copyright, DCB-43. Larson has no such

evidence, and Fox holds the mere existence of a later assignment does not qualify.8

       b. Colorization. DC colorist Jack Adler—the only percipient witness—

testified that Siegel and Shuster submitted the AC#1 panels in black-and-white, and

other DC artists selected colors to add. DCB-61. Larson does not defend the trial

court’s erroneous ruling that colorization cannot be copyrighted. Id. at 61-62. But

she does cite the court’s equally erroneous criticism of Adler. LOR-48-49. The

court said Adler only “describe[d] procedures generally employed in the printing

process,” rather than “what actually occurred with respect to” AC#1, SER-50,

when, in fact, Adler addressed those specifics. He testified it was industry custom

   8
    Larson rewrites Dolman v. Agee, 157 F.3d 708, 712-13 (9th Cir. 1998), as
holding, contrary to Fox, that an assignment alone rebuts the work-for-hire
presumption. LOR-46. Dolman,157 F.3d at 713, cited an assignment as but one of
numerous factors that together sufficed. None of the other factors is present here.
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for artists to submit “comic book work … in black and white,” and that this “was

the case with Action Comics No. 1.” SER-442 (emphasis added). He elaborated:

“Siegel and Shuster provided the artwork in black and white. Color was applied as

part of the regular printing process,” and he even identified, by name, the DC artist

who “selected the color for Superman’s ‘S.’” Id. Larson speculates Siegel or

Shuster submitted “color guides,” LOR-49, but no evidence supports this claim.

       c. Cover Art. DC’s February 22, 1938, letter to Siegel makes clear—and

Siegel’s memoir confirms—that DC’s artists “used one of those panel drawings of

SUPERMAN” as a template to create “the cover” of AC#1. SER-388, 803. Larson

says the cover was based on Shuster’s “large promotional panel-drawings,” LOR-

50, but whatever drawing was used as a “template,” what matters is that the cover

was created by DC artists and thus is owned by DC, DCB-62-67.

       Larson asserts DC’s cover art is not independently copyrightable because it

is “closely derived” from an interior panel and any differences are “de minimis.”

LOR-51. But Larson concedes that the cover features Superman with “a visible S-

crest on his chest” as well as “facial features and musculature,” LOR-51 n.8, while

the interior panel does not.9 Those differences satisfy the test in Entm’t Research

Grp., Inc. v. Genesis Creative Grp., Inc., 122 F.3d 1211, 1220, 1226 (9th Cir.

1997), that a derivative work is copyrightable if it contains “non-trivial” variations

   9
     DC did not use a “low-resolution copy” of the panel. LOR-51n.8. In fact, it
enlarged the panel to make it more visible. Compare DCB-65-66, with SER-86.
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from the original work. Larson says the different S-crest, facial features, and

musculature appear in other panels in AC#1, LOR-51 n.8, but those elements first

appeared in the Promotional Announcements that DC owns, DCB-80-81, 84. And,

in any event, DC’s cover contains seven other non-trivial variations, DCB-64-65—

all of which meet the Genesis test, and none of which Larson disputes.

        B.    DC Owns The Pre-McClure Strips (“Strips”)
        1.    The Strips Were Made-for-Hire

        The Strips were created after Siegel and Shuster entered into the 1937

employment agreement with DC, and after the pair assigned all of their Superman

rights to DC in 1938. ER-602-03, 615, 917; SER-582-89. DC does not “ignore”

the “instance and expense” test because of these agreements. LOR-55. Just the

opposite: the agreements are what satisfy the “instance” prong, because they mean

the Strips were necessarily created at DC’s instance. DCB-71-72. Since DC was

the sole owner of all rights in Superman properties, it had complete control over

the creation of new Superman material. Estate of Hogarth v. Edgar Rice

Burroughs, Inc., 342 F.3d 149, 163 (2d Cir. 2003); Picture Music, Inc. v. Bourne,

Inc., 457 F.2d 1213, 1217 (2d Cir. 1972); DCB-47, 56-57. It is thus irrelevant that

Siegel and Shuster exercised creative independence. LOR-55.10


   10
      While authors of authorized derivative works “own the copyright to their
added material” (LOR-55), where—as here—the derivative work is made-for-hire,
the statutory “author” is the hiring party. Fox, 429 F.3d at 881; DCB-9-10, 42-43.
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      Larson concedes “Siegel and Shuster were compensated” for their work,

LOR-55, which is enough to satisfy the “expense” prong. Playboy Enters., Inc. v.

Dumas, 53 F.3d 549, 555 (2d Cir. 1995). And she concedes they created the Strips

expecting to be compensated for their work, Murray v. Gelderman, 566 F.2d 1307,

1311 n.7 (5th Cir. 1978), and that DC and McClure bore “the financial risk,” Fox,

429 F.3d at 881—again establishing “expense.” But she says the “expense” factor

is not satisfied, because Siegel and Shuster were paid a royalty on net profits,

rather than guaranteed compensation. LOR-55. Courts “roundly reject[]” that

asserted distinction, as Toberoff well knows. Marvel Worldwide, Inc. v.

Kirby, 777 F.Supp.2d 720, 741-42 (S.D.N.Y. 2011) (collecting cases).

      2.     Larson’s Failure To Terminate The Strips Is Dispositive

      Larson does not deny that her termination notice omitted all information

concerning the Strips required by federal law—title, author, copyright date, and

registration number. Rather, she argues the omission was harmless, because her

notice included a “catch-all” footnote indicating an intent to recapture “every …

omitted work.” LOR-57. That theory contradicts the plain terms of the rule, which

treats as harmless only those mistakes that “do[] not materially affect the adequacy

of the information” in the notice. 37 C.F.R. §201.10(e)(1)-(2). The complete

omission of all required information obviously does materially affect the adequacy

of the notice—even with a catch-all, the required information is nonexistent.


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Burroughs v. M-G-M, Inc., 491 F.Supp. 1320, 1326 (S.D.N.Y. 1980) (omission of

five Tarzan works “‘materially affect(s)’ the adequacy of the Notice”).11

        If a termination notice could simply refer to “all works, including omitted

works,” there would be no point in requiring any information concerning particular

works. The rules specifically define errors that are harmless, Larson’s error is not

among them, and courts cannot engraft new exceptions, especially given the

careful “compromise” the Copyright Act strikes between the rights of heirs and

grantees like DC. DCB-15-16 (citing legislative history).12

        C.    Pages 3-6 Of S#1 Are Works-For-Hire
        Larson maintains that pages 3-6 of S#1 were created as part of the original

Superman story in 1935—before Siegel and Shuster entered into a work-for-hire

relationship with DC—and says there is “no evidence” to the contrary. LOR-53.

Incredibly, Larson has no response (other than to ask the Court not to read it) to

Siegel’s refutation of this theory in his memoir: “[Commentators] state Superman

magazine No. 1 contains pages omitted from the Action Comics No. 1 origin story.

The truth is that the additional pages were specifically created for use in Superman
   11
     Larson’s effort to distinguish Burroughs fails. It held the omission was “not
harmless,” 491 F.Supp. at 1326, and the Second Circuit ruled the “incomplete
notice left [the grantee] with license to use” the works. 683 F.2d 610, 622.
   12
      Larson complains about DC’s “math,” LOR-59, but the numbers do not lie:
of the 15 Superman works deemed subject to termination, the 12 Strips—80%—
were completely omitted from her notices. DCB-76-77. That Larson wildly
“over-noticed” other Superman works cannot turn a nonexistent notice of the Strips
into an adequate one.
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Magazine No. 1.” SER-805. Siegel’s admission and DC’s other evidence

confirms these pages were made-for-hire on behalf of DC. DCB-78; SER-761.

      D.     Artwork In AC#4 Is Work-For-Hire
      It is undisputed Siegel created no artwork to accompany the 1934 script that

DC later incorporated into AC#4—a story illustrated by DC’s staff artists. DCB-

79-80. Larson’s contention that DC cannot simultaneously own these illustrations

as the author of a work-for-hire and as a joint author (LOR-54) misunderstands

DC’s argument. DC’s primary submission is that the artwork is owned outright by

DC as a work-for-hire, as the 99 panels of illustrations possess far more than the

“de minimis quantum of creativity” necessary to be copyrightable. Feist Publ’ns,

Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 363 (1991). The artwork is also a joint

work between Siegel and DC, as both intended the script and illustrations to be

combined into a comic strip. Gaiman, 360 F.3d at 659; supra n.7. Larson has no

response, except to assert—without explanation—that the ownership of the AC#4

artwork is “not before the Court.” LOR-54. It is. DC claimed ownership below,

RER-3, and the district court considered but “decline[d] to address” it in its August

2009 order being appealed, ER-78-79. The issue is preserved. O’Brien v. R.J.

O’Brien & Assocs., Inc., 998 F.2d 1394, 1397 n.1 (7th Cir. 1993).




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      E.     Copyrightable Elements In DC’s Promotional Announcements
      Larson does not dispute the only issue before the district court on summary

judgment concerning the Promotional Announcements was whether they fell

outside the time-limit to terminate. The court held the Announcements were not

subject to termination—and Larson does not challenge this ruling. LOR-71 n.14.

The district court then made inaccurate statements concerning the visible elements

in the Announcements based on its review of a poor, multiple-generation

photocopy. SER-44-45. Because the “visibility” issue was not before the court,

DC did not present briefing, evidence, or expert testimony addressing it. DCB-82.

      Larson says DC nevertheless had “adequate notice” and a “fair opportunity”

to be heard because the scope question was briefly raised during the summary

judgment hearing. LOR-72. Not so. DC’s counsel specifically said at the

hearing—without objection or contradiction—that “the scope of what’s in these

ads … is something for another day.” LSL-RER-80-81.

      Larson offers no defense of the district court’s refusal to review an original

version of the Announcements, as explicitly required by FED. R. EVID. 1002. See

DCB-82-83 (collecting cases). And while she says the Announcements contain

“no new copyrightable elements,” LOR-73, that is, at best, an issue for trial. In

any event, a cursory review of an original Announcement shows it includes many,

key copyrightable elements. DCB-84; Docket Nos. 30-1, 36-1.


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                                   CONCLUSION
      The Court should enter judgment in DC’s favor on its settlement defense, or,

at the least, reverse and remand on that defense and DC’s limitations defense for

trial. If the Court finds it has jurisdiction on the copyright issues presented, and it

finds it needs to reach them, it should affirm and reverse in part, as DC has shown.

                               Respectfully submitted,

      JONATHAN D. HACKER                           DANIEL M. PETROCELLI
      O’MELVENY & MYERS LLP                        MATTHEW T. KLINE
      1625 Eye Street, N.W.                        CASSANDRA L. SETO
      Washington, D.C. 20006                       O’MELVENY & MYERS LLP
                                                   1999 Avenue of the Stars, 7th Floor
                                                   Los Angeles, California 90067

           Attorneys for Warner Bros. Entertainment Inc. and DC Comics

Dated: June 19, 2012




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                       CERTIFICATE OF COMPLIANCE

      I certify that this brief complies with the type-volume limitation of FED. R.

APP. P. 28.1(e)(2)(C) because it contains 6,796 words, excluding the portions

exempted by FED. R. APP. P. 32(a)(7)(B)(iii). This brief’s type size and type face

comply with FED. R. APP. P. 32(a)(5) and (6).

Dated: June 19, 2012                       O’MELVENY & MYERS LLP

                                           By: /s/ Matthew T. Kline
                                                  Matthew T. Kline
                                             Attorneys for Warner Bros.
                                             Entertainment Inc. and DC Comics




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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 19, 2012, I caused to be electronically filed the

Reply Brief Of Cross-Appellants And Appellees Warner Bros. Entertainment Inc.

And DC Comics with the Clerk of the Court for the United States Court of Appeals

for the Ninth Circuit by using the appellate CM/ECF system. I certify that all

interested parties in this case are registered CM/ECF users.

      I declare under penalty of perjury under the laws of the United States that

the above is true and correct. Executed on June 19, 2012, at Los Angeles,

California.


                                                  /s/ Cassandra Seto
                                                      Cassandra Seto




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                       Appeal Nos. 11-55863, 11-56034

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


                           LAURA SIEGEL LARSON,
       Plaintiff, Counterclaim-Defendant, Appellant, and Cross-Appellee,

                                      v.

        WARNER BROS. ENTERTAINMENT INC. AND DC COMICS,
        Defendants, Counterclaimants, Appellees, and Cross-Appellants.


             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                 THE HONORABLE OTIS D. WRIGHT II, JUDGE
                     CASE NO. CV-04-8400 ODW (RZX)


 MOTION TO SUPPLEMENT THE RECORD WITH THE MARKS MEMO


      JONATHAN D. HACKER                      DANIEL M. PETROCELLI
      O’MELVENY & MYERS LLP                   MATTHEW T. KLINE
      1625 Eye Street, N.W.                   CASSANDRA L. SETO
      Washington, D.C. 20006                  O’MELVENY & MYERS LLP
      Telephone: (202) 383-5300               1999 Avenue of the Stars, 7th Floor
                                              Los Angeles, California 90067
                                              Telephone: (310) 553-6700
                                              Facsimile: (310) 246-6779

          Attorneys for Warner Bros. Entertainment Inc. and DC Comics




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      Warner Bros. Entertainment Inc. and DC Comics (collectively, “DC”)

respectfully move to supplement the record with one document that this Court

recently ordered defendants to produce. In re Pacific Pictures Corp., 2012 WL

1640627 (9th Cir. May 10, 2012). The document directly relates to the first

question DC presents in its cross-appeal; its consideration will not cause unfair

surprise nor raise questions of authenticity; and, although the contents of the

document were described in the record below in another document, the document

at issue was unavailable to DC when it filed its opening brief in this appeal.

Supplementation of the record is thus appropriate. Mangini v. U.S., 314 F.3d 1158,

1160-61 (9th Cir. 2003); Overstreet ex rel. NLRB v. United Bd. of Carpenters &

Joiners of Am., Local 1506, 409 F.3d 1199, 1204 n.7 (9th Cir. 2005). A copy of

the Proposed Reply Excerpts of Record (“RER”) is concurrently filed.

      1. Larson cannot dispute the authenticity of the recently produced

document. Nor can she dispute that the failure to include the document in the

record below was not due to any fault or neglect on DC’s part. The recently

produced document at issue—the “Marks Memo”—comes from the collection of

“Toberoff Timeline” documents that plaintiff Laura Siegel Larson and her co-

defendants in the related Pacific Pictures case finally produced to DC on May 14,

2012. DC has been trying to obtain copies of these documents since July 2006.

Declaration of Ashley Pearson (“Pearson Decl.”) Ex. A. DC also argued to the

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district court in 2009 that the Timeline documents, and especially the “Marks

Memo” that DC requests this Court to consider here, were relevant to the

settlement issue that DC presents on this appeal. Id. Ex. B at 50-55; DCB-5, 25.

      2. Larson and her co-defendants asserted privilege over the Timeline

documents, but the district court and this Court held that defendants waived any

privilege that existed in them by “voluntarily” providing them to the government in

2010. Pacific Pictures, 2012 WL 1640627, at *5-6. Defendants moved for a stay,

which would have kept DC from obtaining or using the Timeline documents in this

appeal (and a related SLAPP appeal), Pearson Decl. Ex. C, but the courts denied

defendants’ motions, id. Exs. D, E. Defendants finally produced the Timeline

documents five weeks ago, 10 days before filing their opposition to DC’s cross

appeal.

      3. The Marks Memo is an August 9, 2002, memo written by the Siegels’

former counsel, Kevin Marks, to Larson and her mother Joanne Siegel, and Don

Bulson, counsel for Larson’s half-brother Michael Siegel. RER-13-14. The memo

directly supports DC’s primary defense in this case—i.e., that Larson’s claims are

barred by an October 2001 settlement agreement with DC, as DC argues in its first

question presented. DCB-5, 25-37; DC Reply 2-15.

      In his 2002 memo, Marks repeatedly affirms that the Siegels and DC made a

“deal” in 2001. RER-13-14. He recounts that when Toberoff approached him with

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an offer to buy the Siegels’ Superman rights, he told “Toberoff that the Siegel

Family had reached an agreement with D.C.,” and that he “did not feel that it was

appropriate to be making offers while [he] was in the process of documenting an

existing deal.” RER-13. Marks’ letter also conveys a hard offer from Toberoff to

the Siegels, but counsels against accepting it, saying: “I believe an agreement was

reached last October with D.C. Comics, albeit subject to documentation. (If called

to testify, I would have to testify as much.)” Id. Marks recommended the Siegels

“continue to negotiate the documentation [of the October 2001 agreement] in good

faith with D.C.,” and warned the Siegels if they did not do so, DC would likely file

suit against them and Toberoff to enforce its rights. RER-13-14.

      4. Besides refuting Larson’s arguments on appeal that no “agreement” was

ever reached, LOR-13-17, these admissions by Larson’s admitted agent (Marks),

RER-9, run contrary to positions she took before the district court in obtaining

summary judgment on DC’s settlement defense, SER-561. Larson told the district

court “no agreement was ever consummated,” SER-549, because even though

Marks “styled” his October 19, 2001, letter to DC as an “ ‘acceptance’ of [DC’s]

‘offer,’” it was really intended as a “counter-offer,” id. Marks’ repeated

admissions to Larson that “an agreement was reached last October with D.C.,”

RER-13, refutes this contention and makes clear that Marks—the author of the

October 19 letter—knew his letter was an acceptance, and a deal was made.

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      The district court relied on Larson’s representations in finding that there was

“no unequivocal acceptance of an offer and, thus, no agreement” in October 2001,

ER-200, and Larson now urges this Court to accept the same argument on appeal,

LOR-16. Moreover, in her Third Brief on Cross-Appeal, Larson provides the

Court with a litany of alleged “material differences” between Marks’ October 19

letter and a later long-form agreement, as well as a letter that John Schulman of

DC sent to Marks on October 26, 2001. LOR-17-24. Marks’ memo undercuts the

very premise of Larson’s argument—if an “agreement was reached” on October

19, as Marks told Larson in 2002, then the terms of the October 19 letter are

binding, and any differences in later communications are irrelevant. DCB-32-33.

      5. The Marks Memo verifies evidence that was already in the record before

the court below—evidence Larson challenged as inaccurate. For instance, the

Toberoff Timeline itself (which is in the record and was before the district court in

this case, in early 2009, SER-182-88) describes the events leading up to the Marks

Memo and its contents:

      On August 8, 2002, MT [Marc Toberoff] tells Marks that he and
      Emanuel have a billionaire ready to offer $15 million up-front, plus
      what they promise to be meaningful participation from proceeds for
      exploitation of the Siegels’ rights to SUPERMAN and some
      continued royalties on an ongoing basis in all media. Kevin Marks
      says to the Siegels, ‘Don’t do it.” …
      In their very first conversation, Kevin Marks tells MT “no go” --- that
      the Siegels have already reached an agreement with Time Warner and
      DC Comics.

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      Marks conveys MT’s offer to the Siegels, and Marks does say to the
      Siegels, it is a better offer than the one you have. However, Marks
      also tells the Siegels that he would testify in court against the Siegels
      if they accepted this offer because he believes there has already been
      an agreement reached [with DC].

SER-183 (emphasis added). Based on the Timeline’s disclosure in 2008, DC

asked the district court in 2009 to re-open discovery, so that DC could gain access

to the Marks Memo and its admissions concerning DC’s settlement defense.

Pearson Decl. Ex. B at 37-38, 50-55. Toberoff discounted the Timeline as a

“conspiratorial rant,” id. at 38-39, and the district court refused to reopen

discovery, id. Ex. F. The recently produced Marks memo verifies the accuracy of

this part of the Timeline—a document which the district court chose not to address.

      6. This Court has inherent authority to grant a motion to supplement the

record. Lowry v. Barnhart, 329 F.3d 1019, 1024 (9th Cir. 2003). The evidence is

relevant to the most important issue on appeal, and there is no fault on DC’s part in

failing to submit the Marks Memo sooner. Mangini, 314 F.3d at 1160-61; Colbert

v. Potter, 471 F.3d 158, 165-66 (D.C. Cir. 2006) (supplementing record where

evidence “go[es] to the heart of the contested issue, [and] it would be inconsistent

with this court’s own equitable obligations … to pretend that [it does] not exist”).

      DC obtained a court order from the district court, in May 2011, compelling

that the Timeline documents be produced—this was before Larson filed her notice

of appeal on this interlocutory appeal. Pacific Pictures, 2012 WL 1640627, at *2;


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ER-230-31. Larson impeded DC’s efforts to obtain the Marks Memo and present

it to the district court (and new district judge handling this matter) before this

appeal was noticed, by pursuing their writ petition, which this Court ultimately

denied in April 2011. Pacific Pictures, 2012 WL 1640627.

      Appellate courts supplement the record when the omission of relevant

evidence could result in an incomplete account of the facts. Mangini, 314 F.3d at

1160-61 (supplementing record with newly discovered letters refuting party’s

misstatements below); Colbert, 471 F.3d at 165-66 (supplementing record with

front of canceled envelope, when only back had been submitted below).

      Granting this motion to supplement presents no risk of unfairness or

surprise. Larson and her counsel have possessed the Marks Memo for years, and

DC, since 2009, has pressed its relevance. Mangini, 314 F.3d at 1160-61; More

Light Invs. v. Morgan Stanley DW Inc., 415 F. App’x 1, 2 (9th Cir. 2011). Nor can

defendants question the authenticity of the memo—they produced it from their

own files. Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010)

(judicial notice appropriate where “neither party disputes the authenticity” of

evidence); Valdivia v. Schwarzenegger, 599 F.3d 984, 994 (9th Cir. 2010) (same).

      7. The Court should grant DC’s motion to supplement the record with the

Marks Memo. To be clear, consideration of the Marks Memo is not necessary for

the Court to hold that judgment should be entered in DC’s favor or that, at a

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minimum, the district court’s summary judgment order must be reversed and the

case remanded for a trial on DC’s settlement and statute-of-limitations defenses.

Supplementing the record with the Marks Memo should occur, however, to ensure

a full and fair consideration of this case. Mangini, 314 F.3d at 1160-61; Nat’l

Senior Citizens Law Ctr. v. Soc. Sec. Admin., 849 F.2d 401, 403 & n.3 (9th Cir.

1988); Mitleider v. Hall, 391 F.3d 1039, 1041 n.1 (9th Cir. 2004).

      Respectfully submitted,

Dated: June 19, 2012                      O’MELVENY & MYERS LLP

                                          By: /s/ Daniel M. Petrocelli
                                                  Daniel M. Petrocelli
                                            Attorneys for Warner Bros.
                                            Entertainment and DC Comics




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                      DECLARATION OF ASHLEY PEARSON

      I, Ashley Pearson, declare and state as follows:

      1.     I am an attorney licensed to practice in the State of California and

admitted to practice before the United States Court of Appeals for the Ninth

Circuit. I am an associate at O’Melveny & Myers LLP, counsel of record for DC

in the above-entitled appeal, and the related appeals in DC Comics v. Pacific

Pictures Corp., Appeal Nos. 11-56934, 11-71844. I make this declaration in

support of DC’s Motion To Supplement The Record With The Marks Memo.

      2.     Attached hereto as Exhibit A is a true and correct copy of excerpts

from DC’s Notice Of Motion And Joint Stipulation Re: Defendants’ Motion To

Compel Production Of Whistle-Blower Documents, filed in this case in the U.S.

District Court for the Central District of California, Case No. CV 04-8400, on

March 26, 2007.

      3.     Attached hereto as Exhibit B is a true and correct copy of excerpts

from DC’s Notice Of Motion And Joint Stipulation Re: Defendants’ Motion To

Reopen Discovery, To Compel Production Of Documents, And To Compel The

Further Deposition Of Kevin Marks, filed in this case in the U.S. District Court for

the Central District of California, Case No. CV 04-8400, on March 2, 2009.

      4.     Attached hereto as Exhibit C is a true and correct copy of Petitioners’

Motion For Stay Pending Decision On Petition For Rehearing And For Rehearing

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En Banc filed with this Court in In re Pacific Pictures (“Pacific Pictures”), Appeal

No. 11-71844, on May 8, 2012.

        5.    Attached hereto as Exhibit D is a true and correct copy of an order

issued by the U.S. District Court for the Central District of California in the related

case, DC Comics v. Pacific Pictures Corp., Case No. CV 10-03633 ODW (RZx),

on May 7, 2012.

        6.    Attached hereto as Exhibit E is a true and correct copy of an order

issued by this Court in Pacific Pictures, Appeal No. 11-71844, on May 10, 2012.

        7.    Attached hereto as Exhibit F is a true and correct copy of an excerpt

from the Final Pre-Trial Conference Order, issued by the U.S. District Court for

the Central District of California in this case, Case No. CV 04-8400, on March 13,

2009.

        I declare under penalty of perjury under the laws of the United States that

the foregoing is true and correct and that this declaration is executed this 19th day

of June, 2012, at Los Angeles, California.


                                                         /s/ Ashley Pearson
                                                           Ashley Pearson




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CERTIFICATE OF COMPLIANCE PURSUANT TO FED. R. APP. P. 27(d)

      Pursuant to Federal Rules of Appellate Procedure 27(d) and 32(a), I certify

that Appellee DC Comics’ brief is proportionately spaced, has a typeface of 14

points or more, and does not exceed 20 pages.

Dated: June 19, 2012                      O’MELVENY & MYERS LLP

                                          By: /s/ Daniel M. Petrocelli
                                                Daniel M. Petrocelli
                                            Attorneys for DC and Warner Bros.




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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 19, 2012, I caused to be electronically filed the

Motion To Supplement The Record With The Marks Memo with the Clerk of the

Court for the United States Court of Appeals for the Ninth Circuit by using the

appellate CM/ECF system. I certify that all interested parties in this case are

registered CM/ECF users.

      I declare under penalty of perjury under the laws of the United States that

the above is true and correct. Executed on June 19, 2012, at Los Angeles,

California.


                                                   /s/ Ashley Pearson
                                                      Ashley Pearson




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                        APPELLATE CASE NO. 11-55863
                       CROSS-APPEAL CASE NO. 11-56034

                 UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT

                          LAURA SIEGEL LARSON
              Plaintiff, Counterclaim-Defendant, and Appellant,
                                      v.
           WARNER BROS. ENTERTAINMENT INC., DC COMICS
                Defendants, Counterclaimants, and Appellees.


   APPELLANT LAURA SIEGEL LARSON’S REPLY IN SUPPORT OF MOTION TO
STRIKE APPELLEES’ SUPPLEMENTAL EXCERPTS OF RECORDS AND PORTIONS OF
 PRINCIPAL AND RESPONSE BRIEF AND RESPONSE TO APPELLEES’ MOTION FOR
                          JUDICIAL NOTICE


                 Appeal From The United States District Court
                     For The Central District of California,
           Case No. CV-04-08400 ODW (RZx), Hon. Otis D. Wright II

TOBEROFF & ASSOCIATES, P.C.
Marc Toberoff
mtoberoff@ipwla.com
Pablo D. Arredondo
parredondo@ipwla.com
22337 Pacific Coast Highway #348
Malibu, California 90265
Telephone: (310) 246-3333
Facsimile: (310) 246-3101
Attorneys for Plaintiff-Appellant,
Laura Siegel Larson, individually and
as personal representative of The Estate of
Joanne Siegel



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                                INTRODUCTION

      In complete disregard for standard appellate procedure, Appellees and

Cross-Appellants Warner Bros. Entertainment Inc. and DC Comics (collectively

“Warner”) entered this appeal with Supplemental Excerpts of Record

(“Supplemental Excerpts” or “SER”) that included 19 documents, totaling 166

pages, that were not before the District Court. Rather than file a motion to

supplement that openly identified these documents, Warner included them in its

Supplemental Exerpts, requesting judicial notice in footnotes buried therein. After

Plaintiff brought this improper expansion of the record to the Court’s attention in

her motion to strike, Warner belatedly filed a motion for judicial notice “in the

alternative,” which is no less substantively and procedurally flawed.1

      Considering its scale, Warner’s request is less a motion for judicial notice

than a request for an entirely new record. It is questionable whether any set of

circumstances would ever merit such a large-scale, rebuilding of the record on

appeal. Warner makes no effort to establish the type of extraordinary circumstance

that would warrant the expansion of the record by even a single page. Indeed,

Warner’s position is self-immolating: in the same breath that it claims its


1
  Instead of filing a 10-page reply in support of its motion to strike plus a 20-page
response to Warner’s motion for judicial notice (Rule 27(d)(2)), Plaintiff has filed
a combined 20-page reply/response brief by the June 20, 2012 deadline for its
response (Rule 27(a)(3)(A)).

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prejudicial extra-record material is “necessary” (MJN 2), it also asserts that “the

Court need not consider any of the [extra-record] evidence discussed herein to rule

. . . on all of the questions presented in this appeal.” MJN 3.    Warner attempts

an end run around Fed. R. App. P. 10(a) by requesting judicial notice, but hardly

even tries to show why such material would ever be judicially noticeable. As

detailed below, these voluminous extra-record materials consist largely of

contested factual allegations and inadmissible evidence. These types of materials

are not the proper subjects of judicial notice, as this and every other Circuit has

agreed, and as Warner almost certainly knows. If litigants were allowed to

introduce such extra-record materials on the grounds Warner advances, the judicial

notice doctrine would render the fundamental limitation of Fed. R. App. P. 10(a)

meaningless, and the appellate record would become a free-for-all.

      Judicial notice is not a vehicle to rewrite the record, introduce contested

factual content, or bypass the evidentiary rules. Nor should a request for judicial

notice be misused as an opportunity to put before the Court, however briefly, page

after page of irrelevant, prejudicial material. Accordingly, this Court should reject

Warner’s efforts to substitute a new record on appeal that was not considered by

the District Court, that Defendants had no opportunity to address in their opening

brief or rebut with other extra-record evidence, and which is entirely improper

under the Federal Rules of Appellate Procedure and the Federal Rules of Evidence.


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                                    ARGUMENT

I.    WARNER FAILS TO OVERCOME THE FUNDAMENTAL
      LIMITATION OF RULE 10(a)

        Nowhere does Warner address Fed. R. App. P. 10(a)’s limitation of the

record on appeal to “the original papers and exhibits filed in the district court,” or

the settled precedent cited by Plaintiff which expressly forbids Warner’s expansion

of the record on appeal. See Dkt No. 42-1 at 2-3; Israni v. Bittman, 10-16726,

2012 WL 1074266 (9th Cir. Apr. 2, 2012) (“[M]otion to strike is granted because

Appellant never filed or submitted the relevant documents to the court below.”).2

      A party cannot use judicial notice, as Warner attempts here, “to circumvent

the general rule against supplementing the [] record.” Murakami v. United States,

398 F.3d 1352, 1355 (Fed. Cir. 2005); see also Native Ecosystems Council v.

Weldon, 2012 WL 991833 (D. Mont. Mar. 26, 2012) (“A party cannot circumvent

the rules governing record supplementation by asking for judicial notice...”).

      Fed. R. App. P. 10(e)(2)(c) allows this Court to supplement the record only

in “extraordinary circumstances.” United States v. Boulware, 558 F.3d 971, 976

(9th Cir. 2009) (“[10(e)(2)(c)] allows the court of appeals to supplement the record


2
 Wierzba v. E*Trade Fin. LLC, 2012 WL 821916 (9th Cir. Mar. 13, 2012)
(granting motion to strike extra-record excerpts); Johnson v. Departments of Army
& Air Force, 2012 WL 32132 (9th Cir. Jan. 6, 2012) (same); In re Phillips, 460 F.
App'x 625, 626 (9th Cir. 2011) (same); Harrell v. Costco, 422 F. App’x 635, 636
(9th Cir. 2011) (same).

                                           3

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only by formal motion based on extraordinary circumstances or error correction”).

Warner cannot establish, and has not even attempted to argue, such “extraordinary

circumstances.”

      Instead, Warner repeatedly asserts that the scores of extra-record documents

it unilaterally inserted are supposedly “self-authenticating,” and that this, alone, is

sufficient ground for expanding the record. MJN 1-2, 4, 12. First, the “very

limited exceptions” to Rule 10(a) do not include purportedly self-authenticating

documents; if it did the exception would quickly swallow the rule. Blankson-

Arkoful v. Sunrise Sr. Living Services, Inc., 449 F. App’x 263, 265 (4th Cir. 2011).

Second, most of the documents Warner says are self-authenticating and

uncontested are anything but. See, e.g. SER 810-814 (personal correspondence

from non-parties). Third, the prejudice that occurs when a party unilaterally injects

numerous documents into the record on appeal extends well beyond authentication.

In fact, Warner exacerbated this prejudice by failing to request judicial notice until

after Plaintiff had filed her opening brief. Plaintiff did not have proper notice so as

to address these documents in her filings below and/or in her opening appellate

brief. As this Court expressly noted in Lowry v. Barnhart, 329 F.3d 1019, 1025

(9th Cir. 2003), “unilateral supplementation of the record [is] also unfair. . .

because [the opposing party] argue[s] the case on a record different from the

[supplemented] one.”


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      Whereas Warner long-planned its appellate strategy, Plaintiff argued her

appeal based on the district court record per Fed. R. App. 10(a)– only to be

sandbagged by Warner’s cross-appeal brief, based on a very different, unilaterally

expanded “record.” Dkt. Nos. 11, 14, 31, 31-1. Plaintiff is further prejudiced

unless she is afforded an equal opportunity to supplement the appellate record with

rebuttal evidence to counter DC’s misleading arguments based on extra-record

materials. Fed. R. App. P. 10(a) and Circuit Rule 10-2 are designed to avoid

precisely this sort of unfairness and unmanageable free-for-all.

II.   THE “JUDICIAL NOTICE” DOCTRINE IS LIMITED TO
      INDISPUTABLE FACTS AND DOES NOT PERMIT THE
      WHOLESALE INJECTION OF DISPUTED EXTRA-RECORD
      EVIDENCE INTO AN APPEAL
      Pursuant to Fed. R. Evid. 201(b), judicial notice is appropriate only as to

“uncontroverted fact[s]” that are not subject to reasonable dispute. Baker v.

California Dept. of Corr., 2012 WL 2045962 *1 (9th Cir. June 7, 2012). A “high

degree of indisputability is the essential prerequisite.” Fed. R. Evid. 201, Advisory

Comm. N. (2011). Furthermore, “the power to take judicial notice is to be

exercised by courts with caution [and] . . . [e]very reasonable doubt upon the

subject should be resolved promptly in the negative.” McGill v. Michigan S.S. Co.,

144 F. 788, 793 (9th Cir. 1906) (internal quotations and citation omitted).3


3
 See also Doss v. Clearwater Title Co., 551 F.3d 634, 640 (7th Cir. 2008)
(“Judicial notice ‘merits the traditional caution it is given, and courts should
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       “It is rarely appropriate for an appellate court to take judicial notice of facts

that were not before the district court,” Flick v. Liberty Mut. Fire Ins. Co., 205

F.3d 386, 392 n.7 (9th Cir.2000), and even “taking judicial notice of findings of

fact from another case exceeds the limits of Rule 201.” Wyatt v. Terhune, 315 F.3d

1108, 1114 (9th Cir. 2003); see also G.M. v. Dry Creek Joint Elementary Sch.

Dist., 458 F. App’x 654, 654-55 (9th Cir. 2011).

       Tellingly, the cases Warner relies upon are either inapposite or contrary to

their position.4

       A.     Irrelevant and Inadmissible Material Is Particularly Ineligible
              For Judicial Notice

       “[A] court may not take judicial notice of otherwise inadmissible statements

merely because they are part of a court record or file.” M/V American Queen v.

San Diego Marine Construction, 708 F.2d 1483, 1491 (9th Cir.1983); see also In

strictly adhere to the criteria by the Federal Rules of Evidence before taking
judicial notice of pertinent facts.’”) (citation omitted); Maraldo v. Life Ins. Co. of
the Sw., 2012 WL 1094462 *6 (N.D. Cal. Mar. 30, 2012) (“The Ninth Circuit has
indicated that judicial notice should only be taken sparingly, with caution, and after
demonstration of a ‘high degree of indisputability.’”) (citation omitted).

4
 See United States v. Wilson, 631 F.2d 118, 119 (9th Cir. 1980) (“The requested
judicial notice cannot . . . properly be taken.”);Werner v. Werner, 267 F.3d 288,
295 (3rd Cir. 2001) (denying “judicial notice of the truth of the contents of a filing
from a related action”); Sandpiper Vill. Condo Ass’n v. Louisiana-Pacific Corp.,
428 F.3d 831, 837 (9th Cir. 2005) (taking judicial notice of previously-unavailable
portions of the trial transcript in the same case); In re Indian Palms Associates,
Ltd., 61 F.3d 197, 205 (3d Cir. 1995) (judicial notice where “documents are not
being used to determine disputed facts relating to the merits of the case”).

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re Blumer, 95 B.R. 143, 146 (B.A.P. 9th Cir. 1988) (same); Pratt v. California

State Bd. of Pharmacy, 268 F. App’x 600, 603 (9th Cir. 2008) (denying judicial

notice as documents were hearsay); Am. Prairie Const. Co. v. Hoich, 560 F.3d 780,

797 (8th Cir. 2009) (“Caution must also be taken to avoid admitting evidence,

through . . . judicial notice, in contravention of the relevancy, foundation, and

hearsay rules.”).5

      Here, Warner attempts to introduce a host of contested inadmissible

evidence into the record under the guise of “judicial notice.”

      B.    The Documents At Issue Are Not Judicially Noticeable

     July 2003 Letter from Laura Siegel Larson to Michael Siegel (SER 806-814)

      Warner relies on this extra-record letter for its references to what the

Siegels’ former attorney, Kevin Marks, purportedly said regarding his beliefs as to

a “deal” with DC, which the District Court found did not result in a binding

agreement. MJN 7; SER 65 (“One need only review the language of the parties’

correspondence, their conduct in reaction thereto, and the numerous material

differences between the terms relayed in the [counter-proposals], to reach the

conclusion that the parties failed to come to an agreement on all material terms.”).

The letter is inadmissible hearsay. It is also largely irrelevant because contract


5
 See also Matter of Annis, 78 B.R. 962, 965 (Bankr. W.D. Mo. 1987) (rejecting
“proposition that inadmissible hearsay may be bootstrapped in evidence by
employing the practice of ‘taking judicial notice of the files.’”).
                                          7

                                    EXHIBIT 70
                                      1503
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formation is based on objective manifestations of an agreement on all material

terms, not a person’s subjective belief. Meyer v. Benko, 55 Cal. App. 3d 937, 942-

943 (1976) (mutual consent to material terms “is determined by objective rather

than subjective criteria”). Moreover, legal conclusions are inadmissible. Sullivan

v. Dollar Tree Stores, Inc., 623 F.3d 770, 777 (9th Cir. 2010) (noting that “legal

conclusions are not admissible as factual findings”).

      Warner misleadingly describes this hearsay document as a mere “court

filing” when it is actually an extra-record exhibit attached to an extra-record

declaration. This Court has routinely denied requests to take judicial notice of

such documents. See Wham-O, Inc. v. Manley Toys, Ltd., 2009 WL 1353752 *1

(9th Cir. May 15, 2009) (“We do not, and cannot, take judicial notice of. . . a

declaration . . . submitted . . . after the district court ruled.”); Downs v. Baca, 2012

WL 1883326 *1 (9th Cir. May 24, 2012) (denying “request for judicial notice of

non-adjudicative facts in exhibits”).6

     October 24, 2011 Order Granting DC’s Motion for Review (SER 824-825)

      The only relevance Warner offers for this extra-record document is that it

establishes when it received the July 2003 letter (SER 810-814) described above.

MJN 8. As the July 2003 letter is inadmissible hearsay, irrelevant to the issues on

6
 See also Reusser v. Wachovia Bank, N.A., 525 F.3d 855, 858 (9th Cir. 2008)
(declining to take judicial notice of a party’s declaration); Keeler v. Sierra
Conservation Ctr., 2012 WL 1377030 *1 (9th Cir. Apr. 20, 2012) (denying request
for judicial notice of extra-record exhibits).
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appeal, there is no reason to extend judicial notice to this order.

     Excerpts of Privilege Log of Bulson Archive (SER 816):

      Mr. Bulson was the attorney for non-party Michael Siegel (deceased), not

Ms. Larson, whose copyright termination interest is at issue herein. Warner

contends that this extra-record log is somehow relevant to show Mr. Toberoff’s

purported interference in DC’s business relationship with Ms. Larson. MJN 8.

Mr. Toberoff’s alleged interference is not at issue in this case or in the parties’

cross-appeals. Dkt. Nos. 11 at 1-2; 31-1 at 5-6. Warner’s appeal turns on whether

a binding contract was formed between DC and Ms. Larson in the first place. Id.

      DC filed its concocted interference claim in DC Comics v. Pacific Pictures

Corp., et al., C.D. Cal. Case No. 10-CV-03633 ODW (RZx) (“DC Comics”), ,

where it remains subject to adjudication in the first instance by the district court.

Moreover, the Bulson privilege log in no way supports the irrelevant proposition

that Mr. Toberoff interfered with anything. Warner falsely asserts that this extra-

record material refutes Mr. Toberoff’s alleged claims in an uncited motion in the

DC Comics action regarding when “he was in contact with the Siegels.” MJN 7-8.

Warner misleadingly omits that in that motion the “Siegels” are expressly defined

as “Joanne Siegel and [her] daughter Laura Siegel Larson” (DC Comics, Dkt No.

145-1 at 5) and do not include Michael Siegel, who has no relevance even to DC’s

claims in the DC Comics case, and is thus not once mentioned in DC’s complaint


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therein. Id., Dkt No. 49. The irrelevant Bulson log is not appropriate for judicial

notice. Meador v. Pleasant Valley State Prison, 312 F. App'x 954, 956 (9th Cir.

2009) (noting “judicial notice is inappropriate where the facts to be noticed are

irrelevant”); Kazenercom TOO v. Ibar Dev., LLC, 464 F. App'x 588 (9th Cir. 2011)

(“We decline to take judicial notice of these documents because they are irrelevant

to the issues on appeal.”).

     October 25, 2011 Order Denying anti-SLAPP Motion (SER 817-823)

      Warner asserts that an October 2011 order in the DC Comics action

“explains” Larson’s repudiation of an alleged 2001 settlement. MJN 8. The

October 2011 order nowhere finds such a repudiation. This is not surprising as the

district court in DC Comics is the same court that entered the Rule 54(b) Judgment

in this case that no settlement agreement was reached. ER 236. The DC Comics

order, which is currently under appeal (Appeal No. 11-56934), found only that

DC’s tort claims are not subject to California’ anti-SLAPP statute and therefore

expressly did not reach the merits. DC Comics, Dkt. No. 337 at 6.

       Moreover, even had there been such a finding, and there was not, it is well

settled that judicial notice cannot be extended to contested factual findings in

extra-record court filings. Lowe v. McDonald, 221 F.2d 228, 230 (9th Cir. 1955)

(noting “[a]s a general rule, a court in one case will not take judicial notice of its

own records in another and distinct case even between the same parties”.)


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(emphasis added); Wyatt, 315 F.3d at 1114 n.5 (“Factual findings in one case

ordinarily are not admissible for their truth in another case through judicial

notice.”); Lasar v. Ford Motor Co., 399 F.3d 1101, 1117 n.14 (9th Cir. 2005) (“We

decline. . .request to take judicial notice of [order] because they are offering the

factual findings contained in the order for the purpose of proving the truth of the

factual findings contained therein.”); M/V American Queen, 708 F.2d at 1491 (“[A]

court may not take judicial notice of proceedings or records in another cause so as

to supply, without formal introduction of evidence, facts essential to support a

contention in a cause then before it.”).

     September 2, 2011 Joint Stipulation and August 13, 2010 Anti-SLAPP

      Motion (SER 826-28, 877-80).

      Warner asserts that this extra-record material purportedly “shows” that

Larson took a contradictory position in the DC Comics case as to when her

negotiations with DC were officially terminated. MJN 8. The entirety of Warner’s

argument rests on Ms. Larson describing discussions as “moribund as of May 9,

2002” (MJN 9), which Warner insists means the same thing as terminated

(pursuant to the express notification procedures of the parties’ written Tolling

Agreement).7 SER 348-51. Larson refutes this specious argument in her Third



7
 Merriam-Webster defines moribund as “being in the state of dying: approaching
death.” http://www.merriam-webster.com/dictionary/moribund, and judicial notice
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Brief on Cross-Appeal. Docket 43-1 at 36-38. The truth of the contents of court

filings in another case are not the proper subject of judicial notice, Werner, 267

F.3d at 295, and this extra-record material is, in any event, irrelevant to this appeal.

      Kevin Marks Deposition (SER 797-801)

       Warner opted below to only submit certain portions of Marks’ deposition

transcript. Now on appeal, Warner adds new portions without offering any

justification. MJN 7. Instead, Warner mischaracterizes this extra-record testimony

to draw erroneous conclusions from it. The contents and contested meaning of

extra-record testimony is not the proper subject of judicial notice. See Maraldo,

2012 WL 1094462 *6. That other portions of Marks’ testimony were part of the

District Court record is irrelevant under Rule 10 to Warner’s belated attempt to add

testimony that was not. In re Oracle Corp. Sec. Litig., 627 F.3d 376, 386 (9th Cir.

2010) (“The proper place to call attention to any such [deposition] testimony was

in front of the district court [and] . . . the content of a deposition is not a clearly

established ‘fact’ of which this panel can take [judicial] notice”); Eng v. New York

Hosp., 1999 WL 980963 *1 (2d Cir. 1999) (“Because the deposition pages . . .

were not submitted to the district court . . . the motion to supplement the record is

denied, and the cross-motion to strike supplemental materials from the record is

granted.”).

of the definition of words is proper. Comerica Bank v. Lexington Ins. Co., 3 F.3d
939, 944 (6th Cir. 1993) (judicial notice of the dictionary definition of [a] word).
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     Comic Books (SER 714-796)

      Warner erroneously claims that “reproductions of comic books” are

somehow exempt from Fed. R. App. P. 10(a). MJN at 4. Warner has had access to

these comic books for decades and offers no reason why it did not file them with

the District Court.8 Rather, Warner compounds its error by arguing that this non-

record evidence is “relevant to determining the copyrightable elements in the

Promotional Announcements.” MJN 5. Even if this were true, the copyrightable

elements in such promotional materials are irrelevant to the Rule 54(b) judgment

on appeal. See Dkt. No. 43-1 at 68-71. Warner also dubiously asserts that these

comics are not submitted for the “truth contained therein” (MJN 12) which is at

odds with its argument, that focuses entirely on their contents and contested

matters not subject to judicial notice. See MJN 5; Flick, 205 F.3d at 392 n.7 (“It is

rarely appropriate for an appellate court to take judicial notice of facts that were

not before the district court.”); Yagman v. Republic Ins., 987 F.2d 622, 626 n.3 (9th

Cir. 1993) (declining to take judicial notice of periodical). In short, Warner seeks

to supplement the record with evidence that is irrelevant to this appeal, not subject

to judicial notice, and that could readily have been presented below.

     Siegel Memoir (SER 802-805)

      Warner also had every opportunity to present below the portions of Jerry
8
 Warner submitted, and the District Court reviewed, enlarged versions of the
“Promotional Announcements.” SER 2.
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Siegel’s memoir it now seeks to rely upon. Warner argues it is “appropriate for

completeness” (MJN 5), while failing to even provide the complete memoir. SER

xiv n.14. Warner relies on Colbert v. Potter, 471 F.3d 158, 165-66 (D.C. Cir.

2006), which made a “limited exception” as to the mere flip side of a single receipt

submitted below, where there was “no real dispute between the parties … [that

this] would establish beyond any doubt the proper resolution of the pending

issues.” Id. at 166. Here we have the exact opposite; Warner seeks for the first

time to introduce hundreds of new pages, and the parties are in complete

disagreement over what, if anything, these documents establish.

     Cancelled Agreements Between Mr. Toberoff and The Siegels Or Shusters

      In its motion for judicial notice, Warner does not directly mention these

three extra-record agreements it inserted in its Supplemental Excerpts (SER 838-

44, 859-863, 864-868), and instead refers generally to “documents filed” in the DC

Comics case. MJN 10. These long cancelled or expired agreements, two between

Mr. Toberoff and the non-party Shusters, and the other, between Toberoff, the

Siegels, and non-party Ari Emanuel, are of absolutely no relevance to the judgment

on appeal. For this reason, DC never submitted these agreements to the District

Court, and cannot inject them into the record on appeal. Palasota v. Haggar

Clothing Co., 499 F.3d 474, 489 n.12 (5th Cir. 2007) (“We are limited in our

consideration to that information properly before the district court at the time of its


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decision.”). The factual content of purported evidence not properly admitted or

before the District Court, is not the proper subject of judicial notice. See Flick, 205

F.3d at 392 n.7; M/V American Queen, 708 F.2d at 1491.

     May 2003 Letter, Michael Siegel to Laura Siegel Larson (SER 872-876)

      Similarly, nowhere in its opposition/motion does Warner assert any reason

why judicial notice is proper as to the extra-record May 2003 Letter from non-

party Michael Siegel to his half-sister Ms. Larson. This letter is irrelevant to the

issues on appeal, consists almost entirely of contested factual statements and

inadmissible hearsay, and is thus completely inappropriate for judicial notice. See

id.; Pratt, 268 F. App’x at 603. Fed. R. Evid. 801, 802.

     Shuster Termination Notice (SER 845-858)

      Warner seeks to add a statutory notice of termination by the Estate of Joseph

Shuster, a non-party. This is irrelevant to this appeal, and the underlying litigation,

and it is not the proper subject for judicial notice. Meador, 312 F. App’x at 956.

     Declaration of Daniel Petrocelli (SER 829-937)

      Warner offers no reason why the Court should extend judicial notice to

exerpts from this declaration in the DC Comics case, which is rife with contested

and irrelevant factual allegations. Petrocelli’s inadmissible argumentative

declaration and its exhibits prompted Defendants to file 90 pages of evidentiary

objections in DC Comics. The district court in that case did not rule on these

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objections, and the declaration remains subject to objection. Judicial notice of any

portion of this document is wholly improper. Reusser, 525 F.3d at 858.

     Anonymous Inadmissble Letter (SER 182-188)

      Warner also included in its Supplemental Excerpts an anonymous letter (the

so-called “Timeline”) which it improperly relies upon in appealing the District

Court’s March 26, 2008 summary judgment ruling (certified in the Rule 54(b)

judgment on appeal) that rejected Warner’s purported settlement agreement

defense.9 Dkt. No. 31-1 at 18,-19, 28. Notwithstanding that this inadmissible

diatribe is wholly irrelevant to the contract formation issue before this Court, the

document was not before the District Court when it rendered the decision in

question, and Warner is precluded from raising new arguments based upon it for

the first time on appeal. 10 See Smith v. Marsh, 194 F.3d 1045, 1052 (9th Cir.

1999) (“As a general rule, we will not consider arguments that are raised for the

first time on appeal.”). Tellingly, even though Warner admitted reading the

Timeline in 2006 (Appeal No. 11-56934, Dkt. No. 16 at 18), and had full use of it

in 2008 (SER 177), Warner did not raise it with the District Court with respect to

9
  The letter, written by a thief, enclosed to Warner the Siegels’ and Shusters’
privileged documents, stolen from Toberoff & Associates. The thief did not have
or purport to have any first-hand knowledge of the 2001-2002 events he pretended
to describe by mischaracterizing the stolen documents he enclosed. SER 182-184.
10
   A year after the District Court’s summary judgment order, Warner merely
attached the “Timeline” among multiple exhibits to a declaration in a discovery
motion filed on March 3, 2009. SER Index at vi.
                                          16

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its summary judgment rulings on March 26, 2008 and August 12, 2009,

respectively, under appeal. ER 213, 134.

      After the District Court upheld the Siegels’ statutory terminations here,

Warner filed the retaliatory DC Comics action on May 14, 2010, and gratuitously

attached this salacious anonymous letter to its widely publicized complaint. Dkt.

No. 1. Ever since, Warner has transparently attempted to use this anonymous

screed to elicit prurient interest and bias, and to derail the merits of the Siegel and

Shusters’ legal claims by falsely attacking their counsel, Mr. Toberoff.

Adjudication of this controversial document, including its provenance, is still

pending in DC Comics. See Nunes v. Ashcroft, 375 F.3d 805, 808 (9th Cir. 2004)

(cautioning against transforming “the court of appeals into a court of first

instance”) (citation omitted); United States v. Ziegler, 497 F.3d 890, 900 (9th Cir.

2007) (Kozinski, J., dissenting) (“We may not find facts on appeal; we may only

review findings made by the courts below us.”). This questionable document,

written by a thief, is further inappropriate as record evidence because it is

irrelevant, inherently unreliable, riddled with hearsay11 (if not, double or triple

hearsay) and, for these reasons, inadmissible. This anonymous, inadmissible and


11
  See Farkarlun v. Hanning, 2012 WL 684027 *10 (D. Minn. Mar. 2, 2012)
(finding anonymous representations are inadmissible hearsay); United States v.
Mitchell, 2007 WL 1521212 *1 n.3 (E.D. Pa. May 21, 2007) (anonymous note is
inadmissible hearsay); Bellow v. Charbonnet, 100 F. Supp. 2d 398, 402 (E.D. La.
2000) (anonymous letter inadmissible as hearsay).
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extremely prejudicial document has no place in this appeal. See M/V American

Queen 708 F.2d at 1491; In re Luxor Cab Mfg. Corp. of Am., 25 F.2d 646, 646 (2d

Cir. 1928) (irrelevant material should be purged from the record).

III.   WARNER IS PRECLUDED BY FED. R. CIV. P. 60(B)(2) AND
       (C) FROM ATTEMPTING TO REOPEN THE JUDGMENT
       BELOW WITH SUPPOSED NEW EVIDENCE
       Under Fed. R .Civ. P. 60(b)(2) and (c), a motion to alter a judgment based

on purported newly discovered evidence cannot be made “more than one year after

the judgment, order, or proceeding was entered or taken.” The “pendency of an

appeal does not toll the one year period.” Nevitt v. United States, 866 F.2d 1187,

1188 (9th Cir. 1989). Warner failed to file a Rule 60 motion within one year of the

entry of the March 15, 2011 judgment under appeal (i.e., by March 15, 2012), even

though it could readily have done so. Instead, Warner has improperly larded its

Supplemental Excerpts with dozens of irrelevant extra-record documents and asks

to reopen the judgment on this basis. See Dkt. No. 31-1 at 37.

       Just as Rule 60(b) “may not be used as an end run to effect an appeal outside

the specified time limits,” neither should an appeal be used to bypass Rule 60(b)’s

time limits. Pryor v. U.S. Postal Service, 769 F.2d 281, 288 (5th Cir. 1985);

Piedra v. True, 52 F. App’x 439, 441 (10th Cir. 2002) (noting “[new] evidence is

appropriately filed as a F.R.C.P. 60 motion in the district court where judgment

was entered, not as a matter of first instance in the Court of Appeals”). The time


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for Warner to ask to alter the judgment herein based upon purported newly

discovered evidence has passed, and jurisdiction to consider that issue has

therefore been extinguished. See Nevitt, 866 F.2d at 1188 (“Since the Rule

60(b)(2) motion was not filed within one year of entry of judgment, the district

court lacked jurisdiction to consider it.”).

IV.   THE APPROPRIATE REMEDY IS TO STRIKE THE EXTRA-
      RECORD MATERIAL AND THOSE PARTS OF WARNER’S BRIEF
      THAT RELIES ON IT, AND TO SANCTION WARNER

      Warner is gaming the system. It has placed hundreds of pages of extra-

record material before the Court, and now submits over 3,600 words of extra-

argument briefing, styled as an “Appendix,” forcing Plaintiff to expend time and

space addressing this knowingly improper material.12 Striking not only the extra-

record material but those portions of Warner’s brief that rely on it is a common and

appropriate remedy. See Barcamerica Int’l USA Trust., 289 F.3d at 595 (9th Cir.

2002) (striking documents not before district court and those portions of opening

brief which relied on them); United States v. Maddox, 614 F.3d 1046, 1047 (9th

Cir. 2010) (striking portion of brief referring to extra-record evidence).

12
   In circumvention of the page limits for Warner’s opposition and merits briefing,
it attaches a fourteen page “Appendix” under the guise of showing the portions of
its briefs that cites both record and non-record evidence. Yet, Warner readily
could have accomplished with simple citations instead of its Appendix, loaded
with argument. Plaintiff is compelled to lodge a response-appendix to address the
mischaracterizations in Warner’s improper filing, and respectfully requests that if
Warner’s appendix is considered, so should Plaintiff’s response-appendix.

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      Warner offers no reason why this Court should not strike the portions of its

brief that rely solely on extra-record evidence.13 Instead it argues that it would be

“overbroad” to strike other portions that purportedly rely on both record and extra-

record evidence. MJN 13. However, for many such portions the only purported

“record” evidence is the anonymous and completely inadmissible “Timeline,”

which, as shown above, was also not considered by the District Court in rendering

the decision Warner appeals. E.g., MJN 21, 24-25, 27. As this Court noted in

Lowry, the “penalty for including forbidden material in the excerpts” should

encourage parties to “think twice before violating the rule.” 329 F.3d at 1026.

Here, Warner knowingly violated the rules en masse. Lowry’s goal is not achieved

by allowing Warner to immunize improper portions of its brief by speckling it with

other material, however tenuous, irrelevant or inadmissible.

      Finally, Warner should compensate Ms. Larson for the cost of this motion to

strike Warner’s improper extra-record material and arguments.

                                     CONCLUSION

      For all of the above reasons, Appellant requests that the Court grant her

Motion to Strike Appellees’ Supplemental Excerpts of Records and Portions of

Principal and Response Brief, and deny Warner’s Motion for Judicial Notice.

13
  These portions appear at pages 12 (“DC has filed. . .”), 17 (“Almost all the…”),
18 (“Thereafter. . .”), 37 (“In Shuster…” and “The letter confirms. . .”), 39 (“In
Shuster. . .”), 63 (“Siegel confirmed . . .”) and 78 (“Siegel himself. . .”).

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Dated: June 20, 2012          TOBEROFF & ASSOCIATES, P.C.

                              By:       /s/ Marc Toberoff
                                            Marc Toberoff
                                    Attorneys for Plaintiff-Appellant,
                                    Laura Siegel Larson, individually and
                                    as personal representative of The Estate
                                    of Joanne Siegel




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   Warner               Larson Response                     Record Evidence
  Argument
Larson            Notwithstanding that this          May 9, 2002 Letter from
repudiated        extra-record argument is false     Joanne Siegel to President of
                  and misleading, it is irrelevant   AOL Time Warner (SER
a purported       to the “work for hire” and         412-414):
agreement with    contract formation issues
DC, fired Marks   before the Court on this
and began to      appeal.
work with Marc                                       “Negotiations dragged on for
Toberoff and Ari                                     four difficult years. We made
Emanuel                                              painful concessions assured if
(Appendix at 16- The record is clear that            we did we would arrive at an
17, 22-27)       Warner Bros./DC (“Warner”)          agreement. . .
                 botched their own prospects
                 for an agreement by grinding
                 the elderly Joanne Siegel and       Your company’s
                 her daughter Laura Siegel           unconscionable contract dated
                 Larson (the “Siegels”) in four      February 4, 2002 contained
                 long years of negotiations          new, outrageous demands that
                 regarding their 1997 statutory      were not in the [earlier]
                 notices of termination, well        proposal. The document is a
                 before Mr. Emanuel made a           heartless attempt to rewrite the
                 legitimate offer to the Siegels     history of Superman’s creation
                 in August 2002.                     and to strip Laura and me of
                                                     the dignity and respect that we
                                                     deserve. . .
                  In May, 2002 Joanne Siegel
                  had sent a letter to Time-
                  Warner bitterly complaining        After four years we have no
                  about Warner’s improper            deal and this contract makes an
                  negotiating tactics and            agreement impossible. ”
                  February 1, 2002 draft
                  agreement, filled with
                  new/changed terms and
                                                     See Order Granting Partial
                  Studio accounting tricks, and
                                                     Summary Judgment (ER
                  informing it that “after four
                                                     202)
                  years we have no deal and this
                  contract makes an agreement

                                        22

                                  EXHIBIT 70
                                    1518
CaseCase:
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                 impossible.”                     “One need only review the
                                                  language of the parties’
                                                  correspondence, their conduct
                 On behalf of the Siegels, Mr.    in reaction thereto, and the
                 Toberoff resumed                 numerous material differences
                 negotiations with Warner in      between the terms relayed in
                 2003.                            the October 19 and 26, 2001
                                                  letters and the February 1, 2002
                                                  draft to reach the conclusion
                                                  that the parties failed to come
                 Unable to succeed on the
                                                  to an agreement on all material
                 merits of the legal issues on
                                                  terms.”
                 appeal, Warner repeatedly
                 quotes from a ranting
                 anonymous letter, the so-
                 called “Timeline,” written by
                 a thief who stole the Siegels’
                 privileged legal files, that
                 Warner claims it received in
                 2006. The salacious and
                 prejudicial “Timeline” is
                 inadmissible hearsay (and
                 often double or triple
                 hearsay). F.R.E. 801, 802. It
                 also consists of inadmissible
                 arguments, lay opinion, and
                 speculation. F.R.E. 602,
                 701,702. It was written years
                 after the relevant time period
                 by a thief who had no first-
                 hand knowledge of the
                 relevant events. See
                 Valdovinos v. McGrath, 598
                 F.3d 568, 579 (9th Cir. 2010)
                 (vacated on other grounds in
                 Horel v. Valdovinos, 131 S.
                 Ct. 1042 (U.S. 2011))
                 (anonymous letter
                 inadmissible at trial).


                                      23

                                 EXHIBIT 70
                                   1519
CaseCase:
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                 See Larson’s Third Brief on
                 Cross-Appeal (“Br.”) at 5-8,
                 13-36.
“Toberoff        This false and misleading          Deposition of Kevin Marks
insisted in      extra-record argument is           (RER 31):
August 2002      irrelevant to the “work for
that Marks       hire” and contract formation
communicate to   issues on appeal. As it was             Q: Okay. Can you tell me
Larson that he   not raised by Warner before        to the best of your recollection
and Emanuel      the District Court in this case,   what was said by each of you
had an unnamed   Warner is precluded from           and Mr. Toberoff in that
‘investor’       making such arguments for          conversation?
willing to       the first time on appeal. See
purchase her     Smith v.Marsh, 194 F.3d                 A: “. . .I believe I said. . .
rights for $15   1045, 1052 (9th Cir. 1999).        [i]f you have an offer, present it
million…”                                           to me, and I’ll present it to the
(Appendix at                                        client.”

23-24)           Warner misleadingly asserts
                 that Toberoff/Emanuel had an
Toberoff and     “unnamed ‘investor’” and           Deposition of Kevin Marks
Emanuel          “promised [a] $15 million          (SER 123):
“promised [a]    investor” citing: (a) testimony
                                                        Q: Anything else you can
$15 million      by Larson’s former attorney,
                                                    recall of that conversation?
investor”        Kevin Marks that says
(Appendix at     nothing to that effect, and (b)
25).             the “Timeline.” Warner
                 continues its tactic of                 A: I think I said, “Thank
                 misrepresenting Marks’             you, and I will communicate
                 testimony, relying solely on       this to the client” or “take this
                 clearly inadmissible double        back to my client”
                 hearsay, argument and
                 speculation in this anonymous
                 rambling document. F.R.E.          As this extra-record argument
                 801, 802, 602, 701,702.            was neither raised in nor
                                                    irrelevant to this case, and is
                                                    the subject of Warner’s
                 As Warner well knows and           retaliatory claims in

                                        24

                                  EXHIBIT 70
                                    1520
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                     has elsewhere admitted the         the DC Comics case, it is
                     “investor” was Mr. Emanuel         impossible for Plaintiff to fully
                     (current CEO of the William        address it, without reference to
                     Morris Endeavor Agency)            extra-record evidence.
                     who made the offer to Marks.

                                                        Answering Brief of Appellee
                     Warner also misrepresents          DC Comics in Appeal No. 11-
                     that Toberoff “insisted” in        56934 (Dkt No. 16 at 13)
                     August 2002 that Marks
                     convey the offer to Larson.        “The ‘investor’ was. . . Ari
                     (Appendix at 23-24). Marks’        Emanuel, a Hollywood talent
                     testimony, the only record         agent.”
                     evidence Warner relies upon,
                     completely contradicts this.
                     Marks testified that he invited
                     an offer and volunteered to
                     take Emanuel’s offer to his
                     client.


                     Warner’s false tactical claims
                     about their long-time
                     opposing counsel, Mr.
                     Toberoff, are fully addressed
                     in the briefing in the DC
                     Comics v. Pacific Pictures
                     Corporation et al. (“DC
                     Comics”) anti-SLAPP appeal.
                     (Appeal No. 11-56934).
“Toberoff’s          Mr. Toberoff’s legal
entertainment        contingency fee is irrelevant
company also         to the issues on appeal and
secured a 50%        Warner can have no other
ownership            justification for bringing it in
interest in the      other than to transparently
Shusters’            elicit prejudice. Warner,
putative rights –    again, solely relies on the
later trading that   inadmissible anonymous
                                            25

                                      EXHIBIT 70
                                        1521
CaseCase:
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50% ownership      “Timeline.” F.R.E. 801, 802,
for 50%            602,701,702.
contingency
fee.” (Appendix
at 27)

The Cover of       The record evidence Warner        See Order Granting Partial
Action Comics      purports to rely on is: 1) the    Summary Judgment (ER
#1 (“Cover”)       Cover and 2) an ambiguous         188)
was created by     letter by Vince Sullivan
DC’s Artists       containing “limited”              “Finally, defendants argue that
(Appendix at 18,   information which the District    the cover for Action Comics,
19, 28)            Court viewed as just as easily    Vol. 1, was drawn by Detective
                   supporting the fact that          Comics’ in-house artists.
                   Shuster created the Cover.        However the scant evidentiary
                   The extra-record evidence         basis provided in support of
                   Warner relies upon – a portion    this argument is ambiguous. . .
                   of Jerry Siegel’s memoir –
                   actually confirms the District
                   Court’s reading of the            Of course, given the very
                   Sullivan letter, i.e., that one   limited nature of the
                   Shuster’s pre-existing            information contained in the
                   promotional art panels based      passage [of the Vice Sullivan
                   on an interior panel of Siegel    letter] it could also be argued
                   and Shuster’s was used by         that, in his earlier letter, Siegel
                   DC for the Cover.                 enclosed an illustration by
                                                     Shuster as a suggestion for the
                                                     comic book’s cover and
                   See Br. at 49-51.                 Detective Comics decided to
                                                     “use” this suggestion. . .


                                                     Shuster had in the past drawn
                                                     exemplars for the cover
                                                     illustration for his comics well
                                                     before they were ever accepted
                                                     for publication.”




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                                   EXHIBIT 70
                                     1522
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                                                      Siegel Memoir( SER 804):
                                                      Extra-record evidence relied
                                                      on by DC


                                                      “A couple large promotional
                                                      panel-drawings had several
                                                      years earlier been prepared by
                                                      Joe and me to illustrate
                                                      Superman in action; these were
                                                      shown by Joe and me to
                                                      syndicate editors to
                                                      demonstrate the impact and
                                                      appeal of the feature. At my
                                                      suggestion, Sullivan selected
                                                      one of them and used it for the
                                                      now very famous cover for
                                                      [Action Comics, No. 1].”


“DC artists also     This is false as to the Cover,   See Order Granting Partial
created              and otherwise, entirely          Summary Judgment (ER 188,
‘Promotional         irrelevant to the Rule 54        181)
Announcements’       Judgment on appeal herein.
– a black-and-       See Br. at 68-71.               “The Court begins by
white version of                                     observing what is not depicted
its artists’ cover                                   in the announcements.
art- to promote                                      Obviously, nothing concerning
                     As described directly above,    the Superman storyline (that is,
Action Comics        DC’s artists did not create the the literary elements contained
#1. (Appendix at     Cover, nor any other aspect of in Action Comics, Vol. 1) is on
19)                  Siegel and Shuster’s            display in the ads; thus,
                     Superman story published in     Superman’s name, his alter
                     Action Comics #1, which the ego, his compatriots, his
                     District Court ruled had been origins, his mission to serve as
                     successfully recaptured by the a champion of the oppressed, or
                     Siegels’ statutory notices of   his heroic abilities in general,
                     termination. (ER 133-4).        do not remain within
                                                     defendants sole possession to

                                           27

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                                       1523
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                                                    exploit.
                  The “promotional
                  announcements” contain
                  nothing more than a reduced
                  black-and-white image of
                  Siegel and Shuster’s Cover
                  and are entirely derivative
                  thereof, with no new
                  copyrightable elements.


                  The only record evidence
                  cited by DC’s is the
                  inadmissible lay opinion of
                  Paul Levitz (DC’s CEO) who
                  has no first-hand knowledge
                  of what happened in 1938.
                  F.R.E. 701, 702.


                  See Br. 71-74.
Mr. Toberoff      The heirs of Joseph Shuster,      As Warner’s extra-record
induced the       Superman’s co-creator, are        arguments or claims regarding
Shusters “to      not parties to this case; their   the Shusters were not a part of
repudiate their   purported “contractual            this case and are irrelevant to
existing          arrangements” are entirely        this appeal, it is impossible for
contractual       irrelevant to this appeal, and    Plaintiff to fully address them
arrangements      Warner’s irrelevant argument      without reference to extra-
with DC.”         was not before the District       record evidence.
(Appendix at      Court when it entered the
                  rulings (certified in the Rule
21-22).           54(b) judgment) on appeal.        1992 Agreement Between
                  See In re Luxor Cab Mfg.          Jean Peavy, Frank Shuster
                  Corp. of Am., 25 F.2d 646,        and DC Comics (Appeal No.
                  646 (2d Cir. 1928) (irrelevant    11-56934, Dkt. No. 10 at ER
                  material should be purged         671)
                  from the record).

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                                                   2001 PPC Agreement
                                                   (Appeal No. 11-56934, Dkt.
                 Furthermore, the only record      No. 10 at ER 725-26)
                 “evidence” that DC relies
                 upon is not evidence at all: it   “PPC and Claimants hereby
                 is the anonymous and clearly      form a joint venture. . .[for] the
                 inadmissible “Timeline”           establishment of Joe Shuster’s
                 comprised of inadmissible         estate and the estate’s
                 hearsay, argument, lay            termination pursuant to Section
                 opinion and speculation.          304(c) of the U.S. Copyright
                 F.R.E. 801, 802, 602,701,702.     Law. . .”
                                                 “Marc Toberoff, Esq. to render
                                                 legal services in connection
                 Mr. Toberoff’s so-called        with the Rights and Venture,
                 “inducement” was nothing        including in connection with all
                 more, than his agreement to     legal disputes, litigation,
                 help probate the Shuster estate arbitration and/or mediation
                 and to represent the estate in  regarding the Rights; to
                 exercising their inalienable    implement, enforce and
                 termination rights under the    prosecute the Rights; and to
                 Copyright Act, 17 U.S.C. §      handle the negotiation of any
                 304(d).                         contracts regarding exploitation
                                                 of the Rights.”

                 The “contractual relationship”    “To cover the unlikely event
                 that DC claims Mr. Toberoff       that Marc Toberoff dies or is
                 interfered with was a one-        disabled; PPC will. . . (a)
                 page 1992 agreement between       arrange for a suitable
                 DC and Joe Shuster’s siblings     replacement attorney
                 [Frank Shuster (died in 1996)     experienced in copyright
                 and Jean Peavy] (“1992            litigation and willing to enforce
                 Agreement”) who as siblings       the Rights on solely a
                 had no termination rights         contingent fee basis.”
                 under the Copyright Act, 17       2003 PPC Agreement
                 U.S.C. § 304(c)(2). This 1992     (Appeal No. 11-56934, Dkt.
                 Agreement, which nowhere          No. 10 at ER 730-33))
                 even mentions Superman
                 merely gave the siblings a        “. . . Marc Toberoff
                 small pension, and included a     (“Toberoff”) to furnish directly
                 quitclaim of any rights or        to Client all legal services
                                       29

                                 EXHIBIT 70
                                   1525
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                 claims these siblings might        required by Client in
                 have.                              connection with the Rights,
                                                    including in connection with all
                                                    legal disputes, litigation,
                 Moreover, it is well-settled       arbitration and/or meditation
                 that the statutory termination     regarding the Rights.”
                 right cannot be waived nor re-     Shuster Estate’s Notice of
                 assigned to the original           Termination (SER 846-858)
                 grantee or its successor until
                 after it is exercised by service   Signed by “Marc Toberoff,
                 of a notice of termination. 17     Esq., counsel for the Estate of
                 U.S.C. §§ 304(c)(5),               Joseph Shuster.”
                 (c)(6)(D). The Shuster
                 estate’s notice of termination
                 could not be served and was
                 not served until 2003. 17
                 U.S.C. § 304(d).


                 Consequently, Mr. Toberoff’s
                 representation or assistance of
                 the Shuster estate in the
                 exercise of its statutory
                 termination right and the
                 estate’s proper service of a
                 copyright notice of
                 termination in 2003, had
                 absolutely no effect on the
                 1992 Agreement, and did not
                 constitute a repudiation by
                 Ms. Peavy of such agreement.


                 After the Siegels, represented
                 by Mr. Toberoff, succeeded
                 here in upholding their
                 statutory termination in four
                 years of hard-fought
                 litigation, Warner, on May 14,

                                       30

                                  EXHIBIT 70
                                    1526
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                  2010, filed concocted
                  retaliatory claims of tortious
                  interference, regarding the
                  Siegels’ and Shuster estate’s
                  notices of termination, in DC
                  Comics v. Pacific Pictures
                  Corporation et al. (Case no.
                  2:10-cv-03633-ODW-RZ).
                  Defendants’ anti-SLAPP
                  motion in that case is the
                  subject of a pending appeal.
                  (Appeal No. 11-56934).


“Siegel and       The District Court properly      See Order Granting Partial
Shusters’         rejected Warner’s claim that     Summary Judgment (ER
additions were    random aspects of Action         183)
also created at   Comics #1 to convert it from
DC’s expense”     a newspaper format to a
                  magazine format were             “The thrust of defendants’
                  “works-for-hire,” ruling that    argument was made and
                  this argument was made and       rejected by the Second Circuit
                  rejected by the Second Circuit   in the 1970s copyright renewal
                  in Siegel v. Nat’l Periodical    litigation, and is thus precluded
                  Publications, 508 F.2d 909,      as a matter of collateral
                  914 (2d Cir. 1974). ER 183.      estoppel here. In that litigation,
                                                   defendants’ predecessors-in-
                                                   interest presented much of the
                  See Br. at 39-53                 same evidence now submitted
                                                   in this case to argue that this
                                                   additional material transformed
                                                   the entirety of Siegel and
                                                   Shuster’s pre-existing
                                                   Superman material published in
                                                   Action Comics, Vol. 1, into a
                                                   work made for hire. The
                                                   Second Circuit rejected this
                                                   argument, elaborating: ‘In the
                                                   case before us, Superman and

                                        31

                                  EXHIBIT 70
                                    1527
CaseCase:
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                                               his miraculous powers were
                                               completely developed long
                                               before the employment
                                               relationship was instituted.
                                               The record indicates that the
                                               revisions directed by the
                                               defendants were simply to
                                               accommodate Superman to a
                                               magazine format. We do not
                                               consider this sufficient to create
                                               the presumption that the [comic
                                               book] strip was a work for
                                               hire.’”




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                                EXHIBIT 70
                                  1528
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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rules of Appellate Procedure 27(d) and 32(a), I certify

that the Appellant Laura Siegel Larson’s brief is proportionately spaced, has a

typeface of 14 points or more, and does not exceed 20 pages.

Dated: June 20, 2012                 TOBEROFF & ASSOCIATES, P.C.


                                           /s/ Marc Toberoff
                                              Marc Toberoff
                                       Attorneys for Plaintiff-Appellant,
                                       Laura Siegel Larson, individually and
                                       as personal representative of The Estate
                                       of Joanne Siegel




                                         33

                                   EXHIBIT 70
                                     1529
CaseCase:
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                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was served electronically

by the Court’s ECF system and by first class mail on those parties not registered

for ECF pursuant to the rules of this court. I also caused to be served a true and

correct copy of the foregoing by personal service on the following interested

parties in this action:

       Daniel Petrocelli, Esq.
       O’MELVENY & MYERS LLP
       1900 Avenue of the Stars, 7th Floor
       Los Angeles, CA 90067


Dated: June 20, 2012                   TOBEROFF & ASSOCIATES, P.C.


                                            /s/ Marc Toberoff
                                               Marc Toberoff
                                        Attorneys for Plaintiff-Appellant,
                                        Laura Siegel Larson, individually and
                                        as personal representative of The Estate
                                        of Joanne Siegel




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                                    EXHIBIT 70
                                      1530
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               EXHIBIT 71
CaseCase:
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                       Appeal Nos. 11-55863, 11-56034

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


                           LAURA SIEGEL LARSON,
       Plaintiff, Counterclaim-Defendant, Appellant, and Cross-Appellee,

                                      v.

        WARNER BROS. ENTERTAINMENT INC. AND DC COMICS,
        Defendants, Counterclaimants, Appellees, and Cross-Appellants.


             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                 THE HONORABLE OTIS D. WRIGHT II, JUDGE
                     CASE NO. CV-04-8400 ODW (RZX)


       WARNER BROS. ENTERTAINMENT INC. AND DC COMICS’
       REPLY IN SUPPORT OF MOTION FOR JUDICIAL NOTICE


      JONATHAN D. HACKER                      DANIEL M. PETROCELLI
      O’MELVENY & MYERS LLP                   MATTHEW T. KLINE
      1625 Eye Street, N.W.                   CASSANDRA L. SETO
      Washington, D.C. 20006                  O’MELVENY & MYERS LLP
      Telephone: (202) 383-5300               1999 Avenue of the Stars, 7th Floor
                                              Los Angeles, California 90067
                                              Telephone: (310) 553-6700
                                              Facsimile: (310) 246-6779



          Attorneys for Warner Bros. Entertainment Inc. and DC Comics




                                  EXHIBIT 71
                                    1531
CaseCase:
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                                INTRODUCTION

      A simple, uncontroversial rule governs DC’s motion for judicial notice: this

Court may take judicial notice of relevant, authenticated evidence whose accuracy

cannot reasonably be questioned. Nothing Larson says in 32 pages of briefing

overcomes that rule.

      1. Larson contends that DC is “precluded” by Rule 60(b)(2) from

“attempting to reopen the judgment below.” Resp. 18-19. But DC does not seek

to reopen the judgment or record below. Reopening a district court judgment

under Federal Rule of Civil Procedure 60(b) is an entirely different matter from

invoking the court’s inherent power to take judicial notice under Federal Rule of

Evidence 201, and an appellate court can take judicial notice even when the court

below did not. E.g., U.S. ex rel. Robinson Rancheria Citizens Council v. Borneo,

Inc., 971 F.2d 244, 248 (9th Cir. 1992); Bryant v. Carleson, 444 F.2d 353, 357 (9th

Cir. 1971); Colbert v. Potter, 471 F.3d 158, 165-66 (D.C. Cir. 2006) (taking

judicial notice of back side of receipt where only front was introduced below);

McKay v. U.S., 516 F.3d 848, 849 n.2 (10th Cir. 2008) (taking judicial notice of

deed available but not submitted at time of prior proceeding “to inform [its]

general understanding of the case). An appellate court need not “reopen” a trial

court record to take notice of documents already inherently within its purview

under Federal Rule of Evidence 201.

                                         1

                                   EXHIBIT 71
                                     1532
CaseCase:
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      Further, Rule 60(b) is inapplicable on its own terms. That rule provides for

relief from a final judgment, but as DC has explained at length in prior briefing, the

judgment below has never closed, but rather has several open issues rendering this

appeal premature. Dkt. 5-1, 8-1.

      Rule 60(b) is simply irrelevant to this motion for judicial notice.

      2. Larson’s accusation that DC “sandbagged” by failing to request judicial

notice until after she filed her opening brief (Resp. 5) is also baseless. There is no

requirement that a party request judicial notice of every document it could

conceivably want to cite before it has even seen what the other side intends to

argue; it was not clear which documents would be relevant to DC’s opposition

brief until Larson filed her opening brief. In any event, Larson had access to the

materials at all times, as they were either authored or produced by her, or filed in

the related Pacific Pictures case, Case No. 10-3633, C.D. Cal.; Appeal No. 11-

71844. And she had 17,500 words in her Reply Brief to address any lingering

issues.

      3. The rest of Larson’s arguments were made initially in her motion to

Strike; DC has already addressed these, and so will not belabor those points here.

As explained in DC’s request for judicial notice, there is ample basis for this Court

to take judicial notice of the documents at issue. These reasons are summarized in

condensed form in the chart below for clarity.

                                           2

                                    EXHIBIT 71
                                      1533
CaseCase:
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 SER          Document Title                   Basis for Judicial Notice

 714-   Reproduction of Action         Comic books are self-authenticating
 727    Comics #1                      documents, FED. R. EVID. 902(6), and it is
                                       appropriate for this Court to take judicial
                                       notice where the authenticity of evidence
                                       is not disputed. See Mot. at 4-5.

 728    Reproduction of Detective      This cover is a portion of a self-
        Comics #15                     authenticating document, FED. R. EVID.
                                       902(6), and it is appropriate for this Court
                                       to take judicial notice where the
                                       authenticity of evidence is not disputed.
                                       See Mot. at 4-5.

 797-   Excerpt from the transcript    Portions of the deposition transcript are
 01     of the October 7, 2006,        already in the record. Both parties
        deposition of Kevin Marks      participated in the deposition and relied
                                       on other parts of the transcript, and the
                                       accuracy or authenticity of the transcript
                                       is not in dispute. See Mot. at 9-10.

 802-   Excerpt from Jerome            Portions of the memoir are already in the
 05     Siegel’s unpublished           district court record and have been relied
        memoir, Creation of a          on extensively by Larson in this appeal.
        Superhero                      The excerpt also constitutes a judicially
                                       noticeable direct admission by Larson’s
                                       predecessor-in-interest, Bucci v. Essex Ins.
                                       Co., 393 F.3d 285, 296 n.5 (1st Cir. 2005),
                                       and its authenticity is not in dispute. See
                                       Mot. at 5-6.

 806-   Declaration Of Cassandra       These documents are judicially noticeable
 16     Seto In Support Of DC          as court filings. Their authenticity is not
        Comics’ Motion To Compel       at issue, as (1) there is no dispute that
        Production Of Documents        Ms. Seto had the required personal
        and Exhibits C and F           knowledge to prepare her declaration, and
        thereto                        her signature attests to its accuracy; (2)
           Exhibit C: Letter from      the July 2003 letter was written by Larson
           Laura Siegel Larson to      herself (with help from Toberoff); and

                                        3

                                    EXHIBIT 71
                                      1534
CaseCase:
     2:10-cv-03633-ODW-RZ   Document
          11-55863 07/02/2012         500-12 DktEntry:
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                                                       56-1 Page:      of 347 (5 of 11)
                                                                    of 10
                              Page ID #:33129



           Michael Siegel, dated      (3) the privilege log was prepared by
           July 11, 2003              Toberoff and produced by Larson. See
           Exhibit F: Excerpt from    Mot. at 6-8.
           the Privilege Log of       Contrary to Larson’s assertion, Resp. at 7,
           Bulson Archive             the July 2003 letter is not hearsay, as it
                                      was written by Larson herself (with edits
                                      from Toberoff), and is thus admissible as
                                      an admission by a party-opponent. FED.
                                      R. EVID. 801(d)(2).

 817-   Order Denying Defendants’     This document is judicially noticeable as a
 23     Motion To Strike Pursuant     court filing from the related Pacific
        To Anti-SLAPP Statute         Pictures case. See Mot. at 6, 8.

 824-   Order Granting DC Comics’ This document is judicially noticeable as a
 25     Notice Of Motion And      court filing from the related Pacific
        Motion For Review Of      Pictures case. See Mot. at 6, 8.
        Magistrate’s Order On
        Plaintiff’s Motion To
        Compel Or, In The
        Alternative, For
        Reconsideration Of The
        Court’s June 20 And April
        11, 2011, Orders Pursuant
        To FED. R. CIV. P. 72(a)
        And L.R. 72-2.1

 826-   Excerpt of the Joint          This document is a judicially noticeable as
 28     Stipulation Regarding DC      a court filing, and is also a direct
        Comics’ Motion To Compel      admission by Larson in the related Pacific
        The Production Of             Pictures case that contradicts positions
        Documents Or, In The          she has taken here. See Mot. at 8-9.
        Alternative, For
        Reconsideration Of The
        Court’s June 20 And April
        11, 2011 Orders

 829-   Declaration Of Daniel M.    These documents, submitted to both the
 68     Petrocelli In Support Of DC district court in Pacific Pictures and this
        Comics’ Updated, Initial    Court in a writ proceeding arising from

                                        4

                                   EXHIBIT 71
                                     1535
CaseCase:
     2:10-cv-03633-ODW-RZ   Document
          11-55863 07/02/2012         500-12 DktEntry:
                               ID: 8234651    Filed 10/10/12 Page 6311
                                                       56-1 Page:      of 347 (6 of 11)
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                              Page ID #:33130



        Opposition To Defendants’      that case, are judicially noticeable as court
        Motion To Strike Under         filings. See Mot. at 10-11.
        California’s Anti-SLAPP
        Statute and Exhibits 26, 38,
        40, and 56 thereto             The district court gave no credence to the
                                       evidentiary objections to Mr. Petrocelli’s
           Exhibit 26: Agreement       declaration argued by Larson and her co-
           signed by Joanne Siegel,    defendants in Pacific Pictures.
           Laura Siegel Larson, and
           Marc Toberoff, dated
           October 3, 2004           Exhibit 38 is independently noticeable as
           Exhibit 38: Notice of     a self-authenticating public record. See
           Termination of Transfer   Lee v. City of Los Angeles, 250 F.3d 668,
           Covering Extended         689 (9th Cir. 2001) (“a court may take
           Copyright Renewal Term judicial notice of ‘matters of public
           of “Superman,” dated      record’”); In re Chippendales USA, Inc.,
           November 10, 2003         622 F.3d 1346, 1356 n.14 (Fed. Cir. 2010)
                                     (registration documents by Patent and
           Exhibit 40: Agreement     Trademark Office are judicially
           signed by Mark Warren     noticeable).
           Peary on behalf of the
           Estate of Joseph Shuster,
           Jean Peavy, and Marc
           Toberoff, dated
           November 23, 2001
           Exhibit 56: Agreement
           signed by Joanne Siegel,
           Laura Siegel Larson, and
           Marc Toberoff and Ariel
           Emanuel on behalf of IP
           Worldwide, dated
           October 3, 2002

 869-   Defendants’ Opposition To      This document is judicially noticeable as a
 71     DC Comics’ Motion For          court filing from the related Pacific
        Reconsideration Of April       Pictures case. See Mot. at 6, 8.
        11, 2011 Order

 872-   Declaration Of Cassandra       These documents, submitted to both the
 76     Seto In Support Of DC          district court in Pacific Pictures and this
        Comics’ Motion For             Court in a writ proceeding arising from
                                        5

                                   EXHIBIT 71
                                     1536
CaseCase:
     2:10-cv-03633-ODW-RZ   Document
          11-55863 07/02/2012         500-12 DktEntry:
                               ID: 8234651    Filed 10/10/12 Page 7312
                                                       56-1 Page:      of 347 (7 of 11)
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                              Page ID #:33131



        Review Of Magistrate’s        that case, are judicially noticeable as court
        Order On Plaintiff’s Motion   filings. See Mot. at 10-11.
        To Compel Pursuant To       Their authenticity is not at issue, as: (1)
        FED. R. CIV. P. 72(a) And   there is no dispute that Ms. Seto had the
        L.R. 72-2.1 and Exhibit B   required personal knowledge to prepare
        thereto                     her declaration, and her signature attests
           Exhibit B: Letter from   to its accuracy; and (2) the May 2003
           Michael Siegel to Laura letter was written by Larson’s co-
           Siegel Larson, dated May defendant and produced by her and her
           13, 2003                 co-defendants themselves.
                                      The May 2003 letter, authored by
                                      Larson’s half-brother Michael Siegel, is
                                      admissible as an admission of a party-
                                      opponent based on Larson and Michael’s
                                      claimed common-interest, FED. R. EVID.
                                      801(d)(2), or under the residual exception
                                      to the hearsay rule, FED. R. EVID. 807.
                                      There is no reason to doubt the
                                      trustworthiness of Michael’s personal
                                      correspondence with Larson, especially in
                                      light of their claimed common interest,
                                      U.S. v. Morgan, 385 F.3d 196, 208-09 (2d
                                      Cir. 2004), and Michael’s letter is the
                                      most probative evidence of Toberoff’s
                                      interactions with him and the rest of the
                                      Siegels since he passed away before he
                                      could be deposed. The letter is relevant to
                                      DC’s settlement defense, a determinative
                                      issue in this cross-appeal, and its inclusion
                                      would promote the interests of justice by
                                      providing the Court with a more
                                      comprehensive background of the facts
                                      relevant to this dispute.

 877-   Notice Of Motion And         This document is judicially noticeable as a
 80     Motion To Strike Plaintiff’s court filing from the related Pacific
        State Law Causes Of Action Pictures case. See Mot. at 6-9.
        Pursuant To California’s
        Anti-SLAPP Law (Cal.

                                        6

                                  EXHIBIT 71
                                    1537
CaseCase:
     2:10-cv-03633-ODW-RZ   Document
          11-55863 07/02/2012         500-12 DktEntry:
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                                                                    of 10
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         Code Civ. Proc. § 425,16);
         Memorandum Of Points
         And Authorities

      4. Although the failure of Larson’s arguments on appeal is readily evident

even absent consideration of these documents, their inclusion would provide the

Court with a more comprehensive overview of the case and promote a more

accurate resolution of the disputes at issue. Thus, DC respectfully requests this

Court grant its request for judicial notice.

Dated: July 2, 2012                            O’MELVENY & MYERS LLP

                                               By: /s/ Daniel M. Petrocelli
                                                       Daniel M. Petrocelli
                                                 Attorneys for Warner Bros.
                                                 Entertainment Inc. and DC Comics




                                           7

                                     EXHIBIT 71
                                       1538
CaseCase:
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          11-55863 07/02/2012         500-12 DktEntry:
                               ID: 8234651    Filed 10/10/12 Page 9314
                                                       56-1 Page:      of 347 (9 of 11)
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                              Page ID #:33133



CERTIFICATE OF COMPLIANCE PURSUANT TO FED. R. APP. P. 27(d)

      Pursuant to Federal Rules of Appellate Procedure 27(d) and 32(a), I certify

that Warner Bros. Entertainment Inc. and DC Comics’ brief is proportionately

spaced, has a typeface of 14 points or more, and does not exceed 10 pages.

Dated: July 2, 2012                         O’MELVENY & MYERS LLP

                                            By: /s/ Daniel M. Petrocelli
                                                  Daniel M. Petrocelli
                                              Attorneys for Warner Bros.
                                              Entertainment Inc. and DC Comics




                                        8

                                  EXHIBIT 71
                                    1539
Case 2:10-cv-03633-ODW-RZ
   Case: 11-55863 07/02/2012Document  500-12 DktEntry:
                               ID: 8234651    Filed 10/10/12 Page10
                                                       56-1 Page: 315
                                                                    of of
                                                                       10347(10 of 11)
                              Page ID #:33134



                         CERTIFICATE OF SERVICE

      I hereby certify that on July 2, 2012, I caused to be electronically filed

Warner Bros. Entertainment Inc. and DC Comics’ Reply In Support Of Motion For

Judicial Notice with the Clerk of the Court for the United States Court of Appeals

for the Ninth Circuit by using the appellate CM/ECF system. I certify that all

interested parties in this case are registered CM/ECF users.

      I declare under penalty of perjury under the laws of the United States that

the above is true and correct. Executed on July 2, 2012, at Los Angeles,

California.


                                                    /s/ Ashley Pearson
                                                       Ashley Pearson




                                          9

                                    EXHIBIT 71
                                      1540
        CaseCase:
             2:10-cv-03633-ODW-RZ  Document
                  11-55863 07/02/2012         500-12 DktEntry:
                                        ID: 8234651   Filed 10/10/12
                                                               56-2                     Page 316
                                                                                        Page: 1 of of
                                                                                                   1 347(11 of 11)
                                      Page ID #:33135

  9th Circuit Case Number(s) 11-55863, 11-56034


    NOTE: To secure your input, you should print the filled-in form to PDF (File > Print > PDF Printer/Creator).

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                           CERTIFICATE OF SERVICE
     When All Case Participants are Registered for the Appellate CM/ECF System
  I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the
  United States Court of Appeals for the Ninth Circuit by using the appellate CM/ECF system
  on (date)                            .
             Jul 2, 2012
  I certify that all participants in the case are registered CM/ECF users and that service will be
  accomplished by the appellate CM/ECF system.

  Signature (use "s/" format)         /s/ Ashley K. Pearson

*********************************************************************************
                          CERTIFICATE OF SERVICE
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  United States Court of Appeals for the Ninth Circuit by using the appellate CM/ECF system
  on (date)                            .

  Participants in the case who are registered CM/ECF users will be served by the appellate
  CM/ECF system.

  I further certify that some of the participants in the case are not registered CM/ECF users. I
  have mailed the foregoing document by First-Class Mail, postage prepaid, or have dispatched it
  to a third party commercial carrier for delivery within 3 calendar days to the following
  non-CM/ECF participants:




  Signature (use "s/" format)
                                                 EXHIBIT 71
                                                   1541
Case 2:10-cv-03633-ODW-RZ   Document 500-12 Filed 10/10/12   Page 317 of 347
                              Page ID #:33136




               EXHIBIT 72
CaseCase:
     2:10-cv-03633-ODW-RZ   Document
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                              Page ID #:33137



                       Appeal Nos. 11-55863, 11-56034

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


                           LAURA SIEGEL LARSON,
       Plaintiff, Counterclaim-Defendant, Appellant, and Cross-Appellee,

                                      v.

        WARNER BROS. ENTERTAINMENT INC. AND DC COMICS,
        Defendants, Counterclaimants, Appellees, and Cross-Appellants.


             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                 THE HONORABLE OTIS D. WRIGHT II, JUDGE
                     CASE NO. CV-04-8400 ODW (RZX)


 REPLY IN SUPPORT OF WARNER BROS. ENTERTAINMENT INC. AND
      DC COMICS’ MOTION TO SUPPLEMENT THE RECORD
                  WITH THE MARKS MEMO


      JONATHAN D. HACKER                      DANIEL M. PETROCELLI
      O’MELVENY & MYERS LLP                   MATTHEW T. KLINE
      1625 Eye Street, N.W.                   CASSANDRA L. SETO
      Washington, D.C. 20006                  O’MELVENY & MYERS LLP
      Telephone: (202) 383-5300               1999 Avenue of the Stars, 7th Floor
                                              Los Angeles, California 90067
                                              Telephone: (310) 553-6700
                                              Facsimile: (310) 246-6779

          Attorneys for Warner Bros. Entertainment Inc. and DC Comics




                                  EXHIBIT 72
                                    1542
CaseCase:
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I.    Introduction

      Larson’s response once again misses the point. DC does not deny that in

most cases the record on appeal is limited to evidence considered by the court

below. Rather, DC requests, on the basis of established case law, that this Court

use its inherent authority to consider a single document recently produced by

Larson. The contents of this document were discussed and disclosed in the

“Toberoff Timeline,” a document filed with and considered by the district court in

2009. SER-182-88; Dkt. 50-2 at 36-63. The single new document that DC asks

this Court to consider is a 2002 memo (the “Marks Memo”) written by Kevin

Marks—Larson’s lead negotiator with DC, and a key first-hand witness to the

settlement agreement DC seeks to enforce in its first question presented on its

cross-appeal. DC Br. at 25-37.

      DC has diligently attempted to obtain the Marks Memo for years, but Larson

refused to produce it until May 14, 2012—and only after this Court denied both her

mandamus petition and subsequent petitions for rehearing of that ruling. In re

Pacific Pictures, 679 F.3d 1121 (9th Cir. 2012); Dkt. 50-2 at 94-95; Decl. of

Ashley Pearson (“Pearson Decl.”) Ex. A at [13-14]. There are no legitimate

authenticity or fairness concerns regarding the Marks Memo, because Larson

produced it from her own files; its existence and basic contents were disclosed to




                                         1

                                   EXHIBIT 72
                                     1543
CaseCase:
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                                                                    of 14
                              Page ID #:33139



the district court in 2009; and DC put Larson on notice of its intent—weeks ago—

that it would use the Memo in its Reply Brief on this appeal. Infra at 6-7.

II.       The Court Should Exercise Its Authority To Consider Marks’ Memo

          1. Larson’s insistence that the record on appeal is strictly limited to the

original papers and exhibits filed in the district court ignores established case law

granting this Court ultimate discretion over the contents of the record. E.g., Lowry

v. Barnhart, 329 F.3d at 1019, 1025 (9th Cir. 2003), following Dickerson v. State

of Ala., 667 F.2d 1364, 1367-1368 (11th Cir. 1982) (“Whether an appellate record

should be supplemented under the particular circumstances of a case is a matter left

to the discretion of the federal courts of appeals.”).1

          This “inherent authority” to supplement the record on appeal, Lowry, 329

F.3d at 1025, extends to any relevant and helpful evidence, even when it was not

submitted to or considered by the court below. E.g., Manjiyani v. Ashcroft, 343

F.3d 1018, 1019-20 (9th Cir. 2003) (granting motion to supplement record with

complete copy of application filed with immigration agency where only partial

copy was filed below); Mangini v. U.S., 314 F.3d 1158, 1160-61 (9th Cir. 2003)

(same; three newly discovered letters refuting material misstatement in opposing


     Accord Johnson v. Rancho Santiago Cmty. College Dist., 623 F.3d 1011, 1020
      1


n.3 (9th Cir. 2010); Siskiyou Regional Educ. Project v. Goodman, 219 Fed. Appx.
692, 694 n.1 (9th Cir. 2007); Colbert v. Potter, 471 F.3d 158, 165-166 (D.C. Cir.
2006); Salinger v. Random House, Inc., 818 F.2d 252, 253 (2d Cir. 1987); Gibson
v. Blackburn, 744 F.2d 403, 405 n.3 (5th Cir. 1984).
                                          2

                                        EXHIBIT 72
                                          1544
CaseCase:
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                              Page ID #:33140



party’s affidavits); Nat’l Sr. Citizens Law Ctr. v. Social Sec. Admin., 849 F.2d 401,

402 & n.3 (9th Cir. 1988) (same; declaration and attached letter); Colbert, 471 F.3d

at 165-166 (same; photocopy of both sides of return receipt where only one side of

receipt had been submitted below).

      2. The relevance of the Marks Memo to DC’s settlement defense, Br. at 25-

37, is obvious: the Memo was written by Kevin Marks, Larson’s lead negotiator

and the key eye-witness to settlement. RER-13-14. The Memo repeatedly

references the “existing deal” and “agreement of last October [2001]” between

Larson and DC and explains to the Siegel-Larson family the consequences of the

“deal” they made. Id. Given his unique role and intimate involvement in the

settlement discussions, Marks’ contemporaneous memo stating that the parties had

a “deal” in October 2001 is not only relevant to the dispute over whether an

agreement was formed, but is one of the most direct and reliable pieces of evidence

on the issue. Larson’s extensive reliance—both in the district court and here, SER-

551-60; Dkt. 43-1 at 33-34—on Marks’ deposition testimony about his views on

whether a deal was made estops Larson from claiming now that Marks’ views on

the subject are “irrelevant as a matter of law,” Resp. at 6-7. The Memo was




                                          3

                                     EXHIBIT 72
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CaseCase:
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written years closer in time to the 2001 agreement, and is far better evidence than a

deposition taken years later without the Memo in hand.2

       The Memo’s contemporaneous clarity on the question whether the parties

reached a deal in 2001 stands in stark contrast with Marks’ inconsistent testimony

given years later, which the district court credited and relied on in finding no

agreement had been reached. ER-200; Dkt. 31-1 at 30-33; 49 at 4, 10. In his 2006

deposition, Marks testified that while there was an agreement in October 2001, it

was not, in his opinion, “binding.” RER-55. Larson used this testimony to argue

that Marks’ October 19, 2001, letter to DC was a non-binding counter-offer rather

than an acceptance of DC’s October 16 offer. SER-549-60.

       But Marks’ contemporaneous Memo reveals that when the agreement was

reached in 2001, and in the year that followed, Marks believed the opposite—that a

“deal” was made in 2001 and it bound the Siegels. Indeed, as recounted in his

August 2002 memo, Marks turned away Toberoff’s first offer (made in February

2002), saying he “did not feel that it was appropriate [for Toberoff] to be making

offers while [Marks] was in the process of documenting an existing deal,” RER-13

(emphasis added). Marks warned Larson that if her family repudiated their


   2
      Larson’s assertion that the Memo is irrelevant is also belied by her request to
file an additional brief discussing its relevance. Resp. at 12. No such leave is
warranted in any event. Larson already spends many more pages discussing the
Memo in her response than DC did in its merits reply. Compare Resp. at 3-7, with
DC Reply at 14-15.
                                            4

                                    EXHIBIT 72
                                      1546
CaseCase:
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“agreement” with DC in favor of Toberoff’s competing summer 2002 offer, he

would testify against them. Id. And in the Memo, he beseeched Larson to

continue documenting her deal with DC in accord with her duty of “good faith,”

and warned that failure to do so would get her and Toberoff sued. RER-14.

      While Larson argues the Memo does not support DC’s position that a

binding agreement was reached in 2001 because Marks references the need to

“document” the “existing deal,” Resp. at 8; RER-13, DC has showed in its merits

briefing that binding contracts can be reached and are reached even when the

parties plan to complete formal documentation later, and those documentation

efforts fall apart. Br. at 25-28 (collecting cases); Reply at 7-9. This has been the

law in California for decades, id., and Marks would have had no reason to turn

away Toberoff’s “better” offers in 2002, much less to warn the Siegels of

litigation, if Marks did not know and believe that the “deal” he told DC the Siegels

had accepted on October 19, 2001 was binding. SER-455; RER-13-14; cf. Resp. at

4. Moreover, unlike Larson’s current efforts to say her acceptance was mistaken,

or that Marks and DC really exchanged competing counter-offers, the Marks

Memo definitively shows that, in 2001 and 2002, Marks never took these positions

invented by Toberoff to get Larson out of her contract. DC Reply at 14-15.

      3. There are no legitimate fairness concerns here that would prevent the

Court from exercising its authority to consider the Marks Memo. The Memo’s

                                          5

                                    EXHIBIT 72
                                      1547
CaseCase:
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existence and certain of its contents have been part of the district court record since

2009, when DC submitted the Toberoff Timeline document (and its description of

the Marks Memo) to re-open discovery. SER-182-88; Dkt. 50-2 at 37-38, 50-55.

The Timeline reports that in August 2002, Marks conveyed an offer from Toberoff

to the Siegels and that Marks warned the Siegels that “he would testify in court

against [them] if they accepted this offer because he believe[d] there ha[d] already

been an agreement reached” with DC. SER-183. The Marks Memo confirms this

description. Compare SER-183, with RER-13-14; Mot. at 4-5.

      Larson claims she would be prejudiced by this Court’s consideration of the

Memo because it was produced after she “completed her briefs” here, Resp. at 12,

but the timing of production was always in her control, and she is the sole cause of

delay. DC first requested the document in 2006, Dkt. 50-1 at 58-59, again in 2009,

Dkt. 50-2 at 37-38, 50-55, and a third time this year in the related Pacific Pictures

case, Pearson Decl. Ex. B. The district court ordered the Marks Memo produced to

DC in May 2011, Dkt. 50-2 at 93, but Larson refused to comply with that order and

filed a writ petition, Pearson Decl. Ex. A at [13-14]. After this Court affirmed that

discovery order on April 17, 2012, Pacific Pictures, 679 F.3d at 1131, Larson once

again tried to keep the document from this Court on this appeal, unsuccessfully

asking the district court and this Court to stay its production pending en banc or

writ of certiorari review. Dkt. 50-2 at 64-92; Pearson Decl. Ex. A at 13-14.

                                           6

                                    EXHIBIT 72
                                      1548
CaseCase:
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      In opposing Larson’s requests for a stay, DC told the courts and Larson that

it intended to use the Marks Memo in its briefing in this appeal. Pearson Decl. Ex.

A at 15 (filed Apr. 25, 2012: “DC needs the Timeline documents for soon-to-be-

filed appellate briefs.... A central issue in [the Larson] appeal—indeed, DC’s lead

argument on its cross-appeal—is whether the parties reached a binding settlement

agreement in 2001 that bars Laura Siegel Larson’s claims.... the Marks memo,

which is among the Timeline documents, confirms that the Siegels had a ‘deal’

with DC.”); C at 41 (filed May 2, 2012: “At least one [of the Timeline documents

the Ninth Circuit] can and should consider is the Marks memo, which … fully

supports DC’s position in both appeals”). This Court and the district court lifted

the stay on discovery and denied Larson’s stay applications. Dkt. 50-2 at 93-95;

Pearson Decl. Ex. D.

      Any dispute over the privileged nature of the Marks Memo was settled—in

DC’s favor—weeks before Larson’s filing deadlines on this appeal. Larson was on

notice that DC intended to use this document in its Reply, and had ample

opportunity to address the Memo in her Second Brief on Cross-Appeal (which she

filed one month after this Court ordered the document produced, and 10 days after

she finally produced it). There is thus no basis for Larson’s request that she be

given a third opportunity to address the Memo in yet another brief. Resp. at 12;

see also supra n.2. If anything, it was DC that was prejudiced by not being able to

                                          7

                                    EXHIBIT 72
                                      1549
CaseCase:
     2:10-cv-03633-ODW-RZ   Document
          11-55863 07/11/2012         500-12 DktEntry:
                               ID: 8246958    Filed 10/10/12 Page 9326
                                                       62-1 Page:      of 347 (9 of 50)
                                                                    of 14
                              Page ID #:33145



use this document before the district court or in its opening brief here, and it would

be unfair to penalize DC for Larson’s decision to ignore the Memo in her briefing

despite having this Court’s April 17, 2012, opinion in hand, and being on notice of

DC’s intent to submit it to this Court.

      4. Finally, Larson contends that DC is “precluded” by Rule 60(b)(2) from

“attempting to reopen the judgment below.” Resp. 18-19. But DC does not seek

to reopen the judgment or record below. Reopening a district court judgment

under Rule 60(b) is an entirely different matter from invoking the court’s inherent

power to supplement the record with one document—the existence and certain

contents of which were already before the court, and which can be done regardless

of whether the district court weighed in on the evidence. E.g., Manjiyani, 343 F.3d

at 1019-20; Mangini, 314 F.3d at 1160-61; Nat’l Sr. Citizens Law Ctr. v. Social

Sec. Admin., 849 F.2d 401, 402 & n.3 (9th Cir. 1988); Colbert, 471 F.3d at 165-

166. An appellate court need not “reopen” a trial court record to supplement the

record with documents already inherently within its purview.




                                          8

                                    EXHIBIT 72
                                      1550
Case 2:10-cv-03633-ODW-RZ
   Case: 11-55863 07/11/2012Document  500-12 DktEntry:
                               ID: 8246958    Filed 10/10/12 Page10
                                                       62-1 Page: 327
                                                                    of of
                                                                       14347(10 of 50)
                              Page ID #:33146



      5. For the reasons above, DC respectfully requests this Court grant its

motion and exercise its authority to supplement the record with the Marks Memo.

      Respectfully submitted,

Dated: July 11, 2012                         O’MELVENY & MYERS LLP

                                             By: /s/ Daniel M. Petrocelli
                                                    Daniel M. Petrocelli
                                               Attorneys for Warner Bros.
                                               Entertainment and DC Comics




                                         9

                                   EXHIBIT 72
                                     1551
Case 2:10-cv-03633-ODW-RZ
   Case: 11-55863 07/11/2012Document  500-12 DktEntry:
                               ID: 8246958    Filed 10/10/12 Page11
                                                       62-1 Page: 328
                                                                    of of
                                                                       14347(11 of 50)
                              Page ID #:33147



                      DECLARATION OF ASHLEY PEARSON

      I, Ashley Pearson, declare and state as follows:

      1.     I am an attorney licensed to practice in the State of California and

admitted to practice before the United States Court of Appeals for the Ninth

Circuit. I am an associate at O’Melveny & Myers LLP, counsel of record for DC

in the above-entitled appeal, and the related appeal in DC Comics v. Pacific

Pictures Corp., Appeal Nos. 11-56934. I make this declaration in support of the

Reply In Support of Warner Bros. Entertainment Inc. and DC Comics’ Motion To

Supplement The Record With The Marks Memo.

      2.     Attached hereto as Exhibit A is a true and correct copy of DC

Comics’ Ex Parte Application To Lift Temporary Stay On Court’s May 25, 2011,

And August 8, 2011, Orders, filed in Pacific Pictures, dated April 25, 2012.

      3.     Attached hereto as Exhibit B is a true and correct copy of DC Comics’

Notice Of Motion And Motion To Compel Production Of Documents, filed in DC

Comics v. Pacific Pictures Corp., Case No. CV 10-3633 ODW (RZx), United

States District Court for the Central District of California (“Pacific Pictures”),

dated January 23, 2012.

      4.     Attached hereto as Exhibit C is a true and correct copy of DC Comics’

Reply In Support Of Ex Parte Application To Lift Temporary Stay On Court’s

May 25, 2011, And August 8, 2011, Orders, filed in Pacific Pictures and dated

                                          10

                                    EXHIBIT 72
                                      1552
Case 2:10-cv-03633-ODW-RZ
   Case: 11-55863 07/11/2012Document  500-12 DktEntry:
                               ID: 8246958    Filed 10/10/12 Page12
                                                       62-1 Page: 329
                                                                    of of
                                                                       14347(12 of 50)
                              Page ID #:33148



May 2, 2012.

      5.     Attached hereto as Exhibit D is a true and correct copy of an order

issued by the district court in Pacific Pictures and dated May 10, 2012.

      I declare under penalty of perjury under the laws of the United States that

the foregoing is true and correct and that this declaration is executed this 11th day

of July, 2012, at Los Angeles, California.


                                                      /s/ Ashley Pearson
                                                           Ashley Pearson




                                          11

                                    EXHIBIT 72
                                      1553
Case 2:10-cv-03633-ODW-RZ
   Case: 11-55863 07/11/2012Document  500-12 DktEntry:
                               ID: 8246958    Filed 10/10/12 Page13
                                                       62-1 Page: 330
                                                                    of of
                                                                       14347(13 of 50)
                              Page ID #:33149



CERTIFICATE OF COMPLIANCE PURSUANT TO FED. R. APP. P. 27(d)

      Pursuant to Federal Rules of Appellate Procedure 27(d) and 32(a), I certify

that Appellee DC Comics’ brief is proportionately spaced, has a typeface of 14

points or more, and does not exceed 10 pages.

Dated: July 11, 2012                        O’MELVENY & MYERS LLP

                                            By:  /s/ Daniel M. Petrocelli
                                                   Daniel M. Petrocelli
                                              Attorneys for DC and Warner Bros.




                                        1

                                  EXHIBIT 72
                                    1554
Case 2:10-cv-03633-ODW-RZ
   Case: 11-55863 07/11/2012Document  500-12 DktEntry:
                               ID: 8246958    Filed 10/10/12 Page14
                                                       62-1 Page: 331
                                                                    of of
                                                                       14347(14 of 50)
                              Page ID #:33150



                          CERTIFICATE OF SERVICE

       I hereby certify that on July 9, 2012, I caused to be electronically filed the

Motion To Supplement The Record With The Marks Memo with the Clerk of the

Court for the United States Court of Appeals for the Ninth Circuit by using the

appellate CM/ECF system. I certify that all interested parties in this case are

registered CM/ECF users.

       I declare under penalty of perjury under the laws of the United States that

the above is true and correct. Executed on July 11, 2012, at Los Angeles,

California.


                                                     /s/ Ashley Pearson
                                                         Ashley Pearson




OMM_US:70766600




                                           1

                                     EXHIBIT 72
                                       1555
Case 2:10-cv-03633-ODW-RZ   Document 500-12 Filed 10/10/12   Page 332 of 347
                              Page ID #:33151




               EXHIBIT 73
Case 2:10-cv-03633-ODW-RZ             Document 500-12 Filed 10/10/12              Page 333 of 347
                                        Page ID #:33152




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BRUSSELS                          Los Angeles, California 90067-6035                          SHANGHAI

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                                                                                       OUR FILE NUMBER
August 30, 2012                                                                             905900-321

VIA E-MAIL                                                                          WRITER’S DIRECT DIAL
                                                                                         (310) 246-6707
Marc Toberoff
                                                                                 WRITER’S E-MAIL ADDRESS
Toberoff & Associates, P.C.
                                                                                  jtokoro@omm.com
22631 Pacific Coast Highway #348
Malibu, CA 90265

Richard Kendall
Kendall Brill & Klieger LLP
10110 Santa Monica Blvd., Suite 1725
Los Angeles, California 90067

                Re:    DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

Dear Counsel:

       We write concerning documents identified in the “Privilege Log of Bulson Archive”
(“Bulson Log”) and “Master List of Bulson Archive” (“Master List”) produced in this case on
November 29, 2011.

       1. Entry No. 335 on the Master List—which appears between October 1, 2002, and
September 28, 2002, entries on the list—identifies an “Undated” “Draft” from “Michael Siegel”
to “Laura Siegel Larson.” Please confirm whether this document is a draft of the October 2,
2002, letter from Michael to Laura identified in Laura’s November 2, 2002, letter to Michael.

        In addition, an entry for a draft correspondence from Michael to Laura does not appear on
the Bulson Log at or around the same September-October 2002 time period. Please either
identify where Master List Entry No. 335 is identified on the Bulson Log or immediately
produce the document since any asserted privilege has been waived by not listing it on a
privilege log.

         2. Entry Nos. 394 and 395 on the Bulson Log identify emails between Michael and
Bulson exchanged on October 1, 2002. Please confirm whether a draft of Michael’s October 2
letter is attached to either of these entries, or if the draft’s language is in the body of either
email.




                                          EXHIBIT 73
                                            1556
Case 2:10-cv-03633-ODW-RZ           Document 500-12 Filed 10/10/12            Page 334 of 347
                                      Page ID #:33153


August 30, 2012 - Page 2



         3. Entry No. 396 on the Bulson Log identifies an October 4, 2002, email from Michael to
Bulson. Please confirm whether Michael’s October 2 letter—or a draft of the letter—is attached
to this entry or, if not attached, the text of the letter appears in the body of the email.

       If defendants refuse to produce the requested documents and information to DC, DC
requests a Rule 37 meet-and-confer to discuss the issues. Please let us know when you are
available.

        DC reserves all rights.

                                                Very truly yours,

                                                /s/ Jason H. Tokoro

                                                Jason H. Tokoro
                                                for O’MELVENY & MYERS LLP

cc:     Daniel M Petrocelli, Esq.
        Matthew T. Kline, Esq.
        Defense Counsel




                                        EXHIBIT 73
                                          1557
Case 2:10-cv-03633-ODW-RZ   Document 500-12 Filed 10/10/12   Page 335 of 347
                              Page ID #:33154




               EXHIBIT 74
Case 2:10-cv-03633-ODW-RZ   Document 500-12 Filed 10/10/12   Page 336 of 347
                              Page ID #:33155




                               EXHIBIT 74
                                 1558
Case 2:10-cv-03633-ODW-RZ   Document 500-12 Filed 10/10/12   Page 337 of 347
                              Page ID #:33156




                               EXHIBIT 74
                                 1559
Case 2:10-cv-03633-ODW-RZ   Document 500-12 Filed 10/10/12   Page 338 of 347
                              Page ID #:33157




                               EXHIBIT 74
                                 1560
Case 2:10-cv-03633-ODW-RZ   Document 500-12 Filed 10/10/12   Page 339 of 347
                              Page ID #:33158




               EXHIBIT 75
     CaseCase:
          2:10-cv-03633-ODW-RZ  Document
               11-55863 09/10/2012         500-12 DktEntry:
                                     ID: 8316676   Filed 10/10/12 Page 340
                                                             65-1 Page: 1 of of
                                                                             8 347
                                   Page ID #:33159
             UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT

LOCATION OF HEARING for NOVEMBER CALENDAR:                          Date of Notice:

Richard H. Chambers US Court of Appeals Bldg.
125 South Grand Avenue
Pasadena, California 91105                                          September 10, 2012

                 LL Picture ID required to enter Courthouse 77
      COUNSEL WILL PLEASE CHECK-IN WITH THE DEPUTY IN THE COURTROOM
           All CJA Counsel call (415) 355-7993 for travel authorization

Monday, November 5, 2012    9:30 a.m. Courtroom 1

 (    ) * 07-75139     Zadesmaeil v. Holder
 (    ) * 11-50164     United States v. Montoya
 (    ) * 11-50265     United States v. Esparza
 (    ) ** 11-56934    DC Comics v. Pacific Pictures Corporation
 (    )    11-55863)   Larson v. Warner Bros. Entertainment, Inc.
           11-56034)

Monday, November 5, 2012    9:00 a.m. Courtroom 2

 (    ) * 07-75032     Nordikyan v. Holder
 (    ) * 11-50239     United States v. Glover
 (    ) * 12-50076     United States v. Rodriguez-Garcia
 (    ) ** 10-56042    White v. County of San Bernardino
 (    ) ** 11-55389    Hoffman v. Zenith Insurance Company
 (    ) ** 11-55584    Allen v. Labor Ready Southwest, Inc.

Monday, November 5, 2012    9:00 a.m. Courtroom 3

 (    ) * 08-70766     Reynoso-Cisneros v. Holder
 (    ) * 10-71459     Ramirez-Figueroa v. Holder
 (    ) * 11-55681     J2F Productions, Inc. v. Sarrow
 (    ) ** 10-56782    Disney Enterprises v. Stephen Slesinger
 (    ) ** 11-55410    Youssef v. Astrue
 (    ) ** 12-55417    United States v. 475 Martin Lane

Tuesday, November 6, 2012   9:30 a.m. Courtroom 1

 (    ) * 08-70894     Parihar v. Holder
 (    ) * 08-72258     Correa Rivera v. Holder
 (    ) * 11-50252     United States v. Stamps
 (    ) * 09-73074     Jandres-Turcios v. Holder
 (    ) ** 08-74577    Alas v. Holder
 (    )    11-55460)   Pacific Shores Properties v. Newport Beach
           11-55461)

                                         EXHIBIT 75
                                           1561
   CaseCase:
         2:10-cv-03633-ODW-RZ
              11-55863 09/10/2012  Document  500-12 DktEntry:
                                       ID: 8316676   Filed 10/10/12
                                                               65-1            Page 341
                                                                               Page: 2 of of
                                                                                          8 347
                                     Page ID #:33160
Tuesday, November 6, 2012 9:00 a.m. Courtroom 2

 (   ) * 11-50503      United States v. Harris
 (   ) * 11-55412      Medrano v. Flagstar Bank, FSB
 (   ) * 08-72430      Sanchez v. Holder
 (   ) ** 07-73106     Rivera De Zavala v. Holder
 (   ) ** 07-74242)    Anguiano-Perez v. Holder
          09-73463)

 (   ) ** 10-56877)    T-Mobile West Corporation v. City of Huntington Beach
          10-56944)

Tuesday, November 6, 2012    9:00 a.m. Courtroom 3

 (   ) * 11-50508      United States v. Gonzalez-Alvarez
 (   ) * 11-50529      United States v. Valdavinos-Torres
 (   ) * 11-50550      United States v. Delgado-Moreno
 (   ) ** 11-50234     United States v. Yi
 (   )    10-56406)    Tibble v. Edison International
          10-56415)    11-56628)

Wednesday, November 7, 2012     9:30 a.m. Courtroom 1

 (   ) + 09-99017      Mann v. Ryan

Wednesday, November 7, 2012     9:00 a.m. Courtroom 2

 (   ) ** 11-55423     Carswell v. JP Morgan Chase Bank N.A.
 (   ) ** 11-50540     United States v. Moran-Elias
 (   )    10-50151)    United States v. Nava
          10-50594)    United States v. Edward Solarzano
          11-50057)    United States v. Adrian Solarzano
 (   )    11-60070     Marciano v. Chapnick

Wednesday, November 7, 2012     9:00 a.m. Courtroom 3

 (   ) * 08-71097      Ghulyan v. Holder
 (   ) * 08-73256      Alcala Perez v. Holder
 (   ) * 10-55758      Ramos v. Evans
 (   ) ** 11-55396     Jet Source, Charter, Inc. v. Gemini Air Group
 (   ) ** 12-56064     Jamerson v. Lewis
 (   ) ** 12-60003     In re Davies

* MAX ARGUMENT TIME 10 MINS/SIDE ** MAX ARGUMENT TIME 15 MINS/SIDE
     + MAX ARGUMENT TIME 30 MINS/SIDE                       OTHER CASES 20 MINS/SIDE
              [see FILING INSTRUCTIONS on the Acknowledgment Form]
Wireless Internet Connectivity is now available in the Richard H Chambers U.S. Court of Appeals Bldg
                                      www.ca9.uscourts.gov



                                          EXHIBIT 75
                                            1562
   CaseCase:
         2:10-cv-03633-ODW-RZ
              11-55863 09/10/2012  Document  500-12 DktEntry:
                                       ID: 8316676   Filed 10/10/12
                                                               65-1   Page 342
                                                                      Page: 3 of of
                                                                                 8 347
                                     Page ID #:33161
Thursday, November 8, 2012 9:30 a.m. Courtroom 1

 (   ) ** 10-56787    Goldstein v. City of Long Beach
 (   ) ** 10-56340    Arkansas Teacher Ret. System v. Mozilo
 (   )    11-55570    Pappas v. Countrywide Financial Corporation
 (   )    11-50093)   United States v. Martinez
          11-50258)   United States v. Chavez

Thursday, November 8, 2012    9:00 a.m. Courtroom 2

 (   ) * 08-73253     Acosta De Leon v. Holder
 (   ) * 09-70997     Yoon v. Holder
 (   ) * 11-50301     United States v. Diaz-Cruz
 (   ) ** 11-55249    Henderson v. Johnson
 (   )    11-50447)   United States v. Namvar
          11-50448)   United States v. Tabatabai

Thursday, November 8, 2012   9:00 a.m. Courtroom 3

 (   ) * 07-74961     Karapetyan v. Holder
 (   ) * 11-50390     United States v. Flores-Cortes
 (   ) * 11-50043     United States v. Ramirez-Villalba
 (   ) * 11-55650     King v. Astrue
 (   ) ** 10-56022    Mashiri v. Department of Education
 (   )    11-56318    Rubin v. City of Lancaster

Friday, November 9, 2012   9:00 a.m. Courtroom 2

 (   )*   08-70836    Ceron v. Holder
 (   )*   08-71950)   Lopez-Vasquez v. Holder
          08-74867)
 (   ) * 11-50331     United States v. Jacobs
 (   ) ** 11-50409    United States v. Hatcher
 (   ) ** 11-56146    Thornton v. Schwarzeneggar
 (   ) ** 11-57228)   Radin v. Hunt
          12-55432)

Friday, November 9, 2012   9:00 a.m. Courtroom 3

 (   ) * 11-50443     United States v. Arredondo-Martinez
 (   ) * 12-50047     United States v. Aviles-Gallegos
 (   ) * 11-50471     United States v. Bustos-Ochoa
 (   ) ** 10-50515    United States v. Cardenas
 (   ) ** 10-56205    Starr v. County of Los Angeles
 (   ) ** 11-55253    Nicolas v. City of Riverside

     * MAX ARGUMENT TIME 10 MINS/SIDE  ** MAX ARGUMENT TIME 15 MINS/SIDE
         + MAX ARGUMENT TIME 30 MINS/SIDE   OTHER CASES 20 MINS/SIDE
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                                        EXHIBIT 75
                                          1563
       CaseCase:
            2:10-cv-03633-ODW-RZ  Document
                 11-55863 09/10/2012         500-12 DktEntry:
                                       ID: 8316676   Filed 10/10/12
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                                     Page ID #:33162




                                          OFFICE OF THE CLERK
                         U.S. COURT OF APPEALS FOR THE NINTH CIRCUIT
                                 95 SEVENTH STREET, P.O. BOX 193939
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                                NOTICE OF CASES SET FOR HEARING

        Your case has been set for hearing as indicated on the attached calendar. Please take special note of the
time and place of hearing. In order that the court may make proper arrangements for oral argument, it is essential
that you immediately complete the attached acknowledgment of hearing notice and return it to the Clerk’s Office
via the Appellate ECF system [ or by hardcopy for those granted an exemption from using the Appellate ECF
system.]

      In preparing for oral argument, the parties should be guided by Rule 34 of the Federal Rules of Appellate
Procedure. The following information is provided to ensure the effectiveness of the hearing process:

Possibility of Mootness or Settlement - If your case has become moot or a settlement is imminent,
       immediately advise the Clerk's office in writing and BY TELEPHONE. For ECF-registered parties, this
       must be filed electronically as "Correspondence to Court."

Notification of Related Cases - If you are aware of other cases pending in this court which are related to
       and which should be calendared with your case(s) on the attached calendar, please notify this office.

Admission for Oral Argument - Any attorney who will be presenting oral argument
     must have been admitted to the bar of this court. The forms necessary for admission may be obtained
     through the court's website [ www.ca9.uscourts.gov ] under Forms. If you have not been
     admitted, or need to verify you have applied, please call the Attorney Admissions Inquiry line at
     (415) 355-7800 and leave the requested information. While admission in open court on the day of
     hearing is discouraged, you may elect such an admission procedure. Candidates for admission in open
     court must appear in the Clerk's Office with a sponsor who has already been admitted to the bar of the
     circuit, and who can orally move the admission before the calendar is called.

Submission Without Oral Argument - A party who feels that oral argument would not be of
      assistance to the court may present a written motion asking the court to submit the case on the briefs for
      decision without oral argument. Such a motion must be served on all parties. For ECF-registered parties,
      this motion must be filed electronically. The court may, on its own motion, determine that oral argument
      would not be of assistance. In such cases, all parties will be advised by separate notice pursuant to Fed.
      R. App. P. 34(a).



        [email: pas_ca09calendar@ca9.uscourts.gov                      Subject: PAS Hearing Notice]
       08/22/11                    EXHIBIT 75                                       www.ca9.uscourts.gov

                                                      1564
       CaseCase:
            2:10-cv-03633-ODW-RZ  Document
                 11-55863 09/10/2012         500-12 DktEntry:
                                       ID: 8316676   Filed 10/10/12
                                                               65-1                         Page 344
                                                                                            Page: 5 of of
                                                                                                       8 347
                                     Page ID #:33163




Appearing for Argument - If oral argument is to be presented, please register with the courtroom
     deputy in the courtroom posted for your case 30 minutes before the time of the hearing. All parties
     for all cases must be registered and present at the time the session is convened.

Hearing Order of Cases - Cases are generally heard in the order in which they
      appear on the calendar. On the other hand, a panel may elect to poll the calendar prior to the
      commencement of argument and to rearrange the order of cases based on the projected length of the
      argument. Nevertheless, parties in the first case should be prepared to begin argument immediately after
      the court is convened in the event that the entire calendar is not polled.

Time for Oral Argument - Cases scheduled for oral argument will be assigned ten, fifteen, twenty, or
      occasionally thirty minutes per side. Check your Location of Hearing Notice to determine your time
      allotment.

Subject of Oral Argument - At the time of hearing, the judges of the panel will have studied the briefs and
      the excerpts of record and will be familiar with the facts and issues of the case. Argument should be
      devoted to clarifying issues as needed and to responding to questions raised by the judges of the panel.

Presenting Additional Citations - Additional citations of relevant decisions rendered since the filing
      of the party's last brief -or after oral argument but before decision- may be submitted by letter, showing
      proof of service on all counsel and parties not represented by counsel. For ECF-registered parties, this
      letter must be filed electronically, but if filed by paper, only the original must be submitted to the court.
      The letter must state the reasons for the citations, referring to either the page of the brief or to a point
      argued orally. The body of the letter must not exceed 350 words. Any response must be made
      promptly and similarly limited. [FRAP 28j, Cir. R. 28-6]

Identity of Panel Members - Not earlier than the week before the court week in which your case will be
       heard, the names of judges hearing the currently calendared cases will be announced. The names will
       be posted on the public bulletin board of the Clerk's Office of your local U.S. District Court and on this
       Court’s web page. You may also determine the names of the judges by submitting with the enclosed
       acknowledgment form, a self-addressed, postage-paid envelope and a card listing the case number, date
       and time of hearing. We will write the names of the judges hearing your case on this card and mail it
       to you at the same time that the official calendars are mailed to the District Court Clerk's Offices for
       posting.    [ www.ca9.uscourts.gov ]

Continuances - After a case has been calendared, continuances are not granted except for a showing of
      extraordinarily good cause. If oral argument is essential but you find it impossible to be present, you
      must, immediately after receipt of this hearing notice, submit a formal motion and supporting affidavit
      for continuance. For ECF-registered parties, this motion must be filed electronically. Presentation of
      the motion does not ensure that the continuance is granted. The court will not consider the motion for
      continuance after the identity of the panel of judges has been divulged.



           [email: pas_ca09calendar@ca9.uscourts.gov                     Subject: PAS Hearing Notice]
      08/22/11                        EXHIBIT 75                                  www.ca9.uscourts.gov
                                                        1565
CaseCase:
     2:10-cv-03633-ODW-RZ  Document
          11-55863 09/10/2012         500-12 DktEntry:
                                ID: 8316676   Filed 10/10/12
                                                        65-1   Page 345
                                                               Page: 6 of of
                                                                          8 347
                              Page ID #:33164

                 DRIVING DIRECTIONS TO COURTHOUSE


      The Richard H. Chambers U.S. Court of Appeals Building is
located at 125 South Grand Avenue, in Pasadena, California.

     From downtown Los Angeles, take the Pasadena Freeway (110) to
the Orange Grove Blvd. exit. Go north on Orange Grove approximately two
miles and turn left on Maylin Street or Del Rosa Drive one block to Grand
Avenue.
      From the west via the Ventura Freeway (134), exit Colorado/Orange
Grove Blvd. exit. Go south (right) on Orange Grove to Green Street. Turn
right one block to Grand Avenue.
       From the east via the Foothill Freeway (210) exit at Orange Grove
Blvd., go south (left) on Orange Grove to Green Street. Turn right one block
to Grand Avenue.




    Park in the lot across from the Richard H. Chambers U.S. Court of
Appeals Building.

                                EXHIBIT 75
                                  1566
CaseCase:
     2:10-cv-03633-ODW-RZ  Document
          11-55863 09/10/2012         500-12 DktEntry:
                                ID: 8316676   Filed 10/10/12
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                                                               Page: 7 of of
                                                                          8 347
                              Page ID #:33165




                               July 25, 2011




            Notice for Drivers of Electric Vehicles


      Consistent with the government’s policy of supporting Zero-Emission

Vehicles (ZEV’s), the United States Court of Appeals for the Ninth Circuit

has an Electric Vehicle Charging Station available at the Richard H.

Chambers courthouse in Pasadena, California.



      The charging station may be used by attorneys attending oral

arguments and other visitors to the Pasadena Courthouse. The charging

station consists of a 20A power outlet, either 220V or 110V, and a Level 2

charger.



      Drivers may use the available charger or bring their own portable

charger. Because availability is limited, please reserve a power outlet and

charger at least 24 hours in advance by contacting Eve Fisher, Senior

Deputy Clerk at Eve_Fisher@ca9.uscourts.gov or at 626-229-7251.




                                EXHIBIT 75
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                                          U.S. Court of Appeals for the Ninth Circuit
                                                  Electronic Devices Policy

This policy pertains to the use of electronic devices by the bar, media and the public in the courthouses and other
dedicated spaces housing the United States Court of Appeals for the Ninth Circuit. These are the W illiam K.
Nakamura U.S. Courthouse in Seattle, the Pioneer U.S. Courthouse in Portland, the James R. Browning U.S.
Courthouse in San Francisco, the Richard H. Chambers U.S. Courthouse in Pasadena, and the U.S. Court of Appeals
for the Ninth Circuit in Honolulu. The policy also applies to other places in which the court holds session for special
sittings. These include courtrooms in the district courthouses and spaces in law schools and other locations.

Visitors to any of the Ninth Circuit courthouses and dedicated spaces are allowed to carry and make use of various
electronic devices as set out by this policy. Different rules may apply when the court meets in another venue, such
as a district courthouse. W here conflicts between this policy and that of a district court becom e know n, the chief
circuit judge and chief district judge, or their designees, will confer to resolve such conflicts.

General Rules:

1.     Anyone may bring electronic devices, such as a Blackberry, smart phone, laptop computer or a similar
       functioning device having wireless com munications capability into the courthouse.

2.     Except for courtrooms, persons may use such devices in public areas of the courthouse to make telephone
       calls and to transmit and receive data communications, such as email or text messages, or to access the
       Internet. For reasons of privacy, safety, and security, use of these devices to take photographs or for audio
       or video recording or transmission is prohibited in the courthouse (exceptions for court staff, authorized
       vendors or for educational or cerem onial events).

3.     In courtrooms, persons may use such devices to take notes, transmit and receive data communications, and
       access the Internet. This includes media members who are transmitting written accounts of the proceeding
       to a wider audience using various means. Persons may not use these devices for telephone calls,
       photographs or audio or video recording or transmission. Telephone ring tones and other functional sounds
       produced by devices must be disabled while in the courtroom. Only quiet keyboards may be used in
       the courtrooms.

4.     The presiding judge of a judicial panel may prohibit or further restrict use of such devices by all persons prior
       to or during a proceeding when necessary to protect the rights of the parties or to assure the orderly conduct
       of the proceedings.
5.     This policy will be prominently displayed wherever the court holds session and posted on the court’s website.
       Failure to adhere to the policy may result in removal from the courtroom or other sanction.

Adopted June 23, 2010.
                                                         EXHIBIT 75
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